                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN

In the Matter of:

ARK LABORATORY, LLC,                                Case No. 23-43403-mlo
                                                    Chapter 11
            Debtor.                                 Hon, Maria L. Oxholm
____________________________________/




                                 FURTHER CORRECTED
                                    EXHIBIT
                                PLAN SUPPLEMENT


   Prepared By:
   By: /s/ Robert N. Bassel
   Robert N. Bassel (P 48420)
   Attorneys for Debtor
   P.O. Box T
   Clinton, MI 49236
   248.677.1234
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Committee Support Letter and Stipulated Order Authorizing Debtor To Mail
Committee Letter Supporting Confirmation Of Plan With Its Plan
Supplement To All Creditors And Parties In Interest [ECF 295]




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                           The Official Committee of Unsecured Creditors of Ark
                                Laboratory, LLC. d/b/a Helix Diagnostics

                                              October 13, 2023

          To:     The General Unsecured Creditors of Ark Laboratory, LLC, d/b/a Helix
                  Diagnostics (“Ark Laboratory” or the “Debtor”), Case No. 23-43403

          Re:     Combined Disclosure Statement and Plan of Liquidation of the Debtor

Dear Creditor:

         This letter is being sent to you from the Official Committee of Unsecured Creditors of Ark
Laboratory, LLC. (the “Committee”). Recently, the Debtor filed the Combined Disclosure Statement
and Plan of Liquidation, which sets forth how and to what extent various creditors, including unsecured
creditors (designated as Class 6 under the Plan of Liquidation), are to be repaid. The Plan of
Liquidation (“Plan”) also includes a Disclosure Statement (“Disclosure Statement”), which describes
in detail the Plan and provides background information relating to the Plan and the Debtor. In addition,
following the filing of the Plan and the Disclosure Statement, the Debtor filed a Plan Supplement
(“Plan Supplement”). We write to encourage you to review the enclosed Plan, Disclosure Statement,
the Plan Supplement and the Ballot (the was included with the Plan) with your legal advisors and to
promptly return the Ballot. Our recommendation to vote in favor of the Plan is on page 3 of this letter.

        Generally, the Plan contemplates that Ark Laboratory will liquidate following confirmation of
the Plan. Under the Plan, all of the remaining assets, not otherwise sold to Auxo Investment Partners,
LLC (“Auxo”), the Successful Purchaser and primary secured creditor of the Debtor, will be assigned
to a Liquidating Trust pursuant to a Liquidating Trust Agreement under which Paul R. Hage will serve
as the Liquidating Trustee (the “Liquidating Trustee”) to collect and disburse those funds that Auxo
and the unsecured creditors are entitled to receive under the Plan.

        If the Plan is confirmed by the Bankruptcy Court, the holders of Allowed Unsecured Claims1
will receive payment on account of their pre-petition claims from two potential sources: (i) the net
recoveries from the Covid Testing Claims, and (ii) the net recoveries from the Causes of Action pursued
by the Liquidating Trustee, each as more specifically described below.

          (i)     The Covid Testing Claims:

         One of the assets disclosed by the Debtor in its schedules filed in the Chapter 11 Case is the
Covid-19 Testing Claims with each of the Debtor’s health insurance providers and governmental
entities that are being pursued by Special Counsel retained by the Debtor. According to the Debtor’s
amended schedules filed in the Bankruptcy Court: “The [Covid Testing] Claims are valued at no less
than $4.0 million to the bankruptcy estate (exclusive of contingent fees owed to special counsel to be
retained by the Debtor, in the amount of 30% of the amount recovered). The face amount of the claims
may be over $40 million, however, that amount does not take into account collectability nor the
contingent fee that will be owed to special counsel.”



1
    Unless otherwise defined herein, all capitalized terms shall have the meanings contained in the Plan.
                                                      1

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         Even though the Covid Testing Claims were excluded from the Debtor’s sale of substantially all
of its assets, the Covid Testing Claims constitute collateral of Auxo, as a secured creditor. What that
means is that until Auxo is paid in full on its allowed secured claim – estimated to be in excess of $20
million – the unsecured creditors would not receive any funds on account of the recovery from the
Covid Testing Claims.

      Prior to the Plan having been filed, the Committee, Auxo and the Debtor reached an agreement
regarding the distribution of the proceeds of the Covid Testing Claims under the Plan and the
Liquidating Trust (the “Agreement”) that provides: The net recoveries from the Covid Testing Claims,
after payment of such amounts owed to Special Counsel, if recovered prior to the Effective Date,2 shall
be distributed by the Debtor and, if recovered after the Effective Date, shall be distributed by the
Liquidating Trustee, as follows: (a) the first $9.2 million shall be distributed to Auxo, (b) the next $1.0
million to the Liquidating Trustee for payment of the Allowed Claims of the Unsecured Creditors, (c)
then, once Auxo receives 80% of the amount owed on its Allowed Secured Claim, each dollar received
thereafter by the Liquidating Trustee shall be split with 15% of such recoveries for payment of the
Allowed Claims of the Unsecured Creditors and 85% of such recoveries for payment of the Allowed
Secured Claim of Auxo until Auxo is paid in full on its Allowed Secured Claim. Thereafter, all such
recoveries, net of fees and expenses of the Liquidating Trust, shall be paid to the Allowed Claims of the
Unsecured Creditors.

        Thus, under this Agreement, holders of Allowed Unsecured Claims will have the opportunity to
share in the net recoveries of the Covid Testing Claims before Auxo is paid in full on its Allowed
Secured Claim, and once Auxo is paid in full on its Allowed Secured Claim, all of the remaining net
recoveries from the Covid Testing Claims will go to the holders of Allowed Unsecured Claims under
the Plan and the Liquidating Trust Agreement.

        (ii)    Causes of Action:

       The other asset that is being distributed to the Liquidating Trustee under the Plan and not part
of the collateral securing Auxo’s allowed secured claim, is the Preserved Causes of Action that
include, among other things, Avoidance Actions (that includes any and all avoidance, recovery,
subordination or other actions or remedies that may be brought on behalf of the Debtor or their estates
under the Bankruptcy Code or applicable non-bankruptcy law, including, without limitation, actions or
remedies under sections 510 and 542 through 553 of the Bankruptcy Code).

         Under the terms of the Plan, the Liquidation Trustee has the right to “commence, continue,
prosecute, litigate, and/or settle and compromise Claims, Causes of Action and the Covid Test Claims,
by or against the Debtor and third parties on behalf of the Liquidating Trust and for the benefit of the
Beneficiaries thereof (except as expressly provided in the Plan or any order entered in the Chapter 11
Case (including the Confirmation Order) . . . will have and shall retain after the Confirmation Date any
and all rights and defenses that the Debtor had with respect to any Claim as of the Petition Date. All



2
  “Effective Date” under the Plan is defined as the first date that is a Business Day thirty (30) days after
the entry of the Confirmation Order on which no stay of the Confirmation Order is in effect and the
appeal period has expired, or, if an appeal has been filed, entry of a Final Order affirming entry of the
Confirmation Order.


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Claims of any Entity subject to section 502(d) of the Bankruptcy Code shall be deemed disallowed as
of the Effective Date unless and until such Entity pays in full the amount that it owes the Debtor or the
Estate.”

        A list of the Preserved Causes of Action and the potential Avoidance Actions are attached as
Exhibit B to the Plan and the Plan Supplement, each of which has been filed with the Court and
provided to every Unsecured Creditor. Recognize, however, just because a Cause of Action or an
Avoidance Action is listed on Exhibit B to the Plan or the Plan Supplement does not mean that the
Liquidating Trustee will pursue such action as ultimately that will depend on an analysis of each
potential action and a determination by the Liquidating Trustee, in the exercise of his business
judgment, whether he believes that there is a basis in fact and law to justify pursuing the Cause of
Action or Avoidance Action. While it is impossible at this juncture to predict or to estimate with any
certainty what actions will be pursued or the likely recoveries therefrom, net of fees and costs incurred
in connection therewith, these Causes of Action and Avoidance Actions represent another source of
recovery for the holders of Allowed Unsecured Claims under the Plan.

       (iii)   Impact of Unsecured Creditors Not Voting in Favor of the Plan:

        If the Unsecured Creditors do not vote in favor of the Plan, the Plan will not be confirmed and
Auxo, as the Secured Creditor, will have the right to receive all the net recoveries from the Covid
Testing Claims until its Allowed Secured Claim is paid in full, thereby depriving the Unsecured
Creditors of the opportunity to participate in these recoveries before Auxo is paid in full. Moreover, if
the Plan is not confirmed, either the Debtor can file a new plan or the Chapter 11 Case will be dismissed
or converted to a chapter 7 case, with a chapter 7 trustee appointed by the Office of the United States
Trustee, to pursue the Causes of Action.

       Committee Recommendation:

        When the Chapter 11 Case was commenced by the Debtor, the Unsecured Creditors were
substantially “under water,” with little hope of ever receiving a distribution on account of their Allowed
Unsecured Claims. The Committee, both prior to and subsequent to the filing of the Plan, has provided
the Debtor significant input and has reached a significant compromise with Auxo regarding the terms of
the Plan. It is unknown at this time how much will ultimately be distributed to the holders of Allowed
Unsecured Claims under the Plan. Much depends on the ability to successfully liquidate the Covid Test
Claims, as well as whether the Preserved Causes of Action, if pursued, will result in net recoveries for
the holders of Allowed Unsecured Claims under the Plan. Nevertheless, the Committee believes that
the Plan provides the best opportunity for a return to the holders of Allowed Unsecured Creditors under
the circumstances of this Chapter 11 Case.

        Therefore, this letter is to advise you of the Committee’s support for the Plan and of the
Committee’s recommendation that you vote in favor of the Plan. Please note that all Ballots in
favor of or against the Plan must be transmitted to Ark Laboratory’s counsel via mail, via email
or via facsimile such that it is actually received on or before October 26, 2023 at the following:

               Robert N. Bassel                OR              Via Email to Robert N. Bassel
               Counsel for Debtor                              rbassel@gmail.com
               P.O. Box T
               Clinton, Michigan 49236                         Via Facsimile to (248) 928-0656


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     THIS LETTER IS NOT MEANT TO SUBSTITUTE FOR YOUR OWN LEGAL
ADVICE AND YOUR INDEPENDENT REVIEW OF THE ENCLOSED PLAN. THE
COMMITTEE URGES YOU TO CAREFULLY READ THE PLAN, THE DISCLOSURE
STATEMENT, THE PLAN SUPPLEMENT AND THE BALLOT AND CONSULT WITH
YOUR LEGAL ADVISORS.

        The Committee would be pleased to respond to any questions that you or your counsel has
regarding the Plan, the Disclosure Statement, the Plan Supplement, the Ballot or this letter. If you have
any questions, please contact Judith Greenstone Miller or Kim Ross Clayson, counsel for the
Committee, at (248) 351-3000 or email them at jgmiller@taftlaw.com or kclayson@taftlaw.com.
Please note, however, that counsel for the Committee is unable to represent the interests of any
individual creditor.

                                           Very truly yours,


                          The Official Committee of Unsecured Creditors of
                                        Ark Laboratory, LLC

cc:    Judith Greenstone Miller, Esq.
       Kim Ross Clayson, Esq.
       The Members of the Committee (Via Email)




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                                UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF MICHIGAN
                                       SOUTHERN DIVISION

In the Matter of:

           ARK LABORATORY, LLC,                                                    Case No. 23-43403-mlo
                                                                                   Chapter 11
                    Debtor.                                                        Hon, Maria L. Oxholm
                                                                   /

    STIPULATED ORDER AUTHORIZING DEBTOR TO MAIL COMMITTEE LETTER
       SUPPORTING CONFIRMATION OF PLAN WITH ITS PLAN SUPPLEMENT
                TO ALL CREDITORS AND PARTIES IN INTEREST

           THIS MATTER is before the Court on the Stipulation For Entry Of Order Authorizing

Debtor To Mail Committee Letter Supporting Confirmation Of Plan With Its Plan Supplement To

All Creditors And Parties In Interest [ECF No. 294] (the “Stipulation”) entered into by and among

Debtor1 and the Committee, and without objection by the U.S. Trustee, the Court having read same

and being otherwise fully and duly advised in the premises;

           NOW, THEREFORE, the Court orders as follows:

           IT IS HEREBY ORDERED that the Debtor is authorized to serve the Support Letter in the

form attached as Exhibit 2 to the Stipulation [ECF No. 294], together with its Plan Supplement,

on all creditors and parties in interest.

Signed on October 6, 2023




1
    Capitalized terms shall have the same meaning as ascribed to them in the Stipulation.



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STIPULATED ORDER TO PERMIT BALLOTING FOR PLAN OF
LIQUIDATION VIA EMAIL AND FACSIMILE IN ADDITION TO MAIL
BALLOTING [ECF 285]




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                    UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF MICHIGAN

In the Matter of:

ARK LABORATORY, LLC,                                    Case No. 23-43403-mlo
                                                        Chapter 11
               Debtor.                                  Hon, Maria L. Oxholm
                                               /

                     STIPULATED ORDER
      TO PERMIT BALLOTING FOR PLAN OF LIQUIDATION VIA
     EMAIL AND FACSIMILE IN ADDITION TO MAIL BALLOTING

      This matter came to be considered on the above-captioned STIPULATION

TO ENTRY OF STIPULATED ORDER TO PERMIT BALLOTING FOR PLAN

OF LIQUIDATION VIA EMAIL AND FACSIMILE IN ADDITION TO MAIL

BALLOTING, and sufficient cause existing for the relief requested:

      IT IS HEREBY ORDERED THAT:

      1.     Claimants are hereby authorized to vote on Debtor’s Combined

Disclosure Statement and Plan by mail to Robert Bassel, PO BOX T, CLINTON MI

49236, or via email to bbassel@gmail.com, or by facsimile to 248-928-0656 in

addition to voting by mail. Ballots must be received by Debtor’s counsel no later

than October 26, 2023 in order to be counted, absent further Order of the Court.

      2.     The Debtor shall serve all creditors with this Order as part of the Plan

Supplement to be transmitted to creditors, as provided under the Plan.


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Signed on October 4, 2023




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EXHIBIT A: LIQUIDATING TRUST AGREEMENT




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              LIQUIDATING TRUST AGREEMENT AND DECLARATION OF TRUST

        This Liquidating Trust Agreement and Declaration of Trust (the “Agreement” or “Trust

Agreement”), dated as of November 2, 2023, is made by and between Ark Laboratory, LLC,

d/b/a Helix Diagnostics (the “Debtor”), in the chapter 11 bankruptcy case (the “Chapter 11

Case”), pending in the United States Bankruptcy Court for the Eastern District of Michigan (the

“Bankruptcy Court”) and Paul R. Hage (the “Trustee,” and together with the Debtor, each, a

“Party” and collectively, the “Parties”).

                                            RECITALS

         1.     On April 12, 2023, the Debtor filed a voluntary petition for relief under chapter 11

of title 11 of the United States Code. The Chapter 11 Case is being administered as In re Ark

Laboratory, LLC. Case 23-43403-MLO.

         2.     On May 1, 2023, the Office of the United States Trustee for the Eastern District of

Michigan (the “U.S. Trustee”) appointed the Official Committee of Unsecured Creditors (the

“Committee”) in the Chapter 11 Case pursuant to 11 U.S.C. § 1103 [ECF No. 68], and thereafter,

on May 2, 2023, filed an Amended Appointment of Unsecured Creditors Committee [ECF No

70]. The members of the Committee consisted of: (1) Matthew George of Gemini Labor

Group, LLC; (2) Dorian Wright, CFO of The Sports Marketing Agency; and (3) Maribeth

Thomas, Esq., counsel to Fisher Healthcare.

         3.     On September 19, 2023, the Debtor filed its Combined Disclosure Statement

and Chapter 11 Plan of Liquidation [ECF No. 249] (as may be amended, supplemented or

modified from time to time, the “Plan”).1



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    All capitalized terms used in this Agreement but not otherwise defined herein shall have the
    meanings set forth in the Plan.



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        4.     On November __, 2023, the Bankruptcy Court entered the Order Confirming the

Debtor’s Plan of Liquidation [ECF No. __] (the “Confirmation Order”). Pursuant to the

Confirmation Order, the Plan became effective on November __, 2023 (the “Effective Date”).

        5.     The Plan provides for the establishment of the Creditor Trust (the “Trust”) on the

Effective Date.

        6.     The Confirmation Order provides for the appointment of the Trustee as the

Creditor Trustee of the Trust, and the Plan and this Agreement provide for the appointment as

necessary of any successor Creditor Trustee of the Trust.

        7.     The Trust is established for the benefit of Auxo Investment Partners, LLC, the

secured creditor (“Auxo”), the unsecured creditors of the Debtor’s estate, and the Retained

Professionals approved by the Bankruptcy Court (each a “Beneficiary” and collectively, the

“Beneficiaries”). For the avoidance of doubt, as of the Effective Date of the Plan and in

accordance therewith, each Beneficiary is entitled to a distribution from the Trust, if

applicable, as provided under the Plan confirmed by the Bankruptcy Court.

        8.     The Trust is established for the purpose of liquidating the remaining assets of the

Debtor which, pursuant to the Plan are hereby transferred to the Trust together with all other

property held from time to time by the Trust under this Agreement and any proceeds thereof and

earnings thereon (collectively, “Trust Assets”), maximizing recoveries for the benefit of the

Beneficiaries, and making distributions in accordance with the Plan, Confirmation Order and this

Agreement, with no objective to continue or engage in the conduct of a trade or business, except

to the extent reasonably necessary to, and consistent with, the liquidating purposes of the Trust.

        9.     The Trust Assets consist primarily of (i) the cash in the Professional Fee Escrow

Account for payment of the Retained Professionals on their Allowed Professional



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Compensation approved by the Bankruptcy Court, (ii) Causes of Action, including the

Avoidance Actions, and (iii) the Covid Testing Claims. The Trust Assets shall be distributed to

the Beneficiaries as provided in Article III of this Agreement, in accordance with the Plan.

        10.    The Trust Assets specifically exclude any assets purchased by Auxo as provided

under the Order: (I) Authorizing The Sale Of Substantially All Of The Debtor’s Assets

Pursuant To § 363 Of The Bankruptcy Code, Free And Clear Of All Liens, Claims, Interests

And Encumbrances; (II) Authorizing And Approving The Terms Of The Debtor’s Asset

Purchase Agreement And Related Agreements And Authorizing Consummation Of The

Transactions Contemplated Therein Including The Assumption And Assignment Of Certain

Specified Executory Contracts And Unexpired Leases; And (Iii) Granting Related Relief

entered on September 28, 2023 as well as any assets arising or covered by that certain

Management and Transition Services Agreement dated as of October 12, 2023 by and between

MSU Health Care Lab, LLC and the Debtor (the “Transition Services Agreement”). Further,

the Transition Services Agreement shall expressly survive confirmation of the Plan and remain

in full force and effect for the duration of its term and the Liquidating Trustee shall not take

any action inconsistent with the Transition Services Agreement or that would preclude the

Debtor from being able to fulfill its obligations under the Transition Services Agreement.

        11.    Pursuant to the Plan, the Debtor, the Trustee, and the Beneficiaries are required to

treat the transfer of assets to the Trust in accordance with the terms of the Plan as a transfer to

the Beneficiaries, followed by a transfer by such Beneficiaries to the Trust, and the

Beneficiaries will be treated as the grantors and owners thereof.




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        12.    Pursuant to the Plan, the Trust is intended to qualify as a “grantor trust” for

federal income tax purposes and, to the extent permitted by applicable law, for state and local

income tax purposes, with the Beneficiaries treated as grantors and owners of the Trust.

        13.    Pursuant to section 1145 of the Bankruptcy Code, the Trust is intended to be

exempt from the requirements of the Securities Act of 1933, as amended, and any applicable

state and local laws requiring registration of securities.

       NOW, THEREFORE, in accordance with the Plan and the Confirmation Order, and in

consideration of the promises, and the mutual covenants and agreements of the Parties contained

in the Plan and herein, and other good and valuable consideration, the receipt and sufficiency of

which are hereby acknowledged and affirmed, the Parties agree and declare as follows:

                                    DECLARATION OF TRUST

       The Parties enter into this Agreement to effectuate the creation of the Trust and the

distribution of the Trust Assets to the Beneficiaries pursuant to, and to the extent set forth in, the

Plan and the Confirmation Order, it being understood that the Trust Assets shall first be used to

pay the Beneficiaries as provided in the Plan and Article III of this Agreement.

       Pursuant to Article IV, Section 8(6) of the Plan and Section 2.3 of this Agreement, on the

Effective Date, pursuant to sections 1141(b) and 1141(c) of the Bankruptcy Code, the Trust

Assets shall vest in the Trust free and clear of all Claims, Liens, encumbrances, charges, and

other interests except as otherwise expressly provided in the Plan and the Confirmation Order.

       The Trust Assets are to be held by the Trust and applied on behalf of the Trust by the

Trustee on the terms and conditions set forth herein, for the benefit of the Beneficiaries and for

no other party as provided in this Agreement and in accordance with the Plan.



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                                            ARTICLE I

                        RECITALS, PLAN DEFINITIONS, OTHER
                 DEFINITIONS, INTERPRETATION, AND CONSTRUCTION

          1.1   Recitals. The Recitals are incorporated into and made terms of this Agreement.

          1.2   Definitions. For purposes of this Agreement, unless otherwise defined herein, the

 terms of this Agreement shall have the meanings set forth in the Plan.

                1.2.1   “Trust Claim(s)” shall mean a claim or interest that has been scheduled as

not disputed, contingent or unliquidated, filed as a proof of claim or interest, or whose allowance

has been granted by the Bankruptcy Court pursuant to a Final Order, without regard to whether

such claim or interest was Disputed on the Effective Date, by a Beneficiary of this Agreement that

is making a request for payment from the Trust Assets, to the extent that it remains unpaid.


                1.2.2   “Trust Interest(s)” shall mean each Beneficiary’s interest in Creditor Trust

Assets.

          1.3   Interpretation; Headings. All references herein to specific provisions of the Plan

 or Confirmation Order are without exclusion or limitation of other applicable provisions of the

 Plan or Confirmation Order. Words denoting the singular number shall include the plural

 number and vice versa, and words denoting one gender shall include the other gender. The

 headings in this Agreement are for convenience of reference only and shall not limit or

 otherwise affect the provisions of this Agreement.

          1.4   Construction of Agreement. This Agreement shall not be construed to impair or

 limit in any way the rights of any Person under the Plan.




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      1.5     Conflict Between Plan Documents. In the event of any inconsistency between the

Plan and the Confirmation Order, as applicable, on the one hand, and this Agreement, on the

other hand, the Plan or the Confirmation Order, as applicable, shall control and take precedence.

                                          ARTICLE II

                               ESTABLISHMENT OF TRUST

      2.1     Effectiveness of Agreement; Name of Trust.         This Agreement shall become

effective on the Effective Date. The Trust shall be officially known as the “Ark Laboratory

Trust.”

      2.2     Purpose of Trust. The Parties, pursuant to the Plan and in accordance with

Bankruptcy Code, hereby create the Trust for the primary purpose of liquidating its assets,

maximizing recoveries for the benefit of the Beneficiaries, and making distributions to the

Beneficiaries in accordance with the Plan, Confirmation Order, and this Agreement, with no

objective to continue or engage in the conduct of a trade or business, except to the extent

reasonably necessary to, and consistent with, the liquidating purposes of the Trust.

      2.3     Transfer of Trust Assets.

               2.3.1   Transfer of Trust Assets. Pursuant to section 1141 of the Bankruptcy

Code and the Plan, the Debtor and its Estate hereby grant, release, assign, transfer, convey and

deliver, on behalf of the Beneficiaries, the Trust Assets to the Trust, as of the Effective Date,

free and clear of Claims, Liens, encumbrances, charges, and other interests except as otherwise

provided in the Plan, in trust for the benefit of the Beneficiaries to be administered and applied

as specified in this Agreement, the Plan, and the Confirmation Order.

               2.3.2   Prior to the Effective Date and to the extent required following the

Effective Date, the Debtor shall, as and when reasonably requested by the Trustee, execute and

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deliver or cause to be executed and delivered all necessary documents (in recordable form

where necessary or appropriate) and take or cause to be taken any action that Trustee may

reasonably deem necessary or appropriate to vest or perfect in the Trust or confirm to the

Trustee title to and possession of the Trust Assets with such fees, expenses and costs to be paid

by the Trust. The Trustee shall have no duty to arrange for any of the transfers contemplated

under this Agreement or by the Plan or to ensure their compliance with the terms of the Plan

and the Confirmation Order and shall be conclusively entitled to rely on the legality and validity

of such transfers.

               2.3.3   Title to Trust Assets. Pursuant to the Plan, all of the Debtor’s and its

Estate’s right, title, and interest in and to the Trust Assets, including all such assets held or

controlled by third parties, are automatically vested in the Trust on the Effective Date, free and

clear of Claims, Liens, encumbrances, charges, and other interests except as otherwise provided

in the Plan, and such transfer is on behalf of the Beneficiaries to establish the Trust. The Trust

shall be authorized to obtain possession or control of, liquidate, and collect all of the Trust

Assets in the possession or control of third parties, consistent with the provisions of the Plan

and Confirmation Order. To the extent any law or regulation prohibits the transfer of ownership

of any of the Trust Assets from the Debtor and its Estate to the Trust and such law is not

superseded by the Bankruptcy Code, the Trust’s interest shall be a lien upon and security

interest in such Trust Assets, in trust, nevertheless, for the sole use and purposes set forth in

Section 2.2 of this Agreement, and this Agreement shall be deemed a security agreement

granting such interest thereon without need to file financing statements or mortgages. By

executing this Agreement, the Trustee on behalf of the Trust hereby accepts all of such property




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as Trust Assets, to be held in trust for the Beneficiaries, subject to the terms of this Agreement,

the Plan, and Confirmation Order.

      2.4       Capacity of Trust. Notwithstanding any state or federal law to the contrary or

anything herein, the Trust shall itself have the capacity, in its own right and name, to act or

refrain from acting, including the capacity to sue and be sued and to enter into contracts. The

Trust may alone be the named movant, respondent or party plaintiff or defendant, or the like in

all adversary proceedings, contested matters, and other state or federal proceedings brought by

or against it, and may settle and compromise all such matters in its own name.

      2.5       Acceptance by Trustee. The Trustee accepts its appointment as Creditor Trustee

of the Trust.

                                         ARTICLE III

            PAYMENT OF ACCRUED PROFESSIONAL COMPENSATION CLAIMS OF
            RETAINED PROFESSIONALS, ALLOWED SECURED CLAIM OF AUXO,
                  AND ALLOWED CLAIMS OF UNSECURED CREDITORS

      3.1       Administrative Expense Claims of Retained Professionals.

                3.1.1 On the Effective Date, cash in the Professional Fee Account shall be

transferred to the Trustee for the benefit of the Retained Professionals. Upon the entry of a

Final Order by the Bankruptcy Court approving the Accrued Professional Compensation Claims

of the Retained Professionals, the Trustee shall pay each Retained Professional such pro rata

amounts as authorized by the Bankruptcy Court and as provided in the Plan. If the amount in

the Professional Fee Escrow Account is less than the Accrued Professional Compensation

Claims of the Retained Professionals, prior to any distribution of the net proceeds of the Causes

of Action to the Holders of Allowed Unsecured Claims, to the extent that a Retained

Professional has not been paid in full on its Accrued Professional Compensation Claims

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 approved by the Bankruptcy Court from the Professional Fee Escrow Account, the net proceeds

 of the Causes of Action shall first be used to pay the administrative expenses of the Trustee and

 his professionals to administer the Trust, and then to the Retained Professionals for outstanding

 Accrued Professional Compensation Claims.

              3.1.2   Without limiting the foregoing, and notwithstanding anything to the

contrary herein, the Trustee shall maintain a Professional Fee Escrow Account for the benefit of

Retained Professionals (i.e., in a separate bank account). On or before the Effective Date, the

Debtor shall provide the Trustee with an open register of how much money is escrowed for each

Retained Professional. The Professional Fee Escrow Account and amounts funded therein for a

Retained Professional are and shall continue to be maintained in trust solely for each Retained

Professional and as specifically allocated for each Retained Professional in the First Amended

Cash Collateral Order [ECF No. 269] and the Order Approving Employment of Special Counsel

[ECF No. 229]. Notwithstanding anything to the contrary in this Agreement, the funds in the

Professional Fee Escrow Account shall not be considered property of the Debtor, its Estate, or the

Trust; provided, however, the Trust shall have a reversionary interest in any Cash remaining in

the Professional Fee Escrow Account after payment in full of all Accrued Professional

Compensation Claims without any further notice, action or order of the Bankruptcy Court.

Unless otherwise agreed to (1) by the Debtor and the Retained Professional prior to the Effective

Date, or (2) by the Trustee and the Retained Professional after the Effective Date, the amount of

Professional Fee Claims owing to the Retained Professionals shall be paid in Cash to such

Retained Professionals by the Trustee as soon as reasonably practicable after such Professional

Fee Claims are Allowed by final order of the Bankruptcy Court, first from the Professional Fee

Escrow Account and second, as provided in Section 3.1.1 of this Agreement. For the avoidance of



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doubt, the amount escrowed for each Retained Professional on the Effective Date is not a cap on

such Retained Professional’s Professional Fee Claim.

        3.2    Allowed Secured Claim of Auxo. The net recoveries from the Covid Testing

Claims, after payment of such amounts owed to Special Counsel, plus the actual and necessary

fees of the Trustee in recovering or compromising such recoveries, shall be distributed by the

Trustee, as follows: (a) the first $9.2 million shall be distributed to Auxo as a Beneficiary under

the Trust, (b) the next $1.0 million to the Trustee for the pro rata payment of the Allowed Claims

of the Unsecured Creditors, as Beneficiaries under the Trust, (c) then, once Auxo receives eighty

percent (80%) of the amount owed on its Allowed Secured Claim, each dollar received thereafter

by the Liquidating Trustee shall be split with fifteen percent (15%) of such recoveries for pro

rata payment of the Allowed Claims of the Unsecured Creditors and eighty-five percent (85%) of

such recoveries for payment of the Allowed Secured Claim of Auxo until Auxo is paid in full on

its Allowed Secured Claim. Thereafter, all such recoveries, net of fees and expenses of the

Trust, shall be paid pro rata to the Allowed Unsecured Claims, in accordance with the Plan.

        3.3    Allowed Claims of Unsecured Creditors. The Allowed Unsecured Claims shall

be paid as provided in Section 3.2 of this Agreement. Additionally, the Allowed Unsecured

Claims shall receive, on a pro rata basis, the proceeds of the Causes of Action, including the

Avoidance Actions, after payment in full of the and his professionals and all Accrued

Professional Compensation Claims owed to the Retained Professionals to the extent of any

deficiency owed to them beyond the Professional Fee Escrow.




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                                          ARTICLE IV

                               ADMINISTRATION OF TRUST

       4.1       Rights, Powers, and Privileges of Trustee Generally.      Except as otherwise

provided in this Agreement, the Plan, or the Confirmation Order, as of the date that the Trust

Assets are transferred to the Trust, the Trustee on behalf of the Trust may control and exercise

authority over the Trust Assets, over the acquisition, management, settlement and disposition

thereof, and over the management and conduct of the affairs of the Trust. In administering the

Trust Assets, the Trustee shall endeavor not to unduly prolong the Trust’s duration, with due

regard that undue haste in the administration of the Trust Assets may fail to maximize value for

the benefit of the Beneficiaries and otherwise be imprudent and not in the best interests of the

Beneficiaries.

                 4.1.1 Power to Contract. In furtherance of the purpose of the Trust, and except

as otherwise specifically restricted in the Plan, Confirmation Order, or this Agreement, the

Trustee shall have the right and power on behalf of the Trust, and also may cause the Trust, to

enter into any covenants or agreements binding the Trust, and to execute, acknowledge, and

deliver any and all instruments that are necessary or deemed by the Trustee to be consistent with

and advisable in furthering the purpose of the Trust.

                 4.1.2 Ultimate Right to Act Based on Advice of Counsel or Other Professionals.

Nothing in this Agreement shall be deemed to prevent the Trustee from taking or refraining to

take any action on behalf of the Trust that, based upon the advice of counsel or other

professionals, the Trustee determines it is obligated to take or to refrain from taking in the

performance of any duty that the Trustee may owe the Beneficiaries or any other Person under

the Plan, Confirmation Order, or this Agreement.



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               4.1.3 Compromise and Settlement of the Covid Testing Claims. Before the

Trustee can compromise or settle the Covid Testing Claims for less than their face value, the

Trustee shall consult with the Post-Confirmation Committee, Auxo and Special Counsel over

the risks and benefits associated with settling the Covid Testing Claims.         Until the Covid

Testing Claims have resulted in a net recovery of $9.2 million, the Trustee shall take into

special consideration Auxo’s position and its Allowed Secured Claim in the Covid Testing

Claims with respect to any compromise or settlement of the Covid Testing Claims, after

consultation with Auxo and the Post-Confirmation Committee. Once the Covid Testing Claims

have resulted in a net recovery of at least $10.2 million, the Trustee shall give consideration to

Auxo’s position with respect to any compromise proposed by Special Counsel until Auxo has

received eighty percent (80%) on account of its Allowed Secured Claim, but prior to that time,

the Trustee shall exercise his business judgment in deciding whether to compromise the Covid

Testing Claims.    If a dispute arises as to whether the Covid Testing Claims should be

compromised, the Trustee or Auxo may seek a ruling from the Bankruptcy Court.

       4.2    Powers of Trustee. Without limiting the generality of the above Section 4.1, in

addition to the powers granted in the Plan, the Trustee shall have the power to take the

following actions on behalf of the Trust and any powers reasonably incidental thereto that the

Trustee, in its reasonable discretion, deems necessary or appropriate to fulfill the purpose of the

Trust, unless otherwise specifically limited or restricted by the Plan or this Agreement:

               4.2.1 To act on behalf of the Trust, including the right to effectuate all actions

and execute all agreements, instruments and other documents, and exercise all rights and

privileges previously held by the Debtor, necessary or convenient to implement the provisions

of the Plan and this Trust Agreement;



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               4.2.2 Except as provided in Section 4.1.3, with respect to any Trust Assets, to

exercise in a manner not inconsistent with the Plan all power and authority that may be or could

have been exercised, commenced or continued and take all actions that may be or could have

been taken by any officer, director, or shareholder of the Debtor with like effect as if authorized,

exercised and taken by unanimous action of such officers, directors and shareholder;

               4.2.3 To manage, monitor and enforce all of the Debtor’s and the Estate’s rights

and interests under the Plan, the Confirmation Order, the Trust Agreement, any other

agreements of the Debtor, and any other Orders of the Bankruptcy Court;

               4.2.4 To authorize and make distribution to holders of Allowed Claims

provided for or contemplated under the Plan or Trust Agreement, including, without limitation,

Article 3 of the Trust Agreement;

               4.2.5 Except to the extent set forth in the Plan, to object to any Trust Claims

regardless of whether such Claim was Disputed on the Effective Date, to compromise or settle

any Trust Claim regardless of whether such Claim was Disputed on the Effective Date, subject

to the terms of Section 4.1.3 as relates to the Covid Testing Claims, it being understood that

prior to an objection to a Trust Claim, the Trustee may act without supervision or approval of

the Bankruptcy Court, free of any restriction of the Bankruptcy Code, the Bankruptcy Rules,

and the guidelines and requirements of the U.S. Trustee, other than those restrictions expressly

imposed by the Plan, the Confirmation Order or the Trust Agreement;

               4.2.6 To make decisions, without further Bankruptcy Court approval, regarding

the retention or engagement of professionals, employees, and consultants by the Trust and the

Trustee and to pay the fees and charges incurred by the Trustee or the Trust’s behalf on or after

the Effective Date;

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               4.2.7 To (a) file, if necessary, any and all tax and information returns required

with respect to the Trust as a grantor trust pursuant to Treas. Reg. 1.671-4(a) or otherwise,

(b) make tax elections by and on behalf of the Trust, and (c) pay taxes, if any, payable by the

Trust;

               4.2.8 To take all other actions not inconsistent with the provisions of the Plan

that the Trustee deems reasonably necessary or desirable with respect to administering the Plan;

               4.2.9 To implement and/or enforce all provisions of the Plan, including entering

into any agreement or executing any document required by or consistent with the Plan, the

Confirmation Order or the Trust Agreement;

               4.2.10 To abandon in any commercially reasonable manner, including

abandonment or donation to a charitable organization of its choice, any Trust Assets in the

reasonable business judgment of the Trustee;

               4.2.11 Except as otherwise set forth herein, to prosecute and/or settle any

Causes of Action, with or without approval of the Bankruptcy Court, and exercise, participate in

or initiate any proceeding before the Bankruptcy Court or any other court of appropriate

jurisdiction and participate as a party or otherwise in any administrative, arbitrative or other

nonjudicial proceeding and pursue to settlement or judgment such Causes of Action;

               4.2.12 To purchase or create and carry all insurance policies and pay all

insurance premiums and costs the Trustee deems necessary or advisable, and to exercise any

and all rights held by the holder of such insurance policies;

               4.2.13 To collect and liquidate and/or distribute all Trust Assets pursuant to the

Plan, the Confirmation Order, and the Trust Agreement;



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               4.2.14 To calculate and make all distributions on behalf of the Trust to holders

of Allowed Claims provided for in, or contemplated by, the Plan and this Agreement, including,

without limitation, all Accrued Professional Compensation Claim, Allowed Secured Claims,

and Allowed Unsecured Claims;

               4.2.15 To establish, adjust and maintain any reserves for Disputed Trust Claims

administered by the Trust;

              4.2.16 To hold legal title to any and all of the Trust Assets;

               4.2.17 If any of the Trust Assets are situated in any state or other jurisdiction in

which the Trustee is not qualified to act as trustee, to nominate and appoint a Person duly

qualified to act as trustee in such state or jurisdiction in accordance with Section 9.9 of this

Agreement;

               4.2.18 To retain any and all insurance policies of the Debtor providing

coverage with respect to Causes of Action and exercise any and all rights held by the holder of

such insurance policies;

               4.2.19      In reliance upon the Debtor’s Schedules and the Claims Register

maintained in the Chapter 11 Case, maintain a register evidencing the beneficial interest herein

held by each Beneficiary and, in accordance with Section 4.8 of this Agreement, such register

may be the official Claims register maintained in the Chapter 11 Case to the extent of any Trust

Claim is reflected thereon;

               4.2.20 Exercise such other powers as may be vested in or assumed by the

Trustee pursuant to the Plan, the Trust Agreement, the Confirmation Order, other orders of the

Bankruptcy Court, or as may be necessary and proper to carry out the provisions of the Plan.


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Solely with respect to any Trust Asset, the Trustee shall stand in the same position as the Debtor

with respect to any claim the Debtor may have to an attorney-client privilege, the work-product

doctrine, or any other privilege, and the Trustee shall have the ability to raise all of the Debtor’s

rights to preserve, or assert any such privilege; and succeed to all of the Debtor’s rights to

preserve or assert any such privilege; and

                4.2.21 To file an application for entry by the Bankruptcy Court of a final decree

closing the Chapter 11 Case.

       4.3      Authority. No Person dealing with the Trust shall be obligated to inquire into the

Trustee’s authority in connection with the receipt, preservation, management, or disposition of

Trust Assets.

       4.4      Abandonment.     If, in the Trustee’s reasonable judgment, any non-cash Trust

Assets cannot be sold in a commercially reasonable manner (if applicable) or the Trustee

believes in good faith that such property has inconsequential value to the Trust or its

Beneficiaries, the Trustee shall have the right to cause the Trust to abandon or otherwise dispose

of such property, without further authority or approval of the Bankruptcy Court, including by

donation of such property to a charitable organization.

       4.5      Responsibility for Administration of Trust Claims. From and after the Effective

Date, the Trust shall be responsible for, among other things, administering and paying

distributions provided for under the Plan to Trust Beneficiaries. Except as expressly provided

otherwise in the Plan, and except to the extent the applicable Trust Claims have been previously

Allowed prior to the Effective Date, the Trust shall control and effectuate the Trust Claims

reconciliation process, including to compromise or settle any Trust Claim without any further

notice to or action, order or approval by the Bankruptcy Court, or to object to or seek to

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subordinate any Trust Claim, except as otherwise provided in this Agreement. The Trust shall be

entitled to assert all of the Debtor’s and the Estate’s rights, without limitation, under section 558

of the Bankruptcy Code. The Trust may also seek estimation of any Trust Claims under and

subject to section 502(c) of the Bankruptcy Code.

       4.6     Post-Confirmation Committee. In accordance with the Plan, on the Effective

Date, a Post-Confirmation Committee, consisting of those members of the Official Committee of

Unsecured Creditors appointed by the U.S. Trustee in the Chapter 11 Case [ECF Nos. 68 and 70]

that are willing to serve shall be appointed to the Post-Confirmation Committee. The Trustee

shall consult with the Post-Confirmation Committee as relates to any material action to be taken

under the Trust and, as he may deem further necessary or appropriate, before taking action under

this Agreement in accordance with the Plan.

       4.7     Agents and Professionals. The Trustee may, but shall not be required to, consult

with and retain attorneys, financial advisors, accountants, appraisers, and other professionals the

Trustee believes have qualifications necessary to assist in the administration of the Trust,

including professionals previously retained by the Committee or by the Debtor.              For the

avoidance of doubt, and without limitation of applicable law, nothing in this Agreement shall

limit the Trustee from engaging counsel or other professionals, including the Trustee’s firm or

their affiliates, to do work for the Trust. The Trustee may pay the reasonable salaries, fees and

expenses of such Persons in the ordinary course of business.

       4.8     Safekeeping and Investment of Trust Assets. All Trust Assets received by the

Trustee shall, until liquidated, if necessary, and distributed or paid over time as provided herein

and in the Plan, be held in trust for the benefit of the Beneficiaries, but need not be segregated in

separate accounts from other Trust Assets (except for the Professional Fee Escrow Account and

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the account for the Covid Testing Claims, as provided in Article III of this Agreement), unless

and to the extent required by law or the Plan. The Trustee shall not be under any obligation to

invest Trust Assets. Neither the Trust nor the Trustee shall have any liability for interest or

producing income on any Cash received by them and held for distribution or payment to the

Beneficiaries, except as such interest shall actually be received by the Trust or Trustee, which

shall be distributed consistent with the Plan. Except as otherwise provided by the Plan, the

powers of the Trustee to invest any Cash held by the Trust, other than those powers reasonably

necessary to maintain the value of the assets and to further the Trust’s Creditor purpose, shall be

limited to powers to invest in demand and time deposits, such as short-term certificates of

deposit, in banks or other savings institutions, or other temporary liquid investments, such as

treasury bills and short-term money market funds; provided, however, that the scope of

permissible investments shall be limited to include only those investments that a liquidating trust,

within the meaning of Treas. Reg. § 3.01.7701-4(d), may be permitted to hold pursuant to the

Treasury Regulations, or any modification of the IRS guidelines, whether set forth in IRS

rulings, IRS pronouncements, or otherwise. Notwithstanding the foregoing, the Trustee shall not

be prohibited from engaging in any trade or business on its own account, provided that such

activity does not interfere or conflict with the Trustee’s administration of the Trust.

       4.9       Maintenance and Disposition of Trust and Debtor Records. The Trustee shall

maintain accurate records of the administration of Trust Assets, including receipts and

disbursements and other activity of the Trust. The Trust may, but has no obligation to, engage a

claims agent to continue to maintain and update the Claims Register maintained in the Chapter

11 Case throughout the administration of the Trust. In any case, to the extent of any Trust

Claims reflected thereon, the Claims Register may serve as the Trustee’s register of beneficial


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interests held by Beneficiaries. Except as provided in the Order: (I) Authorizing the Sale of

Substantially All of the Debtor’s Assets Pursuant to § 363 of the Bankruptcy Code, Free and

Clear of All Liens, Claims, Interests and Encumbrances; (II) Authorizing and Approving the

Terms of the Debtor’s Asset Purchase Agreement and Related Agreements and Authorizing the

Consummation of the Transactions Contemplated Therein Including the Assumption and

Assignment of Certain Specified Executory Contracts and Unexpired Leases; and (III) Granting

Related Relief [ECF No. 279] and the Confirmation Order, the books and records maintained by

the Trustee and any records of the Debtor transferred to the Trust may be disposed of by the

Trustee at the later of (i) such time as the Trustee determines that the continued possession or

maintenance of such books and records is no longer necessary for the benefit of the Trust or its

Beneficiaries and (ii) upon the termination and completion of the winding down of the Trust.

For the avoidance of doubt, nothing herein creates an independent right for Beneficiaries to

obtain such books and records.

       4.10   Reporting Requirements and Payment of Statutory Fees.

               4.10.1 The Trustee shall provide the U.S. Trustee and the Bankruptcy Court the

information and reports they may reasonably request concerning Trust administration.

               4.10.2 The Trustee shall file with the Bankruptcy Court and submit to the U.S.

Trustee regular post-confirmation quarterly disbursement reports, on or before the twenty-first

(21st) day of each of January, April, July, and October, as appropriate, until the Chapter 11 Case

is closed, converted, or dismissed, whichever happens earlier.

               4.10.3 The Trustee shall file with the Bankruptcy Court and submit to the U.S.

Trustee the final reports for the Debtor.




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                 4.10.4 The Trustee shall pay all statutory fees from the Trust Assets as such fees

become due and payable.

          4.11   No Bond Required; Procurement of Insurance. Notwithstanding any state or other

applicable law to the contrary, the Trustee (including any successor Trustee) shall be exempt

from giving any bond or other security in any jurisdiction and shall serve hereunder without

bond. The Trustee is hereby authorized, but not required to obtain all reasonable insurance

coverage for itself, its agents, representatives, employees or independent contractors, including,

without limitation, coverage with respect to the liabilities, duties and obligations of the Trustee

and its agents, representatives, employees or independent contractors under this Agreement. The

cost of any such insurance coverage shall be an expense of the Trust and paid out of Trust

Assets.

                                           ARTICLE V

                                        DISTRIBUTIONS

          5.1    Distribution and Reserve of Trust Assets. Following the transfer of Trust Assets

to the Trust, the Trustee shall make continuing efforts on behalf of the Trust to collect, liquidate,

and distribute all Trust Assets to Beneficiaries (subject to any reserves administered by the Trust)

as well as to holders of Accrued Professional Compensation Claims, Secured Claims, and

Unsecured Claims in accordance with the Plan.

                 5.1.1 Distributions to Beneficiaries. In accordance with the Plan and Article III

of this Agreement, the Trustee shall cause the Trust to distribute, when practicable, the Trust’s

net Cash income and net Cash proceeds from the liquidation of the Trust Assets to the

Beneficiaries, except the Trust may retain an amount of net income and other Trust Assets

reasonably necessary to maintain the value of the Trust Assets or to meet expenses, claims and

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contingent liabilities of the Trust and Trustee; provided that the Trustee shall have no obligation

to make a distribution on account of an Allowed Claim if the amount to be distributed to the

holder of such Claim is less than $50.00, which shall be treated as a De Minimis Distribution

under Article VI, Section B(3)(c) of the Plan.

               5.1.2 Reserves; Pooling of Reserved Funds. Before any distribution can be

made, the Trustee may, in its reasonable discretion, establish, supplement, and maintain

reserves in an amount sufficient to meet any and all reasonable expenses and liabilities of the

Trust, including, but not limited to, reasonable attorneys’ fees and expenses and the fees and

expenses of other professionals. In accordance with Section 4.2.15 of this Agreement, the Trust

may also maintain, as necessary, a reserve for Disputed Trust Claims. For the avoidance of

doubt, the Trustee may withhold any distribution pending the Trust’s determination of whether

to object to a Trust Claim. Except as otherwise provided in this Agreement, the Trustee need

not maintain the Trust’s reserves in segregated bank accounts and may pool funds in the

reserves with each other and other funds of the Trust; provided, however, the Trust shall treat all

such reserved funds as being held in a segregated manner in its books and records.

               5.1.3 Distributions Net of Reserves and Costs. Distributions to Beneficiaries

shall be made net of reserves in accordance with the Plan and this Agreement, and also net of

the actual and reasonable out-of-pocket costs of making the distributions to Beneficiaries.

               5.1.4 Right to Rely on Professionals. Without limitation of the generality of

Section 7.6 of this Agreement, in determining the amount of any distribution or reserves, the

Trustee may rely on the advice and opinion of the Trust’s financial advisors, accountants, or

other professionals.




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       5.2     Method and Timing of Distributions. Distributions to Beneficiaries shall be made

from the Trust in accordance with the terms of the Plan (in particular, Articles III and V) and this

Agreement.     The Trust may engage a Disbursing Agent or other Person to help make

distributions. For the avoidance of doubt, Beneficiaries will only be entitled to a distribution

from the Trust as provided in Article III and in accordance with the Plan.

       5.3     Withholding from Distributions. The Trustee, in its discretion, may cause the

Trust to withhold from amounts distributable from the Trust to any Beneficiary, any and all

amounts as may be sufficient to pay the maximum amount of any tax or other charge that has

been or might be assessed or imposed by any law, regulation, rule, ruling, directive, or other

governmental requirement on such Beneficiary or the Trust with respect to the amount to be

distributed to such Beneficiary. The Trustee shall determine such maximum amount to be

withheld by the Trust in its sole, reasonable discretion and shall cause the Trust to distribute to

the Beneficiary any excess amount withheld.

       5.4     Tax Identification Numbers. The Trustee may require any Beneficiary to furnish

an executed IRS Form and may condition any distribution upon receipt of such executed IRS

Form. If a Beneficiary does not timely provide the Trustee with an executed IRS Form, then

their Allowed Claim shall be deemed disallowed and expunged, and any Claim in respect thereof

shall be discharged and barred from assertion against the Trustee, the Trust or the Trust Assets.

       5.5     Unclaimed and Undeliverable Distributions. If any distribution to a Beneficiary is

returned to the Trustee as undeliverable or is otherwise unclaimed, no further distribution(s) to

such Beneficiary shall be made unless and until Beneficiary claims the distribution(s) by timely

notifying the Trustee in writing of any information necessary, including such Beneficiary’s then-

current address, to make the distribution in accordance with the Plan. If a Beneficiary timely

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provides the Trustee the necessary information under Article VII Section 7.4 of the Plan, all

missed distributions shall be made as soon as is practicable, without interest. Undeliverable or

unclaimed distributions shall be administered in accordance with Article VI, Section B(3)(a) of

the Plan.

                 5.5.1 No Responsibility to Attempt to Locate Beneficiaries. The Trustee may,

 in its sole discretion, attempt to determine a Beneficiary’s current address or otherwise locate a

 Beneficiary, but nothing in this Agreement or the Plan shall require the Trustee to do so.

                 5.5.2 Inapplicability of Unclaimed Property or Escheat Laws.            Unclaimed

 property held by the Trust shall not be subject to the unclaimed property or escheat laws of any

 state.

           5.6   Voided Checks; Request for Reissuance.           Distribution checks issued to

Beneficiaries shall be null and void if not negotiated within 6 months after the date of issuance

thereof. Distributions in respect of voided checks shall be treated as unclaimed distributions and

administered under Article VI, Section B(3)(a) and Section 5.5 of this Agreement. Requests for

reissuance of any check shall be made in writing directly to the Trustee by the Beneficiary that

was originally issued such check. All such requests shall be made promptly and in time for the

check to be reissued and cashed before the funds for the checks become unrestricted Trust

Assets, provided that such timing can be satisfied by the Trustee using commercially reasonable

efforts.

           5.7   Conflicting Claims. If any conflicting claims or demands are made or asserted

with respect to an Allowed Trust Claim under this Agreement, or if there is any disagreement

between the assignees, transferees, heirs, representatives or legatees succeeding to all or a part of

such an Allowed Trust Claim resulting in adverse claims or demands being made in connection

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with such Allowed Trust Claim, then, in any of such events, the Trustee shall be entitled, in its

sole discretion, to refuse to comply with any such conflicting claims or demands.

               5.7.1 The Trustee may elect to cause the Trust to make no payment or

distribution with respect to the beneficial interest subject to the conflicting claims or demand, or

any part thereof, and to refer such conflicting claims or demands to the Bankruptcy Court,

which shall have continuing jurisdiction over resolution of such conflicting claims or demands

as provided for in Article X, Section 1 of the Plan. Neither the Trust nor the Trustee shall be or

become liable to any of such parties for their refusal to comply with any such conflicting claims

or demands, nor shall the Trust or Trustee be liable for interest on any funds which may be so

withheld.

               5.7.2 The Trustee shall be entitled to refuse to act until either (i) the rights of the

adverse claimants have been adjudicated by a Final Order of the Bankruptcy Court; or (ii) all

differences have been resolved by a valid written agreement among all such parties to the

satisfaction of the Trustee, which agreement shall include a complete release of the Trust and

Trustee. Until the Trustee receives written notice that one of the conditions of the preceding

sentence is met, the Trustee may deem and treat Beneficiaries identified as the owner of that

interest in the books and records maintained by the Trustee, as the absolute owner under this

Agreement, of an Allowed Trust Claim. The Trustee may deem and treat such Beneficiary as

the absolute owner for purposes of receiving distributions and any payments on account thereof

for federal and state income tax purposes, and for all other purposes whatsoever.

               5.7.3 In acting or refraining from acting under and in accordance with this

Section 5.7 of the Agreement, the Trust and Trustee shall be fully protected and incur no




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liability to any purported claimant or any other Person pursuant to Article VII of this

Agreement.

                                           ARTICLE VI

                                         BENEFICIARIES

       6.1     Interest Beneficial Only. The ownership of a beneficial interest in the Trust shall

not entitle any Beneficiary to any title in or to the Trust Assets or to any right to call for a

partition or division of such assets or to require an accounting.


       6.2     Ownership of Beneficial Interests Hereunder.         Each Beneficiary shall own a

beneficial interest herein which shall, subject to Section 5.1 of this Agreement and the Plan, be

entitled to a distribution in the amounts, and at the times, set forth in the Plan and this

Agreement.

       6.3     Evidence of Beneficial Interest. Ownership of a beneficial interest in the Trust

Assets shall not be evidenced by any certificate, security, or receipt or in any other form or

manner whatsoever, except as maintained on the books and records of the Trust by the Trustee.

       6.4     No Right to Accounting. Neither the Beneficiaries nor their successors, assigns,

creditors, nor any other Person shall have any right to an accounting by the Trustee, and the

Trustee shall not be obligated to provide any accounting to any Person.             Nothing in this

Agreement is intended to require the Trustee at any time or for any purpose to file any

accounting or seek approval of any court with respect to the administration of the Trust or as a

condition for making any advance, payment, or distribution out of proceeds of Trust Assets.

       6.5     No Standing. Except as expressly provided in this Agreement, a Beneficiary shall

not have standing to direct or to seek to direct the Trust or Trustee to do or not to do any act or to


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institute any action or proceeding at law or in equity against any Person upon or with respect to

the Trust Assets.

       6.6     Requirement of Undertaking. The Trustee may request the Bankruptcy Court to

require, in any suit for the enforcement of any right or remedy under this Agreement, or in any

suit against the Trustee for any action taken or omitted by it as Trustee, the filing by any party

litigant in such suit of an undertaking to pay the costs of such suit, including reasonable

attorneys’ fees, against any party litigant in such suit; provided, however, the provisions of this

Section 6.6 shall not apply to any suit by the Trustee.

       6.7     Limitation on Transferability. It is understood and agreed that the beneficial

interests herein shall be non-transferable and non-assignable during the term of this Agreement

except by operation of law, provided, however, each Beneficiary shall have the right to transfer

some or all of its Trust Interests one (1) time each calendar year and shall give the Trustee

prompt written notice thereof (each, a “Permitted Transfer”). The Trustee shall not have any

obligation to recognize any transfer of a Trust Interest occurring after the Effective Date other

than a Permitted Transfer, and only holders of Trust Interests of record as of the Effective Date,

and transferees of a Permitted Transfer, shall be entitled to be recognized for all purposes

hereunder.    An assignment by operation of law shall not be effective until appropriate

notification and proof thereof is submitted to the Trustee along with the identity and address of

the proper Person to succeed the Beneficiary’s interest, and the Trustee may continue to cause

the Trust to pay all amounts to or for the benefit of the assigning Beneficiaries until receipt of

proper notification and proof of assignment by operation of law. The Trustee may fully rely

upon any such proof and shall have no duty to investigate.




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       6.8     Exemption from Registration. The rights of the Beneficiaries arising under this

Agreement may be deemed “securities” under applicable law. However, such rights have not

been defined as “securities” under the Plan because (i) the parties hereto intend that such rights

shall not be securities and (ii) if the rights arising under this Agreement in favor of the

Beneficiaries are deemed to be “securities,” the exemption from registration under section 1145

of the Bankruptcy Code is intended to be applicable to such securities.           No party to this

Agreement shall make a contrary or different contention.

       6.9     Delivery of Distributions. Subject to the terms of this Agreement, the Trustee

shall cause the Trust to make distributions to Beneficiaries in the manner provided in the Plan

and in this Agreement.

                                         ARTICLE VII

               THIRD PARTY RIGHTS AND LIMITATION OF LIABILITY

       7.1     Parties Dealing with the Trustee. In the absence of actual knowledge to the

contrary, any Person dealing with the Trust or the Trustee shall be entitled to rely on the

authority of the Trustee or any of the Trustee’s agents to act in connection with the Trust Assets.

There is no obligation of any Person dealing with the Trustee to inquire into the validity or

expediency or propriety of any transaction by the Trustee or any agent of the Trustee.

       7.2     Limitation of Trustee’s Liability. In exercising the rights granted herein, the

Trustee shall exercise the Trustee’s best judgment, and, to that end, the affairs of the Trust shall

be properly managed and the interests of all of the Beneficiaries safeguarded. However,

notwithstanding anything herein to the contrary, neither the Trustee nor its firms, companies,

affiliates, partners, officers, directors, members, employees, professionals, advisors, attorneys,

financial advisors, investment bankers, disbursing agents, or agents, and any of such Person’s


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successors and assigns (collectively, the “Trustee Parties”) shall incur any responsibility or

liability, and no Holder of a Claim or Interest or any other party in interest shall have, or

otherwise pursue, any claim or Cause of Action against the Trustee or the Trustee Parties, by

reason of or relating to any error of law or fact or of any matter or thing done or suffered or

omitted to be done under or in connection with this Agreement, whether sounding in tort,

contract, or otherwise, except for fraud, gross negligence, or willful misconduct that is found by

a Final Order (not subject to further appeal or review) to be the direct and primary cause of loss,

liability, damage, or expense suffered by the Trust.

       7.3     No Liability for Acts of Other Persons. None of the Persons identified in the

immediately preceding Section 7.2 of this Agreement shall be liable for the act or omission of

any other Person identified in that Section.

       7.4     No Liability for Acts of Predecessors. No successor Trustee shall be in any way

responsible for the acts or omissions of any Trustee in office prior to the date on which such

successor becomes the Trustee, unless a successor Trustee expressly assumes such responsibility.

       7.5     No Liability for Good Faith Error of Judgment. The Trustee shall not be liable for

any error of judgment made in good faith, unless it shall be finally determined by a Final Order

that the Trustee was grossly negligent in ascertaining the pertinent facts before exercising such

judgment.

       7.6     Reliance by Trustee on Documents and Advice of Counsel or Other Persons.

Except as otherwise provided herein, the Trustee may rely in acting upon any resolution,

certificate, statement, instrument, opinion, report, notice, request, consent, order or other paper or

document believed by the Trustee to be genuine and to have been signed or presented by the

proper party or parties. The Trustee also may engage and consult with its legal counsel and other

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agents and advisors, and may rely upon the advice of such counsel, agents, or advisors for any

action taken, omitted, or suffered by the Trustee.

       7.7     No Liability for Acts Approved by Bankruptcy Court. The Trustee shall have the

right at any time to seek instructions from the Bankruptcy Court concerning the administration or

disposition of the Trust Assets and Trust Claims required to be administered by the Trust. The

Trust and Trustee shall not be liable for any act or omission that has been approved by the

Bankruptcy Court, and all such actions or omissions shall conclusively be deemed not to

constitute fraud, gross negligence, or willful misconduct.

       7.8     No Personal Obligation for Trust Liabilities. Persons dealing with the Trustee

shall have recourse only to the Trust Assets to satisfy any liability incurred by the Trustee to any

such Person in carrying out the terms of this Agreement, and the Trustee shall have no personal,

individual obligation to satisfy any such liability.

       7.9     Indemnification. The Trustee and its consultants, agents, attorneys, accountants,

financial advisors, beneficiaries, estates, employees, officers, directors, principals, professionals,

and other representatives, each in their representative capacity as such, and any of such parties’

successors and assigns (collectively, the “Indemnified Parties” and each, an “Indemnified Party”)

shall, to the fullest extent permitted by applicable law, be defended, held harmless, and

indemnified by the Trust from time to time and receive reimbursement from and against any and

all loss, liability, expense (including reasonable counsel fees), or damage of any kind, type or

nature, whether sounding in tort, contract, or otherwise, that the Indemnified Parties may incur or

sustain in connection with the exercise or performance of any of the Trust’s or Trustee’s powers

and duties under this Agreement or in rendering services by the Indemnified Party to the Trust or

Trustee (the “Indemnified Conduct”), including, without limitation, the reasonable costs of

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counsel or others in investigating, preparing, defending, or settling any action or claim (whether

or not litigation has been initiated against the Indemnified Party) or in enforcing this Agreement

(including its indemnification provisions), except if such loss, liability, expense, or damage is

finally determined by a Final Order (not subject to further appeal or review) to result directly and

primarily from the fraud, gross negligence, or willful misconduct of the Indemnified Party

asserting this provision.

                7.9.1 Expense of Trust; Limitation on Source of Payment of Indemnification.

All indemnification liabilities of the Trust under this Section 7.9 shall be expenses of the Trust.

The amounts necessary for such indemnification and reimbursement shall be paid by the Trust

after reserving for all actual and anticipated expenses and liabilities of the Trust. The Trustee

shall not be personally liable for the payment of any Trust expense or claim or other liability of

the Trust, and no Person shall look to the Trustee or other Indemnified Parties personally for the

payment of any such expense or liability.

                7.9.2 Procedure for Current Payment of Indemnified Expenses; Undertaking to

Repay. The Trust shall reasonably promptly pay an Indemnified Party all amounts subject to

indemnification under this Section 7.9 on submission of invoices for such amounts by the

Indemnified Party. The Trustee shall approve the indemnification of any Indemnified Party and

thereafter shall approve any monthly bills of such Indemnified Party for indemnification. All

invoices for indemnification shall be subject to the approval of the Trustee. By accepting any

indemnification payment, the Indemnified Party undertakes to repay such amount promptly if it

is determined that the Indemnified Party is not entitled to be indemnified under this Agreement.

The Bankruptcy Court shall hear and finally determine any dispute arising out of this Section

7.9.


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       7.10    No Implied Obligations.        The Trustee shall not be liable except for the

performance of such duties and obligations as are specifically set forth herein, and no implied

covenants or obligations shall be read into this Agreement against the Trustee.

       7.11    Confirmation of Survival of Provisions. Without limitation in any way of any

provision of this Agreement, the provisions of this Article VII shall survive the death,

dissolution, liquidation, resignation, replacement, or removal, as may be applicable, of the

Trustee, or the termination of the Trust or this Agreement, and shall inure to the benefit of the

Trustee’s and the Indemnified Parties’ heirs and assigns.

                                         ARTICLE VIII

                                         TAX MATTERS
       8.1     Tax Treatment of Trust. Pursuant to and in accordance with the Plan, for all

federal income tax purposes, the Debtor, the Beneficiaries, the Trustee and the Trust shall treat

the Trust as a liquidating trust within the meaning of Treasury Income Tax Regulation Section

301.7701-4(d) and IRS Revenue Procedure 94-45 and transfer of the Trust Assets to the Trust

shall be treated as a transfer of the Trust Assets by the Debtor to the Beneficiaries in satisfaction

of their Allowed Trust Claims, followed by a transfer of the Trust Assets by the Beneficiaries to

the Trust in exchange for their Pro Rata beneficial interests in the Trust. The Beneficiaries shall

be treated as the grantors and owners of the Trust for federal income tax purposes.

       8.2     Annual Reporting and Filing Requirements. Pursuant to and in accordance with

the terms of the Plan and this Agreement, the Trustee shall file tax returns for the Trust as a

grantor trust pursuant to Treasury Income Tax Regulation Section 1.671-4(a).

       8.3     Tax Treatment of Reserves for Disputed Trust Claims. The Trustee may timely

elect to treat any Trust Assets allocable to Disputed Trust Claims as a “disputed ownership fund”

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(“DOF”) governed by Treasury Regulation Section 1.468B-9. If an election is made to report

any reserve for disputed claims as a DOF, the Trust shall comply with all federal and state tax

reporting and tax compliance requirements of the DOF, including but not limited to the filing of

a separate federal tax return for the DOF and the payment of federal and/or state income tax due.

       8.4     Valuation of Trust Assets. After the Effective Date, but in no event later than the

due date for timely filing of the Trust’s first federal income tax return (taking into account

applicable tax filing extensions), the Trustee shall (a) determine the fair market value of the Trust

Assets as of the Effective Date, based on the Trustee’s good faith determination and (b) establish

appropriate means to apprise the Beneficiaries of such valuation. The valuation shall be used

consistently by all parties (including, without limitation, the Debtor, the Trust, the Trustee, and

the Beneficiaries) for all federal income tax purposes.

                                          ARTICLE IX

                         SELECTION, REMOVAL, REPLACEMENT
                           AND COMPENSATION OF TRUSTEE

       9.1     Initial Trustee. As of the Effective Date, the initial trustee shall be Paul R. Hage,

as provided in the Plan and the Confirmation Order.

       9.2     Term of Service.      The Trustee shall serve until (a) the completion of the

administration of the Trust Assets and the Trust, including the winding up of the Trust, in

accordance with this Agreement and the Plan; (b) termination of the Trust in accordance with the

terms of this Agreement and the Plan; or (c) the Trustee’s resignation, death, incapacity or

removal. In the event that the Trustee’s appointment terminates by reason of death, dissolution,

liquidation, resignation or removal, the Trustee shall be immediately compensated for all

reasonable fees and expenses accrued but unpaid through the effective date of termination,



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whether or not previously invoiced. The provisions of Article VII of this Agreement shall

survive the resignation or removal of any Trustee.

       9.3     Removal of Trustee. Any Person serving as Trustee may be removed at any time

for cause. Any party in interest, on notice and hearing before the Bankruptcy Court, may seek

removal of the Trustee for cause. The Bankruptcy Court shall hear and finally determine any

dispute arising out of this Section.

       9.4     Resignation of Trustee. The Trustee may resign at any time on written notice to

the U.S. Trustee and the Bankruptcy Court. The resignation shall be effective on the later of

(i) the date specified in the notice of resignation and (ii) the date that is thirty (30) days after the

date such notice is filed with the Bankruptcy Court and served on the U.S. Trustee, Auxo (until it

is paid in full on its Secured Claim), and the Post-Confirmation Committee. In the event of a

resignation, the resigning Trustee shall render to the U.S. Trustee a full and complete accounting

of monies and assets received, disbursed, and held during the term of office of that Trustee.

       9.5     Appointment of Successor Trustee. Upon the resignation, death, incapacity, or

removal of a Trustee, the Bankruptcy Court shall appoint a successor Trustee on its own motion.

Any successor Trustee so appointed (a) shall consent to and accept its appointment as successor

Trustee, which may be done by e-mail or through acquiescence in not objecting to a motion for

approval of its appointment as successor Trustee and (b) shall not have any liability or

responsibility for the acts or omissions of any of its predecessor(s). Any successor Trustee may

be appointed to serve only on an interim basis.

       9.6     Powers and Duties of Successor Trustee. A successor Trustee shall have all the

rights, privileges, powers, and duties of its predecessor under this Agreement, the Plan, and

Confirmation Order.

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       9.7     Trust Continuance.        The resignation, death, incapacitation, dissolution,

liquidation, or removal of the Trustee shall not terminate the Trust or revoke any existing agency

created pursuant to this Agreement or invalidate any action theretofore taken by the Trustee.

       9.8     Compensation of Trustee and Costs of Administration. The Trustee shall be paid

on an hourly basis based on his then current hourly rate. The Trustee shall receive fair and

reasonable compensation for its services in accordance with the terms and conditions of the Plan.

All costs, expenses, and obligations incurred by the Trustee (or professionals who may be

employed by the Trustee in administering the Trust, in carrying out their other responsibilities

under this Agreement, or in any manner connected, incidental, or related thereto) shall be paid or

reserved for by the Trust from Trust Assets prior to any distribution to the Beneficiaries. A

successor Trustee shall also be entitled to reasonable and fair compensation in connection with

its services, which compensation may be different from the terms provided herein, plus the

reimbursement of reasonable and documented out-of-pocket expenses.

       9.9     Appointment of Supplemental Trustee. If the Trustee has a conflict or any of the

Trust Assets are situated in any state or other jurisdiction in which the Trustee is not qualified to

act as trustee, the Trustee shall nominate and appoint a Person duly qualified to act as trustee (the

“Supplemental Trustee”) with respect to such conflict, or in such state or jurisdiction, and require

from each such Supplemental Trustee such security as may be designated by the Trustee in its

discretion. In the event the Trustee is unwilling or unable to appoint a disinterested Person to act

as Supplemental Trustee to handle any such matter, the Bankruptcy Court, on notice and hearing,

may do so.     The Trustee or the Bankruptcy Court, as applicable, may confer upon such

Supplemental Trustee any or all of the rights, powers, privileges and duties of the Trustee

hereunder, subject to the conditions and limitations of this Agreement, except as modified or


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limited by the laws of the applicable state or other jurisdiction (in which case, the laws of the

state or other jurisdiction in which such Supplemental Trustee is acting shall prevail to the extent

necessary). To the extent the Supplemental Trustee is appointed by the Trustee, the Trustee shall

require such Supplemental Trustee to be answerable to the Trustee for all monies, assets and

other property that may be received in connection with the administration of all property. The

Trustee or the Bankruptcy Court, as applicable, may remove such Supplemental Trustee, with or

without cause, and appoint a successor Supplemental Trustee at any time by executing a written

instrument declaring such Supplemental Trustee removed from office and specifying the

effective date and time of removal.

                                          ARTICLE X

                                      DURATION OF TRUST

       10.1    Duration. Once the Trust becomes effective upon the Effective Date of the Plan,

the Trust and this Agreement shall remain and continue in full force and effect until the Trust is

terminated.

       10.2    Termination on Distribution of Trust Assets. Upon the distribution of all Trust

Assets in accordance with the provisions of the Plan, the Confirmation Order, and this

Agreement, the Trust shall terminate, and the Trustee shall have no further responsibility in

connection therewith except as may be required to effectuate such termination under relevant

law.

       10.3    Termination after Five Years. If the Trust has not been previously terminated

pursuant to Section 10.2 hereof, on the fifth (5th) anniversary of the Effective Date, unless the

Trust term has been extended by the Bankruptcy Court, upon motion of the Trustee, the Trustee

shall distribute all of the Trust Assets to the Beneficiaries in accordance with the Plan and this

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Agreement, and immediately thereafter the Trust shall terminate and the Trustee shall have no

further responsibility in connection therewith except to the limited extent set forth in Section

10.5 of this Agreement.

       10.4     No Termination by Beneficiaries. The Trust may not be terminated at any time

by the Beneficiaries.

       10.5     Continuance of Trust for Winding Up; Discharge and Release of Trustee. After

the termination of the Trust and solely for the purpose of liquidating and winding up the affairs

of the Trust, the Trustee shall continue to act as such until its responsibilities have been fully

performed. Except as otherwise specifically provided herein, upon the distribution of the Trust

Assets including all excess reserves, the Trustee, the Trust’s professionals and agents shall be

deemed discharged and have no further duties or obligations hereunder. Upon a motion by the

Trustee, the Bankruptcy Court may enter an order relieving the Trustee, its employees,

professionals, and agents of any further duties, discharging and releasing the Trustee, its

employees, professionals, agents from all liability related to the Trust, and releasing the Trustee’s

bond, if any.

                                           ARTICLE XI

                                       MISCELLANEOUS

       11.1     Cumulative Rights and Remedies. The rights and remedies provided in this

Agreement are cumulative and not exclusive of any rights and remedies under law or in equity.

       11.2     Notices. All notices to be given to Beneficiaries may be given by ordinary mail,

or may be delivered personally, to the Beneficiaries at the addresses appearing on the books and

records kept by the Trustee. Any notice or other communication which may be or is required to

be given, served, or sent to the Trustee shall be in writing and shall be sent by registered or

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certified United States mail, return receipt requested, postage prepaid, or transmitted by hand

delivery or facsimile (if receipt is confirmed) addressed as follows:

                      Paul R. Hage
                      Taft Stettinius & Hollister, LLP
                      27777 Franklin Road, Suite 2500
                      Southfield, Michigan 48034
                      phage@taftlaw.com
                      (248) 351-3000 (M) or (248) 727-1543 (D)


or to such other address as may from time to time be provided in written notice by the Trustee.

       11.3    Governing Law.       This Agreement shall be governed by and construed in

accordance with the laws of the State of Michigan, without giving effect to rules governing the

conflict of laws.

       11.4    Successors and Assigns. This Agreement shall inure to the benefit of and shall be

binding upon the Parties and their respective successors and assigns.

       11.5    Particular Words. Reference in this Agreement to any Section or Article is,

unless otherwise specified, to that such Section or Article under this Agreement. The words

“hereof,” “herein,” and similar terms shall refer to this Agreement and not to any particular

Section or Article of this Agreement.

       11.6    Execution. All funds in the Trust shall be deemed in custodia legis until such

times as the funds have actually been paid to or for the benefit of a Beneficiary, and no

Beneficiary or any other Person can execute upon, garnish or attach the Trust Assets or the

Trustee in any manner or compel payment from the Trust except by Final Order of the

Bankruptcy Court. Payments will be solely governed by the Plan and this Agreement.




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       11.7    Amendment.      This Agreement may be amended by order of the Bankruptcy

Court; provided, however, such amendment may not be inconsistent with the Plan or the

Confirmation Order.

       11.8    No Waiver. No failure or delay of any party to exercise any right or remedy

pursuant to this Agreement shall affect such right or remedy or constitute a waiver thereof.

       11.9    No Relationship Created.      Nothing contained herein shall be construed to

constitute any relationship created by this Agreement as an association, partnership, or joint

venture of any kind.

       11.10 Severability. If any term, provision covenant or restriction contained in this

Agreement is held by a court of competent jurisdiction or other authority to be invalid, void,

unenforceable or against its regulatory policy, the remainder of the terms, provisions, covenants

and restrictions contained in this Agreement shall remain in full force and effect and shall in no

way be affected, impaired or invalidated.

       11.11 Counterparts. This Agreement may be executed simultaneously in one or more

counterparts, each of which shall be deemed an original and all of which together shall constitute

one and the same instrument.

       11.12 Jurisdiction. The Bankruptcy Court shall have jurisdiction regarding the Debtor,

Trust, Trustee, and Trust Assets, including, without limitation, the determination of all disputes

arising out of or related to administration of the Trust. The Bankruptcy Court shall have

continuing jurisdiction and venue to hear and finally determine all disputes and related matters

among the Parties arising out of or related to this Agreement or the administration of the Trust.

The Parties expressly consent to the Bankruptcy Court hearing and exercising such judicial



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power as is necessary to finally determine all such disputes and matters. If the Bankruptcy Court

abstains from exercising, or declines to exercise, jurisdiction or is otherwise without jurisdiction

over any matter arising in, arising under, or related to the Chapter 11 Case, including the matters

set forth in this Agreement, the provisions of this Agreement shall have no effect on and shall not

control, limit or prohibit the exercise of jurisdiction by any other court having competent

jurisdiction with respect to such matter, and all applicable references in this Agreement to an

order or decision of the Bankruptcy Court shall instead mean an order or decision of such other

court of competent jurisdiction.

       IN WITNESS WHEREOF, the Parties have or are deemed to have executed this

Agreement as of the day and year written above.


                                                 ARK LABORATORY, LLC

                                                 By:

                                                 Name: James Grossi

                                                 Title: Member

                                                 THE LIQUIDATING TRUSTEE

                                                 By:

                                                 Name: Paul R. Hage

                                                 Title: Trustee




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                        UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MICHIGAN

    In the Matter of:

    ARK LABORATORY, LLC,                                Case No. 23-43403-mlo
                                                        Chapter 11
              Debtor.                                   Hon, Maria L. Oxholm
    ____________________________________/

                         EXHIBIT B TO PLAN SUPPLEMENT

                  NON-EXCLUSIVE LIST OF CAUSES OF ACTION
                    AND AVOIDANCE ACTIONS RESERVED
                      UNDER THE DEBTOR’S COMBINED
                     DISCLOSURE STATEMENT AND PLAN1

          Pursuant to Article IV, Section B. of the Plan, on the Effective Date2 any and
    all Causes of Action including, without limitation, Avoidance Actions arising under
    Chapter 5 of the Bankruptcy Code (specifically, §§544, 545, 546, 547, 548, 549, 550
    and 553 of the Bankruptcy Code) in connection with any transfers described in
    Debtor’s Schedules, and any and all claims discovered or which may be discovered
    by the Committee or the Liquidating Trustee through investigation of the Debtor,
    whether or not such claims are specifically described in this Exhibit B to the Plan
    Supplement, shall be reserved and preserved by, and for the benefit of, the Debtor’s
    Estate and thereafter, the Liquidating Trust and the Causes of Action and the net
    proceeds of such Causes of Action and collection rights and proceeds collectable
    under any applicable insurance policies including directors and officers policies of
    the Debtor shall be assigned and transferred to the Liquidating Trust for distribution
    subject to all of the terms and conditions of the Plan. Following the Effective Date,
    Causes of Action may be prosecuted only by the Liquidating Trustee.

          The Liquidating Trustee has the full power to bring and prosecute any Causes
    of Action against any party, including, but not limited to, those parties and Causes
    of Action specifically identified below. Such power shall include the power to sue

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 This list supplements and is in addition to the preserved Causes of Action, including
avoidance actions, delineated in the Debtor’s Combined Disclosure Statement and
Plan (collectively, the “Plan”) and described in Exhibit B to the Plan [ECF No. 249].

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 All capitalized terms contained herein shall have the meanings ascribed to them in
the Plan, unless otherwise stated to the contrary.
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on behalf of the Estate, to compromise any claim and to collect amounts due on any
Cause of Action or pending Cause of Action. Except as otherwise provided in the
Plan, in accordance with section 1123(b) of the Bankruptcy Code, the Liquidating
Trust, through the Liquidating Trustee shall retain and may in its discretion and
business judgment (except as otherwise limited by the Plan and Liquidating Trust
Agreement) enforce Causes of Action, including Avoidance Actions, claims and
defenses and counterclaims to all Claims asserted against the Debtor and its Estate,
including but not limited to, setoff, recoupment, and any rights under section 502(d)
of the Bankruptcy Code.

 Potential Adverse Parties                  Potential Claim or Cause of Action

 Former and current members and/or
 officers and directors of the Debtor: Claims, including claims under the
                                       Directors and Officers Liability Policy
 1. Brian Tierney (“Tierney”)          for breach of fiduciary duties

 2. Nameer Kiminaia (“Kiminaia”)       Claims arising under the January 19,
                                       2021 Membership Interest Redemption
 3.The Tierney Family Trust, Dated Agreement (“MIRA”) by and among
 December 21, 2018 (“Tierney Trust”)   the Debtor, Tierney, Kiminaia, Grossi,
                                       the Tierney Trust and the Kiminaia
 4. The Nameer Kiminaia Living Trust Trust, that include, among other things,
 Dated May 31, 2019 (“Kiminaia Trust”) that the transfers made thereon are (i)
                                       avoidable as fraudulent conveyances
 5. James Grossi (“Grossi”)            and preferences under the Bankruptcy
                                       Code and the Michigan Voidable
 6. Lou Perez                          Transactions        Act       (“Avoidable
                                       Transfer(s)”), (ii) constitute an unlawful
 7. Jay Wolgin                         redemption, (iii) constitute a breach of
                                       contract, (iv) constitute a usurpation of
 8. Rachel Brown                       corporate opportunities, and (v) are a
                                       breach of fiduciary duties and breach of
 9. Liam Dillion                       contract of any noncompete or non-
                                       solicitation agreements with the Debtor
 10. Hamid Sattar
                                       In addition to claims arising under the
 11. Any other unnamed current or past MIRA, claims for any transaction
 officers or directors                 between the Debtor and current and
                                       former members and/or directors and


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                                   officers for any Avoidable Transfer(s)
                                   including excessive compensation or
 12. Noticing party:               unlawful distribution, breach of
 Nationwide Management Liability & contract, usurpation of corporate
 Specialty                         opportunities, breach of fiduciary duties
 7 World Trade Center, 37th Floor  and breach of contract including breach
 250 Greenwich Street              of any noncompete or non-solicitation
 New York, NY 10007                agreements


 Vendors and/or contractors of the
 Debtor:                                      Breach of contract

 1. Randy Bierman                             Breach of noncompete agreement

 2. Graham Pocic                              Breach of non-solicitation agreements

 3. Brett Nagel                               Tortious interference of contract or
                                              business opportunity
 4. Any entities of the above named
 individuals who contracted with the
 Debtor


 Billing vendors and/or contractors of
 the Debtor:                           Breach of contract,               disgorgement,
                                       unjust enrichment
 1. Coronis Health RCM, LLC
                                       Negligence
 2. MedCare, LLC


 Payroll and employee benefits vendors
 and/or contractors of the Debtor:        Breach of contract,            disgorgement,
                                          unjust enrichment
 Vensure Employer Services as
 successor in interest of/or f/k/a Access
 Point




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 Entities formerly owned in whole or in
 part by the Debtor:                    Usurpation of corporate opportunities

 Ion Diagnostics, LLC                      Breach of noncompete agreement

                                           Breach of non-solicitation agreements

                                           Avoidable Transfers


 Diesel Funding, LLC                       Potential    Avoidable    Postpetition
                                           Transfer(s), Usury, Fraud, Breach of
                                           Contract,    Disgorgement,     Unjust
                                           Enrichment,      Lender     Liability,
                                           Disallowance of Claim, Predatory
                                           Lending Practices, Subordination of
                                           Claim under Section 510 of the
                                           Bankruptcy Code


 Auxo Investment Partners, LLC             Any potential claims under the Sale as
                                           approved by the Court [ECF No. 279]
                                           or under the Plan


 Current or former professionals and       Malpractice claims
 accountants of the Debtor



 See Schedule A of Plan Supplement         Potential Avoidable Transfers for
                                           transfers that occurred after the
                                           Petition Date



 See Schedule B(1) and (2) of Plan         Potential Avoidable Transfers within
 Supplement                                90 days prior to the Petition Date
                                           (“Preferences”)



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 See Schedule C of the Plan                 Potential Avoidable Transfers within 2
 Supplement                                 years prior to the Petition Date
                                            (“Fraudulent Transfers”)



 See Schedule D of the Plan                 List of Debtor’s outstanding Covid-19
 Supplement                                 Testing Claims with each health
                                            insurance payer and governmental
                                            entity which are being pursued by
                                            appointed Special Counsel, Amy
                                            Thomas, Esq. and Only One Hub d/b/a
                                            Primus Health




      PREPARED BY:



      By: /s/ Robert N. Bassel
      Robert N. Bassel (P 48420)
      Attorneys for Debtor
      P.O. Box T
      Clinton, MI 49236
      248.677.1234
      bbassel@gmail.com

      Dated: October 21, 2023




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United States Bankurptcy Court                     Ark Laboratory, LLC
Eastern District of Michigan                            Schedule A
Case No. 23-43403                            Avoidable Post Petition Payments


 Date                 Name                       Purpose                Amount
 4/13/23 The Sports Marketing Agency             Marketing            $ 30,000.00
 4/18/23 James Grossi                            Unknown                  3,750.00
 4/19/23 James Grossi                            Unknown                  7,000.00
 4/20/23 James Grossi                            Unknown                  2,500.00
 4/13/23 O'Keefe                                 Retainer                10,000.00

                                                                      $   53,250.00




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United States Bankruptcy Court                             Ark Laboratory, LLC
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                             Payee             Payment Date                 No.              Total


6600 Highland, LLC                          02/01/2023         02012023               $              26,688.39
6600 Highland, LLC                          03/01/2023         03012023                              26,688.39
AB Sciex, LLC                               02/01/2023         210204785                             12,502.71
AB Sciex, LLC                               02/01/2023         210204807                              3,129.10
AB Sciex, LLC                               02/10/2023         02102023                               2,000.00
AB Sciex, LLC                               03/01/2023         210206920                              1,714.61
AB Sciex, LLC                               03/01/2023         210206739                              3,129.10
AB Sciex, LLC                               03/01/2023         210206713                             12,502.71
AB Sciex, LLC                               04/01/2023         210208974                              3,129.10
AB Sciex, LLC                               04/01/2023         210208942                             12,502.71
Abbott Laboratories                         01/13/2023         830896654                              1,130.80
Abbott Laboratories                         01/18/2023         616376570                              1,170.19
Abbott Laboratories                         01/18/2023         616386391                               611.28
Abbott Laboratories                         01/18/2023         616376569                              1,958.35
Abbott Laboratories                         02/01/2023         830877897                              1,028.00
Abbott Laboratories                         02/01/2023         616398645                              6,361.38
Abbott Laboratories                         02/01/2023         616391992                               611.28
Abbott Laboratories                         02/06/2023         830901369                              2,510.92
Abbott Laboratories                         02/13/2023         830902664                              1,170.38
Abbott Laboratories                         03/01/2023         830904306                              1,063.98
Abbott Laboratories                         03/05/2023         830907021                              1,213.00
Abbott Laboratories                         03/06/2023         830907315                              2,510.92
Abbott Laboratories                         03/13/2023         830908729                              1,170.38
Abbott Laboratories                         03/23/2023         830911502                              3,648.16
Abbott Laboratories                         03/24/2023         616653077                               586.39
Abbott Laboratories                         04/01/2023         616673163                              7,211.67
Adobe (ACH)                                 03/07/2023         2398611428                              306.20
Adobe (ACH)                                 04/01/2023         04012023                                306.20
Agena Bioscience, Inc.                      02/15/2023         INV-599980                             5,479.07
Agena Bioscience, Inc.                      03/01/2023         INV-64958                             23,676.18
Allscripts Healthcare, LLC                  02/01/2023         4004195075                              636.00
Allscripts Healthcare, LLC                  02/01/2023         1000176326                             2,865.00
Allscripts Healthcare, LLC                  03/01/2023         1000179400                             2,865.00
Amazing Charts                              03/07/2023         00000000056935                         1,060.00
Amazon                                      01/12/2023         01122023B                               166.92
Amazon                                      01/12/2023         01122023                                 97.02




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Amazon                                     01/18/2023         01182023                               153.16
Amazon                                     01/18/2023         01182023                                79.62
Amazon                                     01/22/2023         01222023                               122.94
Amazon                                     01/23/2023         01232023                               376.15
Amazon                                     02/01/2023         02012023                                84.23
Amazon                                     02/01/2023         01312023                               633.88
Amazon                                     02/01/2023         02012023                               180.19
Amazon                                     02/01/2023         01312023                                61.36
Amazon                                     02/02/2023         02022023                               160.51
Amazon                                     02/02/2023         02022023                                31.79
Amazon                                     02/03/2023         02032023                                67.84
Amazon                                     02/07/2023         02072023                               281.65
Amazon                                     02/07/2023         02072023                               130.42
Amazon                                     02/10/2023         02102023                               123.43
Amazon                                     02/14/2023         02142023                               100.45
Amazon                                     02/17/2023         02172023                               116.59
Amazon                                     02/17/2023         02172023                                20.13
Amazon                                     02/17/2023         02172023                               318.51
Amazon                                     02/17/2023         02172023                                73.14
Amazon                                     02/17/2023         02172023                                65.68
Amazon                                     02/20/2023         02202023                               102.79
Amazon                                     03/01/2023         02242023                              1,144.82
Amazon                                     03/03/2023         03032023                                40.26
Amazon                                     03/09/2023         03092023                               421.26
Amazon                                     03/11/2023         03112023                                69.84
Amazon                                     03/12/2023         03122023                               117.54
Amazon                                     03/16/2023         03162023                                63.56
Amazon                                     03/20/2023         03172023                                87.93
Amazon                                     03/21/2023         03202023                               206.67
Amazon                                     03/21/2023         03202023                                49.91
Amazon                                     03/22/2023         03222023                               317.50
Amazon                                     03/26/2023         03262023                               145.21
American Proficiency Institute             02/16/2023         650761                                3,733.00
Amro Almradi MDPC PLLC                     01/18/2023         01182023                              9,000.00
Amro Almradi MDPC PLLC                     03/01/2023         02272023                              3,000.00
Applied Capital, LLC                       02/01/2023         33337181                               366.27
Applied Capital, LLC                       03/01/2023         33539438                               442.06




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United States Bankruptcy Court                               Ark Laboratory, LLC
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Applied Capital, LLC                          03/01/2023         33366104                                216.24
Applied Capital, LLC                          03/02/2023         33567925                                216.24
Applied Capital, LLC                          04/01/2023         33743816                                366.27
Applied Capital, LLC                          04/03/2023         33770900                                216.24
Applied Innovation                            01/12/2023         2124142                                 339.20
Applied Innovation                            01/27/2023         2134116                                 554.32
Applied Innovation                            02/01/2023         2137313                                 853.30
Applied Innovation                            02/01/2023         2136568                                 446.47
Applied Innovation                            02/08/2023         2145454                                 870.46
Applied Innovation                            02/10/2023         2147200                                 339.20
Applied Innovation                            03/01/2023         2159363                                 853.30
Applied Innovation                            03/01/2023         2158954                                 446.47
Applied Innovation                            03/01/2023         2156683                                 471.84
Applied Innovation                            03/10/2023         2168651                                4,280.73
Applied Innovation                            03/13/2023         2168953                                 339.20
Applied Innovation                            04/01/2023         2178012                                 328.36
Applied Innovation                            04/01/2023         799432-1                                572.08
Applied Innovation                            04/03/2023         2182375                                 853.30
Applied Innovation                            04/03/2023         2181907                                 446.47
Arkstone Medical                              02/01/2023         22779                                 10,625.00
Arkstone Medical                              03/01/2023         22911                                 10,975.00
Arkstone Medical                              03/01/2023         22842                                 11,400.00
Arkstone Medical                              04/01/2023         22982                                 11,650.00
Athenahealth, Inc.                            01/13/2023         INV-332807                             1,059.00
Athenahealth, Inc.                            02/16/2023         INV-342918                             1,481.00
Athenahealth, Inc.                            03/15/2023         INV-349799                             1,660.00
Atlassian                                     01/25/2023         AT-219882810                           1,223.95
Atlassian                                     02/04/2023         AT-221577819                             73.50
Atlassian                                     02/25/2023         AT-225738685                            601.50
Atlassian                                     03/04/2023         AT-227426661                             49.00
Atlassian                                     03/25/2023         AT-231782495                            784.75
Atlassian                                     04/04/2023         AT-233481573                             56.00
Auburn Hills Medical Properties, LLC          02/01/2023                                                 991.00
Auburn Hills Medical Properties, LLC          03/01/2023                                                 991.00
Auburn Hills Medical Properties, LLC          04/01/2023                                                 991.00
Avairis, Inc.                                 02/01/2023         1539                                   3,166.00
Avairis, Inc.                                 03/01/2023         1544                                   8,450.00




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United States Bankruptcy Court                             Ark Laboratory, LLC
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Avairis, Inc.                               04/03/2023         1548                                   6,666.00
Avis                                        02/01/2023         01302023                                198.33
Avis                                        03/17/2023         03172023                                118.72
Barcode Factory                             01/24/2023         209538                                  508.32
Barcode Factory                             04/04/2023         04042023                                508.32
Beckman Coulter                             03/01/2023         4483797                                4,916.63
Beckman Coulter                             03/01/2023         4474731                                4,916.63
Bett Kimutai                                01/15/2023         01202023                               2,423.20
Bett Kimutai                                02/01/2023         01292023                               2,423.20
Bett Kimutai                                02/12/2023         01302023/02122023                      2,432.20
Bett Kimutai                                02/13/2023         02132023/02262023                      2,432.20
Bett Kimutai                                03/01/2023         02/27/23-03/12/23                      1,817.40
Bett Kimutai                                03/31/2023         03262023                               2,423.20
Bett Kimutai                                04/09/2023         03272023/04092023                      2,423.20
BillionToOne, Inc.                          02/01/2023         8242013123                            35,919.00
BillionToOne, Inc.                          04/01/2023         8242022823                            25,366.00
BioPathogenix                               01/17/2023         2144                                   3,180.00
BioPathogenix                               01/24/2023         2159                                  21,200.00
BioPathogenix                               02/02/2023         2174                                  13,780.00
BioPathogenix                               02/08/2023         2191                                  10,600.00
BioPathogenix                               02/09/2023         2193                                  21,200.00
BioPathogenix                               02/16/2023         2212                                  15,900.00
BioPathogenix                               02/22/2023         2218                                   9,010.00
BioPathogenix                               03/02/2023         1901                                  15,900.00
BioPathogenix                               03/06/2023         1906                                  13,780.00
BioPathogenix                               03/14/2023         2241                                   1,325.00
BioPathogenix                               03/20/2023         2250                                  15,900.00
Blue Care Network                           02/01/2023         230380038556                          18,459.73
Blue Care Network                           03/01/2023         230660036082                          16,047.91
Blue Care Network                           04/01/2023         230970025811                          22,623.83
Blue Cross Blue Shield of Michigan          02/01/2023         157204268                              5,583.88
Blue Cross Blue Shield of Michigan          02/01/2023         157204553                             34,804.90
Blue Cross Blue Shield of Michigan          03/01/2023         158071112                             47,522.41
Blue Cross Blue Shield of Michigan          04/01/2023         159794766                              4,673.17
Blue Cross Blue Shield of Michigan          04/01/2023         159795022                             30,439.22
Brehob CORPORATION                          03/28/2023         212033                                  960.00
Brian Corso                                 04/04/2023         04042023                                 43.07




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United States Bankruptcy Court                                          Ark Laboratory, LLC
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Cardinal Health                                          01/12/2023         7157065111                             223.46
Cardinal Health                                          01/13/2023         7157125577                              81.89
Cardinal Health                                          02/01/2023         7157555194                             539.13
Cardinal Health                                          02/06/2023         02062023                               272.56
Cardinal Health                                          02/09/2023         7158116051                             407.43
Cardinal Health                                          02/10/2023         7158154524                            1,438.12
Cardinal Health                                          02/18/2023         7158439560                            1,673.39
Cardinal Health                                          03/01/2023         7124642936                             864.61
Cardinal Health                                          03/01/2023         7124571668                            1,046.59
Cardinal Health                                          03/01/2023         7124571667                            5,581.81
Cardinal Health                                          03/01/2023         7147224546                            1,823.07
Cardinal Health                                          03/01/2023         7148272887                             146.03
Cardinal Health                                          03/01/2023         7147210379                             192.69
Cardinal Health                                          03/01/2023         7158628001                             283.74
Cardinal Health                                          03/01/2023         7158573135                             721.55
Cardinal Health                                          03/01/2023         7158218254                              49.99
Cardinal Health                                          03/02/2023         7158910044                            1,260.54
Cardinal Health                                          03/17/2023         7159459692                             722.02
Cardinal Health                                          03/21/2023         7159553985                            1,909.76
Cardinal Health                                          03/23/2023         7159650662                             903.72
Careviso, Inc.                                           02/01/2023         2456                                  3,500.00
Careviso, Inc.                                           03/01/2023         2501                                  3,500.00
Careviso, Inc.                                           04/01/2023         2548                                  3,500.00
Carolina Coastal Paper & Janitorial Supply, LLC          01/18/2023         29280                                 2,832.48
Cerilliant Corporation                                   01/19/2023         01192023                              2,454.40
Cerilliant Corporation                                   01/20/2023         581400                                 515.60
Cerilliant Corporation                                   01/20/2023         581392                                4,771.30
Cerilliant Corporation                                   01/26/2023         581749                                  43.40
Cerilliant Corporation                                   02/07/2023         582584                                9,755.30
Cerilliant Corporation                                   02/20/2023         583438                                5,434.20
Cerilliant Corporation                                   03/24/2023         567540B                               1,410.40
Cerilliant Corporation                                   03/28/2023         585721                                5,938.70
Cerilliant Corporation                                   04/07/2023         586409                                  26.90
Charter Communications                                   02/01/2023         0422386011123                           77.97
Charter Communications                                   02/11/2023         0422386021123                           77.97
Charter Communications                                   03/11/2023         0422386031123                           77.97
Charter Communications                                   04/11/2023         0422386041123                           77.97




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CheckRun                                01/25/2023         9FE97E7A-0024                          50.00
CheckRun                                02/25/2023         9FE97E7A-0025                          50.00
CheckRun                                03/25/2023         9FE97E7A-0026                          50.00
CI Web Design, Inc                      01/21/2023         10182                                 940.00
CI Web Design, Inc                      02/21/2023         10289                                 940.00
CI Web Design, Inc                      03/21/2023         10388                                 940.00
Cintas Corp. (ACH)                      01/13/2023         4143412159                             81.24
Cintas Corp. (ACH)                      01/13/2023         4143410775                            892.41
Cintas Corp. (ACH)                      01/20/2023         4144116166                            159.36
Cintas Corp. (ACH)                      01/20/2023         4144114754                            899.72
Cintas Corp. (ACH)                      02/01/2023         4144814297                             81.24
Cintas Corp. (ACH)                      02/01/2023         4144813135                            892.41
Cintas Corp. (ACH)                      02/03/2023         4145508277                            159.36
Cintas Corp. (ACH)                      02/03/2023         4145506962                            899.72
Cintas Corp. (ACH)                      02/10/2023         4146203705                             81.24
Cintas Corp. (ACH)                      02/10/2023         4146202457                            892.41
Cintas Corp. (ACH)                      02/17/2023         4146948300                            159.36
Cintas Corp. (ACH)                      02/17/2023         4146947035                            899.72
Cintas Corp. (ACH)                      02/24/2023         4147605111                             81.24
Cintas Corp. (ACH)                      02/24/2023         4147603678                            892.41
Cintas Corp. (ACH)                      03/03/2023         4148310160                            159.36
Cintas Corp. (ACH)                      03/03/2023         4148308599                            899.72
Cintas Corp. (ACH)                      03/10/2023         4149013744                             81.24
Cintas Corp. (ACH)                      03/10/2023         4149012109                            892.41
Cintas Corp. (ACH)                      03/17/2023         4149722123                            159.36
Cintas Corp. (ACH)                      03/17/2023         4149720706                            899.72
Cintas Corp. (ACH)                      03/24/2023         4150415689                             81.24
Cintas Corp. (ACH)                      03/24/2023         4150414213                            892.41
Cintas Corp. (ACH)                      04/01/2023         4151116709                            159.36
Cintas Corp. (ACH)                      04/01/2023         4151115282                            899.72
Cintas Corp. (ACH)                      04/07/2023         4151832499                             81.24
Cintas Corp. (ACH)                      04/07/2023         4151831336                            892.41
Clean Air Testing, Inc                  03/20/2023         116727                                729.63
ClickUp                                 01/13/2023         T14387243-011223                        9.81
ClickUp                                 01/16/2023         T14387243-011423                        3.68
ClickUp                                 01/20/2023         T14387243-011923                      418.00
ClickUp                                 02/01/2023         T14387243-012623                       30.65




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United States Bankruptcy Court                                Ark Laboratory, LLC
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                           Payee                  Payment Date               No.                Total
ClickUp                                        02/19/2023         T14387243-021923                        418.00
ClickUp                                        03/19/2023         T14387243-031923                        418.00
College of American Pathologists               02/14/2023         2679188                                1,054.44
Comcast                                        01/17/2023         001000612333                            644.91
Comcast                                        01/17/2023         01172023/0808982                        168.50
Comcast                                        01/22/2023         01222023/0945842                        169.90
Comcast                                        01/27/2023         01272023/0670846                        121.90
Comcast                                        02/10/2023         02102023/0687196                        273.64
Comcast                                        02/15/2023         001000633184                            610.35
Comcast                                        02/17/2023         02172023/0808982                        168.50
Comcast                                        02/22/2023         02222023/0945842                        169.90
Comcast                                        03/10/2023         03102023/0687196                        273.64
Comcast                                        03/17/2023         03172023/0808982                        168.50
Comcast                                        04/01/2023         001000679885                           1,082.87
Comcast                                        04/01/2023         03222023/0945842                        168.50
Comcast                                        04/10/2023         04102023/0687196                        273.53
Comerica                                       02/13/2023         02132023                               2,428.82
Comerica                                       02/13/2023         02132023                              12,496.24
Comerica                                       02/21/2023         02212023                              24,129.87
Comerica                                       02/28/2023         02282023                              19,808.40
Comerica                                       03/07/2023         03072023                              25,469.21
Comerica                                       03/13/2023         03132023                               2,284.68
Comerica                                       03/14/2023         03142023                              32,778.67
Comerica                                       03/21/2023         03212023                              34,307.75
Comerica                                       03/27/2023         03272023                              25,011.29
Comerica Bank - Cost Center 048-95890          03/07/2023         017591-000002 RJD                     15,000.00
Costco                                         02/07/2023         02072023                                182.51
Costco                                         03/01/2023         03012023                                189.02
Costco                                         03/15/2023         03152023                                224.45
Costco                                         04/07/2023         04072023                                124.81
Cotiviti Inc.                                  01/20/2023         01202023                               2,275.00
Cotiviti Inc.                                  02/01/2023         01202023                                100.00
Credential Check Corporation                   01/15/2023         291544                                  156.00
Credential Check Corporation                   02/01/2023         291987                                  257.40
Credential Check Corporation                   02/15/2023         292588                                   52.00
Credential Check Corporation                   03/15/2023         293636                                  117.00
Credential Check Corporation                   04/01/2023         294124                                   52.00




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De Lage Landen Financial Services, Inc.                  01/13/2023         78770705                               301.49
De Lage Landen Financial Services, Inc.                  01/27/2023         78904132                               301.49
De Lage Landen Financial Services, Inc.                  02/10/2023         78953051                               301.49
De Lage Landen Financial Services, Inc.                  03/01/2023         79171766                               301.49
De Lage Landen Financial Services, Inc.                  04/12/2023         79593263                               301.49
Denny's Heating, Cooling & Refrigeration Service Inc.    02/01/2023         S27894                                 394.00
Denny's Heating, Cooling & Refrigeration Service Inc.    02/01/2023         Q13196                                7,370.00
Denny's Heating, Cooling & Refrigeration Service Inc.    02/01/2023         Q13123                                1,315.00
Denny's Heating, Cooling & Refrigeration Service Inc.    02/10/2023         S28093                                 469.00
Detroit Athletic Club                                    03/15/2023         03152023                              1,837.98
Dianne Longoria                                          04/04/2023         04042023                                16.40
Diesel Funding                                           03/27/2023         03272023                              3,747.50
Diesel Funding                                           03/28/2023         03282023                              3,747.50
Diesel Funding                                           03/29/2023         03292023                              3,747.50
Diesel Funding                                           03/30/2023         03302023                              3,747.50
Diesel Funding                                           04/03/2023         04032023                              3,747.50
Diesel Funding                                           04/04/2023         04042023                              3,747.50
Diesel Funding                                           04/05/2023         04052023                              3,747.50
Diesel Funding                                           04/06/2023         04062023                              3,747.50
Diesel Funding                                           04/07/2023         04072023                              3,747.50
Digital Check Corp                                       01/19/2023         SLS264604                               39.52
DoorDash                                                 02/14/2023         02142023                                  9.99
Dorene Guarnieri                                         03/21/2023         03212023                                10.56
DTE Energy                                               01/12/2023         01122023/41356                        1,186.94
DTE Energy                                               01/12/2023         01122023/05876                        2,580.27
DTE Energy                                               01/12/2023         01122023/42246                        2,047.74
DTE Energy                                               01/12/2023         01122023/42341                         520.26
DTE Energy                                               01/12/2023         01122023/27118                         105.34
DTE Energy                                               01/12/2023         01122023/14064                          14.79
DTE Energy                                               01/24/2023         01242023/41394                          69.83
DTE Energy                                               02/02/2023         02022023/29742                         166.38
DTE Energy                                               02/02/2023         02022023/29726                         110.42
DTE Energy                                               02/02/2023         02022023/29783                          92.62
DTE Energy                                               02/02/2023         02022023/29635                          77.47
DTE Energy                                               02/02/2023         02022023/29833                          77.05
DTE Energy                                               02/02/2023         02022023/29866                          20.22
DTE Energy                                               02/13/2023         02132023/41356                        1,107.23




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DTE Energy                               02/13/2023         02132023/42341                          485.95
DTE Energy                               02/13/2023         02132023/05876                         2,452.32
DTE Energy                               02/13/2023         02132023/42248                         1,885.21
DTE Energy                               02/13/2023         02132023/27118                           97.08
DTE Energy                               02/13/2023         02132023/14064                           14.79
DTE Energy                               02/21/2023         02212023/41394                           54.70
DTE Energy                               03/03/2023         03032023/29742                          174.73
DTE Energy                               03/03/2023         03032023/29726                          149.17
DTE Energy                               03/03/2023         03032023/29783                           99.27
DTE Energy                               03/03/2023         03032023/29833                           79.53
DTE Energy                               03/03/2023         03032023/29635                           76.18
DTE Energy                               03/03/2023         03032023/29866                           19.74
DTE Energy                               03/14/2023         03142023/05876                         2,441.29
DTE Energy                               03/14/2023         03142023/42246                         1,848.26
DTE Energy                               03/14/2023         03142023/41356                         1,104.69
DTE Energy                               03/14/2023         03142023/42341                          495.37
DTE Energy                               03/14/2023         03142023/27118                           97.88
DTE Energy                               03/14/2023         03142023/14054                           15.79
DTE Energy                               03/23/2023         03232023/41394                           66.29
DTE Energy                               04/03/2023         04032023/29742                          142.29
DTE Energy                               04/03/2023         04032023/29635                           71.37
DTE Energy                               04/03/2023         04032023/29726                           70.32
DTE Energy                               04/03/2023         04032023/29783                           69.72
DTE Energy                               04/03/2023         04032023/29833                           68.29
DTE Energy                               04/03/2023         04032023/29866                           23.24
DTE Energy                               04/04/2023         04212023/41394                           42.72
eClinicalWorks, LLC                      02/01/2023         0002438944                             5,300.00
eClinicalWorks, LLC                      04/01/2023         0002617469                             5,300.00
Eden Software Solutions, LLC             03/01/2023         0003                                    400.00
Edge Solutions                           01/28/2023         624575                                 1,214.57
Edge Solutions                           02/28/2023         640436                                 1,111.96
Edge Solutions                           04/01/2023         654799                                 1,216.82
Elio Bucciarelli                         03/21/2023         03212023                                 52.61
Ellkay, LLC                              03/22/2023         204147                                 4,340.00
Ellkay, LLC                              04/01/2023         157902                                 1,440.00
Empirical Biosciences                    02/01/2023         5677                                  16,503.45
Esker Inc                                02/01/2023         460238066                              1,141.50




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Esker Inc                                03/01/2023         460239189                                 937.80
Esker Inc                                04/01/2023         460242644                                1,009.05
Evoqua Water Technologies LLC            02/01/2023         905711739                                1,508.83
Evoqua Water Technologies LLC            03/01/2023         905756058                                1,508.83
Evoqua Water Technologies LLC            04/01/2023         905811689                                1,508.83
Exagen Inc.                              04/01/2023         000040-202301                            1,045.76
Exagen Inc.                              04/01/2023         000040-202212                            2,652.80
Exagen Inc.                              04/01/2023         000040-202211                            1,141.12
Exagen Inc.                              04/01/2023         000040-202210                            1,218.56
Exagen Inc.                              04/01/2023         000040-202208                            3,559.88
Fast Fingerprints                        02/01/2023         02012023                                   99.00
FastSpring                               01/17/2023         ZEB230117-4113-73202                      365.70
Fed Ex                                   01/18/2023         8-0011-95443                              428.92
Fed Ex                                   01/25/2023         8-018-21691                               296.20
Fed Ex                                   02/01/2023         8-025-51433                               297.00
Fed Ex                                   02/08/2023         8-032-25920                               355.51
Fed Ex                                   02/15/2023         8-040-41640                               330.37
Fed Ex                                   02/22/2023         8-046-86773                               316.65
Fed Ex                                   03/01/2023         8-054-24720                               290.90
Fed Ex                                   03/08/2023         8-061-51429                               284.49
Fed Ex                                   03/15/2023         8-069-39034                               564.00
Fed Ex                                   03/22/2023         7682-7534-3                               236.12
Fed Ex                                   03/29/2023         8-083-61740                               316.78
Fed Ex                                   03/29/2023         8-083-61741                                14.81
Fed Ex                                   04/05/2023         8-090-57884                               356.41
Fed Ex                                   04/05/2023         8-090-57885                                17.77
Fed Ex                                   04/12/2023         8-098-39089                               149.47
Fink Bressack PLLC                       02/03/2023         FBHELIX-1016                             2,759.50
Fink Bressack PLLC                       04/01/2023         FBHELIX-1018                              491.25
Fink Bressack PLLC                       04/01/2023         FBHELIX-1017                             2,128.50
First Insurance Funding                  02/10/2023         02282023                                 7,159.54
First Insurance Funding                  03/10/2023         03102023                                 7,159.54
First Insurance Funding                  04/10/2023         04102023                                 7,159.54
First Insurance Funding                  04/11/2023         04112023                                 3,400.46
Fisher Healthcare                        01/12/2023         0432121A                                31,556.15
Fisher Healthcare                        01/13/2023         9494968/9454411B                          252.09
Fisher Healthcare                        01/13/2023         9271121/9341111B                          172.91




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Fisher Healthcare                       01/13/2023         9649135/9682145/9909A                      2,956.29
Fisher Healthcare                       01/13/2023         9717082/9649136A                          19,974.91
Fisher Healthcare                       01/17/2023         9792159A                                  15,975.00
Fisher Healthcare                       01/23/2023         9909335/0066246A                          16,099.24
Fisher Healthcare                       01/25/2023         9649135/9682145/9909B                       159.52
Fisher Healthcare                       02/01/2023         9989434                                    4,900.47
Fisher Healthcare                       02/01/2023         9909335/0066246B                            198.50
Fisher Healthcare                       02/06/2023         0432121B                                    117.15
Fisher Healthcare                       02/16/2023         0633242/0596375A                          11,144.16
Fisher Healthcare                       02/20/2023         0633243                                   10,642.90
Fisher Healthcare                       02/21/2023         0670551                                   21,268.40
Fisher Healthcare                       02/24/2023         0784945                                    3,625.08
Fisher Healthcare                       03/01/2023         0903276                                    1,165.23
Fisher Healthcare                       03/01/2023         0903275                                    1,038.88
Fisher Healthcare                       03/01/2023         0820471                                    2,972.68
Fisher Healthcare                       03/01/2023         0633242/0596375B                            233.22
Fisher Healthcare                       03/03/2023         0988783                                    6,916.96
Fisher Healthcare                       03/08/2023         1108587                                    2,896.70
Fisher Healthcare                       03/09/2023         9792159B                                    172.89
Fisher Healthcare                       03/21/2023         1465444                                    1,284.11
Fisher Healthcare                       03/23/2023         1547871                                    3,089.96
Fisher Healthcare                       03/23/2023         1547870                                    5,715.58
Fisher Healthcare                       04/03/2023         1827266                                   10,515.20
Fisher Healthcare                       04/03/2023         1827265                                     745.21
Fisher Healthcare                       04/04/2023         1863517                                     219.42
Fisher Healthcare                       04/12/2023         2088904                                     669.26
FrontRunnerHC Inc                       02/01/2023         20162651                                   1,900.00
FrontRunnerHC Inc                       03/01/2023         20162880                                   1,900.00
FrontRunnerHC Inc                       03/01/2023         20162193                                   1,900.00
FrontRunnerHC Inc                       03/01/2023         20161477                                  15,423.73
FrontRunnerHC Inc                       03/01/2023         20162421                                   1,900.00
FrontRunnerHC Inc                       04/01/2023         20163099                                   1,900.00
Gaylen Curtis                           03/17/2023         03172023                                    600.00
Gemini Lab Group                        02/01/2023                                                  245,000.00
Gemini Lab Group                        03/01/2023                                                  206,000.00
Gemini Lab Group                        04/01/2023         04012023                                 206,000.00
Gena's Timeless Cleaning, LLC           01/15/2023         017                                        6,000.00




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Gena's Timeless Cleaning, LLC               02/01/2023         018                                    6,000.00
Gena's Timeless Cleaning, LLC               02/15/2023         019                                    6,000.00
Gena's Timeless Cleaning, LLC               03/01/2023         020                                    6,000.00
Gena's Timeless Cleaning, LLC               03/15/2023         021                                    6,000.00
Gena's Timeless Cleaning, LLC               04/01/2023         022                                    6,000.00
Generac Power                               03/16/2023         03162023                                 69.99
Gimbel, Reilly, Guerin & Brown LLP          02/22/2023                                                5,000.00
Google                                      02/01/2023         4652943166                               79.20
Google                                      03/01/2023         4673318813                               79.20
Google                                      04/01/2023         4691140425                               79.20
Great Lakes Express Delivery, LLC           02/01/2023         4753                                  17,248.26
Great Lakes Express Delivery, LLC           02/01/2023         4684                                  20,677.27
Great Lakes Express Delivery, LLC           02/01/2023         4525                                   8,675.00
Great Lakes Express Delivery, LLC           02/01/2023         4603                                   7,267.70
Great Lakes Express Delivery, LLC           04/03/2023         4838                                   1,485.00
Great Lakes Express Delivery, LLC           04/10/2023         4865                                    475.00
Health Equity                               01/27/2023         01272023                                 28.62
Health Equity                               03/09/2023         03092023                                581.25
Health Equity                               03/27/2023         03272023                                193.75
Health Equity                               04/03/2023         04032023                                193.75
Henry Schein                                01/12/2023         32827368                               1,722.45
Henry Schein                                01/12/2023         32994313                               1,745.91
Henry Schein                                01/13/2023         32989316                                200.46
Henry Schein                                01/17/2023         32994315                                747.76
Henry Schein                                01/17/2023         33172408                                729.15
Henry Schein                                01/18/2023         33221058                                576.44
Henry Schein                                01/18/2023         33221033                                417.94
Henry Schein                                01/18/2023         33172199                                500.52
Henry Schein                                01/18/2023         33172161                                662.18
Henry Schein                                01/19/2023         33237570                              10,319.10
Henry Schein                                01/19/2023         33237564                              15,804.27
Henry Schein                                01/19/2023         33058405                                191.13
Henry Schein                                01/24/2023         33172409                                144.56
Henry Schein                                01/25/2023         33665013                                305.13
Henry Schein                                01/26/2023         33665014                                249.39
Henry Schein                                02/01/2023         34034883                               8,993.33
Henry Schein                                02/01/2023         33682451                               1,802.61




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Henry Schein                            02/01/2023         33668373                              10,477.69
Henry Schein                            02/01/2023         33500900                                594.87
Henry Schein                            02/01/2023         33247019                                243.69
Henry Schein                            02/02/2023         34070540                               3,642.82
Henry Schein                            02/02/2023         34035671                               1,640.52
Henry Schein                            02/03/2023         34087735                               3,131.80
Henry Schein                            02/03/2023         33693815                                210.34
Henry Schein                            02/07/2023         34046742                                616.23
Henry Schein                            02/09/2023         34377132                                697.06
Henry Schein                            02/09/2023         34361191                                503.63
Henry Schein                            02/09/2023         34318106                               1,528.22
Henry Schein                            02/09/2023         33518069                                133.26
Henry Schein                            02/09/2023         33135517                                357.84
Henry Schein                            02/10/2023         34386641                               2,744.40
Henry Schein                            02/10/2023         34381162                              24,681.19
Henry Schein                            02/13/2023         34409302                               1,443.30
Henry Schein                            02/13/2023         34435399                                346.06
Henry Schein                            02/15/2023         33346271                                863.41
Henry Schein                            02/23/2023         34840009                                859.55
Henry Schein                            02/24/2023         34840010                                510.79
Henry Schein                            02/24/2023         34924801                                214.11
Henry Schein                            02/24/2023         34902414                                181.56
Henry Schein                            03/01/2023         34938697                                363.60
Henry Schein                            03/01/2023         34935268                               1,401.31
Henry Schein                            03/01/2023         34896214                              10,694.09
Henry Schein                            03/01/2023         34892624                               3,316.60
Henry Schein                            03/01/2023         34892598                                835.43
Henry Schein                            03/01/2023         34840020                                320.84
Henry Schein                            03/01/2023         34801995                               1,444.76
Henry Schein                            03/01/2023         34795504                               8,669.01
Henry Schein                            03/01/2023         34791668                                 75.62
Henry Schein                            03/01/2023         34745947                               1,871.80
Henry Schein                            03/01/2023         34361192                                338.06
Henry Schein                            03/01/2023         34097758                               1,524.26
Henry Schein                            03/02/2023         35120624                                344.60
Henry Schein                            03/07/2023         34948089                                714.86
Henry Schein                            03/09/2023         28232057                                866.06




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Henry Schein                             03/10/2023         204147                                12,594.71
Henry Schein                             03/10/2023         35466711                                197.59
Henry Schein                             03/13/2023         35535324                                213.02
Henry Schein                             03/13/2023         35500148                               1,088.02
Henry Schein                             03/14/2023         35552507                                822.51
Henry Schein                             03/17/2023         35749076                               4,821.76
Henry Schein                             03/17/2023         35723715                               1,818.57
Henry Schein                             03/20/2023         35795002                               1,302.78
Henry Schein                             03/20/2023         35752372                                811.11
Henry Schein                             03/21/2023         35795003                                 59.35
Henry Schein                             03/21/2023         35789212                                538.80
Henry Schein                             03/22/2023         35866537                                363.60
Henry Schein                             04/01/2023         36108524                                531.72
Henry Schein                             04/03/2023         36108525                                556.62
Henry Schein                             04/04/2023         36288973                               4,698.83
Hogan Lovells US LLP                     02/01/2023         22200212564                           55,341.39
Hogan Lovells US LLP                     04/01/2023         22200218109                           22,648.87
Hogan Lovells US LLP                     04/01/2023         22200215490                           17,785.88
I Care MI, LLC                           04/01/2023         INV-2022280                             409.00
IMCS, Inc.                               01/16/2023         133059                                 3,700.00
IMCS, Inc.                               02/09/2023         133393                                 3,704.00
IMCS, Inc.                               02/22/2023         133566                                 3,708.00
IMCS, Inc.                               04/01/2023         133955                                 3,709.00
Immunalysis Corporation                  01/16/2023         0198292-IN                             4,230.75
Immunalysis Corporation                  01/17/2023         0198338-IN                               65.35
Immunalysis Corporation                  01/17/2023         0198347-IN                             5,481.69
Immunalysis Corporation                  01/19/2023         0198463-IN                             2,062.61
Immunalysis Corporation                  01/24/2023         0198619-IN                             5,537.85
Immunalysis Corporation                  01/24/2023         0198608-IN                             5,497.35
Immunalysis Corporation                  02/01/2023         0198910-IN                             3,709.14
Immunalysis Corporation                  02/01/2023         0198948-IN                            10,613.34
Immunalysis Corporation                  02/01/2023         0198770-IN                              145.56
Immunalysis Corporation                  02/01/2023         0198725-IN                             1,639.29
Immunalysis Corporation                  02/01/2023         0198664-IN                              147.37
Immunalysis Corporation                  02/01/2023         0198556-IN                              348.80
Immunalysis Corporation                  02/03/2023         0198860-IN                              147.63
Immunalysis Corporation                  02/14/2023         0199415-IN                             4,549.33




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Immunalysis Corporation                  02/14/2023         01994414-IN                             5,780.53
Immunalysis Corporation                  02/20/2023         0199677-IN                              7,035.55
Immunalysis Corporation                  02/23/2023         0199831-IN                              3,876.80
Immunalysis Corporation                  03/01/2023         0200016-IN                               192.24
Immunalysis Corporation                  03/01/2023         0199837-IN                              5,280.89
Immunalysis Corporation                  03/01/2023         0199916-IN                               318.00
Immunalysis Corporation                  03/01/2023         0199829-IN                                 42.40
Immunalysis Corporation                  03/08/2023         0200349-IN                              4,659.16
Immunalysis Corporation                  03/09/2023         0200449-IN                               201.14
Immunalysis Corporation                  03/13/2023         0200429-IN                              5,683.76
Immunalysis Corporation                  03/20/2023         0200713-IN                              7,730.55
Immunalysis Corporation                  03/22/2023         0200944-IN                               159.00
Immunalysis Corporation                  03/22/2023         35866537                                 636.00
Immunalysis Corporation                  03/24/2023         0200959-IN                              1,485.54
Immunalysis Corporation                  03/27/2023         0201034-IN                              4,235.12
Immunalysis Corporation                  03/28/2023         0201096-IN                              1,899.35
Immunalysis Corporation                  04/01/2023         0201204-IN                                 42.40
Immunalysis Corporation                  04/03/2023         0201321-IN                               188.22
INTEGRA Biosciences Corp.                01/12/2023         233401064                               1,570.43
INTEGRA Biosciences Corp.                02/01/2023         233403102                               1,770.53
INTEGRA Biosciences Corp.                03/06/2023         233407673                               2,338.00
iOpen World Inc.                         02/01/2023         02012023                               45,000.00
iOpen World Inc.                         02/15/2023         02152023                              100,000.00
iOpen World Inc.                         02/16/2023         02162023                               11,000.00
iOpen World Inc.                         02/21/2023         02212023                               32,000.00
iOpen World Inc.                         02/24/2023         02242023                               45,000.00
iOpen World Inc.                         02/28/2023         02282023                               40,000.00
iOpen World Inc.                         03/03/2023         03032023                               40,000.00
iOpen World Inc.                         03/10/2023         03102023                               40,000.00
iOpen World Inc.                         03/21/2023         03212023                               50,000.00
iOpen World Inc.                         03/23/2023         03232023                               50,000.00
Iron Mountain                            02/01/2023         HGJJ476                                 1,634.74
Iron Mountain                            03/01/2023         HHYR550                                  942.62
James Grossi                             01/13/2023         01132023                                1,527.80
James Grossi                             01/17/2023         01172023                                5,212.67
James Grossi                             01/18/2023         01182023                                2,500.00
James Grossi                             01/21/2023         01212023                                 225.75




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James Grossi                            01/23/2023         01232023                                103.69
James Grossi                            01/24/2023         01242023                               5,000.00
James Grossi                            01/25/2023         01252023                               2,500.00
James Grossi                            01/27/2023         01272023                                 98.87
James Grossi                            01/27/2023                                                3,482.30
James Grossi                            01/28/2023         01312023                              11,589.39
James Grossi                            01/28/2023         01282023                               1,837.32
James Grossi                            02/09/2023         02092023                               2,500.00
James Grossi                            02/10/2023         02102023                                750.00
James Grossi                            02/13/2023         02132023                               5,000.00
James Grossi                            02/14/2023         02142023                               2,500.00
James Grossi                            02/21/2023         02212023                               5,000.00
James Grossi                            02/21/2023         02212023                               2,500.00
James Grossi                            02/24/2023         02242023                               1,836.32
James Grossi                            02/27/2023         02272023                                826.93
James Grossi                            03/01/2023         02282023                              13,000.00
James Grossi                            03/06/2023         03062023                               2,500.00
James Grossi                            03/06/2023         03062023                               5,000.00
James Grossi                            03/10/2023         03102023                               2,163.39
James Grossi                            03/15/2023         03152023                               7,500.00
James Grossi                            03/16/2023         03162023                               2,500.00
James Grossi                            03/24/2023         03242023                               7,500.00
James Grossi                            03/24/2023         03242023                               2,500.00
James Grossi                            03/31/2023         03312023                               2,500.00
James Pinckney                          03/21/2023         03212023                                 10.88
Jeffrey Williamson                      01/12/2023         01122023                                461.43
Jobs Core Inc.                          01/19/2023         01192023                                449.00
Jobs Core Inc.                          02/21/2023         02212023                                449.00
Jobs Core Inc.                          03/19/2023         03192023                                449.00
La Marsa                                02/10/2023         02102023                                249.63
Labcorp                                 02/01/2023         75333481                              32,528.88
LabPath Consulting                      02/01/2023         1404                                   1,500.00
LabPath Consulting                      03/01/2023         1411                                   1,500.00
LabPath Consulting                      04/01/2023         1399                                   3,000.00
LabPath Consulting                      04/01/2023         1417                                   1,500.00
LabSoft, Inc.                           01/16/2023         23116-1227-5467                         200.00
LabSoft, Inc.                           02/01/2023         452-27088                                95.00




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LabSoft, Inc.                           03/01/2023         452-27345                               95.00
LabSoft, Inc.                           04/01/2023         452-27615                             1,140.00
Labtek, Incorporated                    01/16/2023         13636                                 1,789.78
Labtek, Incorporated                    01/16/2023         13637                                 1,847.58
Labtek, Incorporated                    01/18/2023         13651                                  197.16
Labtek, Incorporated                    01/20/2023         13666                                   25.44
Labtek, Incorporated                    01/20/2023         13662                                  368.88
Labtek, Incorporated                    01/20/2023         13663                                  412.34
Labtek, Incorporated                    01/20/2023         13664                                 2,010.26
Labtek, Incorporated                    01/20/2023         13665                                   63.60
Labtek, Incorporated                    02/01/2023         13694                                   18.02
Labtek, Incorporated                    02/01/2023         13686                                  184.44
Labtek, Incorporated                    02/01/2023         13685                                  696.92
Labtek, Incorporated                    02/06/2023         13717                                 1,847.58
Labtek, Incorporated                    02/06/2023         13713                                 2,221.20
Labtek, Incorporated                    02/10/2023         13737                                  395.88
Labtek, Incorporated                    02/10/2023         13738                                  957.18
Labtek, Incorporated                    02/12/2023         13740                                  179.14
Labtek, Incorporated                    02/18/2023         13766                                  263.94
Labtek, Incorporated                    02/18/2023         13765                                  368.88
Labtek, Incorporated                    02/18/2023         13764                                 1,610.64
Labtek, Incorporated                    02/18/2023         13763                                  358.28
Labtek, Incorporated                    03/02/2023         13809                                 1,847.58
Labtek, Incorporated                    03/02/2023         13808                                  184.44
Labtek, Incorporated                    03/02/2023         13807                                 2,480.90
Labtek, Incorporated                    03/04/2023         13816                                  189.74
Labtek, Incorporated                    03/04/2023         13815                                  206.14
Labtek, Incorporated                    03/11/2023         13831                                  189.74
Labtek, Incorporated                    03/11/2023         13830                                  385.28
Labtek, Incorporated                    03/11/2023         13832                                  162.18
Labtek, Incorporated                    03/14/2023         13839                                  171.72
Labtek, Incorporated                    03/20/2023         13853                                 1,874.58
Labtek, Incorporated                    03/20/2023         13855                                  190.80
Labtek, Incorporated                    03/20/2023         13854                                  630.43
Labtek, Incorporated                    03/27/2023         13884                                  571.84
Labtek, Incorporated                    04/02/2023         1392                                   190.80
Labtek, Incorporated                    04/02/2023         13903                                 1,676.36




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Labtek, Incorporated                            04/03/2023         13909                                   189.74
Labtek, Incorporated                            04/03/2023         13908                                   179.14
Labtek, Incorporated                            04/11/2023         13936                                   358.28
Labtek, Incorporated                            04/11/2023         13940                                    33.92
Labtek, Incorporated                            04/11/2023         13939                                   153.70
Labtek, Incorporated                            04/11/2023         13937                                  1,874.58
Labtek, Incorporated                            04/11/2023         13938                                   189.74
Landaal Packaging Systems                       03/27/2023         213196                                 1,490.27
Leasing Associates of Barrington, INC.          02/01/2023         1677234                                2,406.20
Leasing Associates of Barrington, INC.          03/01/2023         1680016                                2,406.20
Leasing Associates of Barrington, INC.          04/01/2023         1685524                                2,406.20
LGC Clinical Diagnostics, Inc.                  02/01/2023         90211985                               3,270.76
Liam Dillon                                     04/12/2023         04122023                              48,377.38
Life Technologies Corporation                   01/13/2023         77185592                               1,206.66
Life Technologies Corporation                   01/17/2023         40632466                              13,920.00
Life Technologies Corporation                   02/13/2023         77187553                               1,206.66
Life Technologies Corporation                   03/13/2023         77189432                               1,206.66
Lifepoint Informatics                           02/01/2023         1184499                                 125.00
Lifepoint Informatics                           02/01/2023         1184481                                 125.00
Lifepoint Informatics                           02/01/2023         1184007                                1,125.00
Lifepoint Informatics                           02/01/2023         1183997                                 200.00
Lifepoint Informatics                           02/02/2023         1184461                                 500.00
Lifepoint Informatics                           03/01/2023         1184558                                1,375.00
Lifepoint Informatics                           03/01/2023         1184559                                 200.00
Lifepoint Informatics                           04/01/2023         1185571                                 350.00
Lifepoint Informatics                           04/01/2023         1185100                                 200.00
Lifepoint Informatics                           04/01/2023         1185097                                1,500.00
Lippitt O'Keefe, PLLC                           02/01/2023         13378                                 13,560.00
Lippitt O'Keefe, PLLC                           02/01/2023         13273                                  1,452.50
Lisa Slagle                                     03/21/2023         03212023                                 12.95
Little Sonia Real Estate LLC                    02/01/2023                                                1,698.75
Little Sonia Real Estate LLC                    03/01/2023                                                1,698.75
Little Sonia Real Estate LLC                    04/01/2023                                                1,698.75
Lynne Dalius                                    04/04/2023         04042023                                129.25
MAC Pizza, LLC                                  02/01/2023                                                1,310.00
MAC Pizza, LLC                                  03/01/2023                                                1,310.00
MAC Pizza, LLC                                  04/01/2023                                                1,310.00




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Mark Beauchamp                              03/14/2023         03012023                               25,000.00
Mass Mutual                                 01/28/2023                                                  811.28
Mass Mutual                                 02/28/2023                                                  811.28
Mass Mutual                                 03/28/2023                                                  811.28
Mclaren Medical Laboratory                  02/01/2023         MLMHEL123122                           17,292.73
Mclaren Medical Laboratory                  02/01/2023         MLMHEL013123                           16,680.42
Mclaren Medical Laboratory                  03/01/2023         MLMHEL022823                            3,359.64
Mclaren Medical Laboratory                  04/01/2023         MLMHEL033123                           34,766.54
MCW Partners, LLC                           02/01/2023         63651                                      47.70
MCW Partners, LLC                           02/28/2023         65339                                    302.10
MCW Partners, LLC                           02/28/2023         65059                                      47.70
MCW Partners, LLC                           03/31/2023         65501                                      47.70
Med Water Systems                           01/12/2023         INV/2023/0130                              64.72
Med Water Systems                           01/16/2023         INV/2023/0165                            355.00
Med Water Systems                           02/16/2023         INV/2023/0561                            355.00
Med Water Systems                           03/16/2023         INV/2023/0925                            355.00
Medcare MSO                                 03/01/2023         2779                                   84,367.97
Medcare MSO                                 03/01/2023         2759                                  137,832.01
Medcare MSO                                 04/01/2023         2848                                  101,733.61
Medcare MSO                                 04/01/2023         2833                                   33,694.09
Medicare                                    01/17/2023         01172023                                 688.00
MedSpeed, LLC                               02/03/2023         27877                                 114,257.33
MedSpeed, LLC                               02/03/2023         27877                                 114,257.33
MedSpeed, LLC                               03/07/2023         28166                                 113,215.61
MedSpeed, LLC                               04/05/2023         28330                                 111,695.64
Mercedes Scientific                         01/16/2023         2670724                                  604.20
Mercedes Scientific                         01/16/2023         2670715                                 1,812.60
Mercedes Scientific                         01/18/2023         2671783                                 3,743.81
Mercedes Scientific                         01/23/2023         2673211                                  540.60
Mercedes Scientific                         01/25/2023         2674031                                  381.60
Mercedes Scientific                         02/01/2023         2675896                                  271.36
Mercedes Scientific                         02/01/2023         2675448                                  407.04
Mercedes Scientific                         02/01/2023         2675834                                 2,759.95
Mercedes Scientific                         02/01/2023         2675201                                 1,722.50
Mercedes Scientific                         02/01/2023         2675128                                  604.20
Mercedes Scientific                         02/07/2023         2678625                                  117.63
Mercedes Scientific                         02/13/2023         2680082                                  162.17




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Mercedes Scientific                         02/16/2023         2682030                               1,722.50
Mercedes Scientific                         02/16/2023         2681658                                311.10
Mercedes Scientific                         02/17/2023         2682059                               2,606.54
Mercedes Scientific                         02/20/2023         2682736                                254.40
Mercedes Scientific                         02/21/2023         2683261                                 16.94
Mercedes Scientific                         03/03/2023         2686978                               1,305.92
Mercedes Scientific                         03/10/2023         2689455                               1,927.04
Mercedes Scientific                         03/13/2023         2689657                               1,722.50
Mercedes Scientific                         03/15/2023         2690853                                380.90
Mercedes Scientific                         03/15/2023         2690897                                247.16
Mercedes Scientific                         03/16/2023         2691411                                 14.96
Mercedes Scientific                         03/16/2023         2691515                               2,092.79
Mercedes Scientific                         03/30/2023         2696773                                508.80
Mercedes Scientific                         04/03/2023         2697732                                 50.84
Mettler-Toledo Rainin, LLC                  03/01/2023         678911134                              441.61
Mettler-Toledo Rainin, LLC                  03/01/2023         678916676                             1,324.82
Mettler-Toledo Rainin, LLC                  03/01/2023         678937328                             1,970.46
Microgenics Corporation                     01/17/2023         976608                                2,305.64
Microgenics Corporation                     02/01/2023         977846                                2,305.97
Microgenics Corporation                     03/01/2023         983204                                5,923.91
Microsoft                                   02/09/2023         G019265007                             176.17
Microsoft                                   02/09/2023         G019148992                            1,402.59
Microsoft                                   02/10/2023         02102023                               245.23
Microsoft                                   02/10/2023         E0400M0F13                              49.95
Microsoft                                   02/10/2023         E0400M058M                              57.24
Microsoft                                   02/10/2023         E0400M083N                             302.40
Microsoft                                   02/10/2023         E0400M083M                             174.90
Microsoft                                   02/10/2023         E0400M0F14                              45.00
Microsoft                                   02/10/2023         E0400M0FY5                              23.32
Microsoft                                   02/10/2023         E0400M0F12                                8.00
Microsoft                                   02/10/2023         E0400M083L                                4.00
Microsoft                                   03/13/2023         E0400MEOQT                              57.24
Microsoft                                   03/13/2023         E0400MEOT7                             285.68
Microsoft                                   03/13/2023         G020578500                             160.29
Microsoft                                   03/13/2023         E0400MEPM8                              52.09
Microsoft                                   03/13/2023         E0400MEPSL                              45.00
Microsoft                                   03/13/2023         E0400MEA6U                              23.32




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Microsoft                                 03/13/2023         E0400MEMLK                                 8.00
Microsoft                                 03/13/2023         G020421376                             1,278.62
Microsoft                                 03/13/2023         E0400MEOT5                                 4.00
Microsoft                                 04/09/2023         G021754075                              175.06
Microsoft                                 04/09/2023         G021419142                             1,405.72
Microsoft                                 04/10/2023         E0400MSNB1                               76.70
Mutual of Omaha                           01/17/2023         001477736099                          10,054.04
Mutual of Omaha                           01/17/2023         001477736098                            475.81
Mutual of Omaha                           02/01/2023         001493925406                          10,309.31
Mutual of Omaha                           03/01/2023         001493925407                            458.68
Mutual of Omaha                           04/01/2023         001508962081                            458.68
Mutual of Omaha                           04/01/2023         001508962080                           8,885.38
Netalytics                                02/01/2023         2023-761                                750.00
Netalytics                                03/01/2023         2023-1690                               750.00
Netalytics                                04/01/2023         2023-2711                               750.00
Newbsknob, LLC                            02/01/2023                                                2,875.00
Newbsknob, LLC                            03/01/2023                                                2,875.00
Newbsknob, LLC                            04/01/2023                                                2,875.00
O'Keefe LLC                               04/12/2023         04122023                              10,000.00
OMG & The A Team Consulting, LLC          03/01/2023         001                                    2,500.00
OMG & The A Team Consulting, LLC          03/17/2023         002                                    1,000.00
Orchard Software Corporation              02/01/2023         2021-14535                            13,320.00
Orchard Software Corporation              02/01/2023         2020-12128                            12,000.00
Orchard Software Corporation              02/01/2023         2021-14539                             7,685.00
Orchard Software Corporation              02/01/2023         2020-12132                            12,720.00
Orchard Software Corporation              02/03/2023         2021-14534B                            5,635.00
Orchard Software Corporation              02/07/2023         2022-26274                             6,063.20
Orchard Software Corporation              03/01/2023         2021-14540                             7,685.00
Orchard Software Corporation              03/01/2023         2020-12133                            12,720.00
Orchard Software Corporation              04/01/2023         2021-14541                             7,685.00
Paylocity                                 01/20/2023         INV1249575                             3,302.99
Paylocity                                 02/23/2023         INV1280665                             5,117.27
Paylocity                                 02/24/2023         02242023                                193.75
Paylocity                                 03/20/2023         INV1321322                             3,356.76
Payroll 02-03-2023                        03/01/2023                                               49,765.96
Payroll 02-03-2023                        03/01/2023         02032023                              85,195.99
Payroll 03-03-2023                        03/06/2023                                                  25.00




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Payroll 03-03-2023                      03/06/2023                                                28,320.68
Payroll 03-17-2023                      03/15/2023                                               134,562.35
Payroll 03-17-2023                      03/17/2023                                                  500.00
Payroll 03-31-2023                      03/31/2023         03312023                                 252.38
Payroll 03-31-2023                      03/31/2023         03312023                               10,912.62
Phenomenex, Inc                         02/01/2023         CIUS-22050938                           8,045.40
Phenomenex, Inc                         02/01/2023         CIUS-22034812B                           345.77
Phenomenex, Inc                         04/01/2023         CIUS-23018689                          12,600.00
Pipedrive, Inc.                         01/25/2023         2427208                                    21.37
Pipedrive, Inc.                         02/05/2023         2438684                                  479.20
Pipedrive, Inc.                         03/05/2023         2470415                                  479.20
Pipedrive, Inc.                         04/07/2023         2502689                                  599.00
Pitney Bowes                            02/01/2023         01312023                                 100.00
Polar Ice                               01/13/2023         79558                                    170.00
Polar Ice                               01/17/2023         79571                                    170.00
Polar Ice                               01/24/2023         38169                                    170.00
Polar Ice                               01/27/2023         38190                                    170.00
Polar Ice                               02/01/2023         79588                                    170.00
Polar Ice                               02/01/2023         38205                                    170.00
Polar Ice                               02/03/2023         38226                                    170.00
Polar Ice                               02/07/2023         79606                                    170.00
Polar Ice                               02/10/2023         79626                                    170.00
Polar Ice                               02/14/2023         79635                                    170.00
Polar Ice                               02/21/2023         79671                                    170.00
Polar Ice                               02/24/2023         79695                                    170.00
Polar Ice                               03/01/2023         79711                                    170.00
Polar Ice                               03/01/2023         79656                                    170.00
Polar Ice                               03/03/2023         79727                                    170.00
Polar Ice                               03/07/2023         79738                                    170.00
Polar Ice                               03/10/2023         79754                                    170.00
Polar Ice                               03/14/2023         79769                                    170.00
Polar Ice                               03/17/2023         79786                                    170.00
Polar Ice                               03/24/2023         79812                                    170.00
Polar Ice                               03/28/2023         79823                                    170.00
Polar Ice                               04/01/2023         79839                                    170.00
Polar Ice                               04/01/2023         79798                                    170.00
Polar Ice                               04/04/2023         79851                                    170.00




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Polar Ice                                    04/07/2023         79873                                  170.00
Polar Ice                                    04/11/2023         79886                                  170.00
Practice Fusion                              01/19/2023         5500025099                             810.00
Practice Fusion                              02/22/2023         5500025593                             946.00
Practice Fusion                              04/01/2023         5500026016                            1,008.00
Predictive Health Diagnostics, Inc.          02/01/2023         2022-12-0527                          3,900.00
Principal Financial Group                    01/23/2023         01232023                              3,546.10
Principal Financial Group                    01/25/2023         01252023                              5,888.55
Principal Financial Group                    01/27/2023         01272023                              6,198.55
Principal Financial Group                    02/10/2023         02102023                              3,048.77
Principal Financial Group                    02/13/2023         02132023                              2,793.86
Principal Financial Group                    02/21/2023         02212023                              2,957.35
Principal Financial Group                    02/24/2023         02242023                              4,287.01
Principal Financial Group                    03/03/2023         03032023                              3,083.51
Principal Financial Group                    03/13/2023         03132023                              4,373.16
Principal Financial Group                    03/24/2023         03242023                              2,993.75
Principal Financial Group                    03/27/2023         03272023                              4,433.16
Principal Financial Group                    03/28/2023         03282023                               223.85
Principal Financial Group                    04/04/2023         04042023                              3,441.39
Recovery Pathways                            02/01/2023                                                887.45
Recovery Pathways                            03/01/2023                                                887.45
Recovery Pathways                            04/01/2023                                                887.45
Regner Limited Trust Fund                    01/23/2023         01232023                              5,000.00
Rhoda Yoder                                  03/15/2023         03152023                                40.13
Robert N. Bassel, ESQ                        04/05/2023         04052023                              7,500.00
Rusas Printing, Inc.                         01/24/2023         2390                                   127.20
Rusas Printing, Inc.                         02/10/2023         2423                                    31.80
SAR Consulting Services, LLC                 02/01/2023                                               5,000.00
SAR Consulting Services, LLC                 03/01/2023                                               5,000.00
SAR Consulting Services, LLC                 04/01/2023                                               5,000.00
Sarah Markie                                 03/27/2023         03272023                                16.80
Shawna Willaeys                              01/16/2023         1                                       29.97
Shelly Donovan                               03/14/2023         03152023                                20.00
Siemens Healthcare Diagnostics               02/03/2023         952903858                             1,190.04
Siemens Healthcare Diagnostics               03/03/2023         952922594                             1,190.04
Siemens Healthcare Diagnostics               04/03/2023         952944019                             1,190.04
Sigma-Aldrich Inc.                           01/12/2023         558952593                             1,991.66




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United States Bankruptcy Court                            Ark Laboratory, LLC
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                            Payee             Payment Date                 No.              Total
Silverman Consulting Inc.                  01/24/2023         SIL110944                             14,000.00
Silverman Consulting Inc.                  02/03/2023         SIL110945                             14,000.00
Silverman Consulting Inc.                  02/10/2023         SIL110946                             14,000.00
Silverman Consulting Inc.                  02/17/2023         SIL110948                             14,000.00
Silverman Consulting Inc.                  02/24/2023         SIL110953                             14,000.00
Silverman Consulting Inc.                  03/03/2023         SIL110954                             14,000.00
Silverman Consulting Inc.                  03/10/2023         SIL110959                             14,000.00
Silverman Consulting Inc.                  03/24/2023         SIL110977                             14,000.00
Solaris Diagnostics                        02/06/2023         4989                                    120.00
Solaris Diagnostics                        04/10/2023         5174                                    120.00
Spartan Wealth Management Inc.             03/01/2023         03012023                               2,035.98
Square                                     04/01/2023         04012023                                140.00
Staples                                    01/18/2023         3528094545                              272.50
State of Michigan                          02/09/2023         02092023                                 25.00
Stericycle Inc                             02/01/2023         4011524584                              157.94
Stericycle Inc                             03/01/2023         4011593950                              186.84
Stericycle Inc                             04/01/2023         4011662373                              186.84
StrengthPoint Advisors                     01/16/2023         CA-0577                               12,700.00
Superior Medical Waste Disposal            02/01/2023         22673                                  2,977.00
Superior Medical Waste Disposal            02/28/2023         22993                                  2,239.00
Superior Medical Waste Disposal            04/01/2023         23262                                  2,428.00
Suzanne Diller                             03/21/2023         03212023                                 14.82
Sysmex America, Inc.                       01/12/2023         94580410                                580.13
Sysmex America, Inc.                       01/12/2023         94580169                                206.68
Sysmex America, Inc.                       01/13/2023         94581671                                703.12
Sysmex America, Inc.                       01/25/2023         94595359                               1,835.53
Sysmex America, Inc.                       02/02/2023         94607111                                206.98
Sysmex America, Inc.                       02/03/2023         94609182                                324.99
Sysmex America, Inc.                       02/12/2023         94625507                                580.13
Sysmex America, Inc.                       02/22/2023         94641807                                206.25
Sysmex America, Inc.                       02/23/2023         94643530                                759.35
Sysmex America, Inc.                       02/25/2023         94646875                               1,835.53
Sysmex America, Inc.                       03/10/2023         94665538                                208.94
Sysmex America, Inc.                       03/11/2023         94667143                                324.80
Sysmex America, Inc.                       03/12/2023         94667867                                580.13
Sysmex America, Inc.                       03/25/2023         94687707                               1,835.53
Sysmex America, Inc.                       04/12/2023         94716677                                580.13




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United States Bankruptcy Court                               Ark Laboratory, LLC
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                               Payee             Payment Date                No.               Total
TASC                                          01/25/2023         IN2651324                                693.59
TASC                                          02/23/2023         IN2679225                                814.75
TASC                                          03/25/2023         IN2707512                                707.80
Team Financial Group (ACH)                    02/06/2023         02062023/702691                         6,732.00
Tek-Pette                                     03/16/2023         TPA4943-44-45                           2,031.00
The Hartford                                  02/01/2023                                                 6,265.50
The Hartford                                  02/14/2023         02142023                               12,558.00
The Hartford                                  03/28/2023         03282023                                5,912.06
The Hartford                                  03/28/2023         03282023                                6,262.50
The Medical Real Estate Group                 02/01/2023                                                47,828.06
The Medical Real Estate Group                 03/01/2023         03012023                               47,828.06
The Medical Real Estate Group                 04/01/2023                                                47,828.06
The Sports Marketing Agency, INC              02/01/2023         02012023                              150,000.00
The Sports Marketing Agency, INC              03/01/2023         03012023                              150,000.00
The Sports Marketing Agency, INC              04/01/2023         04012023                              150,000.00
Translational Software, Inc.                  02/01/2023         7940                                    6,741.00
Translational Software, Inc.                  02/07/2023         7838B                                      60.15
Translational Software, Inc.                  03/01/2023         8016                                   10,670.00
Translational Software, Inc.                  04/01/2023         8085                                    9,970.00
Tri-City Treatment                            02/01/2023                                                  308.58
Tri-City Treatment                            03/01/2023                                                  308.58
Tri-City Treatment                            04/01/2023                                                  308.58
Tricon Services LLC                           02/20/2023         3506                                    3,135.00
UHY, LLP                                      02/21/2023         640444337                               2,690.00
UPS                                           01/14/2023         00000604W0023                            529.15
UPS                                           01/14/2023         0000070R21023                            964.84
UPS                                           01/14/2023         000053XF87023                              18.00
UPS                                           01/14/2023         0000W352F1023                              30.00
UPS                                           01/14/2023         00005299W9023                              30.00
UPS                                           01/14/2023         000005F64R023                              30.00
UPS                                           01/14/2023         00003R5378023                              30.00
UPS                                           01/28/2023         00000604W0043                            783.45
UPS                                           01/28/2023         0000070R21043                           1,049.84
UPS                                           01/28/2023         000053XF87043                              18.00
UPS                                           01/28/2023         0000W352F1043                              30.00
UPS                                           01/28/2023         00005299W9043                              30.00
UPS                                           01/28/2023         000005F64R043                              30.00




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United States Bankruptcy Court                         Ark Laboratory, LLC
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                    Payee                  Payment Date              No.                 Total
UPS                                     01/28/2023         00003R5378043                           30.00
UPS                                     02/01/2023         0000W352F1033                           30.00
UPS                                     02/01/2023         00005299W9033                           30.00
UPS                                     02/01/2023         00000604W0033                          549.83
UPS                                     02/01/2023         000053XF87033                           18.00
UPS                                     02/01/2023         000005F64R033                           30.00
UPS                                     02/01/2023         00003R5378033                           30.00
UPS                                     02/01/2023         0000070R21033                         1,198.87
UPS                                     02/04/2023         0000W352F1053                           30.00
UPS                                     02/04/2023         00000604W0053                          720.88
UPS                                     02/04/2023         0000070R21053                         1,222.93
UPS                                     02/04/2023         000053XF87053                           18.00
UPS                                     02/04/2023         00005299W9053                           30.00
UPS                                     02/04/2023         000005F64R053                           30.00
UPS                                     02/04/2023         00003R5378053                           30.00
UPS                                     02/11/2023         00000604W0063                          677.55
UPS                                     02/11/2023         0000070R21063                         1,694.44
UPS                                     02/11/2023         000053XF87063                           18.00
UPS                                     02/11/2023         0000W352F1063                           30.00
UPS                                     02/11/2023         00005299W9063                           30.00
UPS                                     02/11/2023         000005F64R063                           30.00
UPS                                     02/11/2023         00003R5378063                           30.00
UPS                                     02/18/2023         00000604W0073                          641.39
UPS                                     02/18/2023         0000070R21073                         1,183.23
UPS                                     02/18/2023         000053XF87073                           18.00
UPS                                     02/18/2023         0000W352F1073                           30.00
UPS                                     02/18/2023         00005299W9073                           30.00
UPS                                     02/18/2023         000005F64R073                           30.00
UPS                                     02/18/2023         00003R5378073                           30.00
UPS                                     02/25/2023         00000604W0083                          371.60
UPS                                     02/25/2023         0000070R21083                         1,117.64
UPS                                     02/25/2023         000053XF87083                           18.00
UPS                                     02/25/2023         00005299W9083                           30.00
UPS                                     02/25/2023         0000W352F1083                           30.00
UPS                                     02/25/2023         000005F64R083                           30.00
UPS                                     02/25/2023         00003R5378083                           30.00
UPS                                     03/04/2023         00000604W0093                          405.43




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United States Bankruptcy Court                         Ark Laboratory, LLC
Eastern District of Michigan                               Schedule B1
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                    Payee                  Payment Date              No.                 Total
UPS                                     03/04/2023         0000070R21093                         1,841.52
UPS                                     03/04/2023         000053XF87093                           18.00
UPS                                     03/04/2023         0000W352F1093                           30.00
UPS                                     03/04/2023         00005299W9093                           30.00
UPS                                     03/04/2023         000005F64R093                           30.00
UPS                                     03/04/2023         00003R5378093                           30.00
UPS                                     03/11/2023         00000604W0103                          459.53
UPS                                     03/11/2023         0000070R21103                         1,285.48
UPS                                     03/11/2023         000053XF87103                           18.00
UPS                                     03/11/2023         0000W352F1103                           30.00
UPS                                     03/11/2023         00005299W9103                           30.00
UPS                                     03/11/2023         000005F64R103                           30.00
UPS                                     03/11/2023         00003R5378103                           30.00
UPS                                     03/18/2023         00000604W0113                          518.90
UPS                                     03/18/2023         0000070R21113                         1,099.62
UPS                                     03/18/2023         000053XF87113                           18.00
UPS                                     03/18/2023         0000W352F1113                           30.00
UPS                                     03/18/2023         00005299W9113                           30.00
UPS                                     03/18/2023         000005F64R113                           30.00
UPS                                     03/18/2023         00003R5378113                           30.00
UPS                                     03/25/2023         00000604W0123                          691.80
UPS                                     03/25/2023         0000070R21123                         1,520.40
UPS                                     03/25/2023         000053XF87123                           18.00
UPS                                     03/25/2023         0000W352F1123                           30.00
UPS                                     03/25/2023         00005299W9123                           30.00
UPS                                     03/25/2023         000005F64R123                           30.00
UPS                                     03/25/2023         00003R5378123                           30.00
UPS                                     04/01/2023         00000604W0133                          308.52
UPS                                     04/01/2023         0000070R21133                         1,072.08
UPS                                     04/01/2023         000053XF87133                           18.00
UPS                                     04/01/2023         00005299W9133                           30.00
UPS                                     04/01/2023         0000W352F1133                           30.00
UPS                                     04/01/2023         000005F64R133                           30.00
UPS                                     04/01/2023         00003R5378133                           30.00
UPS                                     04/08/2023         00000604W0143                          494.00
UPS                                     04/08/2023         0000070R21143                         1,189.81
UPS                                     04/08/2023         000053XF87143                           18.00




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United States Bankruptcy Court                              Ark Laboratory, LLC
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                            Payee               Payment Date                 No.              Total
UPS                                          04/08/2023         0000W352F1143                           30.00
UPS                                          04/08/2023         00005299W9143                           30.00
UPS                                          04/08/2023         000005F64R143                           30.00
UPS                                          04/08/2023         00003R5378143                           30.00
USA Scientific                               03/01/2023         4801921846                            5,233.38
Verizon                                      02/12/2023         9925764962                             386.93
Verizon                                      03/01/2023         9928146355                             376.63
Vernon Yoder                                 03/15/2023         03152023                                30.42
Vistaprint                                   01/18/2023         01182023                              1,315.45
Viviano Flower Shop                          01/24/2023         01242023                               182.60
Wells Fargo Financial Leasing, Inc.          01/12/2023         5023467160                             103.86
Wells Fargo Financial Leasing, Inc.          01/13/2023         5023484634                             593.60
Wells Fargo Financial Leasing, Inc.          01/24/2023         5023606826                             669.35
Wells Fargo Financial Leasing, Inc.          01/25/2023         5023619186                             138.43
Wells Fargo Financial Leasing, Inc.          02/02/2023         5023728467                             488.21
Wells Fargo Financial Leasing, Inc.          02/09/2023         5023875164                              92.44
Wells Fargo Financial Leasing, Inc.          02/10/2023         5023887287                             717.53
Wells Fargo Financial Leasing, Inc.          02/21/2023         5024015113                             675.85
Wells Fargo Financial Leasing, Inc.          02/22/2023         5024027375                              68.76
Wells Fargo Financial Leasing, Inc.          03/02/2023         5024131506                             345.83
Wells Fargo Financial Leasing, Inc.          03/10/2023         5024266612                             103.86
Wells Fargo Financial Leasing, Inc.          03/14/2023         5024301392                             712.32
Wells Fargo Financial Leasing, Inc.          04/01/2023         5024511260                             380.42
Wells Fargo Financial Leasing, Inc.          04/01/2023         5024426347                              68.76
Wells Fargo Financial Leasing, Inc.          04/01/2023         5024426346                             669.35
Wells Fargo Financial Leasing, Inc.          04/11/2023         5024686622                             103.86
Wendy Hutton                                 03/01/2023         03012023                               181.56
Xavier Barber                                03/06/2023         03062023                               111.36
Younis Enterprises                           02/01/2023                                               5,001.95
Younis Enterprises                           03/01/2023                                               5,001.95
Younis Enterprises                           04/01/2023                                               5,001.95


                                                                                      $       5,613,918.37




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United States Bankruptcy Court                 Ark Laboratory, LLC
Eastern District of Michigan                       Schedule B2
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                        Payee                 Payment Date              No.            Amount         Total


Bett Kimutai                               11/09/2022        11092022                     2,423.20
Bett Kimutai                               11/17/2022        11-7                         1,211.60
Bett Kimutai                               12/03/2022        11222022                     2,423.20
Bett Kimutai                               12/17/2022        12172022                     2,423.20
Bett Kimutai                               01/01/2023        01012023                     2,423.20
Bett Kimutai                               01/15/2023        01202023                     2,423.20
Bett Kimutai                               02/01/2023        01292023                     2,423.20
Bett Kimutai                               02/12/2023        01302023/02122023            2,432.20
Bett Kimutai                               02/13/2023        02132023/02262023            2,432.20
Bett Kimutai                               03/01/2023        02/27/23-03/12/23            1,817.40
Bett Kimutai                               03/31/2023        03262023                     2,423.20
Bett Kimutai                               04/09/2023        03272023/04092023            2,423.20    27,279.00
Detroit Athletic Club                      08/01/2022        08282022                      507.00
Detroit Athletic Club                      08/01/2022        07282022                      448.00
Detroit Athletic Club                      11/01/2022        11012022                      473.00
Detroit Athletic Club                      12/08/2022        12082022                      498.00
Detroit Athletic Club                      03/15/2023        03152023                     1,837.98     3,763.98
Eric Vasseur                               09/01/2022        000019                       2,685.00
Eric Vasseur                               11/22/2022        000036                       2,464.00     5,149.00
Hogan Lovells US LLP                       07/01/2022        22200189461                  6,149.15
Hogan Lovells US LLP                       08/01/2022        22200192865                 49,685.30
Hogan Lovells US LLP                       08/19/2022        22200195919                 29,242.27
Hogan Lovells US LLP                       10/01/2022        22200198674                 38,872.19
Hogan Lovells US LLP                       11/01/2022        22200203113                 45,244.72
Hogan Lovells US LLP                       12/01/2022        22200206284                 22,855.63
Hogan Lovells US LLP                       12/15/2022        22200208749                 47,335.46
Hogan Lovells US LLP                       02/01/2023        22200212564                 55,341.39
Hogan Lovells US LLP                       04/01/2023        22200218109                 22,648.87
Hogan Lovells US LLP                       04/01/2023        22200215490                 17,785.88   335,160.86
James Grossi                               04/14/2022        04142022                     6,758.42
James Grossi                               04/22/2022        04222022                     3,127.99
James Grossi                               05/02/2022        05022022                     4,673.21
James Grossi                               05/20/2022        05202022                     3,375.31
James Grossi                               06/01/2022        06012022                      800.00
James Grossi                               06/07/2022        06072022                     2,362.46
James Grossi                               06/08/2022        06082022                    12,826.21
James Grossi                               06/17/2022        06172022                     4,893.22
James Grossi                               06/21/2022        06212022                     3,310.91
James Grossi                               06/30/2022        06302022                     3,893.65
James Grossi                               07/01/2022        07012022                     1,836.41
James Grossi                               07/15/2022        07152022                     2,190.00
James Grossi                               08/01/2022        08012022                      836.33
James Grossi                               08/11/2022        08112022                     5,000.00
James Grossi                               08/30/2022        08302022                     3,750.00
James Grossi                               12/09/2022        12092022                      816.67
James Grossi                               12/20/2022        12202022                     5,000.00
James Grossi                               12/21/2022        12212022                     4,978.00
James Grossi                               12/30/2022        12302022                     4,738.84
James Grossi                               01/01/2023        12192022                     5,000.00
James Grossi                               01/04/2023        01042023                     5,000.00
James Grossi                               01/05/2023        01052023                     2,500.00




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Eastern District of Michigan                       Schedule B2
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                        Payee                 Payment Date               No.            Amount         Total
James Grossi                               01/10/2023        01102023B                     2,500.00
James Grossi                               01/10/2023        01102023                      2,000.00
James Grossi                               01/11/2023        01112023                      3,000.00
James Grossi                               01/11/2023        01112023                      1,147.64
James Grossi                               01/13/2023        01132023                      1,527.80
James Grossi                               01/17/2023        01172023                      5,212.67
James Grossi                               01/18/2023        01182023                      2,500.00
James Grossi                               01/21/2023        01212023                       225.75
James Grossi                               01/23/2023        01232023                       103.69
James Grossi                               01/24/2023        01242023                      5,000.00
James Grossi                               01/25/2023        01252023                      2,500.00
James Grossi                               01/27/2023        01272023                        98.87
James Grossi                               01/27/2023                                      3,482.30
James Grossi                               01/28/2023        01312023                     11,589.39
James Grossi                               01/28/2023        01282023                      1,837.32
James Grossi                               02/09/2023        02092023                      2,500.00
James Grossi                               02/10/2023        02102023                       750.00
James Grossi                               02/13/2023        02132023                      5,000.00
James Grossi                               02/14/2023        02142023                      2,500.00
James Grossi                               02/21/2023        02212023                      5,000.00
James Grossi                               02/21/2023        02212023                      2,500.00
James Grossi                               02/24/2023        02242023                      1,836.32
James Grossi                               02/27/2023        02272023                       826.93
James Grossi                               03/01/2023        02282023                     13,000.00
James Grossi                               03/06/2023        03062023                      2,500.00
James Grossi                               03/06/2023        03062023                      5,000.00
James Grossi                               03/10/2023        03102023                      2,163.39
James Grossi                               03/15/2023        03152023                      7,500.00
James Grossi                               03/16/2023        03162023                      2,500.00
James Grossi                               03/24/2023        03242023                      7,500.00
James Grossi                               03/24/2023        03242023                      2,500.00
James Grossi                               03/31/2023        03312023                      2,500.00   196,469.70
Law Offices of Brian M. Legghio            04/26/2022        04262022                      7,500.00     7,500.00
Liam Dillon                                10/01/2022        09142022                        90.00
Liam Dillon                                04/12/2023        04122023                     48,377.38    48,467.38
Lippitt O'Keefe, PLLC                      05/01/2022        12547                         3,910.00
Lippitt O'Keefe, PLLC                      06/01/2022        12461                         5,612.50
Lippitt O'Keefe, PLLC                      07/01/2022        12727                         1,020.00
Lippitt O'Keefe, PLLC                      07/01/2022        12649                         3,612.50
Lippitt O'Keefe, PLLC                      08/01/2022        12828                          356.00
Lippitt O'Keefe, PLLC                      10/01/2022        13011                         1,667.50
Lippitt O'Keefe, PLLC                      10/01/2022        12915                          489.64
Lippitt O'Keefe, PLLC                      02/01/2023        13378                        13,560.00
Lippitt O'Keefe, PLLC                      02/01/2023        13273                         1,452.50    31,680.64
Little Sonia Real Estate LLC               12/01/2022        12012022                      1,698.75
Little Sonia Real Estate LLC               12/01/2022        11012022                      1,698.75
Little Sonia Real Estate LLC               01/01/2023                                      1,698.75
Little Sonia Real Estate LLC               02/01/2023                                      1,698.75
Little Sonia Real Estate LLC               03/01/2023                                      1,698.75
Little Sonia Real Estate LLC               04/01/2023                                      1,698.75    10,192.50
Mark Beauchamp                             09/29/2022        09292022                      7,000.00
Mark Beauchamp                             03/14/2023        03012023                     25,000.00    32,000.00




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United States Bankruptcy Court                                     ARK LABORATORY, LLC
Eastern District of Michigan                                              Schedule C
Case No: 23-43043                                                   Transfers within 2 Years

                             Payee                      Payment Date                 No.                Total


Life Technologies Corporation                        04/12/2021          79294438                $                2,096.15
OMG & The A Team Consulting, LLC                     04/12/2021                                                   1,000.00
StreamlineHR Services, LLC                           04/12/2021          HD-1061                                  1,512.34
Fisher Healthcare                                    04/13/2021          0523156                                  1,394.13
IMCS, Inc.                                           04/13/2021          125066                                   5,898.00
Detroit Free Press                                   04/14/2021          3376416                                 18,870.00
Edge Solutions                                       04/14/2021          5809                                      114.00
The Medical Real Estate Group                        04/14/2021                                                  29,700.00
BioPathogenix                                        04/15/2021          1207                                    67,500.00
Fisher Healthcare                                    04/15/2021          0849155                                  2,312.27
M-4 Enterprise                                       04/15/2021                                                  15,000.00
Robert Skalski                                       04/15/2021                                                   7,500.00
Unifirst Corporation                                 04/15/2021          088 2292850                                 87.00
The Medical Real Estate Group                        04/16/2021          04162021                                45,855.67
Blue Care Network                                    04/19/2021          210970021864                            34,084.38
Blue Cross Blue Shield of Michigan                   04/19/2021          121540948                               10,142.47
Blue Cross Blue Shield of Michigan                   04/19/2021          121541220                               23,332.02
Dell Marketing LP c/o Lam, Lyn & Philip P.C.         04/19/2021          10474332780                             11,228.87
Gerald Cain                                          04/19/2021                                                  20,000.00
OMG & The A Team Consulting, LLC                     04/19/2021                                                   1,000.00
Orchard Software Corporation                         04/19/2021          211405                                   3,823.50
Raghad Lepley, M.D.                                  04/19/2021                                                  11,250.00
StrengthPoint Advisors                               04/19/2021          CA-0284                                 27,200.00
The Sports Marketing Agency, INC                     04/19/2021                                                  75,000.00
Ion Diagnostics Laboratories                         04/20/2021          Inv 0007                                 9,823.91
The Peninsula Fund VII, LP                           04/22/2021                                                 114,657.53
Charbel Abou-Diwan                                   04/27/2021                                                    123.44
OMG & The A Team Consulting, LLC                     04/27/2021                                                   1,000.00
AB Sciex, LLC                                        04/28/2021          210159759                                 508.71
AB Sciex, LLC                                        04/28/2021          210162069                               11,687.97
BioPathogenix                                        04/28/2021          1211                                    61,250.00
BioPathogenix                                        04/28/2021          1198                                    38,000.00
BioPathogenix                                        04/28/2021          1192                                    32,000.00
Shore Pointe Services, LLC                           04/28/2021          264958                                   6,731.00
Deidra Denee Marshall                                04/30/2021                                                   5,000.00




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Gemini Lab Group                          04/30/2021                                                 176,000.00
Medline Industries, Inc.                  04/30/2021          1943657413                               1,050.31
Medline Industries, Inc.                  04/30/2021          1943495902                              29,173.57
Medline Industries, Inc.                  04/30/2021          1943421627                               1,554.19
Medline Industries, Inc.                  04/30/2021          1943421625                                583.72
Medline Industries, Inc.                  04/30/2021          1943352616                               6,364.31
Medline Industries, Inc.                  04/30/2021          1943263676                               1,004.11
OMG & The A Team Consulting, LLC          04/30/2021          Weekly                                   1,000.00
Optimal Care Associates LLC               04/30/2021          Recurring                               20,000.00
Radar Consulting                          04/30/2021                                                  60,000.00
Raghad Lepley, M.D.                       04/30/2021          Recurring                                3,750.00
The Sports Marketing Agency, INC          04/30/2021                                                  75,000.00
AB Sciex, LLC                             05/01/2021          210163852                               11,687.97
Abbott Laboratories                       05/01/2021          830769656                                1,060.00
Advance II                                05/01/2021          51106                                    3,402.04
Advance II                                05/01/2021          51083                                    1,306.91
Advance II                                05/01/2021          51034                                     650.36
Amro Almradi MDPC PLLC                    05/01/2021                                                   2,000.00
BCC Distribution, Inc.                    05/01/2021          SOI0012141                               8,819.73
Bultynck & Co. CPA                        05/01/2021          222098612                                2,000.00
Change Healthcare                         05/01/2021          1290323                                     79.00
Change Healthcare                         05/01/2021          1359297                                     79.00
CI Web Design, Inc                        05/01/2021          8462                                    20,275.75
College of American Pathologists          05/01/2021          2521253                                  4,386.67
Edge Solutions                            05/01/2021          5866                                      114.00
Evoqua Water Technologies LLC             05/01/2021          904881717                               14,781.42
Fisher Healthcare                         05/01/2021          6441831                                  5,086.73
Florida Healthcare Alliance, LLC          05/01/2021                                                  48,000.00
Holly Manssur                             05/01/2021          24                                       2,000.00
Kerkstra                                  05/01/2021          173003                                    141.30
Kerkstra                                  05/01/2021          171809                                    141.30
Labtek, Incorporated                      05/01/2021          11491                                   19,107.00
Labtek, Incorporated                      05/01/2021          11490                                    8,957.00
Med Water Systems                         05/01/2021          2021/0936                                 355.00
Medcare MSO                               05/01/2021          1872                                   148,732.60
Medline Industries, Inc.                  05/01/2021          1947431325                                629.37




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Medline Industries, Inc.                    05/01/2021          1947281909                                851.17
Medline Industries, Inc.                    05/01/2021          1947152831                               4,264.17
Medline Industries, Inc.                    05/01/2021          1947068293                               2,953.54
Medline Industries, Inc.                    05/01/2021          1946972686                                169.59
Medline Industries, Inc.                    05/01/2021          1946972684                               2,306.54
Medline Industries, Inc.                    05/01/2021          1946972681                                415.52
Medline Industries, Inc.                    05/01/2021          1946907139                               1,792.24
Medline Industries, Inc.                    05/01/2021          1946834264                                661.47
Medline Industries, Inc.                    05/01/2021          1946834265                                832.09
Nofar Law PLLC                              05/01/2021          161727                                   4,730.00
Orchard Software Corporation                05/01/2021          2021-12022                               1,251.25
Orchard Software Corporation                05/01/2021          2021-12085                               4,647.50
Orchard Software Corporation                05/01/2021          2021-12066                               7,425.00
Orchard Software Corporation                05/01/2021          2021-12084                               4,000.00
Orchard Software Corporation                05/01/2021          2020-12111                              12,720.00
Orchard Software Corporation                05/01/2021          2021-12086                               3,000.00
Orchard Software Corporation                05/01/2021          2021-11705                               3,832.50
Ottenwess, Taweel & Ottenwess, PLC          05/01/2021                                                   2,110.00
Reliable Delivery                           05/01/2021          218926                                    199.50
Restek Corporation                          05/01/2021          Cd50173738                                303.72
Restek Corporation                          05/01/2021          CD50174107                                564.77
Robert Skalski                              05/01/2021          Recurring                               15,000.00
Rockford Leasing LLC                        05/01/2021          HELI 4.30.21                             1,165.10
StreamlineHR Services, LLC                  05/01/2021          HD-1062                                  1,379.50
TASC                                        05/01/2021          IN2012608                                 237.00
Uline                                       05/01/2021          133021064                                1,082.75
Uline                                       05/01/2021          133082438                                1,607.42
Uline                                       05/01/2021          132809481                                 200.62
Unifirst Corporation                        05/01/2021          088-2296558                                 89.62
Unifirst Corporation                        05/01/2021          088-2292850                                 87.00
Wells Fargo Financial Leasing, Inc.         05/01/2021          5014898354                                470.83
Wells Fargo Financial Leasing, Inc.         05/01/2021          5014814292                                557.80
Zef Scientific, Inc.                        05/01/2021          11212                                   22,381.00
Zef Scientific, Inc.                        05/01/2021          10547                                  133,200.00
AB Sciex, LLC                               05/02/2021          21063895                                  508.71
Benkoff Health Law, PLLC                    05/02/2021          1975                                      504.00




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Dell Marketing LP c/o Lam, Lyn & Philip P.C.         05/02/2021          10481486832                             1,091.46
IMCS, Inc.                                           05/02/2021          124773                                  5,898.00
Advance II                                           05/03/2021          51007                                    484.13
Benkoff Health Law, PLLC                             05/03/2021          1916                                    2,556.00
Benkoff Health Law, PLLC                             05/03/2021          1855                                    2,916.00
Block Scientific, Inc.                               05/03/2021          68615                                   3,125.00
Cardinal Health                                      05/03/2021          1603156101                               114.55
Cerilliant Corporation                               05/03/2021          543160                                  1,540.70
Cerilliant Corporation                               05/03/2021          542977                                   267.00
Cerilliant Corporation                               05/03/2021          542161                                   133.10
Cerilliant Corporation                               05/03/2021          542165                                  3,438.10
Cerilliant Corporation                               05/03/2021          541462                                   480.40
Detroit Athletic Club                                05/03/2021          P598IR                                   301.00
Downey Brand                                         05/03/2021          559181                                  3,848.00
Downey Brand                                         05/03/2021          558889                                  3,864.00
Downey Brand                                         05/03/2021          557401                                  6,780.00
Downey Brand                                         05/03/2021          556610                                  8,382.00
Empirical Biosciences                                05/03/2021          4030                                   80,899.20
EZ Pro DElivery                                      05/03/2021          HLX0421B                                 136.87
I Care MI, LLC                                       05/03/2021          inv/2021/0267                             99.00
JSW Consulting, LLC                                  05/03/2021          1067                                   12,500.00
JSW Consulting, LLC                                  05/03/2021          1062                                   12,824.14
LabPath Consulting                                   05/03/2021          1270                                   13,000.00
StreamlineHR Services, LLC                           05/03/2021          HD-1064                                 1,120.96
Tri-City Treatment                                   05/03/2021          Recurring                                925.74
UNUM Life Insurance Company of America               05/03/2021          0617343-701 0                             40.22
UNUM Life Insurance Company of America               05/03/2021          0648847-001 6                           1,134.70
UNUM Life Insurance Company of America               05/03/2021          0617343-002 6                           4,932.25
UNUM Life Insurance Company of America               05/03/2021          0617343-001 9                           6,042.68
V & C Investments                                    05/03/2021          Recurring                               1,100.00
AB Sciex, LLC                                        05/04/2021          210162140                                508.71
AB Sciex, LLC                                        05/04/2021          210159706                              11,687.97
Axiom Diagnostics                                    05/04/2021          210223                                  2,366.94
Edge Solutions                                       05/04/2021          318724                                   838.16
Edge Solutions                                       05/04/2021          5710                                     114.00
Empirical Biosciences                                05/04/2021          3922                                   80,899.20




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Newbsknob, LLC                                       05/04/2021          Recurring                               8,625.00
Orchard Software Corporation                         05/04/2021          2020-12109                             12,720.00
Orchard Software Corporation                         05/04/2021          2020-15768                              9,546.94
Restek Corporation                                   05/04/2021          CD50176703                              2,835.70
The Sports Marketing Agency, INC                     05/04/2021          Recurring                              75,000.00
The Sports Marketing Agency, INC                     05/04/2021          Replacement                            75,000.00
Uline                                                05/04/2021          133312821                                 54.17
Abbott Laboratories                                  05/05/2021          830772350                               1,213.00
Brian O. Tierney Living Trust                        05/05/2021          Recurring                              10,333.33
Cerilliant Corporation                               05/05/2021          544276                                  2,663.90
Concur Technologies, Inc                             05/05/2021          101600138456                            1,146.58
Concur Technologies, Inc                             05/05/2021          101100166526                            1,184.80
Fire Defense Equipment Company                       05/05/2021          092668                                   526.30
Global Office Solutions                              05/05/2021          PINV239916                              1,007.00
Henry Schein                                         05/05/2021          93339037                               10,049.73
MedMatch                                             05/05/2021          11598                                  16,000.00
Nameer Kiminaia Trust                                05/05/2021          Recurring                              10,333.33
Change Healthcare                                    05/06/2021          1307908                                   79.00
Henry Schein                                         05/06/2021          93381136                                4,539.03
Lisa Lindsay, C.F.N.P., MSN                          05/06/2021          Recurring                               2,463.55
Medline Industries, Inc.                             05/06/2021          1947431326                             26,443.92
Superior Medical Waste Disposal                      05/06/2021          9016                                     336.00
The Medical Real Estate Group                        05/06/2021          Recurring                              31,323.42
Unifirst Corporation                                 05/06/2021          088-2298428                               87.00
Henry Schein                                         05/07/2021          93432352                                1,463.58
Medline Industries, Inc.                             05/07/2021          1947842324                               415.52
Medline Industries, Inc.                             05/07/2021          1947530978                               335.36
Medline Industries, Inc.                             05/07/2021          1947530975                               627.09
Medline Industries, Inc.                             05/07/2021          197530972                                892.56
Dell Marketing LP c/o Lam, Lyn & Philip P.C.         05/08/2021          10482350438                             5,810.17
Henry Schein                                         05/08/2021          92881563                                 321.58
Henry Schein                                         05/08/2021          92873395                                3,868.98
Henry Schein                                         05/08/2021          92158856                                 534.14
Life Technologies Corporation                        05/10/2021          79428437                               13,689.90
OMG & The A Team Consulting, LLC                     05/10/2021          Recurring                               1,000.00
Peachstate Health Management                         05/10/2021          April-2021                              3,150.00




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StreamlineHR Services, LLC                           05/10/2021          HD-1065                                  1,243.11
Superior Medical Waste Disposal                      05/10/2021          9033                                        56.00
Superior Medical Waste Disposal                      05/10/2021          9037                                      364.00
Life Technologies Corporation                        05/11/2021          79438455                                67,456.28
StreamlineHR Services, LLC                           05/11/2021          HD-1063                                  1,501.88
BCC Distribution, Inc.                               05/12/2021          SOI0012234                               5,952.58
BioPathogenix                                        05/12/2021          1219                                    30,627.38
Blue Cross Blue Shield of Michigan                   05/12/2021          122811399                                9,958.05
Blue Cross Blue Shield of Michigan                   05/12/2021          122811642                               31,478.67
Empirical Biosciences                                05/12/2021          3988                                   161,798.40
Henry Schein                                         05/12/2021          93584460                                  283.71
Henry Schein                                         05/12/2021          93671728                                  698.40
Med Water Systems                                    05/12/2021          2021/0653                                 355.00
Mettler-Toledo Rainin, LLC                           05/12/2021          678623566                                   23.50
Recovery Pathways                                    05/12/2021                                                   2,662.35
Abbott Laboratories                                  05/13/2021          830767499                                1,100.00
Dell Marketing LP c/o Lam, Lyn & Philip P.C.         05/13/2021          10479812217                              7,379.82
Edge Solutions                                       05/13/2021          331493                                   2,063.71
Henry Schein                                         05/13/2021          93673747                                 1,396.83
Henry Schein                                         05/13/2021          93063248                                 1,251.60
Superior Medical Waste Disposal                      05/13/2021          9087                                        28.00
Superior Medical Waste Disposal                      05/13/2021          9089                                      596.00
Superior Medical Waste Disposal                      05/13/2021          9090                                        48.00
Unifirst Corporation                                 05/13/2021          088-2300266                                 87.00
Advance II                                           05/14/2021          51149                                    2,127.85
Axiom Diagnostics                                    05/14/2021          210400                                   4,034.82
Comcast                                              05/14/2021          123031051                                 986.04
Labtek, Incorporated                                 05/14/2021          11588                                     438.78
Medline Industries, Inc.                             05/14/2021          1948471704                               4,341.13
Medline Industries, Inc.                             05/15/2021          1948637451                                322.07
Alpha Cleaners LLC                                   05/16/2021          1172511                                  1,600.00
Alpha Cleaners LLC                                   05/16/2021          1172510                                  2,700.00
Cerilliant Corporation                               05/17/2021          546052                                   1,221.30
EZ Pro DElivery                                      05/17/2021          HED0521A                                    12.72
Fisher Healthcare                                    05/17/2021          6184458                                  1,383.93
StrengthPoint Advisors                               05/17/2021          CA-0301                                 26,200.00




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Deidra Denee Marshall                                      05/18/2021          Todd Roy request                         348.00
OMG & The A Team Consulting, LLC                           05/18/2021          Recurring                               1,000.00
Superior Medical Waste Disposal                            05/18/2021          9101                                     392.00
BioPathogenix                                              05/19/2021          1220                                   15,000.00
Downey Brand                                               05/19/2021          560663                                  2,568.00
Henry Schein                                               05/19/2021          93653401                                8,642.10
Medline Industries, Inc.                                   05/19/2021          1948936843                               948.31
Medline Industries, Inc.                                   05/19/2021          1948933842                              5,329.71
UNUM Life Insurance Company of America                     05/19/2021          0617343-001 9 June 21                   6,568.48
Abbott Laboratories                                        05/20/2021          830774665                               1,000.00
American Express                                           05/20/2021                                                      3.06
BioPathogenix                                              05/20/2021          1222                                   21,000.00
Gerald Cain                                                05/20/2021          Recurring                              20,000.00
Life Technologies Corporation                              05/20/2021          79490150                                3,708.45
Medline Industries, Inc.                                   05/20/2021          1949128464                               966.85
SeraCare Life Sciences, Inc dba LGC Clinical Diagnostics   05/20/2021          90147053                                1,859.31
Superior Medical Waste Disposal                            05/20/2021          9141                                     280.00
Unifirst Corporation                                       05/20/2021          088-2302118                              123.68
Cerilliant Corporation                                     05/21/2021          546427                                   572.00
M-4 Enterprise                                             05/21/2021          Recurring                              15,000.00
Medline Industries, Inc.                                   05/21/2021          1949213129                               787.64
Medline Industries, Inc.                                   05/22/2021          1949381711                               786.15
Immunalysis Corporation                                    05/24/2021          0175605                                 3,266.18
James Grossi                                               05/24/2021          Reimbursement                          15,000.00
Life Technologies Corporation                              05/24/2021          79502644                                2,904.93
OMG & The A Team Consulting, LLC                           05/24/2021          Recurring                               1,000.00
StreamlineHR Services, LLC                                 05/24/2021          HD-1067                                  972.77
Superior Medical Waste Disposal                            05/24/2021          9143                                     280.00
Wells Fargo Financial Leasing, Inc.                        05/24/2021          5015235616                              1,115.58
Aetna Better Health of Michigan                            05/25/2021          20202391                               50,370.53
Easter Seals of Michigan                                   05/25/2021          05252021                                 500.00
Fisher Healthcare                                          05/25/2021          7819513                                  449.04
Henry Schein                                               05/25/2021          93946916                                7,775.21
Shore Pointe Services, LLC                                 05/25/2021          265048                                  2,358.50
Tek-Pette                                                  05/25/2021          TPC3220                                 1,980.00
George King Bio-Medical, Inc.                              05/26/2021          99465                                   1,503.75




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IMCS, Inc.                                       05/26/2021          125620                                   5,899.00
Life Technologies Corporation                    05/26/2021          79002538                                 5,715.52
Life Technologies Corporation                    05/26/2021          77145648                                13,930.08
Life Technologies Corporation                    05/26/2021          79002547                                 5,862.37
Life Technologies Corporation                    05/26/2021          79280795                                67,456.28
Life Technologies Corporation                    05/26/2021          79199959                                 1,454.85
Life Technologies Corporation                    05/26/2021          79162349                                  298.92
Life Technologies Corporation                    05/26/2021          79169619                                 1,055.76
Wells Fargo Financial Leasing, Inc.              05/26/2021          5015245922                                193.76
Abbott Laboratories                              05/27/2021          830740978                                1,213.00
Abbott Laboratories                              05/27/2021          830768218                                1,100.00
Blue Care Network                                05/27/2021          211270032607                            26,900.61
Mettler-Toledo Rainin, LLC                       05/27/2021          678633813                                1,535.85
Notre Dame Preparatory School                    05/27/2021                                                  10,000.00
TASC                                             05/27/2021          IN2030900                                 237.00
Unifirst Corporation                             05/27/2021          088-2303950                               123.68
UNUM Life Insurance Company of America           05/27/2021          0617343-701 0 June 20                       40.22
UNUM Life Insurance Company of America           05/27/2021          0648847-001 6 July 21                     993.86
UNUM Life Insurance Company of America           05/27/2021          0617343-002 6 June                       4,653.87
AB Sciex, LLC                                    05/28/2021          210165502                               11,480.99
AB Sciex, LLC                                    05/28/2021          210165524                               53,194.81
Airport Boulevard Associates                     05/28/2021          Recurring                                1,000.00
Auburn Hills Medical Properties, LLC             05/28/2021          Recurring                                 991.00
Darren Cain                                      05/28/2021          Recurring                               26,000.00
Deidra Denee Marshall                            05/28/2021          Monthly                                  5,000.00
Edge Solutions                                   05/28/2021          344797                                   1,181.38
First Congregational Church                      05/28/2021          Monthly                                   200.00
Gemini Lab Group                                 05/28/2021          Monthly                                176,000.00
Gerald Cain                                      05/28/2021          Bi Monthly                              20,000.00
Lapeer Health Properties, LLC                    05/28/2021          Recurring                                1,500.00
Lisa Lindsay, C.F.N.P., MSN                      05/28/2021          Monthly                                   492.71
Michigan Institute of Medicine                   05/28/2021          Recurring                                1,700.00
Michigan Pain Management Consultants, PC         05/28/2021          Recurring                                 581.25
Newbsknob, LLC                                   05/28/2021          Monthly                                  2,875.00
OMG & The A Team Consulting, LLC                 05/28/2021          Weekly                                   1,000.00
Optimal Care Associates LLC                      05/28/2021          Monthly                                 20,000.00




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Radar Consulting                           05/28/2021          Monthly                                 60,000.00
Raghad Lepley, M.D.                        05/28/2021          Monthly                                  3,750.00
Robert Skalski                             05/28/2021          Monthly                                  7,500.00
Southgate Medical Group                    05/28/2021          Recurring                                 864.00
The Peninsula Fund VII, LP                 05/28/2021                                                 118,479.45
The Sports Marketing Agency, INC           05/28/2021          Bi Monthly                              75,000.00
Unasource Health, LLC                      05/28/2021          Recurring                                 891.00
V & C Investments                          05/28/2021          Recurring                                1,100.00
WMSC                                       05/28/2021          Recurring                                 500.00
Zuehlke Iliades                            05/28/2021          Recurring                                4,050.00
Change Healthcare                          05/31/2021          1376721                                     79.00
Detroit Athletic Club                      05/31/2021          3474350/51                                301.00
LabPath Consulting                         05/31/2021          1275                                     8,000.00
MCW Partners, LLC                          05/31/2021          48045                                       47.70
StreamlineHR Services, LLC                 05/31/2021          HD-1068                                  1,133.20
Superior Medical Waste Disposal            05/31/2021          8971                                        48.00
AB Sciex, LLC                              06/01/2021          21065617                                11,687.97
Abbott Laboratories                        06/01/2021          830774665                                   60.00
Adrian College Athletics                   06/01/2021          1                                        1,300.00
American Proficiency Institute             06/01/2021          583198                                    589.00
Arkstone Medical                           06/01/2021          22064                                    3,875.00
Benkoff Health Law, PLLC                   06/01/2021          2022                                     2,736.00
Brian O. Tierney Living Trust              06/01/2021          Recurring                               10,333.33
Cash                                       06/01/2021                                                    225.00
CI Web Design, Inc                         06/01/2021          8488                                      279.00
COLA Inc.                                  06/01/2021          A0078912                                 9,921.00
Fed Ex                                     06/01/2021          3-381-52837                               142.18
Henry Schein                               06/01/2021          EQ20123100139                           31,778.80
Holly Manssur                              06/01/2021          25                                       2,000.00
JSW Consulting, LLC                        06/01/2021          1073                                    12,500.00
Katt Medical                               06/01/2021          HELIX 1002                               1,939.80
Katt Medical                               06/01/2021          HELIX 1001                               1,421.84
Katt Medical                               06/01/2021          HELIX 100masks                           5,300.00
Mettler-Toledo Rainin, LLC                 06/01/2021          678617356                                1,535.85
Mettler-Toledo Rainin, LLC                 06/01/2021          678615916                                2,937.26
Nameer Kiminaia Trust                      06/01/2021          Recurring                               10,333.33




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Nofar Law PLLC                              06/01/2021          1252                                     3,105.00
Orchard Software Corporation                06/01/2021          2020-12112                              12,720.00
Practice Fusion                             06/01/2021          5500014074                                690.00
Practice Fusion                             06/01/2021          5500013395                                756.00
Practice Fusion                             06/01/2021          5500012980                                728.00
Practice Fusion                             06/01/2021          5500012595                                792.00
Practice Fusion                             06/01/2021          5500012253                               1,524.00
Practice Fusion                             06/01/2021          1000146538                               5,000.00
Recovery Pathways                           06/01/2021          Recurring                                 887.45
Superior Medical Waste Disposal             06/01/2021          8977                                       28.00
Superior Medical Waste Disposal             06/01/2021          9155                                      428.00
Superior Medical Waste Disposal             06/01/2021          9158                                       28.00
The Medical Real Estate Group               06/01/2021          Recurring                               31,323.42
Thyssenkrupp Elevator Corporation           06/01/2021          6000503088                               2,826.78
Tri-City Treatment                          06/01/2021          Recurring                                 308.58
Uline                                       06/01/2021          135414046                                  89.24
Unifirst Corporation                        06/01/2021          1392294708                                 87.00
AB Sciex, LLC                               06/02/2021          210165674                                 508.71
Advance II                                  06/02/2021                                                   3,545.82
EZ Pro DElivery                             06/02/2021          HLX0521B                                   50.88
LaTorle Clark                               06/02/2021                                                    116.59
Nofar Law PLLC                              06/02/2021          161762                                   5,280.00
Superior Medical Waste Disposal             06/02/2021          9194                                      336.00
Wells Fargo Financial Leasing, Inc.         06/02/2021          5015350624                                816.66
BioPathogenix                               06/03/2021          1230                                    50,000.00
Bridgeton Area Brothers United              06/03/2021          email                                    5,800.00
Restek Corporation                          06/03/2021          CD50184089                               1,670.45
Unifirst Corporation                        06/03/2021          1390001294                                121.77
Blue Cross Blue Shield of Michigan          06/04/2021          124506543                               26,883.95
Blue Cross Blue Shield of Michigan          06/04/2021          124506213                               19,441.89
Rusas Printing, Inc.                        06/04/2021          1432                                      492.90
Uline                                       06/04/2021          134573015                                1,399.96
Wheaton Partners (dba) CodeMap              06/04/2021          17575                                     225.00
UPS                                         06/05/2021          00003R378231                              132.00
Cerilliant Corporation                      06/07/2021          547305                                   1,635.30
Henry Schein                                06/07/2021          94598143                                   48.35




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OMG & The A Team Consulting, LLC               06/07/2021                                                  1,000.00
People 2.0 Global LP                           06/07/2021          53300952                                7,696.00
StreamlineHR Services, LLC                     06/07/2021          HD-1069                                 1,012.38
Superior Medical Waste Disposal                06/07/2021          9198                                     308.00
Blue Care Network                              06/08/2021          211590066847                           28,909.49
Uline                                          06/08/2021          134722109                                 48.94
BioPathogenix                                  06/09/2021          1234                                   95,000.00
Henry Schein                                   06/09/2021          94731507                                  59.38
Superior Medical Waste Disposal                06/09/2021          9232                                      56.00
PODS Enterprises, LLC                          06/10/2021          ZA67000134130                            220.94
Superior Medical Waste Disposal                06/10/2021          9239                                     428.00
Superior Medical Waste Disposal                06/10/2021          9240                                      48.00
Superior Medical Waste Disposal                06/10/2021          9242                                      28.00
Uline                                          06/10/2021          134813968                                901.02
Uline                                          06/10/2021          134813906                                104.91
Unifirst Corporation                           06/10/2021          1390003217                               121.77
Advance II                                     06/11/2021          51242                                   2,743.04
Henry Schein                                   06/11/2021          94842913                                  69.73
Abbott Laboratories                            06/13/2021          830777470                               1,100.00
Axiom Diagnostics                              06/14/2021          210497                                  4,056.99
Henry Schein                                   06/14/2021          94909797                                 194.78
Internal Revenue Service                       06/14/2021          CP162-12/31/19                           616.06
People 2.0 Global LP                           06/14/2021          511004008                              35,000.00
StreamlineHR Services, LLC                     06/14/2021          HD-1070                                  623.00
Superior Medical Waste Disposal                06/14/2021          9272                                     336.00
Superior Medical Waste Disposal                06/14/2021          9266                                     256.00
Uline                                          06/14/2021          134912608                                176.49
UNUM Life Insurance Company of America         06/14/2021          0617343-011-9 July21                    6,335.80
UNUM Life Insurance Company of America         06/14/2021          0617343-002-6 July                      4,813.92
UNUM Life Insurance Company of America         06/14/2021          0617343-701-0                             40.22
UNUM Life Insurance Company of America         06/14/2021          0648847-001-6                           1,044.16
Florida Healthcare Alliance, LLC               06/15/2021                                                 48,000.00
Gerald Cain                                    06/15/2021                                                 20,000.00
OMG & The A Team Consulting, LLC               06/15/2021                                                  1,000.00
The Sports Marketing Agency, INC               06/15/2021                                                 75,000.00
The Sports Marketing Agency, INC               06/15/2021                                                 75,000.00




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Alpha Cleaners LLC                                06/16/2021          1172547                                  1,600.00
Alpha Cleaners LLC                                06/16/2021          1172546                                  2,700.00
Med Water Systems                                 06/16/2021          INV/2021/1522                             355.00
TASC                                              06/16/2021          IN2044094                                 100.00
TASC                                              06/17/2021          IN2048101                                 237.00
Unifirst Corporation                              06/17/2021          1390005016                                121.77
Advance II                                        06/18/2021          51264                                     307.50
Allscripts Healthcare, LLC                        06/18/2021          4003665841                               1,289.81
Evoqua Water Technologies LLC                     06/18/2021          904953489                                 460.79
Henry Schein                                      06/18/2021          95103763                                  386.40
Orchard Software Corporation                      06/18/2021          Quote6/18/21                             3,125.00
StrengthPoint Advisors                            06/20/2021          CA-0311                                 26,800.00
Agena Bioscience, Inc.                            06/21/2021          9000135354                              23,340.94
Henry Schein                                      06/21/2021          95165596                                 1,112.94
OMG & The A Team Consulting, LLC                  06/21/2021                                                   1,000.00
StreamlineHR Services, LLC                        06/21/2021          HD-1071                                   712.00
Superior Medical Waste Disposal                   06/21/2021          9346                                      224.00
Downey Brand                                      06/22/2021          561718                                   9,826.80
The Peninsula Fund VII, LP                        06/22/2021                                                 114,657.53
Advanced Communication Technologies, Inc.         06/23/2021          Est 773                                  2,389.00
Amro Almradi MDPC PLLC                            06/24/2021          June 2021                                3,000.00
De Lage Landen Financial Services, Inc.           06/24/2021          72837163                                  300.21
Henry Schein                                      06/24/2021          95322209                                 2,471.47
Unifirst Corporation                              06/24/2021          1390006861                                121.77
Wells Fargo Financial Leasing, Inc.               06/24/2021          5015654053                                  68.76
XPO Logistics                                     06/24/2021          607-545960                                  73.75
Advance II                                        06/25/2021          51285                                    3,156.00
Out of the Box Technologies, LLC (ACH)            06/25/2021          9944208                                   617.50
PODS Enterprises, LLC                             06/26/2021          ZA67000135641                             195.50
MIcroscope Solutions, Inc.                        06/27/2021          9989-MSI                                 9,478.52
MIcroscope Solutions, Inc.                        06/27/2021          9990-MSI                                 7,944.10
A-Fordable Plumbing & Mechanical                  06/28/2021          25136173                                 1,400.00
Edge Solutions                                    06/28/2021          6136                                     3,543.86
Edge Solutions                                    06/28/2021          358082                                    996.38
Henry Schein                                      06/28/2021          95387613                                  701.37
Henry Schein                                      06/28/2021          95385936                                  553.25




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Mettler-Toledo Rainin, LLC                           06/28/2021          678651785                                1,535.85
OMG & The A Team Consulting, LLC                     06/28/2021                                                   1,000.00
StreamlineHR Services, LLC                           06/28/2021          HD-1072                                   623.00
Broadmoor Office, LLC                                06/29/2021          Lease Agreement                          6,000.00
Abbott Laboratories                                  06/30/2021          830783416                                1,213.00
Detroit Athletic Club                                06/30/2021          June 2021                                 914.32
EZ Pro DElivery                                      06/30/2021          HLX0621B                                    42.40
PODS Enterprises, LLC                                06/30/2021          ZA67000136085                             206.10
Reliable Delivery                                    06/30/2021          220944                                   9,906.26
Superior Medical Waste Disposal                      06/30/2021          9359                                      692.00
WTI Global, Inc.                                     06/30/2021          3679                                      700.00
6600 Highland, LLC                                   07/01/2021          101                                     17,057.87
AB Sciex, LLC                                        07/01/2021          210167545                               11,687.97
Airport Boulevard Associates                         07/01/2021                                                   1,000.00
Arkstone Medical                                     07/01/2021          22072                                    3,925.00
Auburn Hills Medical Properties, LLC                 07/01/2021                                                    991.00
Benkoff Health Law, PLLC                             07/01/2021          2086                                    10,476.00
Brian O. Tierney Living Trust                        07/01/2021                                                  10,333.33
Bultynck & Co. CPA                                   07/01/2021          222101725                                2,000.00
Cerilliant Corporation                               07/01/2021          535422                                    809.60
Darren Cain                                          07/01/2021                                                  26,000.00
Deidra Denee Marshall                                07/01/2021                                                   5,000.00
Dell Marketing LP c/o Lam, Lyn & Philip P.C.         07/01/2021          10499599569                              5,263.27
Dell Marketing LP c/o Lam, Lyn & Philip P.C.         07/01/2021          10485270768                              1,165.83
Fire Alarm Services                                  07/01/2021          FA210053                                  316.41
Fire Alarm Services                                  07/01/2021          FA209969                                  566.50
Fire Alarm Services                                  07/01/2021          FA209968                                  390.00
Gemini Lab Group                                     07/01/2021                                                 176,000.00
Gerald Cain                                          07/01/2021                                                  20,000.00
Holly Manssur                                        07/01/2021          26                                       2,000.00
John M. Peters, PLC                                  07/01/2021          301                                      2,700.00
JSW Consulting, LLC                                  07/01/2021          1078                                    12,500.00
LabPath Consulting                                   07/01/2021          1280                                     7,800.00
Labtek, Incorporated                                 07/01/2021          11746                                     885.60
Labtek, Incorporated                                 07/01/2021          11685                                     100.20
Labtek, Incorporated                                 07/01/2021          11641                                    2,944.20




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Labtek, Incorporated                             07/01/2021          11426                                   2,973.80
Labtek, Incorporated                             07/01/2021          11298                                  24,804.00
Labtek, Incorporated                             07/01/2021          11297                                   2,539.20
Labtek, Incorporated                             07/01/2021          11245                                   2,247.70
Lapeer Health Properties, LLC                    07/01/2021                                                  1,500.00
Lisa Lindsay, C.F.N.P., MSN                      07/01/2021                                                   492.71
Medcare MSO                                      07/01/2021          1765                                  196,759.52
Michigan Pain Management Consultants, PC         07/01/2021                                                   581.25
Molecular BioProducts, Inc.                      07/01/2021          1193228                                  271.47
Molecular BioProducts, Inc.                      07/01/2021          1146372                                 2,760.30
Molecular BioProducts, Inc.                      07/01/2021          1134083                                  138.86
Molecular BioProducts, Inc.                      07/01/2021          1106748                                 2,467.00
Nameer Kiminaia Trust                            07/01/2021                                                 10,333.33
Netalytics                                       07/01/2021          2021-6623                                500.00
Netalytics                                       07/01/2021          2021-6048                                400.00
Netalytics                                       07/01/2021          2021-1255                                500.00
Netalytics                                       07/01/2021          2021-0693                                500.00
Newbsknob, LLC                                   07/01/2021                                                  2,875.00
Optimal Care Associates LLC                      07/01/2021                                                 20,000.00
Orchard Software Corporation                     07/01/2021          2021-13442                               187.50
Orchard Software Corporation                     07/01/2021          2020-12113                             12,720.00
Peachstate Health Management                     07/01/2021          MAY 2021                                2,100.00
PODS Enterprises, LLC                            07/01/2021          ZA67000133184                            206.10
PODS Enterprises, LLC                            07/01/2021          ZA67000132820                            195.50
PODS Enterprises, LLC                            07/01/2021          ZA67000131308                            220.94
PODS Enterprises, LLC                            07/01/2021          ZA67000130359                            206.10
PODS Enterprises, LLC                            07/01/2021          ZA67000130012                            195.50
PODS Enterprises, LLC                            07/01/2021          ZA67000128634                            220.94
PODS Enterprises, LLC                            07/01/2021          ZA67000127823                            206.10
PODS Enterprises, LLC                            07/01/2021          ZA67000127522                            195.50
PODS Enterprises, LLC                            07/01/2021          ZA67000126327                            220.94
Poleck Family Medicine                           07/01/2021                                                   500.00
Pure Psychiatry of Michigan PLLC                 07/01/2021          July 2021                                705.70
Radar Consulting                                 07/01/2021                                                 60,000.00
Raghad Lepley, M.D.                              07/01/2021                                                  3,750.00
Recovery Pathways                                07/01/2021                                                   887.45




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Robert Skalski                              07/01/2021                                                  7,500.00
StreamlineHR Services, LLC                  07/01/2021          HD-1066                                 1,082.91
Superior Medical Waste Disposal             07/01/2021          9359-1                                    28.00
Superior Medical Waste Disposal             07/01/2021          9321                                     224.00
The Medical Real Estate Group               07/01/2021                                                 31,323.42
The Sports Marketing Agency, INC            07/01/2021                                                 75,000.00
Tri-City Treatment                          07/01/2021                                                   308.58
Unasource Health, LLC                       07/01/2021                                                   891.00
Unifirst Corporation                        07/01/2021          1390008735                               121.77
Wachler and Associates, P.C.                07/01/2021          18289-1                                 1,356.00
Wachler and Associates, P.C.                07/01/2021          18094-1                                 1,862.50
Wachler and Associates, P.C.                07/01/2021          18025-1                                 1,750.44
Wachler and Associates, P.C.                07/01/2021          18517                                   2,959.90
Wachler and Associates, P.C.                07/01/2021          18426                                   3,532.93
Wachler and Associates, P.C.                07/01/2021          18315                                   1,370.00
WMSC                                        07/01/2021                                                  1,000.00
Zuehlke Iliades                             07/01/2021                                                  4,050.00
AB Sciex, LLC                               07/02/2021          210167648                                508.71
Wells Fargo Financial Leasing, Inc.         07/02/2021          501576834                                691.66
UPS                                         07/03/2021          00003R5378271                            139.92
Waterford Township Treasurer                07/03/2021          W-99-19-000-180                          680.03
Waterford Township Treasurer                07/03/2021          W-99-17-000-390                          816.04
Blue Cross Blue Shield of Michigan          07/04/2021          125982580                              32,350.23
Blue Cross Blue Shield of Michigan          07/04/2021          125982291                              11,725.27
OMG & The A Team Consulting, LLC            07/05/2021                                                  1,000.00
StreamlineHR Services, LLC                  07/05/2021          HD-1073                                  645.25
AB Sciex, LLC                               07/06/2021          210167785                               2,496.46
Abbott Laboratories                         07/06/2021          830782500                               1,213.00
BioPathogenix                               07/06/2021          1254                                   22,500.00
Uline                                       07/06/2021          135766858                                213.63
6600 Highland, LLC                          07/07/2021          102                                     1,415.75
CI Web Design, Inc                          07/07/2021          8595                                     250.00
Formulatrix                                 07/07/2021          8859                                    2,106.95
Labtek, Incorporated                        07/07/2021          11759                                   1,000.00
Peachstate Health Management                07/07/2021          June-2021                               3,450.00
Uline                                       07/07/2021          135852584                                265.55




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Uline                                                    07/07/2021          135842143                               222.27
Cole-Parmer                                              07/08/2021          2724005                                 249.52
Downey Brand                                             07/08/2021          562232                                 7,232.06
Flow Business Solutions                                  07/08/2021          0003                                  40,000.00
James Grossi                                             07/08/2021          Reimb-2                               32,000.00
Uline                                                    07/08/2021          135902763                                99.59
Unifirst Corporation                                     07/08/2021          1390010577                              121.77
Advance II                                               07/09/2021          51353                                  1,230.00
Advance II                                               07/09/2021          51328                                  2,846.65
Blue Care Network                                        07/09/2021          211900076615                          34,651.67
Florida Healthcare Alliance, LLC                         07/10/2021                                                48,000.00
Gerald Cain                                              07/10/2021                                                20,000.00
PODS Enterprises, LLC                                    07/10/2021          ZA67000137056                           220.94
Global Office Solutions                                  07/12/2021          PINV242832                             7,775.00
IMCS, Inc.                                               07/12/2021          126188                                 5,899.00
Mercedes Scientific                                      07/12/2021          2479579                                 159.00
OMG & The A Team Consulting, LLC                         07/12/2021                                                 1,000.00
Ottenwess, Taweel & Ottenwess, PLC                       07/12/2021          22618                                   490.00
StreamlineHR Services, LLC                               07/12/2021          HD-1074                                 534.00
BioPathogenix                                            07/13/2021          1261                                  47,000.00
Henry Schein                                             07/13/2021          95961423                                958.15
Life Technologies Corporation                            07/13/2021          79744387                                744.12
TASC                                                     07/13/2021          IN2068422                               225.00
Uline                                                    07/13/2021          136057365                               850.67
Global Office Solutions                                  07/14/2021          PINV242965                              318.00
Henry Schein                                             07/14/2021          96086301                                817.44
Henry Schein                                             07/14/2021          95960271                                823.01
Abbott Laboratories                                      07/15/2021          830785545                              1,100.00
Comcast                                                  07/15/2021          126842014                              1,829.80
Denny's Heating, Cooling & Refrigeration Service Inc.    07/15/2021          S21141                                 1,310.01
Flow Business Solutions                                  07/15/2021          2nd Installment                       20,000.00
Henry Schein                                             07/15/2021          94985058                               1,298.67
James Grossi                                             07/15/2021          Reimb-3                               26,493.90
Life Technologies Corporation                            07/15/2021          79759919                                693.45
M-4 Enterprise                                           07/15/2021                                                15,000.00
MedMatch                                                 07/15/2021          11609                                 15,000.00




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Milestone Development & Construction         07/15/2021          21-85                                   2,800.00
The Sports Marketing Agency, INC             07/15/2021                                                 75,000.00
Unifirst Corporation                         07/15/2021          1390012547                               121.77
Wells Fargo Financial Leasing, Inc.          07/15/2021          5015929387                               201.30
Alpha Cleaners LLC                           07/16/2021          1172571                                 1,600.00
Alpha Cleaners LLC                           07/16/2021          1172570                                 3,600.00
Henry Schein                                 07/16/2021          96237461                                 105.64
Med Water Systems                            07/16/2021          INV/2021/1830                            355.00
TASC                                         07/18/2021          IN2075880                                237.00
Henry Schein                                 07/19/2021          96237462                                1,035.41
OMG & The A Team Consulting, LLC             07/19/2021                                                  1,000.00
Thomas Scientific                            07/19/2021          2339173                                  881.38
Abbott Laboratories                          07/20/2021          830786844                               1,060.00
Anteater Pest Control                        07/20/2021          201576                                   200.00
Cole-Parmer                                  07/20/2021          2738292                                  228.49
Henry Schein                                 07/20/2021          96287532                                 426.71
Team Financial Group (ACH)                   07/20/2021          Agreement                              12,208.00
Mettler-Toledo Rainin, LLC                   07/21/2021          678666435                               4,968.13
James Grossi                                 07/22/2021          Reimb-4                                62,894.21
Petersen International Underwriters          07/22/2021          818785                                 49,250.00
The Peninsula Fund VII, LP                   07/22/2021                                                118,479.45
Uline                                        07/22/2021          136459314                                610.44
Advance II                                   07/23/2021          51379                                   3,052.74
Henry Schein                                 07/23/2021          96470667                                1,696.27
Labtek, Incorporated                         07/23/2021          11806                                   6,466.00
Labtek, Incorporated                         07/23/2021          11805                                   1,848.50
Labtek, Incorporated                         07/23/2021          11804                                    364.64
Progressive Counters and Remodeling          07/23/2021          1334                                     750.00
StrengthPoint Advisors                       07/23/2021          CA-0328                                14,500.00
Wells Fargo Financial Leasing, Inc.          07/23/2021          5016062400                                 68.76
Wells Fargo Financial Leasing, Inc.          07/23/2021          5016062399                               557.78
Deborah Sabo                                 07/26/2021          July 2021                                400.00
Henry Schein                                 07/26/2021          96546562                                2,006.50
LabSoft, Inc.                                07/26/2021          PO211213                                1,750.00
OMG & The A Team Consulting, LLC             07/26/2021                                                  1,000.00
Orchard Software Corporation                 07/26/2021          2021-14244                             35,300.00




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Uline                                                07/26/2021          136547085                                688.04
Beckman Coulter                                      07/27/2021          31291575                                5,165.13
Dell Marketing LP c/o Lam, Lyn & Philip P.C.         07/27/2021          10506622465                             2,746.57
Flow Business Solutions                              07/27/2021          3rd Payment                            20,000.00
Global Office Solutions                              07/27/2021          PINV243578                              1,139.50
Dell Marketing LP c/o Lam, Lyn & Philip P.C.         07/28/2021          10507141864                            13,483.37
Edge Solutions                                       07/28/2021          371901                                   995.39
Orchard Software Corporation                         07/28/2021          2021-14475                              2,502.50
Henry Schein                                         07/29/2021          96609273                                3,607.60
James Grossi                                         07/29/2021          reimb-5                                29,868.39
American Recycling                                   07/30/2021          105410                                   425.00
BioPathogenix                                        07/30/2021          1272                                   78,000.00
Uline                                                07/30/2021          136775514                                366.54
JSW Consulting, LLC                                  07/31/2021          1083                                   12,500.00
MCW Partners, LLC                                    07/31/2021          48926                                      47.70
Reliable Delivery                                    07/31/2021          221870                                  7,896.27
Superior Medical Waste Disposal                      07/31/2021          9429                                    2,178.00
6600 Highland, LLC                                   08/01/2021                                                 14,323.87
AB Sciex, LLC                                        08/01/2021          210169371                              11,687.97
Advanced Communication Technologies, Inc.            08/01/2021          1417                                    2,982.54
Airport Boulevard Associates                         08/01/2021                                                  1,000.00
Auburn Hills Medical Properties, LLC                 08/01/2021                                                   991.00
Benkoff Health Law, PLLC                             08/01/2021          2142                                    3,564.00
Brian O. Tierney Living Trust                        08/01/2021                                                 10,333.33
Cerilliant Corporation                               08/01/2021          550428                                  3,339.70
Cerilliant Corporation                               08/01/2021          550054                                  1,204.90
Cerilliant Corporation                               08/01/2021          546526                                   506.60
Cerilliant Corporation                               08/01/2021          543615                                   383.00
Cerilliant Corporation                               08/01/2021          543549                                  3,552.30
Cerilliant Corporation                               08/01/2021          543450                                   641.00
Cerilliant Corporation                               08/01/2021          535580                                  2,591.00
Darren Cain                                          08/01/2021                                                 26,000.00
Deidra Denee Marshall                                08/01/2021                                                  5,000.00
Evoqua Water Technologies LLC                        08/01/2021          905013465                               1,287.00
Gemini Lab Group                                     08/01/2021                                                176,000.00
Gerald Cain                                          08/01/2021                                                 20,000.00




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Henry Schein                               08/01/2021          94446771                                 510.01
Henry Schein                               08/01/2021          941529885                               2,650.97
Lapeer Health Properties, LLC              08/01/2021                                                  1,500.00
Lisa Lindsay, C.F.N.P., MSN                08/01/2021                                                   492.71
Medcare MSO                                08/01/2021                                                194,483.82
Medcare MSO                                08/01/2021          1657                                  125,818.05
Mutual of Omaha                            08/01/2021          001239841954                             619.95
Nameer Kiminaia Trust                      08/01/2021                                                 10,333.33
Newbsknob, LLC                             08/01/2021                                                  2,875.00
Optimal Care Associates LLC                08/01/2021                                                 20,000.00
Orchard Software Corporation               08/01/2021          2020-12114                             12,720.00
Pure Psychiatry of Michigan PLLC           08/01/2021          August 2021                              705.70
Radar Consulting                           08/01/2021                                                 60,000.00
Raghad Lepley, M.D.                        08/01/2021                                                  3,750.00
Recovery Pathways                          08/01/2021                                                   887.45
Robert Skalski                             08/01/2021                                                  7,500.00
Shalini Muralidhar                         08/01/2021          8/01/2021                                126.95
The Medical Real Estate Group              08/01/2021                                                 31,323.42
The Sports Marketing Agency, INC           08/01/2021                                                 75,000.00
Tri-City Treatment                         08/01/2021                                                   308.58
Unasource Health, LLC                      08/01/2021                                                   891.00
WMSC                                       08/01/2021                                                   750.00
Zuehlke Iliades                            08/01/2021          March 20, 2021                           592.96
Zuehlke Iliades                            08/01/2021                                                  1,530.00
AB Sciex, LLC                              08/02/2021          210169430                                508.71
LabPath Consulting                         08/02/2021          1286                                    3,000.00
OMG & The A Team Consulting, LLC           08/02/2021                                                  1,000.00
Arkstone Medical                           08/03/2021          22090                                   4,150.00
Orchard Software Corporation               08/03/2021          2021-14521                             15,000.00
Axiom Diagnostics                          08/04/2021          210648                                  3,662.90
Blue Cross Blue Shield of Michigan         08/04/2021          127285253                              59,196.94
Blue Cross Blue Shield of Michigan         08/04/2021          127284992                              15,314.09
Detroit Athletic Club                      08/04/2021          July 2021                                348.02
Peachstate Health Management               08/04/2021          JULY-2021                               3,600.00
Restek Corporation                         08/04/2021          CD50199480                              5,655.51
Uline                                      08/04/2021          136997959                                645.17




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Abbott Laboratories                                      08/05/2021          830789913                               1,213.00
Healthcare Appraisers                                    08/05/2021          342569                                  2,000.00
Henry Schein                                             08/05/2021          97080132                                 444.76
Henry Schein                                             08/05/2021          97080050                                1,225.68
Henry Schein                                             08/05/2021          97079710                                 161.41
Henry Schein                                             08/05/2021          97079610                                2,756.00
Henry Schein                                             08/05/2021          97079465                                 271.72
Henry Schein                                             08/05/2021          97079510                                 321.17
Henry Schein                                             08/05/2021          97052944                                1,195.15
Medical Laboratory Solutions                             08/05/2021          0048357-IN                               994.71
Advance II                                               08/06/2021          51426                                   1,967.58
eClinicalWorks, LLC                                      08/06/2021          0002195708                              5,300.00
Ottenwess, Taweel & Ottenwess, PLC                       08/06/2021          22658                                    315.00
Axiom Diagnostics                                        08/09/2021          210660                                   354.04
Cerilliant Corporation                                   08/09/2021          550879                                  5,500.50
Eye Fight for Kids                                       08/09/2021                                                 10,000.00
Henry Schein                                             08/09/2021          97052946                                   10.29
Holly Manssur                                            08/09/2021          27                                      2,000.00
OMG & The A Team Consulting, LLC                         08/09/2021                                                  1,000.00
Blue Care Network                                        08/10/2021          212230028731                           26,178.38
Fisher Healthcare                                        08/10/2021          8025659                                 1,663.40
Gerald Cain                                              08/10/2021                                                 20,000.00
Mutual of Omaha                                          08/10/2021          001240854884                           12,545.19
Uline                                                    08/10/2021          137204732                                443.58
Denny's Heating, Cooling & Refrigeration Service Inc.    08/11/2021          Q12720                                 21,900.00
Fisher Healthcare                                        08/11/2021          8373123                                  893.19
James Grossi                                             08/11/2021          reimb-6                                 6,477.92
Life Technologies Corporation                            08/12/2021          77152280                                7,440.00
Mettler-Toledo Rainin, LLC                               08/12/2021          678679421                               1,234.15
Wells Fargo Financial Leasing, Inc.                      08/12/2021          5016346661                                 76.30
Abbott Laboratories                                      08/13/2021          830717285                               1,100.00
BioPathogenix                                            08/13/2021          1283                                  130,000.00
James Grossi                                             08/13/2021          reimb-7                                 5,000.00
Sysmex America, Inc.                                     08/13/2021          93819450                                 389.03
Wells Fargo Financial Leasing, Inc.                      08/13/2021          5016356927                               718.60
Sysmex America, Inc.                                     08/14/2021          93822054                                1,324.48




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Sysmex America, Inc.                           08/14/2021          93822053                                647.58
Comcast                                        08/15/2021          128773379                               645.42
M-4 Enterprise                                 08/15/2021                                                15,000.00
The Sports Marketing Agency, INC               08/15/2021                                                75,000.00
Alpha Cleaners LLC                             08/16/2021          1172598                                 780.00
Mettler-Toledo Rainin, LLC                     08/16/2021          678680339                               341.00
OMG & The A Team Consulting, LLC               08/16/2021                                                 1,000.00
Out of the Box Technologies, LLC (ACH)         08/16/2021          9946973                                 526.50
The Medical Real Estate Group                  08/16/2021                                                 9,069.36
Uline                                          08/16/2021          137416756                               525.72
Alex Scherle                                   08/17/2021                                                  800.00
Billy Newman                                   08/17/2021                                                  800.00
Brian Lopez                                    08/17/2021                                                  800.00
Chris Galle                                    08/17/2021                                                  800.00
Evan Noga                                      08/17/2021                                                  800.00
Henry Schein                                   08/17/2021          97543675                                452.14
James Grossi                                   08/17/2021          reimb-8                                5,450.00
John Dreer                                     08/17/2021                                                  800.00
Joseph Grossi                                  08/17/2021                                                  800.00
Life Technologies Corporation                  08/17/2021          77152535                               7,440.00
Nick Long                                      08/17/2021                                                  800.00
TASC                                           08/17/2021          IN2095242                               237.00
Thomas Scientific                              08/17/2021          2371351                               73,438.30
Zack Stegmeyer                                 08/17/2021                                                  800.00
Downey Brand                                   08/19/2021          563842                                 3,576.00
Henry Schein                                   08/19/2021          97543676                                743.86
Life Technologies Corporation                  08/19/2021          79936515                               8,001.73
Abbott Laboratories                            08/20/2021          830780768                              1,060.00
Advance II                                     08/20/2021          51475                                   781.42
Henry Schein                                   08/20/2021          97597727                                856.62
Henry Schein                                   08/20/2021          97740889                                176.05
Henry Schein                                   08/20/2021          97740806                                950.29
Henry Schein                                   08/20/2021          97740683                                446.79
Henry Schein                                   08/20/2021          97740595                                339.20
Henry Schein                                   08/20/2021          97740494                               3,045.78
Henry Schein                                   08/20/2021          97740353                               2,316.15




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Henry Schein                                   08/20/2021          97739791                              20,224.98
Henry Schein                                   08/20/2021          97732561                              27,465.01
Out of the Box Technologies, LLC (ACH)         08/20/2021          9947560                                 292.50
Polar Ice                                      08/20/2021          76494B                                  110.00
Edge Solutions                                 08/22/2021          6388                                    622.77
StrengthPoint Advisors                         08/22/2021          CA-0341                               13,700.00
Cerilliant Corporation                         08/23/2021          551721                                  574.80
Henry Schein                                   08/23/2021          97786201                                160.69
IMCS, Inc.                                     08/23/2021          126771                                 5,899.00
OMG & The A Team Consulting, LLC               08/23/2021                                                 1,000.00
Polar Ice                                      08/23/2021          76515B                                  170.00
Henry Schein                                   08/24/2021          97851164                                343.96
Henry Schein                                   08/24/2021          97850979                               2,756.00
Henry Schein                                   08/24/2021          97850879                                895.11
Henry Schein                                   08/24/2021          97850709                                318.00
Rusas Printing, Inc.                           08/24/2021          1544                                   3,461.22
Wells Fargo Financial Leasing, Inc.            08/24/2021          5016488139                              557.79
Cole-Parmer                                    08/25/2021          2787435                                  92.18
Henry Schein                                   08/25/2021          97935586                                925.06
Henry Schein                                   08/25/2021          97935338                               1,060.00
JAMS, Inc.                                     08/25/2021          5840560                                3,850.00
Tek-Pette                                      08/25/2021          TPC32606162                            1,912.00
Wells Fargo Financial Leasing, Inc.            08/25/2021          5016498404                               68.76
Gerald Cain                                    08/26/2021                                                20,000.00
Lapeer Health Properties, LLC                  08/26/2021                                                 1,500.00
Molecular BioProducts, Inc.                    08/26/2021          790159                                 2,300.00
Unifirst Corporation                           08/26/2021          1390023845                              121.77
College of American Pathologists               08/27/2021          2550556                                 552.47
Henry Schein                                   08/27/2021          98053742                                499.69
Henry Schein                                   08/27/2021          98053551                                288.55
Henry Schein                                   08/27/2021          98053455                                173.19
Henry Schein                                   08/27/2021          98053419                              11,335.53
Henry Schein                                   08/27/2021          98053313                                720.97
Henry Schein                                   08/27/2021          98053225                                577.11
Henry Schein                                   08/27/2021          98053184                                477.00
Henry Schein                                   08/27/2021          98053113                                646.39




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Internal Revenue Service                     08/27/2021                                                34,391.45
Labtek, Incorporated                         08/27/2021          11929                                   369.38
Mettler-Toledo Rainin, LLC                   08/27/2021          678687930                             10,119.27
Mettler-Toledo Rainin, LLC                   08/27/2021          678687931                              1,535.85
Polar Ice                                    08/27/2021          76542                                   170.00
Rusas Printing, Inc.                         08/27/2021          1551                                    227.90
Edge Solutions                               08/28/2021          385248                                 1,239.62
Life Technologies Corporation                08/29/2021          77153262                               7,440.00
Axiom Diagnostics                            08/30/2021          210731                                  193.28
Clean Air Testing, Inc                       08/30/2021          114475                                  503.10
Henry Schein                                 08/30/2021          97697979                                 52.66
Mercedes Scientific                          08/30/2021          2497574                                 185.50
People 2.0 Global LP                         08/30/2021          511004212                             14,000.00
Detroit Athletic Club                        08/31/2021          8312021                                 364.00
JSW Consulting, LLC                          08/31/2021          1088                                   6,250.00
Polar Ice                                    08/31/2021          76578                                   170.00
Reliable Delivery                            08/31/2021          223052                                 5,517.04
Superior Medical Waste Disposal              08/31/2021          10304                                   659.00
Superior Medical Waste Disposal              08/31/2021          10085                                  2,532.00
6600 Highland, LLC                           09/01/2021                                                19,791.87
AB Sciex, LLC                                09/01/2021          210169517                              2,777.66
AB Sciex, LLC                                09/01/2021          210171218                             14,773.85
Airport Boulevard Associates                 09/01/2021                                                 1,000.00
Alpha Cleaners LLC                           09/01/2021          1172621                                2,400.00
Alpha Cleaners LLC                           09/01/2021          1172611                                3,600.00
Amro Almradi MDPC PLLC                       09/01/2021          July 2021                              3,000.00
Auburn Hills Medical Properties, LLC         09/01/2021                                                  991.00
Beckman Coulter                              09/01/2021          4429749                               18,730.00
Benkoff Health Law, PLLC                     09/01/2021          2198                                   3,636.00
Block Scientific, Inc.                       09/01/2021          69925                                  3,125.00
Brian O. Tierney Living Trust                09/01/2021                                                10,333.33
Darren Cain                                  09/01/2021                                                26,000.00
Deidra Denee Marshall                        09/01/2021                                                 5,000.00
Detroit Pistons Basketball Company           09/01/2021          LCAINV010585                          80,000.00
Easter Seals of Michigan                     09/01/2021                                                 6,276.00
Evoqua Water Technologies LLC                09/01/2021          905053713                              1,287.00




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Fisher Healthcare                        09/01/2021          0785622                                 1,379.17
Gemini Lab Group                         09/01/2021                                                144,000.00
Gemini Lab Group                         09/01/2021                                                176,000.00
Global Office Solutions                  09/01/2021          PINV242832                               466.50
Henry Schein                             09/01/2021          98244887                                 147.36
Henry Schein                             09/01/2021          98233841                               11,644.83
Henry Schein                             09/01/2021          98201812                                 841.76
Holly Manssur                            09/01/2021          28                                      2,000.00
Life Technologies Corporation            09/01/2021          80003948                                 149.99
Lisa Lindsay, C.F.N.P., MSN              09/01/2021                                                   492.71
Medcare MSO                              09/01/2021          1946                                  167,188.74
Mutual of Omaha                          09/01/2021          001254599826                           12,089.82
Mutual of Omaha                          09/01/2021          001240854902                             618.86
Nameer Kiminaia Trust                    09/01/2021                                                 10,333.33
Newbsknob, LLC                           09/01/2021                                                  2,875.00
Omnitech Health, Inc.                    09/01/2021          US1128                                 10,250.00
Optimal Care Associates LLC              09/01/2021                                                 20,000.00
Orchard Software Corporation             09/01/2021          2021-14522                              5,000.00
Orchard Software Corporation             09/01/2021          2020-12115                             12,720.00
Orion Medical Solutions, LLC             09/01/2021          Sept 2021                              35,000.00
Pure Psychiatry of Michigan PLLC         09/01/2021                                                   705.70
Recovery Pathways                        09/01/2021                                                   887.45
Robert Skalski                           09/01/2021                                                  7,500.00
The Medical Real Estate Group            09/01/2021                                                 31,323.42
The Sports Marketing Agency, INC         09/01/2021                                                 75,000.00
Tri-City Treatment                       09/01/2021                                                   308.58
Uline                                    09/01/2021          138159207                                101.95
Unasource Health, LLC                    09/01/2021                                                   891.00
VWR International, LLC                   09/01/2021          8804827216                              1,525.87
VWR International, LLC                   09/01/2021          8804403936                              1,175.19
VWR International, LLC                   09/01/2021          8804394091                              5,523.73
VWR International, LLC                   09/01/2021          8804253050                              3,221.97
VWR International, LLC                   09/01/2021          8803986723                              1,938.53
Wachler and Associates, P.C.             09/01/2021          18691                                    272.50
Wachler and Associates, P.C.             09/01/2021          18599                                   2,090.00
Zuehlke Iliades                          09/01/2021                                                  1,530.00




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AB Sciex, LLC                                            09/02/2021          210171289                                508.67
Arkstone Medical                                         09/02/2021          22112                                   5,000.00
MedMatch                                                 09/02/2021          11615                                  30,000.00
Advance II                                               09/03/2021          991.42                                   991.42
De Lage Landen Financial Services, Inc.                  09/03/2021          15221119                                 716.11
Global Industrial                                        09/03/2021          118680969                              26,108.82
Henry Schein                                             09/03/2021          98244886                                5,748.04
LabPath Consulting                                       09/03/2021          1294                                    8,000.00
Orchard Software Corporation                             09/03/2021          2021-15192                              3,312.50
Polar Ice                                                09/03/2021          76611B                                   170.00
Abbott Laboratories                                      09/05/2021          830795732                               1,213.00
Blue Cross Blue Shield of Michigan                       09/05/2021          129013398                              43,656.18
Blue Cross Blue Shield of Michigan                       09/05/2021          129013107                               5,938.39
Amro Almradi MDPC PLLC                                   09/07/2021          Aug/Sept 2021                           6,000.00
Axiom Diagnostics                                        09/07/2021          210753                                  2,958.15
BioPathogenix                                            09/07/2021          1304                                  103,000.00
Blue Care Network                                        09/07/2021          212500069243                           28,518.00
Polar Ice                                                09/07/2021          76743B                                   170.00
Polar Ice                                                09/07/2021          76630B                                   170.00
Labtek, Incorporated                                     09/08/2021          11962                                   2,104.60
Labtek, Incorporated                                     09/08/2021          11964                                   1,000.00
Michigan Power Systems                                   09/08/2021          10954                                   3,612.57
Cole-Parmer                                              09/09/2021          2806769                                  136.74
Denny's Heating, Cooling & Refrigeration Service Inc.    09/09/2021          S21941                                     71.25
Denny's Heating, Cooling & Refrigeration Service Inc.    09/09/2021          S21935                                   237.50
Everest Collegiate High School & Academy                 09/09/2021                                                  5,000.00
Data Innovations, LLC                                    09/10/2021          84811                                   1,590.00
Downey Brand                                             09/10/2021          564589                                  9,759.58
Peachstate Health Management                             09/10/2021          August-2021                             4,350.00
Polar Ice                                                09/10/2021          76649B                                   170.00
Wells Fargo Financial Leasing, Inc.                      09/10/2021          5016754011                                 76.30
Abbott Laboratories                                      09/13/2021          830796856                               1,100.00
Detroit Pistons Basketball Company                       09/13/2021                                                 10,000.00
Labtek, Incorporated                                     09/13/2021          12006                                   2,671.20
Labtek, Incorporated                                     09/13/2021          11980                                   1,573.54
Shalini Muralidhar                                       09/13/2021          9.13.21                                  225.37




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Wachler and Associates, P.C.                         09/13/2021          18799                                  2,912.50
Wells Fargo Financial Leasing, Inc.                  09/13/2021          5016780557                              593.60
Polar Ice                                            09/14/2021          76723                                   170.00
Abbott Laboratories                                  09/15/2021          830789897                              5,795.00
Comcast                                              09/15/2021          130724123                              1,147.35
Gerald Cain                                          09/15/2021                                                20,000.00
M-4 Enterprise                                       09/15/2021                                                15,000.00
Data Innovations, LLC                                09/16/2021          76526-1                                  90.00
Data Innovations, LLC                                09/16/2021          76526                                  1,500.00
Labtek, Incorporated                                 09/16/2021          12002                                  1,490.37
Advance II                                           09/17/2021          51575                                  1,669.57
Dell Marketing LP c/o Lam, Lyn & Philip P.C.         09/17/2021          10519565650                            1,464.83
I Care MI, LLC                                       09/17/2021          INV/2021/0569                          1,560.00
TASC                                                 09/17/2021          IN2138639                               237.00
Uline                                                09/17/2021          13798240                                387.73
StrengthPoint Advisors                               09/19/2021          CA-0354                               13,300.00
Abbott Laboratories                                  09/20/2021          830798821                              1,060.00
Labtek, Incorporated                                 09/20/2021          12007                                  5,369.40
Mutual of Omaha                                      09/20/2021          001256996793                          12,437.22
Mutual of Omaha                                      09/20/2021          001256996792                            648.49
Uline                                                09/20/2021          138847143                               437.36
Henry Schein                                         09/21/2021          99051505                                 75.64
Henry Schein                                         09/21/2021          Late Fees                               109.53
Polar Ice                                            09/21/2021          76761                                   170.00
Henry Schein                                         09/22/2021          99051507                                779.27
Uline                                                09/22/2021          138981911                               248.17
James Grossi                                         09/23/2021          reimb-9                               17,710.70
Wells Fargo Financial Leasing, Inc.                  09/23/2021          5016904524                              557.79
Mettler-Toledo Rainin, LLC                           09/24/2021          678704168                              1,535.85
Polar Ice                                            09/24/2021          76781                                   170.00
Wells Fargo Financial Leasing, Inc.                  09/24/2021          5016915132                              137.52
Labtek, Incorporated                                 09/27/2021          12036                                  3,909.78
Labtek, Incorporated                                 09/27/2021          12035                                  2,671.20
Uline                                                09/27/2021          139174772                              1,099.52
Edge Solutions                                       09/28/2021          397679                                 1,419.78
Labtek, Incorporated                                 09/28/2021          12047                                   816.48




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Polar Ice                                   09/28/2021          76798B                                  170.00
Rusas Printing, Inc.                        09/28/2021          1601                                    238.50
Labtek, Incorporated                        09/29/2021          12053                                   737.76
Cerilliant Corporation                      09/30/2021          553997                                 1,527.20
Detroit Athletic Club                       09/30/2021          3600594/95                              314.00
Healthcare Appraisers                       09/30/2021          343777                                 2,250.00
Mayo Collaborative Services                 09/30/2021          7041224-093021                         8,654.00
Molecular BioProducts, Inc.                 09/30/2021          790259                                 1,480.00
Rockford Leasing LLC                        09/30/2021          6100036954                             1,737.50
Superior Medical Waste Disposal             09/30/2021          10527                                  1,476.00
Advance II                                  10/01/2021          51646                                  5,725.89
Advance II                                  10/01/2021          51625                                  1,288.07
Alcor Scientific                            10/01/2021          96840                                  2,740.00
Alpha Cleaners LLC                          10/01/2021          1172582                                2,400.00
Alpha Cleaners LLC                          10/01/2021          1172650                                2,400.00
Alpha Cleaners LLC                          10/01/2021          1172600                                1,661.54
Alpha Cleaners LLC                          10/01/2021          1172654                                 780.00
Alpha Cleaners LLC                          10/01/2021          1172638                                3,600.00
Axiom Diagnostics                           10/01/2021          210818                                 1,292.71
Evoqua Water Technologies LLC               10/01/2021          905095819                              1,287.00
Hill Clinic, LLC.                           10/01/2021          10012021                               4,000.80
Holly Manssur                               10/01/2021          29                                     2,000.00
Immunalysis Corporation                     10/01/2021          0180352-IN                             2,188.30
Immunalysis Corporation                     10/01/2021          0176550-IN                             5,451.42
Immunalysis Corporation                     10/01/2021          0173288-IN                             4,240.00
Immunalysis Corporation                     10/01/2021          0173164-IN                             2,187.24
Labtek, Incorporated                        10/01/2021          11886                                  7,833.90
Labtek, Incorporated                        10/01/2021          11885                                  1,144.80
Labtek, Incorporated                        10/01/2021          11884                                  5,639.20
Labtek, Incorporated                        10/01/2021          11831                                  3,660.68
Life Technologies Corporation               10/01/2021          80138737                              67,481.23
Life Technologies Corporation               10/01/2021          79992507                               2,746.46
Life Technologies Corporation               10/01/2021          79875560                              67,481.23
Life Technologies Corporation               10/01/2021          79732379                                956.12
Molecular Biology Products, Inc.            10/01/2021          790259                                 1,480.00
Molecular Biology Products, Inc.            10/01/2021          790159                                 2,300.00




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Orchard Software Corporation                10/01/2021          2021-14523                              5,000.00
Orchard Software Corporation                10/01/2021          2020-12116                             12,720.00
Polar Ice                                   10/01/2021          76818                                    170.00
SiriusIQ Mobile, LLC.                       10/01/2021          2429                                    2,500.00
Superior Medical Waste Disposal             10/01/2021          10278                                   3,284.00
Unifirst Corporation                        10/01/2021          1392281735                                 87.00
Unifirst Corporation                        10/01/2021          1390033066                               133.35
Unifirst Corporation                        10/01/2021          1390031238                               133.35
Unifirst Corporation                        10/01/2021          1390029464                               133.35
Unifirst Corporation                        10/01/2021          1390027659                               121.77
Unifirst Corporation                        10/01/2021          1390025773                               121.77
Unifirst Corporation                        10/01/2021          1390021891                               121.77
Unifirst Corporation                        10/01/2021          1390020088                               121.77
Unifirst Corporation                        10/01/2021          1390018288                               121.77
Unifirst Corporation                        10/01/2021          1390016488                               121.77
Unifirst Corporation                        10/01/2021          1390014644                               121.77
Wells Fargo Financial Leasing, Inc.         10/01/2021          5017000613                               220.83
AB Sciex, LLC                               10/02/2021          210173949                             215,824.27
Benkoff Health Law, PLLC                    10/02/2021          2556                                    2,772.00
Arkstone Medical                            10/04/2021          22136                                   7,150.00
Axiom Diagnostics                           10/04/2021          210829                                   128.54
IMCS, Inc.                                  10/04/2021          127277                                  5,899.00
LabPath Consulting                          10/04/2021          1300                                    3,000.00
Life Technologies Corporation               10/04/2021          80157585                                 999.58
People 2.0 Global LP                        10/04/2021          511004326                              12,400.00
Uline                                       10/04/2021          139499903                                447.20
Abbott Laboratories                         10/05/2021          830802157                               1,213.00
Blue Cross Blue Shield of Michigan          10/05/2021          130326287                              13,759.36
Blue Cross Blue Shield of Michigan          10/05/2021          130326557                              45,594.15
Henry Schein                                10/05/2021          99483571                                 823.01
Polar Ice                                   10/05/2021          76838                                    170.00
Safe n Simple                               10/05/2021          82954                                   5,857.50
Uline                                       10/05/2021          139524968                                270.12
Uline                                       10/05/2021          139524912                                120.08
Henry Schein                                10/06/2021          11165262                                 145.70
Sysmex America, Inc.                        10/06/2021          93897099                                 570.11




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Fisher Healthcare                                    10/07/2021          7891972                                  658.21
Sysmex America, Inc.                                 10/07/2021          93898910                                 533.18
BioPathogenix                                        10/08/2021          Woo921                                117,000.00
Blue Care Network                                    10/08/2021          212810082170                           31,029.81
Daniel Brian Advertising                             10/08/2021          26149                                  25,000.00
Downey Brand                                         10/08/2021          565408                                 19,937.44
Labtek, Incorporated                                 10/08/2021          12084                                    684.20
Labtek, Incorporated                                 10/08/2021          12083                                   5,037.12
Polar Ice                                            10/08/2021          76865                                    170.00
PODS Enterprises, LLC                                10/10/2021          ZA67000146748                            210.94
Cerilliant Corporation                               10/11/2021          554531                                   512.00
Immunalysis Corporation                              10/11/2021          0181341-IN                              2,624.19
CLIA Laboratory Program                              10/12/2021          23D1104676-2021                         2,738.00
Polar Ice                                            10/12/2021          76883                                    170.00
TASC                                                 10/12/2021          IN2161337                                  46.74
Wells Fargo Financial Leasing, Inc.                  10/12/2021          5017233722                                 76.30
Abbott Laboratories                                  10/13/2021          830804024                               1,100.00
Axiom Diagnostics                                    10/13/2021          210858                                   250.56
Dell Marketing LP c/o Lam, Lyn & Philip P.C.         10/13/2021          10513789185                             9,038.75
Peachstate Health Management                         10/13/2021          Sep-2020                                2,550.00
Community Electric Service, LLC                      10/14/2021          13433                                   4,250.00
Wells Fargo Financial Leasing, Inc.                  10/14/2021          5017252097                               593.60
Advance II                                           10/15/2021          51697                                   9,396.30
Advance II                                           10/15/2021          51679                                    671.39
Alpha Cleaners LLC                                   10/15/2021          1172596                                 3,600.00
Comcast                                              10/15/2021          132691385                               1,119.90
Polar Ice                                            10/15/2021          76901                                    170.00
StrengthPoint Advisors                               10/17/2021          CA-0359                                13,300.00
TASC                                                 10/17/2021          IN2174010                                237.00
Labtek, Incorporated                                 10/18/2021          12122                                   7,555.68
Labtek, Incorporated                                 10/18/2021          12121                                   2,520.12
Abell Pest Control                                   10/19/2021          A1920150                                   55.00
Abell Pest Control                                   10/19/2021          A1920152                                 155.00
American Proficiency Institute                       10/19/2021          606010                                  3,496.00
College of American Pathologists                     10/19/2021          2561933                                  395.00
Mutual of Omaha                                      10/19/2021          001268939204                             687.58




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Mutual of Omaha                                          10/19/2021          001268939205                          13,391.50
Polar Ice                                                10/19/2021          76917                                   170.00
Abbott Laboratories                                      10/20/2021          830805127                              1,060.00
College of American Pathologists                         10/20/2021          2561674                               17,679.42
Denny's Heating, Cooling & Refrigeration Service Inc.    10/20/2021          S21821                                  673.50
Life Technologies Corporation                            10/21/2021          80247176                              27,324.68
Fisher Healthcare                                        10/22/2021          1893995                                 626.24
Henry Schein                                             10/22/2021          11885863                               1,340.76
Polar Ice                                                10/22/2021          76934                                   170.00
Uline                                                    10/22/2021          140328450                              2,239.18
Wells Fargo Financial Leasing, Inc.                      10/22/2021          5017355685                              557.79
Edge Solutions                                           10/23/2021          6671                                    474.38
Labtek, Incorporated                                     10/25/2021          12147                                  2,226.00
Labtek, Incorporated                                     10/25/2021          12144                                  1,000.00
Life Technologies Corporation                            10/25/2021          80260375                               7,892.80
People 2.0 Global LP                                     10/25/2021          511004393                             16,000.00
Wells Fargo Financial Leasing, Inc.                      10/25/2021          5017383855                               27.56
Cerilliant Corporation                                   10/26/2021          555352                                 1,708.60
Labtek, Incorporated                                     10/26/2021          12155                                   392.20
Labtek, Incorporated                                     10/26/2021          12154                                  5,037.12
Life Technologies Corporation                            10/26/2021          77157038                               7,440.00
Netalytics                                               10/26/2021          2021-12347                              500.00
PODS Enterprises, LLC                                    10/26/2021          ZA67000148326                           185.50
USA Scientific                                           10/26/2021          4801826292                             7,070.04
Allied Media                                             10/27/2021          16022                                   101.26
Henry Schein                                             10/27/2021          12109395                               3,367.07
Henry Schein                                             10/27/2021          12095524                               1,738.94
Henry Schein                                             10/27/2021          12095510                               5,629.38
Henry Schein                                             10/27/2021          12095391                               2,428.29
Henry Schein                                             10/27/2021          12095377                              20,444.03
Henry Schein                                             10/27/2021          12095231                               2,896.14
Henry Schein                                             10/27/2021          12095191                                655.69
Henry Schein                                             10/27/2021          12095150                                425.23
Henry Schein                                             10/27/2021          12095113                               1,491.28
Henry Schein                                             10/27/2021          12095038                               2,324.45
Henry Schein                                             10/27/2021          12094950                               2,427.72




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Henry Schein                                         10/27/2021          12094870                                285.65
Henry Schein                                         10/27/2021          12094812                                422.94
Henry Schein                                         10/27/2021          12094732                                337.16
Henry Schein                                         10/27/2021          12094684                               1,927.34
Polar Ice                                            10/27/2021          76950                                   170.00
Edge Solutions                                       10/28/2021          410330                                 1,538.36
Henry Schein                                         10/28/2021          12131839                                296.49
Henry Schein                                         10/28/2021          12131239                               5,504.10
Henry Schein                                         10/28/2021          12129043                                333.57
Henry Schein                                         10/28/2021          12160892                                391.94
Henry Schein                                         10/28/2021          12160876                                169.19
Henry Schein                                         10/28/2021          12160872                               1,408.17
Henry Schein                                         10/28/2021          12160869                              34,279.12
Henry Schein                                         10/28/2021          12160590                                645.73
Henry Schein                                         10/28/2021          12160572                                583.12
Henry Schein                                         10/28/2021          12160556                               4,961.69
Henry Schein                                         10/28/2021          12160535                               1,053.69
Henry Schein                                         10/28/2021          12156403                                198.80
Henry Schein                                         10/28/2021          12156382                               2,266.30
Henry Schein                                         10/28/2021          12156372                              21,135.16
Henry Schein                                         10/28/2021          12109410                               2,756.00
Henry Schein                                         10/28/2021          11956027                               6,992.64
Life Technologies Corporation                        10/28/2021          80284525                               7,867.85
Advance II                                           10/29/2021          51743                                 10,051.28
Advance II                                           10/29/2021          51727                                   696.48
Dell Marketing LP c/o Lam, Lyn & Philip P.C.         10/29/2021          10529925712                            4,823.96
Healthcare Appraisers                                10/29/2021          344551                                 5,000.00
Orchard Software Corporation                         10/29/2021          2021-16347                             7,870.50
Polar Ice                                            10/29/2021          76966                                   170.00
Dell Marketing LP c/o Lam, Lyn & Philip P.C.         10/30/2021          10529938970                           14,827.51
Detroit Athletic Club                                10/31/2021          10312021                                418.00
Esker Inc                                            10/31/2021          460206169                              1,699.20
Mayo Collaborative Services                          10/31/2021          7041224-103121                        23,605.80
PODS Enterprises, LLC                                10/31/2021          ZA67000148791                           196.10
Superior Medical Waste Disposal                      10/31/2021          10470                                  2,744.00
AB Sciex, LLC                                        11/01/2021          210175213                             12,502.71




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AB Sciex, LLC                                        11/01/2021          210173316                             12,502.71
Alpha Cleaners LLC                                   11/01/2021          1172683                                2,400.00
Alpha Cleaners LLC                                   11/01/2021          1172624                                 780.00
Alpha Cleaners LLC                                   11/01/2021          1172687                                 780.00
Alpha Cleaners LLC                                   11/01/2021          1172671                                3,600.00
Ancona Controls                                      11/01/2021          20847                                   750.00
Cerilliant Corporation                               11/01/2021          554738                                  677.00
Dell Marketing LP c/o Lam, Lyn & Philip P.C.         11/01/2021          10530432573                            5,023.88
Evoqua Water Technologies LLC                        11/01/2021          905132207                              1,287.00
Henry Schein                                         11/01/2021          98244888                                119.96
Henry Schein                                         11/01/2021          11918628                                200.59
Henry Schein                                         11/01/2021          11885864                                221.87
Henry Schein                                         11/01/2021          11165264                                322.05
Henry Schein                                         11/01/2021          98563442                                544.82
Henry Schein                                         11/01/2021          12095511                                563.88
Henry Schein                                         11/01/2021          12095271                               1,269.60
Henry Schein                                         11/01/2021          98563395                                162.74
Henry Schein                                         11/01/2021          98563299                                321.37
Holly Manssur                                        11/01/2021          30                                     2,000.00
Mettler-Toledo Rainin, LLC                           11/01/2021          678724597                              1,535.85
Netalytics                                           11/01/2021          2021-11163                              500.00
Netalytics                                           11/01/2021          2021-10098                              500.00
Netalytics                                           11/01/2021          2021-9056                               500.00
Netalytics                                           11/01/2021          2021-7954                               500.00
Netalytics                                           11/01/2021          2021-5836                               100.00
Orchard Software Corporation                         11/01/2021          2021-14524                             7,385.00
Orchard Software Corporation                         11/01/2021          2020-12117                            12,720.00
PODS Enterprises, LLC                                11/01/2021          ZA67000145555                           196.10
PODS Enterprises, LLC                                11/01/2021          ZA67000145004                           185.50
PODS Enterprises, LLC                                11/01/2021          ZA67000143360                           210.94
PODS Enterprises, LLC                                11/01/2021          ZA67000142324                           196.10
PODS Enterprises, LLC                                11/01/2021          ZA67000141877                           185.50
PODS Enterprises, LLC                                11/01/2021          ZA67000140486                           421.88
PODS Enterprises, LLC                                11/01/2021          ZA67000140484                           392.20
Reliable Delivery                                    11/01/2021          225087                                12,218.54
Reliable Delivery                                    11/01/2021          223971                                10,566.51




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Restek Corporation                          11/01/2021          CD50221852                             4,001.52
Restek Corporation                          11/01/2021          CD50221851                             2,836.01
Sigma-Aldrich Inc.                          11/01/2021          553945210                              6,187.16
VWR International, LLC                      11/01/2021          8805431321                              595.39
Zef Scientific, Inc.                        11/01/2021          11503/10711                           37,631.00
Arkstone Medical                            11/02/2021          22165                                  7,325.00
Benkoff Health Law, PLLC                    11/02/2021          2311                                   4,698.00
Henry Schein                                11/02/2021          12050833                                 41.28
Immunalysis Corporation                     11/02/2021          0182228-IN                             3,267.95
Kimberly W. Stout                           11/02/2021          11022021                              15,000.00
LabPath Consulting                          11/02/2021          1306                                   3,000.00
Polar Ice                                   11/02/2021          76981                                   170.00
Wells Fargo Financial Leasing, Inc.         11/02/2021          5017489184                              345.83
6600 Highland, LLC                          11/03/2021                                                 6,110.00
BioPathogenix                               11/03/2021          Woo946                                10,000.00
Horiba Instruments Incorporated             11/03/2021          5102889211                             2,922.89
Kelley Brothers LC                          11/03/2021          Q1929                                   680.45
The Medical Real Estate Group               11/03/2021                                                15,004.50
1st Providers Choice, Inc.                  11/04/2021          4937                                   8,000.00
Abbott Laboratories                         11/05/2021          830801598                              1,213.00
Blue Cross Blue Shield of Michigan          11/05/2021          132025755                             43,997.02
Blue Cross Blue Shield of Michigan          11/05/2021          132025430                             12,593.31
Evoqua Water Technologies LLC               11/05/2021          905137370                               542.50
Henry Schein                                11/05/2021          12441965                                113.28
Peachstate Health Management                11/05/2021          Oct-2021                               1,700.00
Polar Ice                                   11/05/2021          76997                                   170.00
Axiom Diagnostics                           11/08/2021          210938                                 2,943.72
BioPathogenix                               11/08/2021          Woo952                                95,750.00
Daniel Brian Advertising                    11/08/2021          26364                                 25,000.00
Henry Schein                                11/08/2021          12322047                                 20.63
Labtek, Incorporated                        11/08/2021          12199                                  1,303.80
Labtek, Incorporated                        11/08/2021          12198                                   651.90
Labtek, Incorporated                        11/08/2021          12197                                  5,037.12
Labtek, Incorporated                        11/08/2021          12196                                 13,091.00
Labtek, Incorporated                        11/08/2021          12195                                  1,807.80
Uline                                       11/08/2021          141061225                               849.73




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USA Scientific                              11/08/2021          4801834069                              211.47
Blue Care Network                           11/09/2021          213130041824                          26,563.29
Polar Ice                                   11/09/2021          77014                                   170.00
USA Scientific                              11/09/2021          4801834152                              491.05
BioPathogenix                               11/10/2021          Woo956                                10,000.00
James Grossi                                11/10/2021          reimb-10                               7,270.39
PODS Enterprises, LLC                       11/10/2021          ZA67000149864                           210.94
Uline                                       11/10/2021          141138260                               531.57
BioPathogenix                               11/11/2021          Woo958                                10,000.00
Downey Brand                                11/11/2021          566532                                  594.80
DTE Energy                                  11/11/2021          11112021/89310                             8.45
DTE Energy                                  11/11/2021          11112021/89278                           16.93
DTE Energy                                  11/11/2021          11112021/89237                           18.41
DTE Energy                                  11/11/2021          11112021/87421                           20.04
DTE Energy                                  11/11/2021          11112021/11698                          700.93
Tek-Pette                                   11/11/2021          TPC32959697                            2,106.00
Wells Fargo Financial Leasing, Inc.         11/11/2021          5017645975                              152.60
Advance II                                  11/12/2021          51791                                  6,151.67
Advance II                                  11/12/2021          51773                                   886.96
Polar Ice                                   11/12/2021          77028                                   170.00
South-Tek Systems, LLC                      11/12/2021          24635                                 12,944.78
USA Scientific                              11/12/2021          4801836810                               42.40
Wells Fargo Financial Leasing, Inc.         11/12/2021          5017656224                              593.60
Abbott Laboratories                         11/14/2021          830810378                              1,100.00
StrengthPoint Advisors                      11/14/2021          CA-0376                               13,900.00
AB Sciex, LLC                               11/15/2021          210176009                              5,648.64
Lippitt O'Keefe, PLLC                       11/15/2021          11152021                               5,000.00
Henry Schein                                11/16/2021          12925132                                 29.69
Mutual of Omaha                             11/16/2021          001279967547                            722.94
Polar Ice                                   11/16/2021          77046                                   170.00
LCA                                         11/17/2021          11172021                              15,000.00
Madisyn Codron                              11/17/2021          REFUND11172021                          100.00
Molecular Biology Products, Inc.            11/17/2021          790415                                 2,810.00
SCCE                                        11/17/2021          3260675                                 155.00
TASC                                        11/17/2021          IN2200371                               237.00
Cerilliant Corporation                      11/18/2021          556716                                 1,652.40




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Henry Schein                               11/18/2021          13069442                                318.32
Henry Schein                               11/19/2021          13118816                               2,714.24
Henry Schein                               11/19/2021          13119147                               3,051.12
Henry Schein                               11/19/2021          13118257                                215.24
Henry Schein                               11/19/2021          13118514                                977.59
Polar Ice                                  11/19/2021          77063                                   170.00
Shayona Real Estate, LLC                   11/19/2021          11192021                               1,225.25
BioPathogenix                              11/22/2021          Woo973                                42,000.00
Former Players Inc.                        11/22/2021          11222021                               6,000.00
Henry Schein                               11/22/2021          13194437                                781.17
Henry Schein                               11/22/2021          13194408                               1,110.01
Henry Schein                               11/22/2021          13194325                                108.18
Henry Schein                               11/22/2021          13069443                                975.48
James Grossi                               11/22/2021          reimb-11                              13,134.22
I Care MI, LLC                             11/23/2021          S00175                                  216.00
Polar Ice                                  11/23/2021          77081                                   170.00
USA Scientific                             11/23/2021          4801841589                              944.08
Advance II                                 11/24/2021          51841                                  8,288.94
Advance II                                 11/24/2021          51822                                  1,045.17
Michigan Sports Academies, LLC             11/24/2021          11242021                               4,500.00
Netalytics                                 11/26/2021          2021-13489                              750.00
Polar Ice                                  11/26/2021          77094                                   170.00
Edge Solutions                             11/28/2021          423113                                 1,539.06
Dun & Bradstreet                           11/29/2021          050010000185757                        6,250.00
Mettler-Toledo Rainin, LLC                 11/29/2021          678739541                              1,535.85
LabPath Consulting                         11/30/2021          1311                                   8,000.00
Mayo Collaborative Services                11/30/2021          7041224-113021                        41,385.09
Polar Ice                                  11/30/2021          77110                                   170.00
AB Sciex, LLC                              12/01/2021          210177084                             12,502.71
Abbott Laboratories                        12/01/2021          830810933                              1,060.00
Abell Pest Control                         12/01/2021          A3765772                                155.00
Abell Pest Control                         12/01/2021          A3765632                                 55.00
Allied Media                               12/01/2021          16118                                   101.26
Allied Media                               12/01/2021          15772                                   372.38
Allied Media                               12/01/2021          16142                                    68.59
Alpha Cleaners LLC                         12/01/2021          1172721                                2,400.00




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Alpha Cleaners LLC                           12/01/2021          1172728                                  780.00
Alpha Cleaners LLC                           12/01/2021          1172725                                 3,600.00
American Association of Bioanalysts          12/01/2021          22015                                   5,280.00
Amro Almradi MDPC PLLC                       12/01/2021          11232021                                6,000.00
Ancona Controls                              12/01/2021          21438                                  86,637.24
Arkstone Medical                             12/01/2021          22187                                   5,675.00
Axiom Diagnostics                            12/01/2021          210810                                  2,849.05
Axiom Diagnostics                            12/01/2021          211001                                  2,637.98
Axiom Diagnostics                            12/01/2021          210578A                                  140.00
Bultynck & Co. CPA                           12/01/2021          222103836                                900.00
Bultynck & Co. CPA                           12/01/2021          222093386                                900.00
Cerilliant Corporation                       12/01/2021          556542                                   431.70
Cerilliant Corporation                       12/01/2021          557324                                  2,922.10
Cole-Parmer                                  12/01/2021          2902381                                  118.54
Comcast                                      12/01/2021          134679126                               1,119.90
Comerica Commercial Lending Services         12/01/2021          11262021                                8,788.00
Detroit Athletic Club                        12/01/2021          11302021                                 688.00
Detroit Pistons Basketball Company           12/01/2021          LCAINV010677                           21,250.00
DTE Energy                                   12/01/2021          11042021/70187                             24.47
Empirical Biosciences                        12/01/2021          4527                                   11,702.40
Empirical Biosciences                        12/01/2021          4321                                  226,517.76
Eppendorf North America, Inc.                12/01/2021          4009164949                               116.00
Eppendorf North America, Inc.                12/01/2021          4001082982                              2,603.36
Esker Inc                                    12/01/2021          460208287                               1,358.80
Evoqua Water Technologies LLC                12/01/2021          905168460                               1,287.00
Fisher Healthcare                            12/01/2021          5874250                                  564.87
Formulatrix                                  12/01/2021          9220                                    2,685.00
Henry Schein                                 12/01/2021          13354468                                   57.70
Holly Manssur                                12/01/2021          31                                      2,000.00
Horiba Instruments Incorporated              12/01/2021          5102928253                               669.65
IMCS, Inc.                                   12/01/2021          127802                                  7,357.00
Life Technologies Corporation                12/01/2021          80377888                               10,297.90
Life Technologies Corporation                12/01/2021          77158843                               12,660.00
Mclaren Medical Laboratory                   12/01/2021          2035.5                                  3,771.79
Mclaren Medical Laboratory                   12/01/2021          2035.4                                  4,420.55
Mclaren Medical Laboratory                   12/01/2021          2035.3                                  3,375.22




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Med Water Systems                           12/01/2021          INV/2021/3226                           1,350.00
Medcare MSO                                 12/01/2021          2039                                  161,201.24
Medcare MSO                                 12/01/2021          1986                                  155,749.38
MedMatch                                    12/01/2021          11624                                   9,568.00
Mercedes Scientific                         12/01/2021          2531278                                 5,830.00
Mettler-Toledo Rainin, LLC                  12/01/2021          678740184                                802.11
Mutual of Omaha                             12/01/2021          001279967546                           12,703.65
Orchard Software Corporation                12/01/2021          2021-14525                              7,385.00
Orchard Software Corporation                12/01/2021          2020-12118                             12,720.00
Pension Plan Service, Inc.                  12/01/2021          19553                                   1,000.00
Reliable Delivery                           12/01/2021          226060                                 11,562.16
Rusas Printing, Inc.                        12/01/2021          1703                                     238.50
Stericycle Inc                              12/01/2021          4010567034                                 93.78
Superior Medical Waste Disposal             12/01/2021          10735                                   3,102.00
Superior Medical Waste Disposal             12/01/2021          10670                                    984.00
Superior Medical Waste Disposal             12/01/2021          10774                                    984.00
Sysmex America, Inc.                        12/01/2021          93968658                                 387.12
Tek-Pette                                   12/01/2021          TPC3306                                  169.00
Uline                                       12/01/2021          141408302                                283.30
Uline                                       12/01/2021          140714951                                109.30
Uline                                       12/01/2021          140668229                                154.70
Uline                                       12/01/2021          139431940                               2,944.19
Uline                                       12/01/2021          141907208                                317.54
Uline                                       12/01/2021          141745366                                304.34
VWR International, LLC                      12/01/2021          8805959297                               141.59
VWR International, LLC                      12/01/2021          8805182426                              1,880.17
Wachler and Associates, P.C.                12/01/2021          19026                                   7,817.98
Waterford Township Treasurer                12/01/2021          12012021B                                276.77
Waterford Township Treasurer                12/01/2021          12012021                                 332.10
Wells Fargo Financial Leasing, Inc.         12/01/2021          5017797610                                 68.76
Wells Fargo Financial Leasing, Inc.         12/01/2021          5017787285                               557.79
BioPathogenix                               12/02/2021          Woo987                                 36,000.00
Fisher Healthcare                           12/02/2021          6326063                                 1,137.40
Henry Schein                                12/02/2021          13399067                                 165.61
Owen-Ames-Kimball Co.                       12/02/2021          12368                                    470.00
Polar Ice                                   12/03/2021          77128                                    170.00




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Wells Fargo Financial Leasing, Inc.         12/03/2021          5017915749                               345.83
Sysmex America, Inc.                        12/04/2021          93974954                                 670.06
Abbott Laboratories                         12/05/2021          830814333                               1,213.00
Blue Cross Blue Shield of Michigan          12/05/2021          133524521                              40,773.83
Blue Cross Blue Shield of Michigan          12/05/2021          133521371                              10,416.70
Rusas Printing, Inc.                        12/05/2021          1718                                    1,572.72
Blue Care Network                           12/07/2021          213410028912                           31,460.33
VWR International, LLC                      12/07/2021          8806948291                              1,492.97
VWR International, LLC                      12/07/2021          8806945303                              1,743.79
Abbott Laboratories                         12/08/2021          830804799                               1,910.00
Henry Schein                                12/08/2021          13793583                                 287.38
Westmaas Electric Company                   12/08/2021          21-3585                                  360.00
Empirical Biosciences                       12/09/2021          4635                                  161,798.40
Advance II                                  12/10/2021          51894                                   6,331.89
Advance II                                  12/10/2021          51876                                    339.34
BioPathogenix                               12/10/2021          Woo998                                   250.00
Block Scientific, Inc.                      12/10/2021          71279                                   3,125.00
Opdyke Medical, PLLC                        12/10/2021          1867820                                  145.00
Opdyke Medical, PLLC                        12/10/2021          1849860                                  115.00
Orchard Software Corporation                12/10/2021          2021-17204                              2,502.50
Orchard Software Corporation                12/10/2021          2021-17203                              3,832.50
PODS Enterprises, LLC                       12/10/2021          ZA67000152921                            210.94
Polar Ice                                   12/10/2021          77162                                    170.00
Restek Corporation                          12/10/2021          CD50229457                              3,397.14
Wells Fargo Financial Leasing, Inc.         12/10/2021          5018057416                               152.60
StrengthPoint Advisors                      12/12/2021          CA-0385                                14,500.00
Abbott Laboratories                         12/13/2021          830816049                               1,100.00
Polar Ice                                   12/13/2021          77178                                    170.00
Henry Schein                                12/14/2021          14176960                                1,952.93
Henry Schein                                12/14/2021          14176804                                 159.00
Henry Schein                                12/14/2021          14176602                                5,972.72
Henry Schein                                12/14/2021          14176054                                 350.39
Henry Schein                                12/14/2021          14176026                               41,143.19
Henry Schein                                12/14/2021          14175276                                1,534.39
Henry Schein                                12/14/2021          14175164                                1,946.69
Henry Schein                                12/14/2021          14174940                               13,150.31




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Henry Schein                                 12/14/2021          14176817                                159.00
Henry Schein                                 12/14/2021          13793584                                 59.95
Immunalysis Corporation                      12/14/2021          0183725-IN                             3,274.39
Translational Software, Inc.                 12/14/2021          6959                                  14,700.00
Uline                                        12/14/2021          142635439                               487.24
Uline                                        12/14/2021          142634172                               554.02
VWR International, LLC                       12/14/2021          8807023972                            13,752.59
VWR International, LLC                       12/14/2021          8807023973                             1,119.35
Wells Fargo Financial Leasing, Inc.          12/14/2021          5018095007                              593.60
Bridgeton Area Brothers United               12/15/2021          12152021                               7,500.00
Comcast                                      12/15/2021          001000214226                           1,119.90
Daniel Brian Advertising                     12/15/2021          26527                                 25,000.00
Benkoff Health Law, PLLC                     12/16/2021          2378                                   6,480.00
Cerilliant Corporation                       12/16/2021          558101                                 1,914.50
James Grossi                                 12/16/2021          12162021                               8,377.32
Medline Industries, Inc.                     12/16/2021          542873642                              6,950.10
Mettler-Toledo Rainin, LLC                   12/16/2021          678750087                              3,208.40
Mutual of Omaha                              12/16/2021          001292489809                          12,975.57
BioPathogenix                                12/17/2021          Woo1010                                2,500.00
Henry Schein                                 12/17/2021          14360896                              34,428.18
Henry Schein                                 12/17/2021          14360873                               1,058.07
Henry Schein                                 12/17/2021          12111450                               5,296.97
Polar Ice                                    12/17/2021          77197                                   170.00
Rusas Printing, Inc.                         12/18/2021          1747                                   1,568.80
TASC                                         12/18/2021          IN2245452                               237.00
UPS                                          12/18/2021          000005F64R511                            33.00
Henry Schein                                 12/20/2021          14510934                              16,497.20
Henry Schein                                 12/20/2021          14481563                                645.73
Henry Schein                                 12/20/2021          14438521                               1,408.17
Henry Schein                                 12/20/2021          14436038                                129.28
Henry Schein                                 12/20/2021          14420799                               3,647.72
Abell Pest Control                           12/21/2021          A3780203                                 55.00
Henry Schein                                 12/21/2021          14566846                               2,194.41
Henry Schein                                 12/21/2021          14515124                               1,718.06
Henry Schein                                 12/21/2021          14176847                               1,094.77
Modern Office Furniture                      12/21/2021          194816                                 9,809.00




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Orchard Software Corporation                         12/21/2021          2021-17351                            11,554.00
Polar Ice                                            12/21/2021          77223                                   170.00
BioPathogenix                                        12/22/2021          Woo1021                               62,000.00
Advance II                                           12/23/2021          51934                                  7,037.81
Polar Ice                                            12/23/2021          77233                                   170.00
PODS Enterprises, LLC                                12/26/2021          ZA67000154261                           185.50
James Grossi                                         12/27/2021          12272021                               7,136.23
Edge Solutions                                       12/28/2021          436032                                 1,607.81
Polar Ice                                            12/28/2021          77244                                   170.00
Daniel Brian Advertising                             12/31/2021          26582                                 25,000.00
AB Sciex, LLC                                        01/01/2022          210178985                             12,502.71
Abbott Laboratories                                  01/01/2022          830777273                              1,060.00
Abbott Laboratories                                  01/01/2022          830762807                              1,060.00
Abbott Laboratories                                  01/01/2022          830759912                              1,213.00
Abbott Laboratories                                  01/01/2022          830817526                              1,060.00
Agena Bioscience, Inc.                               01/01/2022          9000136824                            43,972.88
Alpha Cleaners LLC                                   01/01/2022          1172767                                 780.00
Alpha Cleaners LLC                                   01/01/2022          1172754                                3,600.00
Alpha Cleaners LLC                                   01/01/2022          1172750                                2,400.00
Axiom Diagnostics                                    01/01/2022          211049                                  155.00
BioPathogenix                                        01/01/2022          Woo1041                               20,000.00
Brown & Brown of Detroit, Inc.                       01/01/2022          7491184                               42,903.43
Brown & Brown of Detroit, Inc.                       01/01/2022          7490804                               19,246.00
Brown & Brown of Detroit, Inc.                       01/01/2022          7490227                                7,673.00
Brown & Brown of Detroit, Inc.                       01/01/2022          7489670                                8,964.00
Brown & Brown of Detroit, Inc.                       01/01/2022          7489573                               70,398.00
Brown & Brown of Detroit, Inc.                       01/01/2022          7489560                                2,486.00
Deidra Denee Marshall                                01/01/2022          01012022                                281.25
Dell Marketing LP c/o Lam, Lyn & Philip P.C.         01/01/2022          10533962818                            1,831.05
Detroit Athletic Club                                01/01/2022          12312021                                548.00
eClinicalWorks, LLC                                  01/01/2022          0002285540                             3,710.00
Esker Inc                                            01/01/2022          460210167                              1,818.25
Evoqua Water Technologies LLC                        01/01/2022          905204602                              1,287.00
Fisher Healthcare                                    01/01/2022          7648695                                1,128.74
Fisher Healthcare                                    01/01/2022          7648694                                 277.41
Fisher Healthcare                                    01/01/2022          7610352                                7,722.84




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Healthcare Appraisers                          01/01/2022          345708                                   459.00
Holly Manssur                                  01/01/2022          32                                      2,000.00
IMCS, Inc.                                     01/01/2022          128234                                  7,357.00
Kelley Brothers LC                             01/01/2022          I3396                                   6,527.00
Labtek, Incorporated                           01/01/2022          12345                                    851.68
Labtek, Incorporated                           01/01/2022          12343                                    424.00
Labtek, Incorporated                           01/01/2022          12342                                   3,816.00
Labtek, Incorporated                           01/01/2022          12316                                      42.40
Labtek, Incorporated                           01/01/2022          12313                                      82.68
Labtek, Incorporated                           01/01/2022          12312                                   3,599.20
Labtek, Incorporated                           01/01/2022          12287                                   1,908.00
Labtek, Incorporated                           01/01/2022          12286                                   3,440.20
Labtek, Incorporated                           01/01/2022          12253                                    106.00
Labtek, Incorporated                           01/01/2022          12252                                   6,817.92
Life Technologies Corporation                  01/01/2022          80561977                                2,977.12
Life Technologies Corporation                  01/01/2022          80566401                               17,596.00
Life Technologies Corporation                  01/01/2022          80567612                                 801.36
MAC Pizza, LLC                                 01/01/2022          01012022                                2,882.00
Mayo Collaborative Services                    01/01/2022          7041224-123121                         51,447.32
Mclaren Medical Laboratory                     01/01/2022          2035.6                                  4,830.72
MCW Partners, LLC                              01/01/2022          49177                                    302.10
Medcare MSO                                    01/01/2022          2084                                  137,551.68
Medcare MSO                                    01/01/2022          2050                                  128,283.07
Michigan Legislative Consultants, Inc.         01/01/2022          5513                                    6,000.00
Mutual of Omaha                                01/01/2022          001292489808                             768.49
Netalytics                                     01/01/2022          2021-14499                               750.00
Orchard Software Corporation                   01/01/2022          2021-17692                             28,143.00
Orchard Software Corporation                   01/01/2022          2021-14526                              7,385.00
Orchard Software Corporation                   01/01/2022          2021-17691                             23,108.00
Orchard Software Corporation                   01/01/2022          2020-12119                             12,720.00
Peachstate Health Management                   01/01/2022          Nov-2021                                2,040.00
Perspectus Architecture                        01/01/2022          17708                                   2,000.00
Polar Ice                                      01/01/2022          77260                                    170.00
Reliable Delivery                              01/01/2022          226971                                 12,116.33
Stericycle Inc                                 01/01/2022          4010634761                               175.42
Superior Medical Waste Disposal                01/01/2022          11037                                   2,920.00




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Superior Medical Waste Disposal             01/01/2022          11240                                   984.00
Taylor Door and Window                      01/01/2022          14970                                  3,258.36
Taylor Door and Window                      01/01/2022          14968                                   272.50
Uline                                       01/01/2022          142960830                               420.28
USA Scientific                              01/01/2022          4801855947                             6,849.40
USA Scientific                              01/01/2022          4801857834                              186.36
Wells Fargo Financial Leasing, Inc.         01/01/2022          5018220061                               68.76
Wells Fargo Financial Leasing, Inc.         01/01/2022          5018220060                              557.79
Rusas Printing, Inc.                        01/02/2022          1759                                   2,134.76
Deidra Denee Marshall                       01/03/2022          01032021                               5,000.00
Global Office Solutions                     01/03/2022          01032022                               2,900.00
Harmony Lab & Safety Supplies               01/03/2022          139009                                 1,412.62
LabPath Consulting                          01/03/2022          1316                                   3,000.00
Labtek, Incorporated                        01/03/2022          12378                                  3,991.40
Blue Cross Blue Shield of Michigan          01/04/2022          134991111                             15,547.31
Blue Cross Blue Shield of Michigan          01/04/2022          134991376                             46,844.20
Fisher Healthcare                           01/04/2022          7679751                                1,111.63
Polar Ice                                   01/04/2022          77272                                   170.00
Rusas Printing, Inc.                        01/04/2022          1762                                   1,446.90
Abbott Laboratories                         01/05/2022          830820514                              1,213.00
Harmony Lab & Safety Supplies               01/05/2022          139099                                 5,271.11
Marc Blitz                                  01/05/2022          01052022                                700.00
Mercedes Scientific                         01/05/2022          2543622                                5,830.00
S & K Printing                              01/05/2022          16057                                   795.00
Phenomenex, Inc                             01/06/2022          CIUS-22001073                          5,301.45
Advance II                                  01/07/2022          51984                                  1,005.68
Benkoff Health Law, PLLC                    01/07/2022          2437                                   9,756.00
Blue Care Network                           01/07/2022          220070043947                          29,288.85
Life Technologies Corporation               01/07/2022          80604097                                559.95
Polar Ice                                   01/07/2022          77292                                   170.00
Uline                                       01/07/2022          143460248                              1,444.32
VWR International, LLC                      01/07/2022          8807203638                            13,760.23
Cerilliant Corporation                      01/10/2022          559312                                 1,567.00
James Grossi                                01/10/2022          01102022                               3,136.33
Life Technologies Corporation               01/10/2022          80609568                               5,553.34
AVL-Creative                                01/11/2022          22-0165                                4,012.04




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Henry Schein                             01/11/2022          15520831                                 403.64
Henry Schein                             01/11/2022          15071894                                 823.01
Peachstate Health Management             01/11/2022          Dec-2021                                 510.00
Polar Ice                                01/11/2022          77309                                    170.00
Restek Corporation                       01/11/2022          CD50237942                              1,495.81
USA Scientific                           01/11/2022          4801861772                                 56.07
Henry Schein                             01/12/2022          15591562                                 200.35
Henry Schein                             01/12/2022          15520832                                 571.85
MedMatch                                 01/12/2022          11638                                  18,500.00
USA Scientific                           01/12/2022          4801862633                               274.87
College of American Pathologists         01/13/2022          2592817                                 1,613.98
Empirical Biosciences                    01/13/2022          4754                                  165,034.37
James Grossi                             01/13/2022          01132022                                7,533.67
Opdyke Medical, PLLC                     01/13/2022          1869800                                  115.00
Perspectus Architecture                  01/13/2022                                                  4,325.06
Taylor Data Systems                      01/13/2022          37128                                  31,406.64
Henry Schein                             01/14/2022          15597285                                 325.48
Henry Schein                             01/14/2022          14107089                                 242.95
Polar Ice                                01/14/2022          77325                                    170.00
Labtek, Incorporated                     01/16/2022          12430                                   2,268.40
Labtek, Incorporated                     01/16/2022          12432                                   2,920.80
Labtek, Incorporated                     01/16/2022          12431                                   1,791.40
Henry Schein                             01/17/2022          14520752                                 731.34
Life Technologies Corporation            01/17/2022          80645719                               27,456.12
People 2.0 Global LP                     01/17/2022          511004710                              30,000.00
StrengthPoint Advisors                   01/17/2022          CA-0396                                12,900.00
Alex Scherle                             01/18/2022          01182022                                 300.00
Billy Newman                             01/18/2022          01182022                                 300.00
Brian Lopez                              01/18/2022          01182022                                 300.00
Chris Galle                              01/18/2022          01182022                                 300.00
Evan Noga                                01/18/2022          01182022                                 300.00
Fisher Healthcare                        01/18/2022          8359199                                  624.44
John Dreer                               01/18/2022          01182022                                 300.00
Jon Risi                                 01/18/2022          01182022                                 300.00
Joseph Grossi                            01/18/2022          01182022                                 300.00
Labtek, Incorporated                     01/18/2022          12446                                    424.00




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Life Technologies Corporation              01/18/2022          80651599                               16,776.09
Polar Ice                                  01/18/2022          77349                                    170.00
Stephan Riachi                             01/18/2022          01182022                                 300.00
Zack Stegmeyer                             01/18/2022          01182022                                 300.00
Allied Media                               01/19/2022          16553                                    129.20
Harmony Lab & Safety Supplies              01/19/2022          139774                                  3,516.06
Harmony Lab & Safety Supplies              01/19/2022          139779                                  5,760.10
Life Technologies Corporation              01/19/2022          80655799                               35,446.40
Mettler-Toledo Rainin, LLC                 01/19/2022          678764775                               3,612.29
Molecular Biology Products, Inc.           01/19/2022          790588                                  4,175.00
Mutual of Omaha                            01/19/2022          001307619682                             710.82
Abbott Laboratories                        01/20/2022          830822741                               1,060.00
CE Stars                                   01/20/2022          0120222                                 3,000.00
Fisher Healthcare                          01/20/2022          8491186                                 2,423.39
Mettler-Toledo Rainin, LLC                 01/21/2022          678765947                               8,552.03
Polar Ice                                  01/21/2022          77365                                    170.00
Labtek, Incorporated                       01/23/2022          12463                                    302.60
Abell Pest Control                         01/24/2022          A3868383                                  55.00
Global Office Solutions                    01/24/2022          PINV253327                              1,742.00
Henry Schein                               01/24/2022          16078507                                 613.26
Immunalysis Corporation                    01/24/2022          0185146-IN                              4,371.20
Fisher Healthcare                          01/25/2022          8684026                                29,807.34
Fisher Healthcare                          01/25/2022          8684024                                  618.24
James Grossi                               01/25/2022          01252022                                4,132.23
Mettler-Toledo Rainin, LLC                 01/25/2022          678767349                                162.27
Polar Ice                                  01/25/2022          77380                                    170.00
Brehob CORPORATION                         01/26/2022          790971                                 44,149.00
Healthcare Appraisers                      01/26/2022          346433                                   616.00
BioPathogenix                              01/27/2022          994                                    38,160.00
Fisher Healthcare                          01/27/2022          8796035                                22,273.39
Fisher Healthcare                          01/28/2022          8855249                                  965.12
Fisher Healthcare                          01/28/2022          8855248                                 3,657.88
Fisher Healthcare                          01/28/2022          8855246                                 5,468.23
Polar Ice                                  01/28/2022          77397                                    170.00
AB Sciex, LLC                              02/01/2022          210180870                              12,502.71
Abbott Laboratories                        02/01/2022          830825686                              14,556.00




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Abbott Laboratories                           02/01/2022          830822047                                1,100.00
Advance II                                    02/01/2022          52050                                   11,700.18
Advance II                                    02/01/2022          52037                                       46.80
Agena Bioscience, Inc.                        02/01/2022          9000137190                             256,226.38
Agena Bioscience, Inc.                        02/01/2022          9000137300                              34,000.00
Agena Bioscience, Inc.                        02/01/2022          9000137559                              22,648.76
Alliance Architecture of Maryland, PC         02/01/2022          12.21.33MD                               3,540.00
Alliance Architecture of Maryland, PC         02/01/2022          11.21.04MD                              12,285.00
Alpha Cleaners LLC                            02/01/2022          1172783                                  3,600.00
Alvons Electric, Inc.                         02/01/2022          8                                        6,000.00
Arkstone Medical                              02/01/2022          22215                                    6,850.00
Arkstone Medical                              02/01/2022          22247                                    4,325.00
Athenahealth, Inc.                            02/01/2022          INV-182623                                366.00
AVL-Creative                                  02/01/2022          22-0165B                                  995.89
Axiom Diagnostics                             02/01/2022          220100                                   5,737.42
Axiom Diagnostics                             02/01/2022          220048                                   3,477.89
Axiom Diagnostics                             02/01/2022          220035                                    208.55
BioPathogenix                                 02/01/2022          998                                     44,520.00
Cerilliant Corporation                        02/01/2022          560588                                    836.00
College of American Pathologists              02/01/2022          2590967                                   900.62
Comcast                                       02/01/2022          001000237880                             2,239.80
Detroit Athletic Club                         02/01/2022          01312022                                  986.80
Detroit Pistons Basketball Company            02/01/2022          LCAINV010746                            21,250.00
Detroit Pistons Basketball Company            02/01/2022          LCAINV010706                            21,250.00
DTE Energy                                    02/01/2022          11292021/14                               473.12
DTE Energy                                    02/01/2022          11292021/11                               386.69
DTE Energy                                    02/01/2022          11292021/15                               371.81
DTE Energy                                    02/01/2022          11292021/22                               442.34
DTE Energy                                    02/01/2022          11292021/12A                              741.15
Edge Solutions                                02/01/2022          450480                                   1,796.78
Edge Solutions                                02/01/2022          7116                                      877.16
Electrical Workers                            02/01/2022          12212021                                  300.00
Eric Vasseur                                  02/01/2022          000005                                   1,929.99
Evoqua Water Technologies LLC                 02/01/2022          905241449                                1,287.00
Ferrellgas                                    02/01/2022          5006797219                               1,903.04
Fisher Healthcare                             02/01/2022          8626027                                  8,473.62




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Hamilton Company                               02/01/2022          INV-001201                              3,557.12
Hamilton Company                               02/01/2022          E01470086                               4,213.64
Henry Schein                                   02/01/2022          16018231                               15,633.09
I Care MI, LLC                                 02/01/2022          S00188                                  2,030.00
Impact 100 Metro Detroit                       02/01/2022          45611                                  12,100.00
INTEGRA Biosciences Corp.                      02/01/2022          223403438                               9,638.34
INTEGRA Biosciences Corp.                      02/01/2022          223400357                              13,781.40
LabSoft, Inc.                                  02/01/2022          21230-3637-562                          1,750.00
Labtek, Incorporated                           02/01/2022          12443                                    278.59
Labtek, Incorporated                           02/01/2022          12254                                   1,585.20
Labtek, Incorporated                           02/01/2022          12478                                  21,990.20
Life Technologies Corporation                  02/01/2022          80670318                               30,443.20
Mayo Collaborative Services                    02/01/2022          7041224-013122                         36,274.33
MedMatch                                       02/01/2022          11630                                  18,000.00
Michigan Legislative Consultants, Inc.         02/01/2022          5583                                    6,000.00
Microgenics Corporation                        02/01/2022          911667                                  4,627.18
Modern Office Furniture                        02/01/2022          222182                                     65.00
Mutual of Omaha                                02/01/2022          001307619683                           13,176.25
Netalytics                                     02/01/2022          2022-695                                 750.00
Orchard Software Corporation                   02/01/2022          2020-12120                             12,720.00
PODS Enterprises, LLC                          02/01/2022          ZA67-CS1014082-02                        196.10
Polar Ice                                      02/01/2022          77143                                    170.00
Polar Ice                                      02/01/2022          77413                                    170.00
Reliable Delivery                              02/01/2022          228035                                 13,702.93
Salesforce.com, Inc.                           02/01/2022          21546022                              108,777.36
Solaris Diagnostics                            02/01/2022          3350                                     240.00
Solaris Diagnostics                            02/01/2022          3246                                     120.00
Solaris Diagnostics                            02/01/2022          3085                                     240.00
Solaris Diagnostics                            02/01/2022          2998                                     240.00
Solaris Diagnostics                            02/01/2022          2797                                       50.00
Solaris Diagnostics                            02/01/2022          2645                                     120.00
Stericycle Inc                                 02/01/2022          4010702320                               333.36
Superior Medical Waste Disposal                02/01/2022          11461                                   1,291.00
Sysmex America, Inc.                           02/01/2022          94088232                                 388.22
Sysmex America, Inc.                           02/01/2022          94084672                                 325.43
TASC                                           02/01/2022          IN2281991                                309.09




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Uline                                       02/01/2022          144136836                               422.98
VWR International, LLC                      02/01/2022          8806931949                             6,613.60
Wells Fargo Financial Leasing, Inc.         02/01/2022          5018651116                               68.76
Wells Fargo Financial Leasing, Inc.         02/01/2022          5018640265                              557.79
Wells Fargo Financial Leasing, Inc.         02/01/2022          5018517519                              593.60
Wells Fargo Financial Leasing, Inc.         02/01/2022          5018497788                               76.30
Wells Fargo Financial Leasing, Inc.         02/01/2022          5018306926                              345.83
Holly Manssur                               02/02/2022          33                                     2,000.00
LabPath Consulting                          02/02/2022          1323                                   3,000.00
Life Technologies Corporation               02/02/2022          80702161                               1,475.52
Life Technologies Corporation               02/02/2022          80696477                               9,055.58
Life Technologies Corporation               02/02/2022          80692449                               1,865.60
Wells Fargo Financial Leasing, Inc.         02/02/2022          5018759833                              726.25
Benkoff Health Law, PLLC                    02/03/2022          2499                                   7,182.00
LabSoft, Inc.                               02/03/2022          2223-931-4741                           200.00
Life Technologies Corporation               02/03/2022          80744140                               1,266.17
Solaris Diagnostics                         02/03/2022          3417                                   3,000.00
Superior Medical Waste Disposal             02/03/2022          11166                                  3,739.00
Advance II                                  02/04/2022          52106                                 12,731.17
Blue Care Network                           02/04/2022          220350046913                          15,627.52
Blue Cross Blue Shield of Michigan          02/04/2022          136898674                             46,844.20
Blue Cross Blue Shield of Michigan          02/04/2022          136895425                             13,370.68
Fink Bressack PLLC                          02/04/2022          FBHELIX-1002                            562.50
Fink Bressack PLLC                          02/04/2022          FBHELIX-1001                           5,769.25
Hamilton Company                            02/04/2022          SO-023146-4                           26,875.46
Hamilton Company                            02/04/2022          SO-023122-8                           88,585.74
Polar Ice                                   02/04/2022          77426                                   185.00
Taylor Door and Window                      02/04/2022          14997                                   453.00
Abbott Laboratories                         02/05/2022          830826810                              1,213.00
Life Technologies Corporation               02/05/2022          80752658                                434.60
Lotus Lab Consulting                        02/05/2022          0002                                  20,000.00
Abbott Laboratories                         02/06/2022          830820788                              2,426.00
Axiom Diagnostics                           02/07/2022          220120                                   82.09
IMCS, Inc.                                  02/07/2022          128828                                 7,365.00
Life Technologies Corporation               02/07/2022          80758745                              10,531.10
Solaris Diagnostics                         02/07/2022          3444                                    360.00




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StreamlineHR Services, LLC                               02/07/2022          5425R                                   8,320.00
Complete Handyman Services, LLC                          02/08/2022          02082022                                1,800.00
Denny's Heating, Cooling & Refrigeration Service Inc.    02/08/2022          S23678                                   261.25
Henry Schein                                             02/08/2022          16612908                                 956.63
Peachstate Health Management                             02/08/2022          Jan-2022                                1,190.00
Polar Ice                                                02/08/2022          77442                                    170.00
Abbott Laboratories                                      02/09/2022          551764                                     41.68
Abbott Laboratories                                      02/09/2022          551725                                  1,277.30
James Grossi                                             02/09/2022          02092022                                2,572.98
Abbott Laboratories                                      02/10/2022          551882                                     10.25
BioPathogenix                                            02/10/2022          1409                                   24,380.00
Mettler-Toledo Rainin, LLC                               02/10/2022          678775531                               3,418.44
Mettler-Toledo Rainin, LLC                               02/11/2022          678776328                               3,418.44
Polar Ice                                                02/11/2022          77457                                    170.00
South-Tek Systems, LLC                                   02/11/2022          25364                                  27,887.91
Abbott Laboratories                                      02/13/2022          830815577                               1,130.80
Abbott Laboratories                                      02/14/2022          552297                                323,088.00
Harmony Lab & Safety Supplies                            02/14/2022          141050                                  3,815.89
Harmony Lab & Safety Supplies                            02/14/2022          141049                                  5,569.28
Harmony Lab & Safety Supplies                            02/14/2022          141048                                  5,723.84
Labtek, Incorporated                                     02/14/2022          12517                                   2,253.00
Phenomenex, Inc                                          02/14/2022          CIUS-22011458                            686.88
USA Scientific                                           02/14/2022          4801877569                                 90.68
Abbott Laboratories                                      02/15/2022          Q26627                                  5,936.00
Cerilliant Corporation                                   02/15/2022          561434                                   990.00
Microgenics Corporation                                  02/15/2022          914398                                  4,168.17
Polar Ice                                                02/15/2022          77472                                    170.00
Washington Capital, LLC                                  02/15/2022          02152022                                8,250.00
Harmony Lab & Safety Supplies                            02/16/2022          141179                                  5,723.84
Harmony Lab & Safety Supplies                            02/16/2022          141178                                  3,815.89
Mutual of Omaha                                          02/16/2022          001323416255                             717.29
TASC                                                     02/16/2022          IN2312909                                209.09
Fisher Healthcare                                        02/17/2022          9664831                                  197.88
Fisher Healthcare                                        02/17/2022          9664827                                  908.62
Fisher Healthcare                                        02/17/2022          9664826                                  908.03
Fisher Healthcare                                        02/17/2022          9664819                                  918.70




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Fisher Healthcare                             02/17/2022          9664825                                  1,253.66
StrengthPoint Advisors                        02/17/2022          CA-0405                                 14,700.00
AB Sciex, LLC                                 02/18/2022          210182051                                2,138.97
Advance II                                    02/18/2022          152166                                  15,228.34
James Grossi                                  02/18/2022          02182022                                 2,239.01
Polar Ice                                     02/18/2022          77485                                     170.00
Seyburn Kahn Attorneys & Counselors           02/18/2022          02182022                                 2,500.00
Spartan Wealth Management Inc.                02/18/2022          100                                      2,353.99
Labtek, Incorporated                          02/20/2022          12540                                    5,946.60
ASR Health Benefits                           02/22/2022          02222022                                  220.00
ASR Health Benefits                           02/22/2022          02222022                                  160.00
MAC Pizza, LLC                                02/22/2022          02012022                                 1,310.00
Polar Ice                                     02/22/2022          77497                                     170.00
Life Technologies Corporation                 02/23/2022          80855279                                25,281.53
Tek-Pette                                     02/23/2022          TPA4479                                   688.00
Tek-Pette                                     02/23/2022          TPA4478                                  1,127.00
Tek-Pette                                     02/23/2022          TPA4477                                     80.00
Comerica Bank - Cost Center 048-95890         02/24/2022          009784.000001 LRS                         949.00
Healthcare Appraisers                         02/24/2022          347091                                   9,421.00
Immunalysis Corporation                       02/24/2022          0186363-IN                               5,459.52
Labtek, Incorporated                          02/25/2022          12561                                     805.04
Polar Ice                                     02/25/2022          77513                                     170.00
6600 Highland, LLC                            03/01/2022          4134                                     1,050.00
AB Sciex, LLC                                 03/01/2022          210182779                               12,502.71
AB Sciex, LLC                                 03/01/2022          210182409                                4,081.63
Abbott Laboratories                           03/01/2022          830829608                                1,089.68
Abbott Laboratories                           03/01/2022          553984                                  15,891.99
Abbott Laboratories                           03/01/2022          553964                                 288,287.82
Abbott Laboratories                           03/01/2022          553962                                  48,900.72
Abell Pest Control                            03/01/2022          A3877418                                    55.00
Agena Bioscience, Inc.                        03/01/2022          9000137833                              21,671.07
Alliance Architecture of Maryland, PC         03/01/2022          01.22.36MD                              15,829.96
Alpha Cleaners LLC                            03/01/2022          1172823                                  3,600.00
Alpha Cleaners LLC                            03/01/2022          1172818                                  3,380.00
Alpha Cleaners LLC                            03/01/2022          1172779                                  3,380.00
Arkstone Medical                              03/01/2022          22278                                    4,925.00




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Axiom Diagnostics                              03/01/2022          220175                                 6,156.99
Axiom Diagnostics                              03/01/2022          220101                                 1,467.40
Axiom Diagnostics                              03/01/2022          220152                                  183.29
Beckman Coulter                                03/01/2022          109713652                              1,464.44
Benkoff Health Law, PLLC                       03/01/2022          2564                                   8,702.00
Brown & Brown of Detroit, Inc.                 03/01/2022          03012022                                234.00
Comcast                                        03/01/2022          001000268960                           1,119.90
Detroit Pistons Basketball Company             03/01/2022          LCAINV010779                          21,250.00
Edge Solutions                                 03/01/2022          464268                                 1,333.74
Esker Inc                                      03/01/2022          460214173                              1,016.95
Evoqua Water Technologies LLC                  03/01/2022          905278018                              1,287.00
Hamilton Company                               03/01/2022          INV-063123                             9,727.87
Harmony Lab & Safety Supplies                  03/01/2022          141857                                 3,413.13
Henry Schein                                   03/01/2022          13116306                               5,600.31
Henry Schein                                   03/01/2022          13115631                               2,428.29
Henry Schein                                   03/01/2022          17552445                                181.07
Henry Schein                                   03/01/2022          17330868                                 80.53
Henry Schein                                   03/01/2022          17330866                                566.36
Henry Schein                                   03/01/2022          16184741                               1,618.56
Holly Manssur                                  03/01/2022          34                                     2,500.00
Kelley Brothers LC                             03/01/2022          I2945                                   421.20
Labtek, Incorporated                           03/01/2022          12404                                  1,854.04
Labtek, Incorporated                           03/01/2022          12399                                  3,964.40
Labtek, Incorporated                           03/01/2022          12361                                  7,928.80
Labtek, Incorporated                           03/01/2022          12360                                  2,253.00
LGC Clinical Diagnostics, Inc.                 03/01/2022          90175205                               3,034.84
Life Technologies Corporation                  03/01/2022          77164710                               7,740.00
Lippitt O'Keefe, PLLC                          03/01/2022          12284                                  6,266.00
Lippitt O'Keefe, PLLC                          03/01/2022          12199                                  7,289.00
MAC Pizza, LLC                                 03/01/2022          03012022                               1,310.00
Mayo Collaborative Services                    03/01/2022          7041224-022822                        23,188.91
Mclaren Medical Laboratory                     03/01/2022          2035.8                                 1,691.51
Mclaren Medical Laboratory                     03/01/2022          MLMHEL022822                           6,155.04
Mercedes Scientific                            03/01/2022          2563113                                7,314.00
Michigan Legislative Consultants, Inc.         03/01/2022          5656                                   6,000.00
Molecular Biology Products, Inc.               03/01/2022          790643                                 1,670.00




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Molecular Biology Products, Inc.                 03/01/2022          790456                                 5,665.00
Movement Search, LLC                             03/01/2022          13874                                 43,400.00
Mutual of Omaha                                  03/01/2022          001323416254                          12,872.65
Netalytics                                       03/01/2022          2022-1638                               750.00
Nova Biomedical Corp                             03/01/2022          90965422                               8,853.60
Orchard Software Corporation                     03/01/2022          2021-14527                             7,385.00
Orchard Software Corporation                     03/01/2022          2020-12121                            12,720.00
Phenomenex, Inc                                  03/01/2022          CIUS-22013726                          1,261.40
Phenomenex, Inc                                  03/01/2022          CIUS-22013671                          5,045.60
Phenomenex, Inc                                  03/01/2022          CIUS-22012727                          4,214.56
Polar Ice                                        03/01/2022          77527                                   170.00
Reliable Delivery                                03/01/2022          228953                                12,826.87
Restek Corporation                               03/01/2022          CD50250492                             1,563.61
Stericycle Inc                                   03/01/2022          4010770094                                    -
StreamlineHR Services, LLC                       03/01/2022          5463                                   8,320.00
StreamlineHR Services, LLC                       03/01/2022          5464                                   8,320.00
Superior Medical Waste Disposal                  03/01/2022          11478                                  2,721.00
Taylor Door and Window                           03/01/2022          14873                                   672.80
The Medical Real Estate Group                    03/01/2022          4260                                    700.00
UPS                                              03/01/2022          000053XF87092                            43.50
USA Scientific                                   03/01/2022          4801862634                              439.11
USA Scientific                                   03/01/2022          4801861744                             3,597.64
USA Scientific                                   03/01/2022          4801856860                              352.56
USA Scientific                                   03/01/2022          4801855946                              404.50
USA Scientific                                   03/01/2022          4801850265                             7,543.16
USA Scientific                                   03/01/2022          4801849511                             7,094.04
Wells Fargo Financial Leasing, Inc.              03/01/2022          5019068251                              137.52
Wells Fargo Financial Leasing, Inc.              03/01/2022          5019057990                              557.79
Wells Fargo Financial Leasing, Inc.              03/01/2022          5018932818                             1,187.20
Westmaas Electric Company                        03/01/2022          22-3013                                 255.00
Fink Bressack PLLC                               03/02/2022          FBHELIX-1004                           1,217.02
Fink Bressack PLLC                               03/02/2022          FBHELIX-1003                          17,693.50
General Treasurer, State of Rhode Island         03/02/2022          03022022                                      -
Life Technologies Corporation                    03/02/2022          77164856                               7,740.00
Wells Fargo Financial Leasing, Inc.              03/02/2022          5019179675                              345.83
Agena Bioscience, Inc.                           03/03/2022          03032022                                      -




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LabPath Consulting                            03/03/2022          1332                                   3,000.00
McKinley and Company Recruitment, Inc         03/03/2022          0001194-51-0L2-IN                      1,464.50
Mercedes Scientific                           03/03/2022          03032022                                      -
Microgenics Corporation                       03/03/2022          917237                                 4,024.31
Molecular BioProducts, Inc.                   03/03/2022          1282419                                 278.05
Molecular BioProducts, Inc.                   03/03/2022          03032022                               3,780.00
Uline                                         03/03/2022          145870607                              1,423.32
Unifirst Corporation                          03/03/2022          03032022                                      -
Unifirst Corporation                          03/03/2022          03032022                                121.77
UPS                                           03/03/2022          03032022                                      -
Advance II                                    03/04/2022          52229                                  9,824.11
BioPathogenix                                 03/04/2022          1435                                   5,300.00
Blue Cross Blue Shield of Michigan            03/04/2022          137387875                             51,679.00
Blue Cross Blue Shield of Michigan            03/04/2022          138387613                             13,370.68
Polar Ice                                     03/04/2022          77541                                   170.00
Abbott Laboratories                           03/05/2022          830826593                              1,213.00
Abbott Laboratories                           03/06/2022          830818958                              2,426.00
Axiom Diagnostics                             03/07/2022          220200                                  125.55
Sysmex America, Inc.                          03/07/2022          94139411                               1,121.67
Blue Care Network                             03/08/2022          220670072732                          24,022.39
Henry Schein                                  03/08/2022          17942563                              11,778.32
Henry Schein                                  03/08/2022          17942407                               1,766.66
Henry Schein                                  03/08/2022          17942356                                294.66
Henry Schein                                  03/08/2022          17942340                               1,090.26
Henry Schein                                  03/08/2022          17942306                                731.34
Henry Schein                                  03/08/2022          17942136                                258.29
Henry Schein                                  03/08/2022          17942084                                537.38
Henry Schein                                  03/08/2022          17940709                                147.33
Henry Schein                                  03/08/2022          17940605                                903.33
Henry Schein                                  03/08/2022          17940562                               2,115.16
Henry Schein                                  03/08/2022          17940468                               6,626.71
Henry Schein                                  03/08/2022          17940409                               7,854.92
Henry Schein                                  03/08/2022          17940350                                348.72
Henry Schein                                  03/08/2022          17871931                               1,184.51
JSW Consulting, LLC                           03/08/2022          1120                                   7,500.00
McKinley and Company Recruitment, Inc         03/08/2022          000195-51-0L2-IN                         43.50




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Polar Ice                                                03/08/2022          77557                                    170.00
Sysmex America, Inc.                                     03/08/2022          94137925                                 204.96
AKH Servuces, LLC                                        03/09/2022          AKH20011                                2,400.00
Coriell Institute, Inc.                                  03/09/2022          111182                                  2,052.00
Henry Schein                                             03/09/2022          17982270                                 159.00
Henry Schein                                             03/09/2022          17970421                                 288.55
Henry Schein                                             03/09/2022          17922885                                3,089.35
Henry Schein                                             03/09/2022          18000138                                1,713.89
Henry Schein                                             03/09/2022          17983705                               12,003.82
Henry Schein                                             03/09/2022          17983620                                2,221.34
Henry Schein                                             03/09/2022          17980587                                1,749.15
Henry Schein                                             03/09/2022          17980332                               15,207.70
Henry Schein                                             03/09/2022          17984039                                4,377.49
Henry Schein                                             03/09/2022          17983901                                2,826.45
Henry Schein                                             03/09/2022          17982195                                 447.55
Henry Schein                                             03/09/2022          17871932                                 371.46
Bultynck & Co. CPA                                       03/10/2022          222107415                               1,010.00
Farnell Equipment Co.                                    03/10/2022          14624                                   3,179.00
Nova Biomedical Corp                                     03/10/2022          90973067                                8,074.37
Nova Biomedical Corp                                     03/10/2022          90973357                                1,948.07
Amro Almradi MDPC PLLC                                   03/11/2022          03112022                               12,000.00
Polar Ice                                                03/11/2022          77573                                    170.00
The Medical Real Estate Group                            03/11/2022          271                                     1,415.75
Abbott Laboratories                                      03/13/2022          830828078                               1,130.80
StrengthPoint Advisors                                   03/13/2022          CA-0418                                15,300.00
Agena Bioscience, Inc.                                   03/14/2022          9000137987                             22,797.16
Agena Bioscience, Inc.                                   03/14/2022          9000137976                             35,270.00
Athenahealth, Inc.                                       03/14/2022          INV-197389                               470.00
Denny's Heating, Cooling & Refrigeration Service Inc.    03/14/2022          S23687                                   287.50
Labtek, Incorporated                                     03/14/2022          12598                                    316.38
Mercedes Scientific                                      03/14/2022          2568256                                 2,438.00
Phenomenex, Inc                                          03/14/2022          CIUS-22019410                           5,303.11
Solaris Diagnostics                                      03/14/2022          3533                                     240.00
Uline                                                    03/14/2022          146302773                                109.83
Wells Fargo Financial Leasing, Inc.                      03/14/2022          5019356183                                76.30
Henry Schein                                             03/15/2022          13853582                                 823.01




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Labtek, Incorporated                          03/15/2022          12605                                   519.40
Labtek, Incorporated                          03/15/2022          12604                                  1,982.20
Mettler-Toledo Rainin, LLC                    03/15/2022          678792678                              3,612.29
Microgenics Corporation                       03/15/2022          919387                                 4,013.60
Polar Ice                                     03/15/2022          77584                                   170.00
McKinley and Company Recruitment, Inc         03/16/2022          0001197-51-0L2-IN                       826.50
Henry Schein                                  03/17/2022          18305876                                341.27
Advance II                                    03/18/2022          52296                                  3,283.34
Fisher Healthcare                             03/18/2022          0862048                                1,112.58
Fisher Healthcare                             03/18/2022          0862047                                1,163.11
Henry Schein                                  03/18/2022          18305870                               1,336.09
Med National Staffing Solutions, Inc.         03/18/2022          101855                                 1,020.00
Polar Ice                                     03/18/2022          77600                                   170.00
Labtek, Incorporated                          03/20/2022          12622                                  1,065.80
Labtek, Incorporated                          03/20/2022          12621                                  1,982.20
Agena Bioscience, Inc.                        03/21/2022          9000138074                            22,648.76
James Grossi                                  03/21/2022          03212022                               3,822.27
Microgenics Corporation                       03/21/2022          920441                                 4,011.66
Mutual of Omaha                               03/21/2022          001338714812                            746.66
Agena Bioscience, Inc.                        03/22/2022          9000138086                            46,022.21
Cerilliant Corporation                        03/22/2022          563505                                 1,972.00
Henry Schein                                  03/22/2022          18328887                                248.62
Labtek, Incorporated                          03/22/2022          12632                                   199.28
Labtek, Incorporated                          03/22/2022          12631                                   415.40
Mutual of Omaha                               03/22/2022          001338714811                          14,284.81
Polar Ice                                     03/22/2022          37212                                   170.00
USA Scientific                                03/22/2022          4801895154                             1,702.36
IMCS, Inc.                                    03/23/2022          129425                                 4,449.00
Abell Pest Control                            03/24/2022          A4042193                                155.00
Abell Pest Control                            03/24/2022          A4032780                                 55.00
James Grossi                                  03/25/2022          03252022                               4,132.28
Polar Ice                                     03/25/2022          37229                                   170.00
Ferrellgas                                    03/27/2022          506927978                               412.50
Mercedes Scientific                           03/28/2022          2572970                                2,120.00
Microgenics Corporation                       03/28/2022          921735                                 4,206.06
Polar Ice                                     03/29/2022          37245                                   170.00




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Holzman Law, PLLC                                        03/30/2022          03302022                               5,254.22
AB Sciex, LLC                                            04/01/2022          210185142                             12,502.71
Abbott Laboratories                                      04/01/2022          558291                                26,310.28
Abbott Laboratories                                      04/01/2022          830835683                              1,089.68
Advance II                                               04/01/2022          52363                                  6,880.45
Alliance Architecture of Maryland, PC                    04/01/2022          02.22.43MD                            20,625.57
Allied Media                                             04/01/2022          16824                                   144.04
Alpha Cleaners LLC                                       04/01/2022          1172859                                3,600.00
Alpha Cleaners LLC                                       04/01/2022          1172855                                3,380.00
Arkstone Medical                                         04/01/2022          22314                                 10,625.00
Benkoff Health Law, PLLC                                 04/01/2022          2609                                   3,724.00
College of American Pathologists                         04/01/2022          2611047                                 508.03
Cotiviti Inc.                                            04/01/2022          04012022                               3,725.00
Criterion Lab Consulting, LLC                            04/01/2022          4800                                   1,900.00
Definitive Healthcare, LLC                               04/01/2022          INV38984                              49,999.00
Denny's Heating, Cooling & Refrigeration Service Inc.    04/01/2022          S24049                                  223.75
eClinicalWorks, LLC                                      04/01/2022          0002328088                             5,300.00
eClinicalWorks, LLC                                      04/01/2022          0002328042                             5,300.00
eClinicalWorks, LLC                                      04/01/2022          0002330160                             5,300.00
Edge Solutions                                           04/01/2022          478199                                 1,431.31
Evoqua Water Technologies LLC                            04/01/2022          905320296                              1,287.00
Healthcare Appraisers                                    04/01/2022          347821                                 3,036.50
Henry Schein                                             04/01/2022          17954789                                729.79
Henry Schein                                             04/01/2022          18941339                              12,382.56
Henry Schein                                             04/01/2022          18941100                               1,555.98
Henry Schein                                             04/01/2022          18940994                                 68.86
Henry Schein                                             04/01/2022          18940990                                288.50
Henry Schein                                             04/01/2022          18940812                               3,573.48
Henry Schein                                             04/01/2022          18940691                              53,565.12
Henry Schein                                             04/01/2022          18940383                                582.49
Henry Schein                                             04/01/2022          18940320                                657.43
Henry Schein                                             04/01/2022          18939645                                215.24
Henry Schein                                             04/01/2022          18838752                               3,326.07
Henry Schein                                             04/01/2022          18753202                               2,334.14
Henry Schein                                             04/01/2022          18753188                                427.75
Henry Schein                                             04/01/2022          18753132                              11,233.16




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Henry Schein                                   04/01/2022          18753010                               3,004.37
Henry Schein                                   04/01/2022          18752898                                255.97
Henry Schein                                   04/01/2022          18752783                               1,451.56
Henry Schein                                   04/01/2022          18752739                              12,382.56
Henry Schein                                   04/01/2022          18752325                                808.85
Henry Schein                                   04/01/2022          18752208                               4,142.30
Henry Schein                                   04/01/2022          18751875                               1,354.50
Henry Schein                                   04/01/2022          18751762                                666.72
Holly Manssur                                  04/01/2022          35                                     2,500.00
LabSoft, Inc.                                  04/01/2022          22322-105-2061                          200.00
LabSoft, Inc.                                  04/01/2022          452-22125                               950.00
Labtek, Incorporated                           04/01/2022          12658                                   554.06
Mayo Collaborative Services                    04/01/2022          7041224-033122                        23,042.80
Mclaren Medical Laboratory                     04/01/2022          2035.7                                 9,585.49
Mclaren Medical Laboratory                     04/01/2022          2035.2                                  335.21
Mclaren Medical Laboratory                     04/01/2022          2035.9                                  282.40
Mclaren Medical Laboratory                     04/01/2022          MLMHEL033122                          10,762.93
McShane Welding, Inc.                          04/01/2022          136934                                 1,057.75
Michigan Legislative Consultants, Inc.         04/01/2022          5736                                   6,000.00
Netalytics                                     04/01/2022          2022-2552                               750.00
Orchard Software Corporation                   04/01/2022          2022-19568                             1,251.25
Orchard Software Corporation                   04/01/2022          2021-14529                            16,185.00
Orchard Software Corporation                   04/01/2022          2021-14528                            15,885.00
Orchard Software Corporation                   04/01/2022          2020-12122                            12,720.00
Orchard Software Corporation                   04/01/2022          2022-18927                             6,996.00
Polar Ice                                      04/01/2022          77611                                   170.00
Reliable Delivery                              04/01/2022          229888                                10,441.76
Safe n Simple                                  04/01/2022          84588                                  6,175.00
Signtext Incorporated                          04/01/2022          063457                                   53.00
Stericycle Inc                                 04/01/2022          4010836926                              140.46
Superior Medical Waste Disposal                04/01/2022          11142-3                                 686.00
Superior Medical Waste Disposal                04/01/2022          20085                                   988.50
Superior Medical Waste Disposal                04/01/2022          12143                                  3,438.00
Taylor Door and Window                         04/01/2022          15035                                   210.00
Training Camp                                  04/01/2022          41036                                  3,995.00
Translational Software, Inc.                   04/01/2022          7191                                   1,500.00




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Translational Software, Inc.                 04/01/2022          7168                                   2,656.46
Translational Software, Inc.                 04/01/2022          7097                                   2,700.00
Wells Fargo Financial Leasing, Inc.          04/01/2022          5019582365                              345.83
Wells Fargo Financial Leasing, Inc.          04/01/2022          5019488303                              151.44
Wells Fargo Financial Leasing, Inc.          04/01/2022          5019477598                              557.79
LabPath Consulting                           04/02/2022          1338                                   3,000.00
BioPathogenix                                04/04/2022          1467                                   3,286.00
Fink Bressack PLLC                           04/04/2022          FBHELIX-1007                           1,589.43
Fink Bressack PLLC                           04/04/2022          FBHELIX-1006                            682.75
Fink Bressack PLLC                           04/04/2022          FBHELIX-1005                          10,568.75
Abbott Laboratories                          04/05/2022          830838594                              1,213.00
Mercedes Scientific                          04/05/2022          2576206                                  86.92
Peachstate Health Management                 04/05/2022          MAR-2022                               1,190.00
Peachstate Health Management                 04/05/2022          FEB-2022                               1,360.00
Phenomenex, Inc                              04/05/2022          CIUS-22025569                         13,615.42
Polar Ice                                    04/05/2022          77623                                   170.00
Abbott Laboratories                          04/06/2022          830834493                              2,426.00
Allied Media                                 04/06/2022          17079                                   134.50
James Grossi                                 04/06/2022          04062022                               5,231.73
Labtek, Incorporated                         04/06/2022          12683                                  1,791.40
Seyburn Kahn Attorneys & Counselors          04/06/2022          294719                                 8,150.00
JSW Consulting, LLC                          04/07/2022          1126                                   7,500.00
Lotus Lab Consulting                         04/07/2022          0004                                   5,000.00
MedSchenker, Inc.                            04/07/2022          INV-08333                              1,005.00
Blue Care Network                            04/08/2022          220980037069                          19,674.08
Blue Cross Blue Shield of Michigan           04/08/2022          140022217                             48,473.74
Blue Cross Blue Shield of Michigan           04/08/2022          140021950                             14,769.93
Fisher Healthcare                            04/08/2022          1624549                                2,816.70
Fisher Healthcare                            04/08/2022          1624545                                 754.17
George Jamison                               04/08/2022          04082022                                903.02
I Care MI, LLC                               04/08/2022          INV/2022/0231                          2,470.00
James Grossi                                 04/08/2022          04082022                               3,655.43
MedMatch                                     04/08/2022          11657                                 30,000.00
Polar Ice                                    04/08/2022          77649                                   170.00
UHY, LLP                                     04/08/2022          550415911                             55,000.00
College of American Pathologists             04/11/2022          2613652                                 477.00




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Mercedes Scientific                              04/11/2022          2578061                                 869.20
Microgenics Corporation                          04/11/2022          924289                                 4,011.66
The Alan Group, Inc.                             04/11/2022          1861                                   2,816.00
Wells Fargo Financial Leasing, Inc.              04/11/2022          5019746558                               76.30
IMCS, Inc.                                       04/12/2022          129656                                 4,449.00
Polar Ice                                        04/12/2022          77668                                   170.00
Solaris Diagnostics                              04/12/2022          3591                                    360.00
Athenahealth, Inc.                               04/13/2022          INV-219037                              615.00
College of American Pathologists                 04/13/2022          2614035                                 477.00
Henry Schein                                     04/13/2022          19422937                                640.90
Perspectus Architecture                          04/13/2022          18260                                  2,714.69
Wells Fargo Financial Leasing, Inc.              04/13/2022          5019765074                              593.60
Henry Schein                                     04/14/2022          19486175                                447.55
Henry Schein                                     04/14/2022          19444899                               8,558.46
Henry Schein                                     04/14/2022          17954818                                868.35
James Grossi                                     04/14/2022          04142022                               6,758.42
Advance II                                       04/15/2022          52438                                  2,956.39
Comcast                                          04/15/2022          001000325342                           1,119.90
Henry Schein                                     04/15/2022          19489992                               2,329.73
Henry Schein                                     04/15/2022          19422938                                 82.48
Polar Ice                                        04/15/2022          77686                                   170.00
Henry Schein                                     04/18/2022          19530616                               5,207.08
Kelley Brothers LC                               04/18/2022          I6154                                   750.00
Cerilliant Corporation                           04/19/2022          565316                                 1,677.80
General Treasurer, State of Rhode Island         04/19/2022          04192022                                650.00
Henry Schein                                     04/19/2022          19584777                                 90.46
Polar Ice                                        04/19/2022          77700                                   170.00
Abbott Laboratories                              04/20/2022          830839986                              1,089.68
Abell Pest Control                               04/20/2022          A4135659                                 55.00
Abell Pest Control                               04/20/2022          A4119742                                155.00
Daniel Brian Advertising                         04/20/2022          26992                                 11,444.00
Henry Schein                                     04/20/2022          19648627                                535.04
Microgenics Corporation                          04/20/2022          926103                                 4,234.98
Cerilliant Corporation                           04/21/2022          565422                                  215.00
Allied Media                                     04/22/2022          17231                                   111.18
James Grossi                                     04/22/2022          04222022                               3,127.99




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Mercedes Scientific                                  04/22/2022          2582211                                2,120.00
Mutual of Omaha                                      04/22/2022          001351812437                          13,527.67
Polar Ice                                            04/22/2022          77721                                   170.00
Law Offices of Brian M. Legghio                      04/26/2022          04262022                               7,500.00
Polar Ice                                            04/26/2022          77738                                   170.00
AB Sciex, LLC                                        05/01/2022          210187259                              2,351.00
AB Sciex, LLC                                        05/01/2022          210187153                             12,502.71
Abbott Laboratories                                  05/01/2022          830840350                              1,130.80
Advance II                                           05/01/2022          52520                                  3,273.37
Alpha Cleaners LLC                                   05/01/2022          1172896                                 830.76
Alpha Cleaners LLC                                   05/01/2022          1172892                                1,533.84
Arkstone Medical                                     05/01/2022          22356                                 11,880.00
Axiom Diagnostics                                    05/01/2022          220371                                 2,908.17
Axiom Diagnostics                                    05/01/2022          220359                                  203.48
BioPathogenix                                        05/01/2022          1555                                  15,900.00
Blue Cross Complete of Michigan.                     05/01/2022          01212022-2                             1,030.71
Blue Cross Complete of Michigan.                     05/01/2022          01212022                                359.41
Brown & Brown of Detroit, Inc.                       05/01/2022          8513058                                1,408.00
Bultynck & Co. CPA                                   05/01/2022          222111923                               379.00
Clean Air Testing, Inc                               05/01/2022          115246                                 1,097.82
College of American Pathologists                     05/01/2022          2612317                                 129.28
Cotiviti Inc.                                        05/01/2022          02182022                                131.56
Daniel Brian Advertising                             05/01/2022          26993                                 11,443.00
Davis Wright Tremaine LLP                            05/01/2022          6898596                                9,484.50
Davis Wright Tremaine LLP                            05/01/2022          6890874                                1,680.00
Davis Wright Tremaine LLP                            05/01/2022          6882558                               17,065.00
Davis Wright Tremaine LLP                            05/01/2022          6875855                                6,951.00
Davis Wright Tremaine LLP                            05/01/2022          6869007                                1,560.00
Davis Wright Tremaine LLP                            05/01/2022          6863059                                3,572.50
Davis Wright Tremaine LLP                            05/01/2022          6851904                                2,600.00
Davis Wright Tremaine LLP                            05/01/2022          6844189                                 975.00
Davis Wright Tremaine LLP                            05/01/2022          6820721                                 487.50
Dell Marketing LP c/o Lam, Lyn & Philip P.C.         05/01/2022          10566253379                           10,392.88
Dell Marketing LP c/o Lam, Lyn & Philip P.C.         05/01/2022          10563983902                            8,314.29
Dell Marketing LP c/o Lam, Lyn & Philip P.C.         05/01/2022          10561839070                            1,804.46
Dell Marketing LP c/o Lam, Lyn & Philip P.C.         05/01/2022          10551858527                            5,023.88




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Dell Marketing LP c/o Lam, Lyn & Philip P.C.         05/01/2022          10551296005                            2,036.25
Dell Marketing LP c/o Lam, Lyn & Philip P.C.         05/01/2022          10546312568                            5,023.88
e2o Health Inc.                                      05/01/2022          2419                                   4,800.00
Edge Solutions                                       05/01/2022          491990                                 1,418.55
Evoqua Water Technologies LLC                        05/01/2022          905356073                              1,287.00
Evoqua Water Technologies LLC                        05/01/2022          905349230                               530.00
Fisher Healthcare                                    05/01/2022          9594708                                1,811.56
Fisher Healthcare                                    05/01/2022          0354955                               18,331.78
Fisher Healthcare                                    05/01/2022          1624543                                4,675.89
Fishman Stewart, PLLC                                05/01/2022          898997                                   71.80
GK Holdings, Inc.                                    05/01/2022          00221428                               2,000.00
Henry Schein                                         05/01/2022          19925505                                198.21
Henry Schein                                         05/01/2022          19499023                                195.76
Henry Schein                                         05/01/2022          18838944                              11,259.45
Holly Manssur                                        05/01/2022          36                                     2,500.00
Humana                                               05/01/2022          04202022-2                              246.92
Humana                                               05/01/2022          04202022                                740.76
Humana                                               05/01/2022          04242022                                309.06
HUMANA MILITARY                                      05/01/2022          03012022                                 88.69
HUMANA MILITARY                                      05/01/2022          04162022                                164.52
Key Benefit Administrators                           05/01/2022          04202022                                111.78
Labtek, Incorporated                                 05/01/2022          12719                                   367.72
Labtek, Incorporated                                 05/01/2022          12706                                   735.08
Labtek, Incorporated                                 05/01/2022          12694                                   213.62
Labtek, Incorporated                                 05/01/2022          12735                                   640.74
Life Technologies Corporation                        05/01/2022          79062019A                              9,574.45
Life Technologies Corporation                        05/01/2022          81174471                              12,585.95
Life Technologies Corporation                        05/01/2022          80415991                              44,920.68
Lippitt O'Keefe, PLLC                                05/01/2022          12547                                  3,910.00
Mayo Collaborative Services                          05/01/2022          7041224-043022                        19,754.67
McShane Welding, Inc.                                05/01/2022          136992                                 2,484.29
Medicare Part B                                      05/01/2022          04182022                                175.00
MedMatch                                             05/01/2022          11660                                 18,000.00
Mercedes Scientific                                  05/01/2022          2584562                                2,226.00
Michigan Legislative Consultants, Inc.               05/01/2022          5812                                   6,000.00
Molecular BioProducts, Inc.                          05/01/2022          1300269                                 167.25




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Molina Healthcare Of Kentucky               05/01/2022          04142022                                 80.00
Mutual of Omaha                             05/01/2022          001351812438                            701.56
Netalytics                                  05/01/2022          2022-3408                               750.00
Orchard Software Corporation                05/01/2022          2020-12123                            12,720.00
Orchard Software Corporation                05/01/2022          2021-14530                            16,185.00
Polar Ice                                   05/01/2022          77758                                   170.00
Progressive Counters and Remodeling         05/01/2022          1345A                                  5,745.00
PRS                                         05/01/2022          04182022                                240.00
Reliable Delivery                           05/01/2022          230822                                 7,650.16
Stericycle Inc                              05/01/2022          4010906589                              157.94
StrengthPoint Advisors                      05/01/2022          CA-0440                               13,100.00
Superior Medical Waste Disposal             05/01/2022          11653                                  3,800.00
The Rawlings Company, LLC                   05/01/2022          02082021                                237.50
UnitedHealthcare                            05/01/2022          04282022                                 60.82
UnitedHealthcare                            05/01/2022          02182022                                229.72
UnitedHealthcare                            05/01/2022          12282021                                177.78
UnitedHealthcare                            05/01/2022          02172022                                 99.00
UnitedHealthcare Community Plan             05/01/2022          02102022                                100.00
Wells Fargo Financial Leasing, Inc.         05/01/2022          5019877248                              123.88
Wells Fargo Financial Leasing, Inc.         05/01/2022          5019877247                              557.79
Avairis, Inc.                               05/02/2022          1495                                   9,450.00
Benkoff Health Law, PLLC                    05/02/2022          2667                                   4,066.00
Henry Schein                                05/02/2022          20131789                               2,080.30
James Grossi                                05/02/2022          05022022                               4,673.21
Labtek, Incorporated                        05/02/2022          12842                                   721.84
Life Technologies Corporation               05/02/2022          81235520                               1,348.89
Abbott Laboratories                         05/03/2022          561691                                 2,022.16
Abbott Laboratories                         05/03/2022          561690                                 1,015.51
Abbott Laboratories                         05/03/2022          561684                                18,841.37
LabPath Consulting                          05/03/2022          1346                                   3,000.00
Medica*                                     05/03/2022          05032022                                225.00
Polar Ice                                   05/03/2022          77778                                   170.00
Wells Fargo Financial Leasing, Inc.         05/03/2022          5020000110                              345.83
Beckman Coulter                             05/04/2022          109869282                               440.86
BioPathogenix                               05/04/2022          1574                                     45.58
Blue Cross Blue Shield of Michigan          05/04/2022          141642768                             13,215.20




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Blue Cross Blue Shield of Michigan          05/04/2022          141643032                             56,854.21
Humana                                      05/04/2022          05042022                                 90.83
I Care MI, LLC                              05/04/2022          INV/2022/0262                            99.00
Mercedes Scientific                         05/04/2022          2586632                                1,738.40
UnitedHealthcare                            05/04/2022          05042022                                168.46
VWR International, LLC                      05/04/2022          8808401289                              376.57
Abbott Laboratories                         05/05/2022          830837787                              1,213.00
Allscripts Healthcare, LLC                  05/05/2022          1000169755                              233.70
BioPathogenix                               05/05/2022          1592                                  18,550.00
Henry Schein                                05/05/2022          20316913                                940.82
Henry Schein                                05/05/2022          20260053                                222.24
Life Technologies Corporation               05/05/2022          81257473                                214.12
Lifepoint Informatics                       05/05/2022          1179300                                2,700.00
Microgenics Corporation                     05/05/2022          928815                                 4,006.96
Seyburn Kahn Attorneys & Counselors         05/05/2022          295055                                  750.00
Abbott Laboratories                         05/06/2022          830845603                              2,426.00
Brown & Brown of Detroit, Inc.              05/06/2022          8667514                                8,176.98
Celltreat Scientific                        05/06/2022          2227231                                 258.47
Celltreat Scientific                        05/06/2022          2227231B                                782.34
Cerilliant Corporation                      05/06/2022          566358                                 1,113.50
Cigna                                       05/06/2022          05062022                                 25.00
Henry Schein                                05/06/2022          20320878                              12,068.47
Humana Military*                            05/06/2022          05062022B                                94.47
Humana Military*                            05/06/2022          05062022                                321.70
Labtek, Incorporated                        05/06/2022          12791                                   170.44
Life Technologies Corporation               05/06/2022          81262797                                769.88
Mariners Inn.                               05/06/2022          05062022                                630.20
Polar Ice                                   05/06/2022          77800                                   170.00
Davis Wright Tremaine LLP                   05/09/2022          6904059                               17,285.00
George Jamison                              05/09/2022          05092022                                583.02
Henry Schein                                05/09/2022          20326523                               1,261.29
Labtek, Incorporated                        05/09/2022          12792                                    96.46
Mettler-Toledo Rainin, LLC                  05/09/2022          678819840                              3,373.99
Thomas Scientific                           05/09/2022          2633337                                  39.89
Axiom Diagnostics                           05/10/2022          220397                                 2,499.94
BCC Distribution, Inc.                      05/10/2022          SOI0013942                             6,470.96




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Blue Care Network                                  05/10/2022          221300081118                          25,667.36
Phenomenex, Inc                                    05/10/2022          CIUS-22034812                          5,220.00
Polar Ice                                          05/10/2022          77818                                   170.00
SevenPoints Consulting, Inc.                       05/10/2022          2775                                  32,857.50
Solaris Diagnostics                                05/10/2022          3734                                    240.00
UnitedHealthcare                                   05/10/2022          05102022                                366.57
Comerica Bank - Cost Center 048-95890              05/11/2022          017591.000001-LRS                      3,098.29
Henry Schein                                       05/11/2022          20131790                               3,239.95
Immunalysis Corporation                            05/11/2022          0189155-IN                             1,652.11
Peachstate Health Management                       05/11/2022          Apr-2022                               2,380.00
ASR Health Benefits                                05/12/2022          05122022                                 60.00
Athenahealth, Inc.                                 05/12/2022          INV-229238                              548.00
Microgenics Corporation                            05/12/2022          903199                                 5,328.74
Wells Fargo Financial Leasing, Inc.                05/12/2022          5020165020                              103.83
Abbott Laboratories                                05/13/2022          830846617                              1,130.80
Advance II                                         05/13/2022          52578                                  2,349.65
Life Technologies Corporation                      05/13/2022          77169822                               1,206.66
Polar Ice                                          05/13/2022          77845                                   170.00
The Rawlings Company, LLC                          05/13/2022          05132022                                200.00
Wells Fargo Financial Leasing, Inc.                05/13/2022          5020174872                              593.60
Cotiviti Inc.                                      05/14/2022          05142022B                               100.00
Cotiviti Inc.                                      05/14/2022          05142022                                100.00
PACCAIR                                            05/14/2022          7010                                   2,100.00
CI Web Design, Inc                                 05/15/2022          9436                                    279.00
Comcast                                            05/16/2022          001000367023                           1,119.90
Consult4HealthXP, Inc.                             05/16/2022          1003                                    750.00
Priority Health                                    05/16/2022          05162022                                231.80
Axiom Diagnostics                                  05/17/2022          220417                                  263.74
Bryan D. Marcus, PS Lawyer's Trust Account         05/17/2022          05172022                                340.00
eClinicalWorks, LLC                                05/17/2022          0002393929                             5,300.00
Henry Schein                                       05/17/2022          20518359                                969.99
Labtek, Incorporated                               05/17/2022          12824                                   623.28
Labtek, Incorporated                               05/17/2022          12823                                  6,784.00
Labtek, Incorporated                               05/17/2022          12822                                  1,871.40
Medicare Part B                                    05/17/2022          05172022                                260.88
Polar Ice                                          05/17/2022          77867                                   170.00




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VWR International, LLC                    05/17/2022          8808521674                             2,172.70
VWR International, LLC                    05/17/2022          8808521673                             2,172.70
VWR International, LLC                    05/17/2022          8808521672                             2,719.23
VWR International, LLC                    05/17/2022          8808521671                             2,719.23
BioPathogenix                             05/18/2022          1626                                  37,100.00
eClinicalWorks, LLC                       05/18/2022          0002394019                             5,300.00
Henry Schein                              05/18/2022          20758283                               3,825.79
Labtek, Incorporated                      05/18/2022          12831                                    56.18
Mercedes Scientific                       05/18/2022          2591637                                4,123.40
Mutual of Omaha                           05/18/2022          001365178422                            665.45
Fisher Healthcare                         05/19/2022          2966125                                4,734.87
Fisher Healthcare                         05/19/2022          2966130                                3,427.24
Fisher Healthcare                         05/19/2022          2966129                                4,934.96
Fisher Healthcare                         05/19/2022          2966127                                3,426.82
Fisher Healthcare                         05/19/2022          2966126                                 496.45
Henry Schein                              05/19/2022          20879218                               4,283.43
Henry Schein                              05/19/2022          20830110                               9,527.53
Henry Schein                              05/19/2022          20793753                               1,209.75
USA Scientific                            05/19/2022          4801924284                             1,793.30
VWR International, LLC                    05/19/2022          8808552239                             2,757.49
VWR International, LLC                    05/19/2022          8808552238                              881.79
Abbott Laboratories                       05/20/2022          830848249                              1,089.68
Henry Schein                              05/20/2022          20883383                                279.19
James Grossi                              05/20/2022          05202022                               3,375.31
Polar Ice                                 05/20/2022          77888                                   170.00
USA Scientific                            05/20/2022          4801925205                              907.36
PACCAIR                                   05/21/2022          7011                                   3,500.00
StrengthPoint Advisors                    05/22/2022          CA-0447                               13,900.00
Life Technologies Corporation             05/23/2022          81345075                               4,943.89
UHY, LLP                                  05/23/2022          640431100                             10,085.00
Farnell Equipment Co.                     05/24/2022          14659                                  3,179.00
Immunalysis Corporation                   05/24/2022          0189572-IN                              229.70
Life Technologies Corporation             05/24/2022          81349921                              14,201.39
Microgenics Corporation                   05/24/2022          932055                                 5,339.45
Polar Ice                                 05/24/2022          77916                                   170.00
Succurro's Painting, Inc.                 05/24/2022          11992                                  9,372.00




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Wells Fargo Financial Leasing, Inc.            05/24/2022          5020303184                              557.79
Henry Schein                                   05/25/2022          20835626                               2,261.19
Wells Fargo Financial Leasing, Inc.            05/25/2022          5020313333                              151.44
BioPathogenix                                  05/26/2022          1646                                   3,180.00
Life Technologies Corporation                  05/26/2022          81364319                               1,133.05
Netalytics                                     05/26/2022          2022-4274                               750.00
Scalabull                                      05/26/2022          1093                                   7,000.00
Polar Ice                                      05/27/2022          77938                                   170.00
Progressive Counters and Remodeling            05/27/2022          1345B                                  5,745.00
USA Scientific                                 05/27/2022          4801927821                             3,946.53
Edge Solutions                                 05/28/2022          505804                                 1,486.55
PACCAIR                                        05/28/2022          7027                                   2,100.00
Polar Ice                                      05/31/2022          77954                                   170.00
AB Sciex, LLC                                  06/01/2022          210189102                             12,502.71
Abbott Laboratories                            06/01/2022          564639                                 2,284.11
Abell Pest Control                             06/01/2022          A4149836                                155.00
Abell Pest Control                             06/01/2022          A4166800                                 55.00
Advance II                                     06/01/2022          52644                                   216.68
Agena Bioscience, Inc.                         06/01/2022          INV-545447                             1,245.82
Agena Bioscience, Inc.                         06/01/2022          INV-545444                             1,444.93
ASR Health Benefits                            06/01/2022          04122022                                 60.00
ASR Health Benefits                            06/01/2022          04012022                                206.69
Athenahealth, Inc.                             06/01/2022          INV-194285                              539.00
Avairis, Inc.                                  06/01/2022          1501                                   8,800.00
AVL-Creative                                   06/01/2022          22-0758                                4,929.46
Blue Care Network                              06/01/2022          221580056346                          25,931.67
Blue Cross and Blue Shield of Illinois         06/01/2022          04132022                                208.35
Blue Cross Blue Shield of Michigan             06/01/2022          143411069                             65,503.31
Blue Cross Blue Shield of Michigan             06/01/2022          143408048                             10,805.36
Cerilliant Corporation                         06/01/2022          567540                                 1,340.90
Cole-Parmer                                    06/01/2022          2789559                                 136.74
Comerica Commercial Lending Services           06/01/2022          05272022                               9,613.00
Cotiviti Inc.                                  06/01/2022          03052022B                               214.64
Cotiviti Inc.                                  06/01/2022          03052022                                 75.00
Cotiviti Inc.                                  06/01/2022          05182022                                100.00
Cotiviti Inc.                                  06/01/2022          05202022                                 81.68




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Dell Marketing LP c/o Lam, Lyn & Philip P.C.         06/01/2022          10580118123                             6,028.65
Dropoff Inc.                                         06/01/2022          2623-4937                               3,665.00
Equain, LLC                                          06/01/2022          04042022                                 188.22
Evoqua Water Technologies LLC                        06/01/2022          905394486                               1,287.00
Evoqua Water Technologies LLC                        06/01/2022          905388569                                530.00
Fisher Healthcare                                    06/01/2022          3050317                                 1,072.75
Fishman Stewart, PLLC                                06/01/2022          900772                                  1,525.20
Gena's Timeless Cleaning, LLC                        06/01/2022          002                                     6,000.00
Gena's Timeless Cleaning, LLC                        06/01/2022          001                                     6,000.00
George King Bio-Medical, Inc.                        06/01/2022          101591                                  1,603.70
Henry Schein                                         06/01/2022          19584778                               20,637.54
Henry Schein                                         06/01/2022          20511536                                3,793.64
Holly Manssur                                        06/01/2022          37                                      2,500.00
HUMANA MILITARY                                      06/01/2022          05172022                                 164.25
IMCS, Inc.                                           06/01/2022          130183                                  4,456.00
James Grossi                                         06/01/2022          06012022                                 800.00
Key Benefit Administrators                           06/01/2022          03092022                                  55.34
LabPath Consulting                                   06/01/2022          1355                                    3,000.00
LabSoft, Inc.                                        06/01/2022          452-22156                                950.00
Labtek, Incorporated                                 06/01/2022          12874                                   7,118.40
Labtek, Incorporated                                 06/01/2022          12880                                    366.20
Life Technologies Corporation                        06/01/2022          81378289                                 192.71
Lifepoint Informatics                                06/01/2022          1179434                                  200.00
Lippitt O'Keefe, PLLC                                06/01/2022          12461                                   5,612.50
Mayo Collaborative Services                          06/01/2022          7041224-053122                         28,787.68
Mclaren Medical Laboratory                           06/01/2022          MLMHEL053122                            7,816.74
Mclaren Medical Laboratory                           06/01/2022          MLMHEL043022                           10,068.81
mCubed Staffing, LLC                                 06/01/2022          1440                                   19,800.00
Mercedes Scientific                                  06/01/2022          2593448                                  159.00
Mercedes Scientific                                  06/01/2022          2593254                                 6,582.60
Mercedes Scientific                                  06/01/2022          2593206                                  318.00
Michigan Legislative Consultants, Inc.               06/01/2022          5888                                    6,000.00
Mutual of Omaha                                      06/01/2022          001365178421                           13,486.74
Omega Bio-Tek                                        06/01/2022          34036                                    886.43
Orchard Software Corporation                         06/01/2022          2021-14531                             16,185.00
Orchard Software Corporation                         06/01/2022          2020-12124                             12,720.00




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Reliable Delivery                            06/01/2022          231908                                 6,053.49
SAI Graphics                                 06/01/2022          2593                                    800.00
SAI Graphics                                 06/01/2022          2585                                   1,491.10
SAI Graphics                                 06/01/2022          2584                                   1,270.30
SAI Graphics                                 06/01/2022          2580                                   3,795.00
SAI Graphics                                 06/01/2022          2588                                  15,900.00
SAI Graphics                                 06/01/2022          2591                                    800.00
SAI Graphics                                 06/01/2022          2595                                   1,600.00
SAI Graphics                                 06/01/2022          2594                                    800.00
SAI Graphics                                 06/01/2022          2575                                   7,284.44
SAI Graphics                                 06/01/2022          2574                                    922.00
Signtext Incorporated                        06/01/2022          063456                                 1,136.31
Stericycle Inc                               06/01/2022          4010974116                              182.94
Superior Medical Waste Disposal              06/01/2022          20279                                  3,663.00
Sysmex America, Inc.                         06/01/2022          94234973                                580.13
Sysmex America, Inc.                         06/01/2022          94222178                                206.18
Sysmex America, Inc.                         06/01/2022          94222177                                259.00
Sysmex America, Inc.                         06/01/2022          94183055                                326.91
Sysmex America, Inc.                         06/01/2022          94181626                                389.52
Thomas Scientific                            06/01/2022          2654323                                  42.57
Translational Software, Inc.                 06/01/2022          7383                                   5,959.00
Uline                                        06/01/2022          149482911                               207.69
Uline                                        06/01/2022          149048006                               552.10
Uline                                        06/01/2022          149046984                               622.38
United States Plastic Corporation            06/01/2022          6838822                                  95.64
VWR International, LLC                       06/01/2022          8808662195                             5,268.13
Mercedes Scientific                          06/02/2022          2596629                                3,042.20
Mercedes Scientific                          06/02/2022          2596509                                 296.80
Wells Fargo Financial Leasing, Inc.          06/02/2022          5020418356                              397.49
Arkstone Medical                             06/03/2022          22404                                 12,475.00
Benkoff Health Law, PLLC                     06/03/2022          2721                                   2,280.00
Henry Schein                                 06/03/2022          21363757                               6,205.85
Henry Schein                                 06/03/2022          21348024                                338.49
Peachstate Health Management                 06/03/2022          May-2022                               2,210.00
Polar Ice                                    06/03/2022          77996                                   170.00
Siemens Healthcare Diagnostics               06/03/2022          952749824                              1,190.04




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PACCAIR                                                  06/04/2022          7039                                   2,100.00
Abbott Laboratories                                      06/05/2022          830849155                              1,213.00
Abbott Laboratories                                      06/06/2022          830844269                              2,426.00
Cole-Parmer                                              06/06/2022          3145690                                 206.28
George Jamison                                           06/06/2022          06062022                                481.92
Henry Schein                                             06/06/2022          21458865                              21,962.46
Labtek, Incorporated                                     06/06/2022          12893                                   650.28
A-Fordable Plumbing & Mechanical                         06/07/2022          33778975                               1,435.00
Axiom Diagnostics                                        06/07/2022          220475                                  108.81
BioPathogenix                                            06/07/2022          1672                                  23,850.00
Henry Schein                                             06/07/2022          17948963                                824.44
James Grossi                                             06/07/2022          06072022                               2,362.46
Microbiologics                                           06/07/2022          967978                                  430.65
Polar Ice                                                06/07/2022          78025                                   170.00
James Grossi                                             06/08/2022          06082022                              12,826.21
Microgenics Corporation                                  06/08/2022          934834                                 5,331.44
Nicholas Cogdell                                         06/08/2022          06082022                                214.83
Seyburn Kahn Attorneys & Counselors                      06/08/2022          295544                                 3,637.50
Thomas Scientific                                        06/08/2022          2661506                                 151.14
USA Scientific                                           06/08/2022          4801932584                              136.09
Amro Almradi MDPC PLLC                                   06/09/2022          06092022                               6,000.00
eClinicalWorks, LLC                                      06/09/2022          0002412693                             5,300.00
Fisher Healthcare                                        06/09/2022          3579007                                2,560.85
Henry Schein                                             06/09/2022          21445521                                290.40
MedSpeed, LLC                                            06/09/2022          26241                                  9,349.23
Amazing Charts                                           06/10/2022          00000000053625                         7,500.00
Cardinal Health                                          06/10/2022          7148643801                             1,251.84
Dell Marketing LP c/o Lam, Lyn & Philip P.C.             06/10/2022          10590620533                           11,985.70
Dell Marketing LP c/o Lam, Lyn & Philip P.C.             06/10/2022          10590620525                            2,967.86
Polar Ice                                                06/10/2022          78053                                   170.00
Wells Fargo Financial Leasing, Inc.                      06/10/2022          5020565783                              103.86
PACCAIR                                                  06/11/2022          7049                                   3,500.00
Dropoff Inc.                                             06/12/2022          2323-4943                               660.00
Labtek, Incorporated                                     06/12/2022          12926                                   416.02
Abbott Laboratories                                      06/13/2022          830845187                              1,130.80
Denny's Heating, Cooling & Refrigeration Service Inc.    06/13/2022          S24893                                 1,053.85




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EHR MED BILLING                              06/13/2022          47601                                   7,150.00
Henry Schein                                 06/13/2022          21799779                                 177.06
Henry Schein                                 06/13/2022          21781952                               16,716.44
Henry Schein                                 06/13/2022          21781948                                1,063.98
VWR International, LLC                       06/13/2022          8808771059                              3,304.17
Davis Wright Tremaine LLP                    06/14/2022          6913519                                10,237.00
Henry Schein                                 06/14/2022          21799837                                 728.98
Immunalysis Corporation                      06/14/2022          0190249-IN                               223.58
Polar Ice                                    06/14/2022          78083                                    170.00
Allscripts Healthcare, LLC                   06/15/2022          1000171155                               916.30
Celltreat Scientific                         06/15/2022          2232893                                 3,157.87
Comcast                                      06/15/2022          001000395828                            1,136.70
Gena's Timeless Cleaning, LLC                06/15/2022          003                                     6,000.00
Tek-Pette                                    06/15/2022          TPA4622                                  905.00
Tek-Pette                                    06/15/2022          TPA4621                                   80.00
Tek-Pette                                    06/15/2022          TPA4620                                 1,494.00
Athenahealth, Inc.                           06/16/2022          INV-241294                               650.00
Axiom Diagnostics                            06/16/2022          220498                                   311.69
Fisher Healthcare                            06/16/2022          3799861                                 1,365.26
Henry Schein                                 06/16/2022          21803637                                1,379.70
Henry Schein                                 06/16/2022          21445457                                 193.82
Life Technologies Corporation                06/16/2022          81471282                               30,879.43
Axiom Diagnostics                            06/17/2022          220505                                  1,677.00
Henry Schein                                 06/17/2022          21961477                                2,305.44
James Grossi                                 06/17/2022          06172022                                4,893.22
Polar Ice                                    06/17/2022          78119                                    170.00
Translational Software, Inc.                 06/17/2022          7385                                    3,098.00
Translational Software, Inc.                 06/17/2022          7384                                    2,259.00
Allscripts Healthcare, LLC                   06/18/2022          4004028182                              1,380.10
PACCAIR                                      06/18/2022          7060                                    2,800.00
Palmer Moving Services                       06/18/2022          81633                                  10,224.00
StrengthPoint Advisors                       06/19/2022          CA-0465                                13,500.00
Abbott Laboratories                          06/20/2022          830852861                               1,089.68
Agena Bioscience, Inc.                       06/20/2022          INV-550172                               111.29
BioPathogenix                                06/20/2022          1699                                   34,980.00
Edge Solutions                               06/20/2022          7836                                     114.00




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Labtek, Incorporated                    06/20/2022          12952                                  2,009.20
Labtek, Incorporated                    06/20/2022          12951                                    58.30
Labtek, Incorporated                    06/20/2022          12950                                   267.12
Mutual of Omaha                         06/20/2022          001378520093                            678.37
Thomas Scientific                       06/20/2022          2671376                                  42.38
James Grossi                            06/21/2022          06212022                               3,310.91
Polar Ice                               06/21/2022          78147                                   170.00
McShane Welding, Inc.                   06/22/2022          137824                                 1,837.20
AB Sciex, LLC                           06/23/2022          210190485                              1,093.25
Labtek, Incorporated                    06/23/2022          12971                                  1,459.35
Mercedes Scientific                     06/23/2022          2603663                                1,017.60
Microgenics Corporation                 06/23/2022          937757                                 5,344.38
Polar Ice                               06/24/2022          78185                                   170.00
Alvons Electric, Inc.                   06/25/2022          33                                     1,200.00
Netalytics                              06/26/2022          2022-5143                               750.00
Ellkay, LLC                             06/27/2022          148668                                 4,340.00
Labtek, Incorporated                    06/27/2022          12973                                  5,973.60
Orchard Software Corporation            06/27/2022          2022-21371                             1,272.00
Orchard Software Corporation            06/27/2022          2022-21334                             1,149.75
Edge Solutions                          06/28/2022          519566                                 1,486.33
Polar Ice                               06/28/2022          78221                                   170.00
eMDS Inc.                               06/29/2022          508693                                 6,351.60
Foley & Lardner LLP                     06/29/2022          50430646                               6,095.50
Orchard Software Corporation            06/29/2022          2022-21585                             4,004.00
Orchard Software Corporation            06/29/2022          2022-21584                             5,005.00
George Jamison                          06/30/2022          06302022                                477.24
James Grossi                            06/30/2022          06302022                               3,893.65
John Dreer                              06/30/2022          06302022                               4,800.00
Macomb County Health Dept               06/30/2022          06302022                               2,400.00
Tom Camaj                               06/30/2022          06302022                               3,450.00
AB Sciex, LLC                           07/01/2022          210191127                             12,502.71
Abell Pest Control                      07/01/2022          A4264789                                 55.00
Abell Pest Control                      07/01/2022          A4219898                                155.00
Allied Media                            07/01/2022          17860                                   123.78
Arkstone Medical                        07/01/2022          22448                                 11,050.00
Avairis, Inc.                           07/01/2022          1506                                   5,384.00




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Axiom Diagnostics                        07/01/2022          220547                                  3,044.67
BioPathogenix                            07/01/2022          1715                                   16,960.00
Celltreat Scientific                     07/01/2022          2233759                                 1,167.46
Coronis Health RCM, LLC                  07/01/2022          CHRCM5502                              90,503.73
Coronis Health RCM, LLC                  07/01/2022          CHRCM5178                              92,028.29
Coronis Health RCM, LLC                  07/01/2022          CHRCM4712                              84,526.74
Coronis Health RCM, LLC                  07/01/2022          CHRCM4456                              12,205.03
Evoqua Water Technologies LLC            07/01/2022          905436608                               1,287.00
Fisher Healthcare                        07/01/2022          3533344                                  178.11
Gena's Timeless Cleaning, LLC            07/01/2022          004                                     6,000.00
Healthcare Appraisers                    07/01/2022          349802                                  4,307.50
Henry Schein                             07/01/2022          22559401                                  30.63
Henry Schein                             07/01/2022          22509046                                 155.81
Henry Schein                             07/01/2022          22506879                                8,341.19
Henry Schein                             07/01/2022          22503003                               20,688.45
Henry Schein                             07/01/2022          22502280                                 462.03
Henry Schein                             07/01/2022          22502276                                 430.69
Henry Schein                             07/01/2022          22484507                                 203.28
Henry Schein                             07/01/2022          22484498                                3,067.20
Henry Schein                             07/01/2022          20556902                                 250.03
Hogan Lovells US LLP                     07/01/2022          22200189461                             6,149.15
Holly Manssur                            07/01/2022          38                                      2,500.00
James Grossi                             07/01/2022          07012022                                1,836.41
Kerr, Russell and Weber, PLC             07/01/2022          597349                                  2,104.75
Kerr, Russell and Weber, PLC             07/01/2022          577372                                  2,038.29
LabPath Consulting                       07/01/2022          1360                                    3,000.00
Life Technologies Corporation            07/01/2022          81505525                                 268.82
Life Technologies Corporation            07/01/2022          81424262                                5,980.22
Life Technologies Corporation            07/01/2022          81478456                                 469.16
Lifepoint Informatics                    07/01/2022          1180465                                  500.00
Lifepoint Informatics                    07/01/2022          1179967                                  200.00
Lifepoint Informatics                    07/01/2022          1180429                                  500.00
Lippitt O'Keefe, PLLC                    07/01/2022          12727                                   1,020.00
Lippitt O'Keefe, PLLC                    07/01/2022          12649                                   3,612.50
MCW Partners, LLC                        07/01/2022          61675                                    302.10
MCW Partners, LLC                        07/01/2022          60454                                    302.10




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MCW Partners, LLC                              07/01/2022          51142/50749                             302.10
Medcare MSO                                    07/01/2022          2343                                  17,714.64
MedMatch                                       07/01/2022          11666                                 10,400.00
Michigan Legislative Consultants, Inc.         07/01/2022          5959                                   6,000.00
Mutual of Omaha                                07/01/2022          001378520092                          14,505.97
Orchard Software Corporation                   07/01/2022          2021-14532                            16,185.00
Orchard Software Corporation                   07/01/2022          2020-12125                            12,720.00
PACCAIR                                        07/01/2022          7073                                   3,500.00
Phenomenex, Inc                                07/01/2022          CIUS-22046943                          5,567.40
Phenomenex, Inc                                07/01/2022          CIUS-22046639                          1,609.08
Phenomenex, Inc                                07/01/2022          CIUS-22046437                          3,218.16
Polar Ice                                      07/01/2022          78249                                   170.00
Restek Corporation                             07/01/2022          CD50281136                             2,974.48
Sci Floor Covering, Inc.                       07/01/2022          CG226009                               6,470.00
Solaris Diagnostics                            07/01/2022          3812                                    120.00
Stericycle Inc                                 07/01/2022          4011040908                              167.84
Superior Medical Waste Disposal                07/01/2022          20555                                  3,845.00
Translational Software, Inc.                   07/01/2022          7398                                   5,982.00
USA Scientific                                 07/01/2022          4801940616                             2,633.20
VWR International, LLC                         07/01/2022          8810025449                              259.30
Waterford Township Treasurer                   07/01/2022          07012022                              46,445.00
WebConnection (CC)                             07/01/2022          9810                                   2,500.00
Wells Fargo Financial Leasing, Inc.            07/01/2022          5020805482                              345.83
Wells Fargo Financial Leasing, Inc.            07/01/2022          5020720480                               13.64
Wells Fargo Financial Leasing, Inc.            07/01/2022          5020709888                              557.79
Wells Fargo Financial Leasing, Inc.            07/01/2022          5020590940                              597.20
Benkoff Health Law, PLLC                       07/02/2022          2787                                    608.00
Siemens Healthcare Diagnostics                 07/03/2022          952770380                              1,190.04
PACCAIR                                        07/04/2022          7086                                   7,622.00
Axiom Diagnostics                              07/05/2022          220558                                 1,220.39
Blue Care Network                              07/05/2022          221890087893                          26,564.62
Blue Cross Blue Shield of Michigan             07/05/2022          144788107                              5,339.61
Blue Cross Blue Shield of Michigan             07/05/2022          144788365                             56,219.31
CLIA Laboratory Program                        07/05/2022          07052022B                               180.00
CLIA Laboratory Program                        07/05/2022          07052022                                180.00
Labtek, Incorporated                           07/05/2022          13001                                  1,502.02




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Labtek, Incorporated                        07/05/2022          13000                                  3,816.50
Phenomenex, Inc                             07/05/2022          CIUS-22049182                          8,334.00
Polar Ice                                   07/05/2022          78275                                   170.00
Abbott Laboratories                         07/06/2022          830875252                              1,213.00
Abbott Laboratories                         07/06/2022          830857253                              2,426.00
BioPathogenix                               07/06/2022          1721                                  15,900.00
Cerilliant Corporation                      07/06/2022          569711                                 3,775.60
Empirical Biosciences                       07/06/2022          5238                                  16,503.44
IMCS, Inc.                                  07/06/2022          130751                                 5,889.00
Microgenics Corporation                     07/06/2022          939968                                 5,342.57
Peachstate Health Management                07/06/2022          June2022                               4,760.00
Phenomenex, Inc                             07/06/2022          CIUS-22049444                          4,827.24
Evoqua Water Technologies LLC               07/07/2022          905440517                               568.00
MedSpeed, LLC                               07/08/2022          26411                                 12,514.21
Polar Ice                                   07/08/2022          78324                                   170.00
Seyburn Kahn Attorneys & Counselors         07/08/2022          295841                                  825.00
Labtek, Incorporated                        07/10/2022          13017                                  2,009.20
Labtek, Incorporated                        07/10/2022          13019                                   837.40
BioPathogenix                               07/11/2022          1730                                  10,600.00
Medical Training Solutions                  07/11/2022          29046                                  3,770.00
PACCAIR                                     07/11/2022          7096                                   6,592.00
Allscripts Healthcare, LLC                  07/12/2022          1000172025                             2,865.00
BioPathogenix                               07/12/2022          1733                                   5,300.00
CLIA Laboratory Program                     07/12/2022          07122022                                180.00
Mercedes Scientific                         07/12/2022          2609817                                2,973.30
Phenomenex, Inc                             07/12/2022          CIUS-22050868                          1,609.08
USA Scientific                              07/12/2022          4801946664                             5,132.68
Wells Fargo Financial Leasing, Inc.         07/12/2022          5020978580                              131.42
Abbott Laboratories                         07/13/2022          830852573                              1,130.80
Life Technologies Corporation               07/13/2022          77171759                               1,206.66
Solaris Diagnostics                         07/13/2022          3914                                    360.00
Athenahealth, Inc.                          07/14/2022          INV-251425                              771.00
Kelley Brothers LC                          07/14/2022          I8193                                   710.00
Rusas Printing, Inc.                        07/14/2022          2079                                    190.80
Wells Fargo Financial Leasing, Inc.         07/14/2022          502996759                               712.32
Comcast                                     07/15/2022          001000420639                           1,136.70




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Gena's Timeless Cleaning, LLC               07/15/2022          005                                     6,000.00
James Grossi                                07/15/2022          07152022                                2,190.00
Orchard Software Corporation                07/15/2022          2022-22019                              5,005.00
Polar Ice                                   07/15/2022          78388                                    170.00
StrengthPoint Advisors                      07/17/2022          CA-0479                                13,300.00
Amro Almradi MDPC PLLC                      07/18/2022          07182022                                3,000.00
Dave's Electric Services, Inc.              07/18/2022          16981                                   2,485.00
Microgenics Corporation                     07/18/2022          942165                                  3,684.35
PACCAIR                                     07/18/2022          7111                                    7,040.00
TRIARQ Practice Services                    07/18/2022          79210                                   1,004.88
TRIARQ Practice Services                    07/18/2022          79209                                   9,010.00
6600 Highland, LLC                          07/19/2022          09152022                               40,032.58
Gazam, Inc.                                 07/19/2022          1513                                    3,500.00
Labtek, Incorporated                        07/19/2022          13043                                   4,426.79
Mutual of Omaha                             07/19/2022          001390835080                           15,292.96
Polar Ice                                   07/19/2022          78419                                    170.00
The Medical Real Estate Group               07/19/2022          07152022                               71,742.09
Abbott Laboratories                         07/20/2022          830860049                               1,089.68
Abbott Laboratories                         07/20/2022          615630998                               2,206.19
Allscripts Healthcare, LLC                  07/20/2022          1000172362                               178.00
Henry Schein                                07/20/2022          23288322                                  63.35
Henry Schein                                07/20/2022          23245682                                 162.96
Henry Schein                                07/20/2022          23222321                                 169.98
Lifepoint Informatics                       07/20/2022          1180500                                  500.00
Lifepoint Informatics                       07/20/2022          1180499                                 2,000.00
Henry Schein                                07/21/2022          23302062                                  30.63
Henry Schein                                07/21/2022          23292440                                4,409.07
Lifepoint Informatics                       07/21/2022          1180503                                  500.00
Medline Industries, Inc.                    07/21/2022          2220741291                              2,547.09
Henry Schein                                07/22/2022          23343538                                2,691.52
Polar Ice                                   07/22/2022          78455                                    170.00
Wells Fargo Financial Leasing, Inc.         07/22/2022          5021096087                               557.79
Bizmatics, Inc.                             07/25/2022          BIZ22-134364                            5,500.00
Cerilliant Corporation                      07/25/2022          570954                                   327.40
Life Technologies Corporation               07/25/2022          81661648                                6,592.14
Microgenics Corporation                     07/25/2022          943257                                  5,588.62




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PACCAIR                                     07/25/2022          7127                                    7,810.00
Wells Fargo Financial Leasing, Inc.         07/25/2022          5021124676                                68.76
Labtek, Incorporated                        07/26/2022          13068                                   1,982.20
Mercedes Scientific                         07/26/2022          2615524                                12,921.40
Netalytics                                  07/26/2022          2022-5990                                750.00
Polar Ice                                   07/26/2022          78488                                    170.00
Medline Industries, Inc.                    07/27/2022          07272022                               25,077.19
George Jamison                              07/29/2022          07292022                                 535.02
AB Sciex, LLC                               08/01/2022          210192975                              12,502.71
Abell Pest Control                          08/01/2022          A4300317                                  55.00
Abell Pest Control                          08/01/2022          A4297739                                 155.00
Allied Media                                08/01/2022          17159                                     59.36
Applied Innovation                          08/01/2022          707134-0                                 223.74
Applied Innovation                          08/01/2022          1976204                                  185.00
Applied Innovation                          08/01/2022          707929-0                                 132.25
Arkstone Medical                            08/01/2022          22497                                  10,875.00
Avairis, Inc.                               08/01/2022          1511                                    4,470.00
Benkoff Health Law, PLLC                    08/01/2022          2835                                     152.00
Cerilliant Corporation                      08/01/2022          571374                                  2,260.80
Davis Wright Tremaine LLP                   08/01/2022          6919473                                 3,117.50
Detroit Athletic Club                       08/01/2022          08282022                                 507.00
Detroit Athletic Club                       08/01/2022          07282022                                 448.00
Discount Office Equipment                   08/01/2022          46572                                   3,216.04
Dropoff Inc.                                08/01/2022          2623-4969                               3,114.35
Edge Solutions                              08/01/2022          537521                                  1,538.80
Evoqua Water Technologies LLC               08/01/2022          905474138                               1,508.83
Fisher Healthcare                           08/01/2022          5013282                                 1,604.37
Fisher Healthcare                           08/01/2022          4678663                                 2,419.76
Fisher Healthcare                           08/01/2022          5053565                                  357.69
Fisher Healthcare                           08/01/2022          5053566                                 1,366.26
Fisher Healthcare                           08/01/2022          5013281                                 2,419.76
Fisher Healthcare                           08/01/2022          4678664                                 2,184.58
Fisher Healthcare                           08/01/2022          4550048                                 1,222.55
Gena's Timeless Cleaning, LLC               08/01/2022          006                                     6,000.00
Henry Schein                                08/01/2022          23570869                               21,042.00
Henry Schein                                08/01/2022          23437086                                2,251.43




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Henry Schein                             08/01/2022          23540485                                331.09
Henry Schein                             08/01/2022          23655101                                181.07
Hogan Lovells US LLP                     08/01/2022          22200192865                           49,685.30
Immunalysis Corporation                  08/01/2022          0191875-IN                              440.37
Immunalysis Corporation                  08/01/2022          0191198-IN                             2,194.89
James Grossi                             08/01/2022          08012022                                836.33
Kerr, Russell and Weber, PLC             08/01/2022          598813                                 1,374.75
LabPath Consulting                       08/01/2022          1365                                  33,000.00
Labtek, Incorporated                     08/01/2022          13081                                   305.28
Labtek, Incorporated                     08/01/2022          13080                                  2,009.20
Labtek, Incorporated                     08/01/2022          13061                                   408.60
Life Technologies Corporation            08/01/2022          77173759                               1,206.66
Life Technologies Corporation            08/01/2022          77168024                               1,206.66
Lifepoint Informatics                    08/01/2022          1181032                                 750.00
Lifepoint Informatics                    08/01/2022          1180545                                 200.00
Lifepoint Informatics                    08/01/2022          1180997                                 500.00
Lippitt O'Keefe, PLLC                    08/01/2022          12828                                   356.00
Mayo Collaborative Services              08/01/2022          7041224-063022                         4,431.01
MCW Partners, LLC                        08/01/2022          62185                                    47.70
MCW Partners, LLC                        08/01/2022          61809                                    47.70
Mutual of Omaha                          08/01/2022          001390835081                            682.66
Orchard Software Corporation             08/01/2022          2021-14533                            16,185.00
Orchard Software Corporation             08/01/2022          2022-22280                             1,149.75
Orchard Software Corporation             08/01/2022          2020-12126                            12,720.00
PACCAIR                                  08/01/2022          7138                                   7,810.00
Polar Ice                                08/01/2022          78526                                   170.00
Sigma-Aldrich Inc.                       08/01/2022          557402228                               111.68
Sigma-Aldrich Inc.                       08/01/2022          557395853                              2,308.85
Staples                                  08/01/2022          3513160371                              228.90
Staples                                  08/01/2022          3512894174                               37.09
Staples                                  08/01/2022          3512761987                              228.90
Staples                                  08/01/2022          3512656378                              120.80
Staples                                  08/01/2022          3512418217                               78.07
Staples                                  08/01/2022          3512187147                               52.44
Staples                                  08/01/2022          3512187146                              359.83
Staples                                  08/01/2022          3512187145                               63.59




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Staples                                      08/01/2022          3512019331                               70.48
Staples                                      08/01/2022          3512019328                              314.74
Staples                                      08/01/2022          3510482194                               77.95
Staples                                      08/01/2022          3510408162                              670.33
Staples                                      08/01/2022          3510408161                              114.45
Staples                                      08/01/2022          3510303940                               18.01
Staples                                      08/01/2022          3510185528                              267.05
Staples                                      08/01/2022          3510185525                              157.31
Staples                                      08/01/2022          3510066317                               76.30
Staples                                      08/01/2022          3509043736                              212.93
Staples                                      08/01/2022          3509043735                              213.33
Staples                                      08/01/2022          3509043734                               47.29
Staples                                      08/01/2022          3509043733                              160.93
Stericycle Inc                               08/01/2022          4011109841                              157.94
Superior Medical Waste Disposal              08/01/2022          20897                                  3,363.00
Translational Software, Inc.                 08/01/2022          7478                                   5,844.00
United Courier Service, Inc.                 08/01/2022          00002                                  1,204.00
WebConnection (CC)                           08/01/2022          9835                                   2,500.00
MedSpeed, LLC                                08/02/2022          26518                                 11,077.95
Polar Ice                                    08/02/2022          78567                                   170.00
Wells Fargo Financial Leasing, Inc.          08/02/2022          5021229279                              380.42
Axiom Diagnostics                            08/03/2022          220631                                  113.45
Siemens Healthcare Diagnostics               08/03/2022          952789046                              1,190.04
Blue Cross Blue Shield of Michigan           08/04/2022          146382868                             16,032.61
Blue Cross Blue Shield of Michigan           08/04/2022          146383129                             60,156.93
Fink Bressack PLLC                           08/04/2022          FBHELIX-1011                          17,146.78
Abbott Laboratories                          08/05/2022          830860564                              1,213.00
Mercedes Scientific                          08/05/2022          2619283                                 211.74
Polar Ice                                    08/05/2022          78599                                   170.00
Abbott Laboratories                          08/06/2022          830863146                              2,426.00
Dropoff Inc.                                 08/08/2022          2623-4971                              3,392.37
IMCS, Inc.                                   08/08/2022          131119                                 3,702.00
Lifepoint Informatics                        08/08/2022          1181051                                 500.00
Orchard Software Corporation                 08/08/2022          2022-22470                              985.50
PACCAIR                                      08/08/2022          7151                                   7,810.00
Polar Ice                                    08/08/2022          78630                                   170.00




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Axiom Diagnostics                           08/09/2022          220657                                   181.62
Blue Care Network                           08/09/2022          222210052592                           20,933.75
Staples                                     08/09/2022          3514915442                               780.20
Microgenics Corporation                     08/10/2022          946627                                   198.65
Omega Bio-Tek                               08/10/2022          36008                                    869.37
Staples                                     08/10/2022          3514981191                               152.95
Victoria Tice                               08/10/2022          08102022                                 172.50
James Grossi                                08/11/2022          08112022                                5,000.00
6600 Highland, LLC                          08/12/2022          081202022                              26,688.39
Polar Ice                                   08/12/2022          78665                                    170.00
The Medical Real Estate Group               08/12/2022          08122022                               47,828.06
Wells Fargo Financial Leasing, Inc.         08/12/2022          5021384086                               593.60
Wells Fargo Financial Leasing, Inc.         08/12/2022          5021384085                               103.86
Abbott Laboratories                         08/13/2022          830864460                               1,130.80
Life Technologies Corporation               08/13/2022          77175646                                1,206.66
StrengthPoint Advisors                      08/14/2022          CA-0489                                12,700.00
Athenahealth, Inc.                          08/15/2022          INV-268405                               985.00
Comcast                                     08/15/2022          001000455148                            1,136.95
Davis Wright Tremaine LLP                   08/15/2022          6928420                                 2,150.00
Dropoff Inc.                                08/15/2022          2623-4975                               3,250.49
Gena's Timeless Cleaning, LLC               08/15/2022          007                                     6,000.00
Labtek, Incorporated                        08/15/2022          13129                                   2,385.50
Labtek, Incorporated                        08/15/2022          13128                                   1,106.64
Microgenics Corporation                     08/15/2022          947256                                  3,523.79
PACCAIR                                     08/15/2022          7160                                    7,810.00
Microgenics Corporation                     08/16/2022          947902                                  1,872.73
Polar Ice                                   08/16/2022          78695                                    170.00
Rusas Printing, Inc.                        08/16/2022          2136                                      63.60
eClinicalWorks, LLC                         08/17/2022          0002460048                                16.90
Trajan Scientific Americas Inc.             08/17/2022          10074490                                  86.16
Amazon                                      08/18/2022          08182022                                 344.81
BioPathogenix                               08/19/2022          1376                                   10,600.00
Brehob CORPORATION                          08/19/2022          201286                                  2,169.37
Hogan Lovells US LLP                        08/19/2022          22200195919                            29,242.27
Mercedes Scientific                         08/19/2022          2623354                                 2,236.60
Polar Ice                                   08/19/2022          78734                                    170.00




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Abbott Laboratories                         08/21/2022          830865930                               1,089.68
Dropoff Inc.                                08/21/2022          2623-4977                               3,656.48
Data Innovations, LLC                       08/22/2022          84599                                   1,590.00
LabSoft, Inc.                               08/22/2022          22822-151-5117                           200.00
Microgenics Corporation                     08/22/2022          948774                                  2,830.84
PACCAIR                                     08/22/2022          7172                                    7,810.00
Polar Ice                                   08/23/2022          78770                                    170.00
Practice Fusion                             08/23/2022          5500022040                                38.00
Henry Schein                                08/25/2022          24743651                                1,293.98
Wells Fargo Financial Leasing, Inc.         08/25/2022          5021534866                                68.76
Wells Fargo Financial Leasing, Inc.         08/25/2022          5021524415                               613.57
Henry Schein                                08/26/2022          24743655                                5,646.40
Henry Schein                                08/26/2022          24807823                                9,294.92
Henry Schein                                08/26/2022          24659736                                 358.18
Polar Ice                                   08/26/2022          78798                                    170.00
Staples                                     08/27/2022          3516454613                                70.48
Edge Solutions                              08/28/2022          552504                                  1,546.31
Labtek, Incorporated                        08/29/2022          13171                                   2,274.20
Labtek, Incorporated                        08/29/2022          13170                                    737.76
PACCAIR                                     08/29/2022          7185                                    7,313.00
James Grossi                                08/30/2022          08302022                                3,750.00
Henry Schein                                08/31/2022          24807822                                 760.86
AB Sciex, LLC                               09/01/2022          210195061                              12,503.28
Abbott Laboratories                         09/01/2022          615780272                                552.98
Abell Pest Control                          09/01/2022          A4398116                                  55.00
Abell Pest Control                          09/01/2022          A4374285                                 155.00
Advancing Health Inc.                       09/01/2022          001B                                   15,000.00
Advancing Health Inc.                       09/01/2022          002                                    25,000.00
Advancing Health Inc.                       09/01/2022          003                                    25,000.00
Arkstone Medical                            09/01/2022          22549                                  12,037.50
Avairis, Inc.                               09/01/2022          1516                                    6,870.00
BillionToOne, Inc.                          09/01/2022          8242083122                              8,400.00
Blue Care Network                           09/01/2022          22490046348                            23,214.87
Blue Cross Blue Shield of Michigan          09/01/2022          148117608                              45,223.97
Cerbo, LLC                                  09/01/2022          43149BWC                                2,900.00
Cerilliant Corporation                      09/01/2022          573147                                  1,265.90




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CI Web Design, Inc                             09/01/2022          9714                                     940.00
Dropoff Inc.                                   09/01/2022          2623-4981                               1,397.07
eClinicalWorks, LLC                            09/01/2022          0002462084                              3,710.00
Eric Vasseur                                   09/01/2022          000019                                  2,685.00
Evoqua Water Technologies LLC                  09/01/2022          905516692                               1,508.83
Fisher Healthcare                              09/01/2022          6129612                                10,987.38
FrontRunnerHC Inc                              09/01/2022          20161068                                3,017.11
FrontRunnerHC Inc                              09/01/2022          201609900                                884.52
Gazam, Inc.                                    09/01/2022          1514                                    3,880.00
Gena's Timeless Cleaning, LLC                  09/01/2022          008                                     6,000.00
George Jamison                                 09/01/2022          09012022                                 682.44
Henry Schein                                   09/01/2022          24874118                                4,416.54
Henry Schein                                   09/01/2022          24832905                                7,122.82
Henry Schein                                   09/01/2022          24830394                                 374.46
Henry Schein                                   09/01/2022          24811469                                 322.81
Labtek, Incorporated                           09/01/2022          13148                                    885.60
Labtek, Incorporated                           09/01/2022          12793                                   1,556.08
Labtek, Incorporated                           09/01/2022          13187                                     33.92
Lifepoint Informatics                          09/01/2022          1181581                                  500.00
Lifepoint Informatics                          09/01/2022          1181611                                  500.00
Lifepoint Informatics                          09/01/2022          1181128                                  200.00
Lifepoint Informatics                          09/01/2022          1181124                                  750.00
MCW Partners, LLC                              09/01/2022          62859                                    302.10
MCW Partners, LLC                              09/01/2022          62534                                     47.70
Michigan Legislative Consultants, Inc.         09/01/2022          6114                                    6,000.00
Microgenics Corporation                        09/01/2022          950896                                  1,879.88
Microgenics Corporation                        09/01/2022          950634                                  3,520.97
Molecular BioProducts, Inc.                    09/01/2022          1250370                                  271.93
Mutual of Omaha                                09/01/2022          001405483479                             606.77
Mutual of Omaha                                09/01/2022          001405483478                           12,937.99
Netalytics                                     09/01/2022          2022-6908                                750.00
Orchard Software Corporation                   09/01/2022          2021-14534                              7,685.00
Orchard Software Corporation                   09/01/2022          2020-12127                             12,720.00
Peachstate Health Management                   09/01/2022          July-2022                               3,740.00
Polar Ice                                      09/01/2022          78828                                    170.00
Restek Corporation                             09/01/2022          CD50260677                              1,756.75




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Solaris Diagnostics                           09/01/2022          4254                                   1,120.00
Sony Varghese (ACH)                           09/01/2022          09012022                               2,160.00
Stericycle Inc                                09/01/2022          4011177962                              182.94
Translational Software, Inc.                  09/01/2022          7556                                   6,672.00
LabPath Consulting                            09/02/2022          1371                                   3,000.00
Polar Ice                                     09/02/2022          78866                                   170.00
Wells Fargo Financial Leasing, Inc.           09/02/2022          5021643708                              569.69
Siemens Healthcare Diagnostics                09/03/2022          952809515                              1,190.04
Dropoff Inc.                                  09/04/2022          2623-4982                              1,830.00
PACCAIR                                       09/05/2022          7196                                   5,460.00
Abbott Laboratories                           09/06/2022          830869503                              2,425.00
Abbott Laboratories                           09/06/2022          830869502                              1,213.00
DoctorsManagement, LLC                        09/06/2022          93393                                  5,000.00
Polar Ice                                     09/06/2022          78888                                   170.00
IMCS, Inc.                                    09/07/2022          131509                                 3,702.00
Lifepoint Informatics                         09/07/2022          1181631                                9,190.00
Abbott Laboratories                           09/08/2022          615836035                              1,170.19
Comerica Bank - Cost Center 048-95890         09/08/2022          09082022                               1,486.00
Fink Bressack PLLC                            09/08/2022          FBHELIX-1012                           4,568.75
Immunalysis Corporation                       09/08/2022          0193460-IN                             8,211.77
Lifepoint Informatics                         09/08/2022          1181640                                 500.00
Lifepoint Informatics                         09/09/2022          1181646                                2,000.00
Lifepoint Informatics                         09/09/2022          1181645                                 500.00
Polar Ice                                     09/09/2022          78916                                   170.00
Staples                                       09/09/2022          3517548674                              101.71
Wells Fargo Financial Leasing, Inc.           09/09/2022          5021796042                              125.17
StrengthPoint Advisors                        09/11/2022          CA-0505                               12,700.00
Raves Cooler Doors                            09/12/2022          4710                                    319.63
Abbott Laboratories                           09/13/2022          830870911                              1,130.80
BioPathogenix                                 09/13/2022          1785                                  10,600.00
Fisher Healthcare                             09/13/2022          2256-3299-06                           9,418.37
Henry Schein                                  09/13/2022          25469974                               1,656.18
Henry Schein                                  09/13/2022          25432159                                338.39
Henry Schein                                  09/13/2022          25432126                               1,233.24
Henry Schein                                  09/13/2022          25432118                                825.23
Life Technologies Corporation                 09/13/2022          77177407                               1,206.66




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Life Technologies Corporation               09/13/2022          81925750                                7,353.75
Lifepoint Informatics                       09/13/2022          1181659                                  500.00
Lifepoint Informatics                       09/13/2022          1181658                                  500.00
Lifepoint Informatics                       09/13/2022          1181652                                  500.00
Linda Calvin                                09/13/2022          09132022                                 329.00
Microgenics Corporation                     09/13/2022          953359                                  5,320.15
Polar Ice                                   09/13/2022          78940                                    170.00
Wells Fargo Financial Leasing, Inc.         09/13/2022          5021833515                               910.47
Allscripts Healthcare, LLC                  09/14/2022          1000174308                               230.00
Athenahealth, Inc.                          09/14/2022          INV-278515                              1,298.00
Henry Schein                                09/14/2022          25479942                                8,268.65
Henry Schein                                09/14/2022          25474162                                 215.24
Immunalysis Corporation                     09/14/2022          0193706-IN                              7,495.68
Lifepoint Informatics                       09/14/2022          1181660                                  500.00
6600 Highland, LLC                          09/15/2022          09150022                               13,344.20
Comcast                                     09/15/2022          001000485658                             388.15
Gena's Timeless Cleaning, LLC               09/15/2022          009                                     6,000.00
Henry Schein                                09/15/2022          25526479                                1,771.50
Labtek, Incorporated                        09/15/2022          13244                                    263.94
Labtek, Incorporated                        09/15/2022          13242                                    922.20
Labtek, Incorporated                        09/15/2022          13243                                   1,610.64
Staples                                     09/15/2022          3517953628                               154.82
Staples                                     09/15/2022          3517953626                               140.81
The Medical Real Estate Group               09/15/2022          09162022                               23,914.03
BioPathogenix                               09/16/2022          1793                                    9,275.00
Fisher Healthcare                           09/16/2022          6471210                                 4,317.02
Fisher Healthcare                           09/16/2022          6471211                                  460.71
Henry Schein                                09/16/2022          25432127                                 650.03
Polar Ice                                   09/16/2022          78964                                    170.00
Abell Pest Control                          09/19/2022          A4475366                                 155.00
Abell Pest Control                          09/19/2022          A4473505                                  55.00
Henry Schein                                09/19/2022          25627869                                  57.53
Immunalysis Corporation                     09/19/2022          0193804-IN                               651.63
Mutual of Omaha                             09/19/2022          001418651961                             625.29
Mutual of Omaha                             09/19/2022          001418651960                           14,466.02
Tek-Pette                                   09/19/2022          TPA4736                                 1,495.00




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Tryco Inc.                                  09/19/2022          217445                                   408.36
Abbott Laboratories                         09/20/2022          830672338                               1,089.68
Fisher Healthcare                           09/20/2022          6552322                                 7,169.46
George Jamison                              09/20/2022          09202022                                 141.78
Immunalysis Corporation                     09/20/2022          0193884-IN                              1,892.15
Polar Ice                                   09/20/2022          78988                                    170.00
Agena Bioscience, Inc.                      09/21/2022          INV-569339                              4,727.61
Fisher Healthcare                           09/21/2022          6596484                                 1,466.64
Henry Schein                                09/21/2022          25829100                                 371.05
Henry Schein                                09/21/2022          25820321                                 840.54
Immunalysis Corporation                     09/21/2022          0193945-IN                              4,389.35
LabSoft, Inc.                               09/21/2022          2292-1038-5307                           200.00
BioPathogenix                               09/22/2022          1807                                    9,540.00
CareTracker Inc.                            09/22/2022          00000000064776                          6,818.91
Henry Schein                                09/22/2022          25781069                                 201.77
Henry Schein                                09/22/2022          25833553                                 241.58
Henry Schein                                09/22/2022          25842506                               20,148.15
Immunalysis Corporation                     09/22/2022          0193984-IN                              3,763.64
Labtek, Incorporated                        09/22/2022          13267                                    159.00
Labtek, Incorporated                        09/22/2022          13266                                    527.88
Labtek, Incorporated                        09/22/2022          13265                                   1,346.70
Lawrence Manghese                           09/22/2022          09222022                                  35.32
Practice Fusion                             09/22/2022          5500022496                               300.00
Sony Varghese (ACH)                         09/22/2022          09222022                                1,665.00
Fisher Healthcare                           09/23/2022          6676967                                 6,339.08
George Jamison                              09/23/2022          09232022                                  92.70
Henry Schein                                09/23/2022          25891110                                3,935.30
Lifepoint Informatics                       09/23/2022          1181697                                 2,000.00
Polar Ice                                   09/23/2022          79011                                    170.00
Wells Fargo Financial Leasing, Inc.         09/23/2022          5021957268                               114.05
Wells Fargo Financial Leasing, Inc.         09/23/2022          5021957267                               847.51
Cerilliant Corporation                      09/26/2022          574882                                  1,821.60
George Stewart Photography                  09/26/2022          509                                      250.00
Microgenics Corporation                     09/26/2022          955827                                  3,527.03
Netalytics                                  09/26/2022          2022-7996                                750.00
BioPathogenix                               09/27/2022          1819                                   10,600.00




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Fisher Healthcare                            09/27/2022          2270-3571-22                            4,317.65
Henry Schein                                 09/27/2022          26021115                                1,189.87
Immunalysis Corporation                      09/27/2022          0194172-IN                              9,287.55
Immunalysis Corporation                      09/27/2022          0194171-IN                               658.59
Polar Ice                                    09/27/2022          79034                                    170.00
Edge Solutions                               09/28/2022          566676                                  1,551.52
Immunalysis Corporation                      09/28/2022          0194231-IN                               134.19
Immunalysis Corporation                      09/28/2022          0194228-IN                                54.01
Brad Cieslak                                 09/29/2022          09292022                                7,000.00
Mark Beauchamp                               09/29/2022          09292022                                7,000.00
Labtek, Incorporated                         09/30/2022          13298                                   1,874.58
Staples                                      09/30/2022          3519265304                               737.63
6600 Highland, LLC                           10/01/2022          10012022                               26,688.39
Advancing Health Inc.                        10/01/2022          004                                    25,000.00
Amro Almradi MDPC PLLC                       10/01/2022          09272022                                9,000.00
Arkstone Medical                             10/01/2022          22603                                  14,152.50
Auburn Hills Medical Properties, LLC         10/01/2022          10012022                                 991.00
Avairis, Inc.                                10/01/2022          1521                                    3,700.00
Beckman Coulter                              10/01/2022          110157385                               2,010.26
Beckman Coulter                              10/01/2022          4467680                                 4,916.63
BioPathogenix                                10/01/2022          1829                                   10,600.00
Blue Care Network                            10/01/2022          222800067391                           17,188.14
Blue Cross Blue Shield of Michigan           10/01/2022          149522675                              20,130.62
Blue Cross Blue Shield of Michigan           10/01/2022          149522949                              64,815.09
Catherine J. Davis                           10/01/2022          09162022                                1,175.00
Catherine J. Davis                           10/01/2022          09272022                                 487.50
CT Corporation                               10/01/2022          24456075-RI                              557.00
DoctorsManagement, LLC                       10/01/2022          93393A                                  2,070.00
Dropoff Inc.                                 10/01/2022          2623-4992                               4,046.38
Dropoff Inc.                                 10/01/2022          2623-4989                               3,646.69
Dropoff Inc.                                 10/01/2022          2623-4985                               2,832.75
Dropoff Inc.                                 10/01/2022          2623-4980                               3,385.86
eClinicalWorks, LLC                          10/01/2022          0002462089                              5,300.00
eClinicalWorks, LLC                          10/01/2022          0002483811                               288.00
EMedicalNotes                                10/01/2022          07112022                                2,500.00
Evoqua Water Technologies LLC                10/01/2022          905559314                               1,508.83




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Fisher Healthcare                                       10/01/2022          6850349                                  4,571.29
Fisher Healthcare                                       10/01/2022          6850348                                  4,385.10
Foley & Lardner LLP                                     10/01/2022          50482651                                 3,520.00
FrontRunnerHC Inc                                       10/01/2022          20161687                                 2,648.09
Gemini Lab Group                                        10/01/2022          10012022                               200,000.00
Gemini Lab Group                                        10/01/2022          09012022                                42,800.00
Gemini Lab Group                                        10/01/2022          07012022                               175,000.00
Gemini Lab Group                                        10/01/2022          06012022                                48,750.00
Gena's Timeless Cleaning, LLC                           10/01/2022          010                                      6,000.00
Hogan Lovells US LLP                                    10/01/2022          22200198674                             38,872.19
Holly Manssur                                           10/01/2022          39                                        864.00
LabPath Consulting                                      10/01/2022          1378                                     3,000.00
LabSoft, Inc.                                           10/01/2022          452-22311                                 950.00
Labtek, Incorporated                                    10/01/2022          13343                                    1,874.58
Labtek, Incorporated                                    10/01/2022          13344                                     228.96
Labtek, Incorporated                                    10/01/2022          13345                                       99.64
Liam Dillon                                             10/01/2022          09142022                                    90.00
Lifepoint Informatics                                   10/01/2022          1182216                                   125.00
Lifepoint Informatics                                   10/01/2022          1181726                                   750.00
Lifepoint Informatics                                   10/01/2022          1181722                                   200.00
Lippitt O'Keefe, PLLC                                   10/01/2022          13011                                    1,667.50
Lippitt O'Keefe, PLLC                                   10/01/2022          12915                                     489.64
Marosa School of Phelbotomy & Healthcare Trades, Inc.   10/01/2022          09132022                                 4,800.00
MCW Partners, LLC                                       10/01/2022          62996                                       47.70
Medcare MSO                                             10/01/2022          2544                                   161,891.46
Medline Industries, Inc.                                10/01/2022          10312022                                 3,975.83
Medline Industries, Inc.                                10/01/2022          09302022                                37,956.64
Medline Industries, Inc.                                10/01/2022          08302022                                 2,667.52
Medline Industries, Inc.                                10/01/2022          08312022                                29,172.85
Medline Industries, Inc.                                10/01/2022          07312022                                38,238.35
Medline Industries, Inc.                                10/01/2022          2022Interest                             5,291.91
MedSpeed, LLC                                           10/01/2022          26858                                   24,195.70
Microbiologics                                          10/01/2022          963620                                    484.19
Mutual of Omaha                                         10/01/2022          001433177334                              586.10
Mutual of Omaha                                         10/01/2022          001433177333                            14,369.10
Polar Ice                                               10/01/2022          79050                                     170.00




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Restek Corporation                           10/01/2022          CD50303319                              1,810.65
Sony Varghese (ACH)                          10/01/2022          10012022                                1,755.00
Staples                                      10/01/2022          3519578144                                 72.07
Stericycle Inc                               10/01/2022          4011247277                               167.84
Superior Medical Waste Disposal              10/01/2022          21416                                   5,387.00
Superior Medical Waste Disposal              10/01/2022          21494                                   5,478.00
Sysmex America, Inc.                         10/01/2022          94410905                                 205.86
Sysmex America, Inc.                         10/01/2022          94410904                                 860.65
Sysmex America, Inc.                         10/01/2022          94406373                                 580.13
Sysmex America, Inc.                         10/01/2022          94393975                                 317.89
Sysmex America, Inc.                         10/01/2022          94379908                                1,835.53
Sysmex America, Inc.                         10/01/2022          94360331                                 580.13
Sysmex America, Inc.                         10/01/2022          94360215                                 325.09
Sysmex America, Inc.                         10/01/2022          94358732                                 205.86
Sysmex America, Inc.                         10/01/2022          94335798                                1,835.53
Sysmex America, Inc.                         10/01/2022          94330240                                 645.59
Sysmex America, Inc.                         10/01/2022          94328589                                 205.86
Sysmex America, Inc.                         10/01/2022          94319481                                 580.13
Sysmex America, Inc.                         10/01/2022          94312694                                 833.89
Sysmex America, Inc.                         10/01/2022          94310006                                 206.47
Sysmex America, Inc.                         10/01/2022          94296315                                1,835.53
Sysmex America, Inc.                         10/01/2022          94276046                                 580.13
Sysmex America, Inc.                         10/01/2022          94259104                                 205.99
Sysmex America, Inc.                         10/01/2022          94259103                                 210.59
The Medical Real Estate Group                10/01/2022          10012022                               47,828.06
The Sports Marketing Agency, INC             10/01/2022          10012022                              132,000.00
The Sports Marketing Agency, INC             10/01/2022          09012022                               89,589.00
The Sports Marketing Agency, INC             10/01/2022          08012022                              102,719.00
The Sports Marketing Agency, INC             10/01/2022          11012022                               74,000.00
Translational Software, Inc.                 10/01/2022          7385B                                      70.24
Translational Software, Inc.                 10/01/2022          7383B                                    149.61
Translational Software, Inc.                 10/01/2022          7384B                                      37.66
Translational Software, Inc.                 10/01/2022          7636                                    7,109.00
Tryco Inc.                                   10/01/2022          217896                                   421.08
Tseghai Berhe MD                             10/01/2022          10012022                                5,821.50
UHY, LLP                                     10/01/2022          640436594                               1,730.00




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Wells Fargo Financial Leasing, Inc.         10/01/2022          5022044608                              345.83
Benkoff Health Law, PLLC                    10/02/2022          2948                                    152.00
BioPathogenix                               10/03/2022          1831                                  10,600.00
eClinicalWorks, LLC                         10/03/2022          0002499340                             5,300.00
Immunalysis Corporation                     10/03/2022          0194339-IN                             4,125.81
Microgenics Corporation                     10/03/2022          957327                                 1,879.88
Omega Bio-Tek                               10/03/2022          37701                                   799.73
Siemens Healthcare Diagnostics              10/03/2022          952829796                              1,190.04
BioPathogenix                               10/04/2022          1834                                  19,080.00
Fink Bressack PLLC                          10/04/2022          FBHELIX-1013                           4,743.75
Fisher Healthcare                           10/04/2022          7092667A                               4,397.36
IMCS, Inc.                                  10/04/2022          131846                                 3,721.98
Polar Ice                                   10/04/2022          79073                                   170.00
Robert Read                                 10/04/2022          10042022                                904.00
AB Sciex, LLC                               10/05/2022          210197443                             12,502.71
Abbott Laboratories                         10/05/2022          830875239                              1,213.00
A-Fordable Plumbing & Mechanical            10/05/2022          37587360                               1,085.00
Cerilliant Corporation                      10/05/2022          575509                                 1,653.70
Jennifer Lambert                            10/05/2022          10052022                                136.00
Jessica Hickey                              10/05/2022          10052022                                297.00
Staples                                     10/05/2022          3519867695                              256.21
Staples                                     10/05/2022          3519867698                              117.54
Staples                                     10/05/2022          3519867697                              169.53
Staples                                     10/05/2022          3519867696                               61.47
Staples                                     10/05/2022          3519867694                              491.76
Staples                                     10/05/2022          3519867693                               23.84
AB Sciex, LLC                               10/06/2022          210197551                              3,129.10
Henry Schein                                10/06/2022          26461595                                202.80
Henry Schein                                10/06/2022          26443113                               1,348.96
Immunalysis Corporation                     10/06/2022          0194545-IN                              159.00
Labtek, Incorporated                        10/06/2022          13315                                   339.70
Labtek, Incorporated                        10/06/2022          13317                                  1,847.58
Labtek, Incorporated                        10/06/2022          13318                                   313.76
Labtek, Incorporated                        10/06/2022          13316                                   922.20
Staples                                     10/06/2022          3519937353                               28.08
Empirical Biosciences                       10/07/2022          5483                                  16,503.45




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Fisher Healthcare                                       10/07/2022          7092667B                                 172.93
Henry Schein                                            10/07/2022          26395348                                1,026.97
Polar Ice                                               10/07/2022          79096                                    170.00
Henry Schein                                            10/10/2022          26560810                                5,921.80
Henry Schein                                            10/10/2022          26582761                                 425.54
Henry Schein                                            10/10/2022          26512335                               21,771.36
Immunalysis Corporation                                 10/10/2022          0194673-IN                              9,773.74
Henry Schein                                            10/11/2022          26582763                                  56.49
Polar Ice                                               10/11/2022          79113                                    170.00
Fisher Healthcare                                       10/12/2022          7336775A                                4,397.36
Henry Schein                                            10/12/2022          26805578                                 746.81
Wells Fargo Financial Leasing, Inc.                     10/12/2022          5022230900                               131.42
Abbott Laboratories                                     10/13/2022          830852764                               1,130.80
BioPathogenix                                           10/13/2022          1850                                   15,635.00
BioPathogenix                                           10/13/2022          1854                                     265.00
Henry Schein                                            10/13/2022          26916255                               13,244.88
Henry Schein                                            10/13/2022          26879861                                 370.10
Life Technologies Corporation                           10/13/2022          82113679                               10,515.20
Life Technologies Corporation                           10/13/2022          77179692                                1,206.66
Abell Pest Control                                      10/14/2022          A4497387                                 155.00
Abell Pest Control                                      10/14/2022          A4509080                                  55.00
Athenahealth, Inc.                                      10/14/2022          INV-291567                              1,095.00
Henry Schein                                            10/14/2022          26919300                               15,857.35
Henry Schein                                            10/14/2022          26925658                                 160.31
Henry Schein                                            10/14/2022          26953533                                2,057.67
Polar Ice                                               10/14/2022          79133                                    170.00
Wells Fargo Financial Leasing, Inc.                     10/14/2022          5022250586                               712.32
Credential Check Corporation                            10/15/2022          288451                                   208.00
Gena's Timeless Cleaning, LLC                           10/15/2022          011                                     6,000.00
StrengthPoint Advisors                                  10/15/2022          CA-0519                                13,100.00
BioPathogenix                                           10/17/2022          1858                                    3,180.00
Carolina Coastal Paper & Janitorial Supply, LLC         10/17/2022          28525                                    745.39
Comcast                                                 10/17/2022          001000518169                             651.95
Fisher Healthcare                                       10/17/2022          7336775B                                  92.16
Fisher Healthcare                                       10/17/2022          7463201A                                 703.26
Fisher Healthcare                                       10/17/2022          7463200A                                4,477.92




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Fisher Healthcare                           10/17/2022          7379051                                4,397.36
Henry Schein                                10/17/2022          26965160                                241.58
Henry Schein                                10/17/2022          26021116                                100.69
Immunalysis Corporation                     10/17/2022          0194910-IN                             6,543.40
Microgenics Corporation                     10/17/2022          959714                                 3,580.34
Microgenics Corporation                     10/17/2022          959713                                 1,879.88
Agena Bioscience, Inc.                      10/18/2022          INV-573955                            23,579.56
Agena Bioscience, Inc.                      10/18/2022          INV-573954                              458.98
Fisher Healthcare                           10/18/2022          7379051B                                172.93
Henry Schein                                10/18/2022          27069831                               1,148.84
Henry Schein                                10/18/2022          27030571                                199.22
Immunalysis Corporation                     10/18/2022          0194988-IN                              222.60
Polar Ice                                   10/18/2022          79148                                   170.00
Fisher Healthcare                           10/19/2022          9072839A                                142.65
Insync Healthcare Solutions                 10/19/2022          260318                                 3,500.00
Omega Bio-Tek                               10/19/2022          37832                                   799.88
Abbott Laboratories                         10/20/2022          830877612                              1,089.68
Abbott Laboratories                         10/20/2022          616006023                              2,206.19
BioPathogenix                               10/20/2022          1874                                  10,600.00
Fisher Healthcare                           10/20/2022          7463201B                                 43.77
Fisher Healthcare                           10/20/2022          7463200B                                118.43
Labtek, Incorporated                        10/20/2022          13373                                  1,874.58
Labtek, Incorporated                        10/20/2022          13374                                   402.80
Labtek, Incorporated                        10/20/2022          13375                                   156.88
Labtek, Incorporated                        10/20/2022          13376                                   836.34
Practice Fusion                             10/20/2022          5500023177                              798.00
eClinicalWorks, LLC                         10/21/2022          0002481484                               16.90
Fisher Healthcare                           10/21/2022          7503336                                 919.82
Polar Ice                                   10/21/2022          79170                                   170.00
BioPathogenix                               10/24/2022          1388                                  19,080.00
Fisher Healthcare                           10/24/2022          7666322A                               4,316.59
Immunalysis Corporation                     10/24/2022          0195191-IN                             7,469.59
Immunalysis Corporation                     10/24/2022          0195162-IN                               58.44
eClinicalWorks, LLC                         10/25/2022          0002506132                             5,300.00
Evoqua Water Technologies LLC               10/25/2022          905582762                               642.20
Polar Ice                                   10/25/2022          79185                                   170.00




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Catherine J. Davis                                      10/26/2022          10262022                                 105.00
Edge Solutions                                          10/26/2022          10262022                                  25.00
Fisher Healthcare                                       10/26/2022          7708947A                                1,391.62
Immunalysis Corporation                                 10/26/2022          0195283-IN                              6,244.28
Immunalysis Corporation                                 10/26/2022          0195272-IN                               183.39
Microgenics Corporation                                 10/26/2022          961743                                  1,450.80
Netalytics                                              10/26/2022          2022-8729                                750.00
Wells Fargo Financial Leasing, Inc.                     10/26/2022          5022381834                                96.32
Fisher Healthcare                                       10/27/2022          7790824A                                4,975.17
Fisher Healthcare                                       10/27/2022          7666322B                                 172.93
Immunalysis Corporation                                 10/27/2022          0195332-IN                                84.80
Fisher Healthcare                                       10/28/2022          7708947B                                 108.44
Labtek, Incorporated                                    10/28/2022          13404                                    184.44
Labtek, Incorporated                                    10/28/2022          13405                                   1,874.58
Polar Ice                                               10/28/2022          79198                                    170.00
AB Sciex, LLC                                           11/01/2022          210199221                               3,129.10
Agena Bioscience, Inc.                                  11/01/2022          INV-581101                             25,105.04
Amro Almradi MDPC PLLC                                  11/01/2022          10262022                                3,000.00
Arkstone Medical                                        11/01/2022          22659                                  13,702.50
Avairis, Inc.                                           11/01/2022          1526                                    3,150.00
Beckman Coulter                                         11/01/2022          31327390                                2,233.49
BioPathogenix                                           11/01/2022          2004                                   13,780.00
Blue Care Network                                       11/01/2022          223120046829                           18,512.87
Carolina Coastal Paper & Janitorial Supply, LLC         11/01/2022          28623                                   1,043.55
Credential Check Corporation                            11/01/2022          288949                                   260.00
Detroit Athletic Club                                   11/01/2022          11012022                                 473.00
Edge Solutions                                          11/01/2022          580752                                  1,515.06
Evoqua Water Technologies LLC                           11/01/2022          905597573                               1,508.83
Evoqua Water Technologies LLC                           11/01/2022          905544636                                812.00
Fisher Healthcare                                       11/01/2022          7790824B                                 172.68
FrontRunnerHC Inc                                       11/01/2022          20161962                                1,900.00
Gena's Timeless Cleaning, LLC                           11/01/2022          012                                     6,000.00
Henry Schein                                            11/01/2022          27487987                                1,831.28
Henry Schein                                            11/01/2022          27433151                                 275.18
Henry Schein                                            11/01/2022          27585965                                 976.82
Henry Schein                                            11/01/2022          27415790                                9,027.94




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Hogan Lovells US LLP                         11/01/2022          22200203113                            45,244.72
Immunalysis Corporation                      11/01/2022          0195417-IN                              8,027.52
LabPath Consulting                           11/01/2022          1386                                    3,000.00
LabSoft, Inc.                                11/01/2022          452-22342                                950.00
Lifepoint Informatics                        11/01/2022          1182820                                  125.00
Lifepoint Informatics                        11/01/2022          1182818                                  125.00
Lifepoint Informatics                        11/01/2022          1182805                                  125.00
Lifepoint Informatics                        11/01/2022          1182798                                  125.00
Lifepoint Informatics                        11/01/2022          1182312                                  875.00
Lifepoint Informatics                        11/01/2022          1182307                                  200.00
MCW Partners, LLC                            11/01/2022          63383                                      47.70
Microgenics Corporation                      11/01/2022          962786                                  1,870.59
Microgenics Corporation                      11/01/2022          962494                                  2,828.54
Mutual of Omaha                              11/01/2022          001447028308                           10,415.63
Mutual of Omaha                              11/01/2022          001447028307                             586.64
Orchard Software Corporation                 11/01/2022          2022-24199                              9,010.00
Orchard Software Corporation                 11/01/2022          2021-14536                             13,620.00
Orchard Software Corporation                 11/01/2022          2020-12129                             12,720.00
Polar Ice                                    11/01/2022          79214                                    170.00
SAR Consulting Services, LLC                 11/01/2022          11012022                                5,000.00
Solaris Diagnostics                          11/01/2022          4315                                     360.00
Sony Varghese (ACH)                          11/01/2022          11012022                                2,520.00
Stericycle Inc                               11/01/2022          4011316073                               157.94
Superior Medical Waste Disposal              11/01/2022          21804                                   4,851.00
Taylor Door and Window                       11/01/2022          15117                                    870.00
Taylor Door and Window                       11/01/2022          14946                                   1,856.50
The Sports Marketing Agency, INC             11/01/2022          11012022                              150,000.00
Translational Software, Inc.                 11/01/2022          7708                                    6,741.00
Fisher Healthcare                            11/02/2022          7958809A                                3,079.09
Henry Schein                                 11/02/2022          27794837                                 455.85
Henry Schein                                 11/02/2022          27838460                                4,395.49
Immunalysis Corporation                      11/02/2022          0195569-IN                               116.34
Landaal Packaging Systems                    11/02/2022          210481                                  1,508.72
Microbix Biosystems Inc.                     11/02/2022          00033467                                 322.00
Solaris Diagnostics                          11/02/2022          4670                                     120.00
Staples                                      11/02/2022          3522311328                               107.04




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Wells Fargo Financial Leasing, Inc.         11/02/2022          5022489856                              415.01
BioPathogenix                               11/03/2022          1484                                   3,180.00
Evoqua Water Technologies LLC               11/03/2022          905599398                               532.00
Henry Schein                                11/03/2022          27585968                                664.09
Henry Schein                                11/03/2022          27842438                                900.28
Henry Schein                                11/03/2022          27794928                               5,662.46
Principal Financial Group                   11/03/2022          11/03/2022                             1,048.59
Siemens Healthcare Diagnostics              11/03/2022          952847638                              1,190.04
Allied Media                                11/04/2022          19458                                    70.75
Henry Schein                                11/04/2022          27960241                              14,997.44
Labtek, Incorporated                        11/04/2022          13428                                  1,874.58
Polar Ice                                   11/04/2022          79231                                   170.00
Staples                                     11/04/2022          3522447621                               76.30
Staples                                     11/05/2022          3522624010                               82.66
Abbott Laboratories                         11/06/2022          830881633                              2,426.00
Fisher Healthcare                           11/07/2022          7958809B                                137.54
Labtek, Incorporated                        11/07/2022          13429                                   922.20
BioPathogenix                               11/08/2022          1493                                   9,540.00
Fisher Healthcare                           11/08/2022          8509431A                               3,584.60
Immunalysis Corporation                     11/08/2022          0195731-IN                            17,156.59
Polar Ice                                   11/08/2022          79253                                   170.00
Bett Kimutai                                11/09/2022          11092022                               2,423.20
Henry Schein                                11/09/2022          27327188                               3,446.11
LabSoft, Inc.                               11/09/2022          22119-1119-5422                         200.00
Microgenics Corporation                     11/09/2022          964278                                 1,872.73
Mettler-Toledo Rainin, LLC                  11/10/2022          678900252                               441.61
Charter Communications                      11/11/2022          0422386111122                           176.97
Labtek, Incorporated                        11/11/2022          13459                                   308.96
Polar Ice                                   11/11/2022          79277                                   170.00
Staples                                     11/11/2022          3522900237                              176.53
Wells Fargo Financial Leasing, Inc.         11/11/2022          5022652763                              593.60
Wells Fargo Financial Leasing, Inc.         11/11/2022          5022652762                               76.30
Abbott Laboratories                         11/13/2022          830883415                              1,130.80
Life Technologies Corporation               11/13/2022          77181524                               1,206.66
Fink Bressack PLLC                          11/14/2022          FBHELIX-1014                           3,137.50
Henry Schein                                11/14/2022          29123972                                666.95




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Henry Schein                                11/14/2022          29084758                                  1,448.65
Henry Schein                                11/14/2022          29084757                                   302.37
Henry Schein                                11/14/2022          28686463                                  5,921.80
Henry Schein                                11/14/2022          28673314                                  1,330.09
Henry Schein                                11/14/2022          28653198                                  6,461.58
Henry Schein                                11/14/2022          28586691                                   255.28
Comcast                                     11/15/2022          001000548069                               609.95
Gena's Timeless Cleaning, LLC               11/15/2022          013                                       6,000.00
Athenahealth, Inc.                          11/16/2022          INV-303512                                1,383.00
Fisher Healthcare                           11/16/2022          9109260A                                 10,524.95
Fisher Healthcare                           11/16/2022          9206354A                                 10,524.95
Agena Bioscience, Inc.                      11/17/2022          INV-580773                               24,636.35
Bett Kimutai                                11/17/2022          11-7                                      1,211.60
Ernest Packing Solutions                    11/17/2022          90662156                                   191.28
IMCS, Inc.                                  11/17/2022          132425                                    3,700.00
Labtek, Incorporated                        11/17/2022          13476                                      793.38
Labtek, Incorporated                        11/17/2022          13478                                      263.94
Labtek, Incorporated                        11/17/2022          13477                                     1,583.64
BioPathogenix                               11/21/2022          2021                                     14,611.04
BioPathogenix                               11/21/2022          2005                                     10,600.00
Immunalysis Corporation                     11/21/2022          0196279-IN                                 559.67
Practice Fusion                             11/21/2022          5500023510                                   24.00
Eric Vasseur                                11/22/2022          000036                                    2,464.00
Henry Schein                                11/22/2022          28654747                                   724.89
Henry Schein                                11/22/2022          29177191                                   879.04
Henry Schein                                11/22/2022          29128093                                 10,734.96
Labtek, Incorporated                        11/22/2022          13487                                      447.69
Polar Ice                                   11/22/2022          79328                                      170.00
Agena Bioscience, Inc.                      11/23/2022          INV-584744                                1,040.86
BioPathogenix                               11/23/2022          2029                                      3,180.00
College of American Pathologists            11/23/2022          2660248                                  16,430.19
Evoqua Water Technologies LLC               11/23/2022          905620329                                  604.20
Wells Fargo Financial Leasing, Inc.         11/23/2022          5022790159                                 557.79
Wells Fargo Financial Leasing, Inc.         11/24/2022          5022802119                                   68.76
6600 Highland, LLC                          11/25/2022          11252022                                 26,688.39
Gemini Lab Group                            11/25/2022          11012022                                200,000.00




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The Medical Real Estate Group              11/25/2022          11252022                              47,828.06
Abell Pest Control                         11/28/2022          A4593987                                 55.00
Abell Pest Control                         11/28/2022          A4552500                                155.00
Edge Solutions                             11/28/2022          595222                                 1,457.52
Fisher Healthcare                          11/28/2022          8712754/8753953A                       4,691.77
Fisher Healthcare                          11/28/2022          8753955/8797784A                      20,187.06
Empirical Biosciences                      11/29/2022          5586                                  16,503.45
Gladys Hylarides                           11/29/2022          11292022                                330.00
Polar Ice                                  11/29/2022          79356                                   170.00
Robert Thompson                            11/29/2022          11292022                                266.00
Credential Check Corporation               11/30/2022          290044                                  104.00
MCW Partners, LLC                          11/30/2022          63747                                    47.70
MCW Partners, LLC                          11/30/2022          64042                                   302.10
AB Sciex, LLC                              12/01/2022          210199188                             12,502.71
Abbott Laboratories                        12/01/2022          830874983                              1,213.00
Abbott Laboratories                        12/01/2022          830885604                              1,028.00
Applied Capital, LLC                       12/01/2022          32530426                                498.77
Applied Capital, LLC                       12/01/2022          32738327                                419.14
Applied Capital, LLC                       12/01/2022          32758285                                348.74
Applied Capital, LLC                       12/01/2022          32924750                                366.27
Applied Innovation                         12/01/2022          2094139                                 853.30
Applied Innovation                         12/01/2022          2090893                                 476.68
Applied Innovation                         12/01/2022          2072598                                 442.18
Applied Innovation                         12/01/2022          2093426                                 442.18
Applied Innovation                         12/01/2022          2083781                                 339.20
Arkstone Medical                           12/01/2022          22720                                 10,550.00
Avairis, Inc.                              12/01/2022          1531                                   1,184.00
Beckman Coulter                            12/01/2022          110142188                              1,974.37
BillionToOne, Inc.                         12/01/2022          8242093022                            28,500.00
BioPathogenix                              12/01/2022          2049                                   6,360.00
Blue Care Network                          12/01/2022          223430032804                          16,683.28
Blue Cross Blue Shield of Michigan         12/01/2022          152648542                              9,274.45
Blue Cross Blue Shield of Michigan         12/01/2022          152648827                             42,887.43
Blue Cross Blue Shield of Michigan         12/01/2022          151272262                              7,728.72
Blue Cross Blue Shield of Michigan         12/01/2022          151275145                             39,912.58
Blue Cross Blue Shield of Michigan         12/01/2022          007043844-0001                         7,045.68




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Brehob CORPORATION                                      12/01/2022          202274                                    394.20
Carolina Coastal Paper & Janitorial Supply, LLC         12/01/2022          28883                                     149.08
Cerilliant Corporation                                  12/01/2022          578712                                   1,460.40
CI Web Design, Inc                                      12/01/2022          9941                                      125.00
Comcast                                                 12/01/2022          11272022/0670846                          121.90
Comcast                                                 12/01/2022          11222022/0945842                          169.90
Comcast                                                 12/01/2022          11172022/0808982                          159.19
De Lage Landen Financial Services, Inc.                 12/01/2022          78339893                                  301.49
De Lage Landen Financial Services, Inc.                 12/01/2022          78193842                                  301.49
eClinicalWorks, LLC                                     12/01/2022          0002501207                               5,300.00
Esker Inc                                               12/01/2022          460232940                                1,455.20
Evoqua Water Technologies LLC                           12/01/2022          905635519                                1,508.83
Fed Ex                                                  12/01/2022          7-962-63396                              1,076.43
Fisher Healthcare                                       12/01/2022          8509432B                                  147.46
Fisher Healthcare                                       12/01/2022          8509431B                                  147.46
Fisher Healthcare                                       12/01/2022          8919769A                                 2,130.55
Fisher Healthcare                                       12/01/2022          8753953/8712754B                          144.70
Fisher Healthcare                                       12/01/2022          8509432A                                 5,842.29
Fishman Stewart, PLLC                                   12/01/2022          898999                                   3,332.50
Fishman Stewart, PLLC                                   12/01/2022          898998                                      80.00
Fishman Stewart, PLLC                                   12/01/2022          900773                                   1,525.20
Gemini Lab Group                                        12/01/2022          12012022                               245,000.00
Gena's Timeless Cleaning, LLC                           12/01/2022          014                                      6,000.00
Henry Schein                                            12/01/2022          29892065                                  396.86
Henry Schein                                            12/01/2022          29885053                                11,543.44
Henry Schein                                            12/01/2022          29883600                                  250.37
Henry Schein                                            12/01/2022          29730007                                 7,649.29
Henry Schein                                            12/01/2022          29899960                                  191.13
Highland Milford Family Clinic                          12/01/2022          12012022                                  541.39
Highland Milford Family Clinic                          12/01/2022          11012022                                  541.39
Hogan Lovells US LLP                                    12/01/2022          22200206284                             22,855.63
Immunalysis Corporation                                 12/01/2022          0195570-IN                                139.11
Iron Mountain                                           12/01/2022          HBPN831                                  1,281.65
Labcorp                                                 12/01/2022          74763320                                46,252.38
Labcorp                                                 12/01/2022          74482759                                51,586.67
Labcorp                                                 12/01/2022          74166919                                42,437.59




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LabPath Consulting                             12/01/2022          1394                                    3,000.00
Labtek, Incorporated                           12/01/2022          13509                                    412.34
Labtek, Incorporated                           12/01/2022          13510                                   2,272.08
Labtek, Incorporated                           12/01/2022          13511                                    179.14
Labtek, Incorporated                           12/01/2022          13512                                   1,319.70
Labtek, Incorporated                           12/01/2022          13513                                    527.88
Leasing Associates of Barrington, INC.         12/01/2022          1670865                                 2,406.20
Leasing Associates of Barrington, INC.         12/01/2022          1667320                                 2,406.20
Lifepoint Informatics                          12/01/2022          1182880                                 1,125.00
Lifepoint Informatics                          12/01/2022          1182879                                  200.00
Little Sonia Real Estate LLC                   12/01/2022          12012022                                1,698.75
Little Sonia Real Estate LLC                   12/01/2022          11012022                                1,698.75
MAC Pizza, LLC                                 12/01/2022          12012022                                1,310.00
MAC Pizza, LLC                                 12/01/2022          11012022                                1,310.00
Mclaren Medical Laboratory                     12/01/2022          MLMHEL113022                           23,969.59
Mclaren Medical Laboratory                     12/01/2022          MLMHEL103122                           29,304.46
Mclaren Medical Laboratory                     12/01/2022          MLMHEL093022                           27,034.77
Mclaren Medical Laboratory                     12/01/2022          MLMHEL083122                           14,917.52
Mclaren Medical Laboratory                     12/01/2022          MLMHEL073122                            6,585.62
Mclaren Medical Laboratory                     12/01/2022          MLMHEL063022                            6,717.79
McShane Welding, Inc.                          12/01/2022          138825                                  2,635.45
Med Water Systems                              12/01/2022          INV/2022/3823                            355.00
Medcare MSO                                    12/01/2022          2610                                  128,919.58
Medcare MSO                                    12/01/2022          2590                                  202,230.11
MedSpeed, LLC                                  12/01/2022          27263                                  25,985.44
MedSpeed, LLC                                  12/01/2022          27180                                 132,550.93
MedSpeed, LLC                                  12/01/2022          27134                                 138,186.69
MedSpeed, LLC                                  12/01/2022          26972                                  31,938.35
Mercedes Scientific                            12/01/2022          2645063                                  559.17
Michael McKelvey, Architect                    12/01/2022          950.00                                   500.00
Netalytics                                     12/01/2022          2022-9645                                750.00
Newbsknob, LLC                                 12/01/2022          12012022                                2,875.00
Newbsknob, LLC                                 12/01/2022          11012022                                2,875.00
Orchard Software Corporation                   12/01/2022          2021-14537                              7,985.00
Orchard Software Corporation                   12/01/2022          2020-12130                             12,720.00
Peachstate Health Management                   12/01/2022          Sep-2022                                1,360.00




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Peachstate Health Management                 12/01/2022          Aug-2022                               1,360.00
Polar Ice                                    12/01/2022          79341                                   170.00
Polar Ice                                    12/01/2022          79313                                   170.00
Polar Ice                                    12/01/2022          79294                                   170.00
Principal Financial Group                    12/01/2022          11252022                               2,776.81
Principal Financial Group                    12/01/2022          12022022                               3,735.09
Principal Financial Group                    12/01/2022          09092022                               7,558.02
Principal Financial Group                    12/01/2022          09192022                                960.58
Principal Financial Group                    12/01/2022          09232022                               7,014.76
Principal Financial Group                    12/01/2022          09302022                                818.22
Procurement Partners-Hybrent, Inc            12/01/2022          11107                                  1,000.00
Procurement Partners-Hybrent, Inc            12/01/2022          10832                                   840.00
Recovery Pathways                            12/01/2022          12012022                                887.45
Recovery Pathways                            12/01/2022          11012022                                887.45
SAR Consulting Services, LLC                 12/01/2022          12012022                               5,000.00
SCCE                                         12/01/2022          4912167                                 325.00
Staples                                      12/01/2022          3521431765                               76.09
Staples                                      12/01/2022          3521431764                              201.77
Staples                                      12/01/2022          3521431763                             1,229.39
Staples                                      12/01/2022          3520670735                               26.67
Staples                                      12/01/2022          3520325729                              296.59
Staples                                      12/01/2022          917860                                   85.80
Staples                                      12/01/2022          3514008457                              190.75
Stericycle Inc                               12/01/2022          4011385352                              157.94
StrengthPoint Advisors                       12/01/2022          CA-0536                               12,500.00
Superior Medical Waste Disposal              12/01/2022          22130                                  5,566.00
The Hartford                                 12/01/2022          11082022                              18,835.96
Translational Software, Inc.                 12/01/2022          7838                                   7,247.00
Tri-City Treatment                           12/01/2022          12012022                                308.58
Verizon                                      12/01/2022          9921004510                              367.33
Waterford Township Treasurer                 12/01/2022          12012022                              20,747.82
Younis Enterprises                           12/01/2022          11012022                               5,001.95
Younis Enterprises                           12/01/2022          12012022                               5,001.95
Applied Capital, LLC                         12/02/2022          32958288                                216.24
Peninsula Capital Partners, LLC              12/02/2022          12022022                               5,117.38
Polar Ice                                    12/02/2022          79376                                   170.00




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Staples                                        12/02/2022          3524676134                               114.36
Bett Kimutai                                   12/03/2022          11222022                                2,423.20
Siemens Healthcare Diagnostics                 12/03/2022          952865579                               1,190.04
UPS                                            12/03/2022          00005299W9492                              36.00
UPS                                            12/03/2022          0000W352F1492                              36.00
UPS                                            12/03/2022          00000604W0492                            471.36
UPS                                            12/03/2022          0000070R21492                           1,632.33
UPS                                            12/03/2022          000053XF87492                              27.30
UPS                                            12/03/2022          000005F64R492                              36.00
UPS                                            12/03/2022          00003R5378492                              36.00
Wells Fargo Financial Leasing, Inc.            12/03/2022          5022908340                               345.83
Wintegrity                                     12/03/2022          2428                                   10,000.00
Abbott Laboratories                            12/05/2022          830888547                               1,213.00
American Proficiency Institute                 12/05/2022          12052022                                3,733.00
Henry Schein                                   12/05/2022          29892067                                 587.86
Immunalysis Corporation                        12/05/2022          0196629-IN                              4,462.27
Labtek, Incorporated                           12/05/2022          13521                                    184.44
Pipedrive, Inc.                                12/05/2022          2375693                                  539.10
6600 Highland, LLC                             12/06/2022          12012022                               26,688.39
Abbott Laboratories                            12/06/2022          830888266                               2,426.00
Auburn Hills Medical Properties, LLC           12/06/2022          12012022                                 991.00
BioPathogenix                                  12/06/2022          2058                                   10,600.00
Henry Schein                                   12/06/2022          30096975                                 152.63
IMCS, Inc.                                     12/06/2022          132606                                  3,700.00
MedSpeed, LLC                                  12/06/2022          27436                                 125,187.81
Polar Ice                                      12/06/2022          79392                                    170.00
The Medical Real Estate Group                  12/06/2022          12012022                               47,828.06
The Sports Marketing Agency, INC               12/06/2022          12012022                              150,000.00
Fed Ex                                         12/07/2022          7-969-48665                              429.94
Leasing Associates of Barrington, INC.         12/07/2022          1671235                                  788.82
Riverview Health & Rehab North                 12/07/2022          12072022                                2,400.00
Riverview Health & Rehab South                 12/07/2022          12072022                                 600.00
St. Joseph’s                                   12/07/2022          12072022                                1,100.00
Symphony Tri-Cities                            12/07/2022          12072022                                 100.00
The Rivers of Grosse Pointe.                   12/07/2022          12072022                                 100.00
Villa at the Park.                             12/07/2022          12072022                                 600.00




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Amazon                                    12/08/2022          12082022                                25.40
Detroit Athletic Club                     12/08/2022          12082022                               498.00
Fisher Healthcare                         12/08/2022          8753955/8797784B                       173.70
Fisher Healthcare                         12/08/2022          8797783B                               138.20
Fisher Healthcare                         12/08/2022          8797783A                              2,719.22
Henry Schein                              12/08/2022          30632908                               229.82
Henry Schein                              12/08/2022          30171362                               248.77
Immunalysis Corporation                   12/08/2022          0196855-IN                             656.73
Mercedes Scientific                       12/08/2022          2659191                                431.96
Staples                                   12/08/2022          3525081733                             282.44
Cintas Corp. (ACH)                        12/09/2022          4139941624                             159.36
Cintas Corp. (ACH)                        12/09/2022          4139939983                             899.72
Henry Schein                              12/09/2022          30822920                               825.23
James Grossi                              12/09/2022          12092022                               816.67
Labtek, Incorporated                      12/09/2022          13533                                  370.44
Labtek, Incorporated                      12/09/2022          13536                                  438.84
Labtek, Incorporated                      12/09/2022          13534                                  368.88
Labtek, Incorporated                      12/09/2022          13535                                 1,847.58
Microsoft                                 12/09/2022          G017686164                            1,359.55
Polar Ice                                 12/09/2022          79408                                  170.00
Practice Fusion                           12/09/2022          5500024082                             894.00
Principal Financial Group                 12/09/2022          10142022                              4,056.88
Principal Financial Group                 12/09/2022          10212022                              6,670.29
Principal Financial Group                 12/09/2022          10282022                              4,002.49
Principal Financial Group                 12/09/2022          10272022                                67.26
Principal Financial Group                 12/09/2022          11042022                              3,990.40
Principal Financial Group                 12/09/2022          11072022                               629.81
Principal Financial Group                 12/09/2022          11082022                               787.00
Principal Financial Group                 12/09/2022          11102022                              3,484.68
Principal Financial Group                 12/09/2022          11182022                              5,009.70
Principal Financial Group                 12/09/2022          12092022                              3,051.25
State of Arkansas                         12/09/2022          L0299853008                            727.39
Comcast                                   12/10/2022          12102022/0687196                       269.17
Microsoft                                 12/10/2022          G017433187                             174.16
Microsoft                                 12/10/2022          E0400L83C6                              57.24
Microsoft                                 12/10/2022          E0400L81HX                             250.31




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Microsoft                                       12/10/2022          E0400L81HW                              153.91
Microsoft                                       12/10/2022          E0400L81HV                                 4.00
Microsoft                                       12/10/2022          E0400L8B2P                               61.94
Microsoft                                       12/10/2022          E0400L8AZ7                                 8.00
Microsoft                                       12/10/2022          E0400L7WYA                               45.00
Microsoft                                       12/10/2022          E0400L7WY9                              852.79
UPS                                             12/10/2022          0000W352F1502                            36.00
UPS                                             12/10/2022          00005299W9502                            36.00
UPS                                             12/10/2022          00000604W0502                           641.02
UPS                                             12/10/2022          0000070R21502                          1,019.80
UPS                                             12/10/2022          000053XF87502                            27.30
UPS                                             12/10/2022          000005F64R502                            36.00
UPS                                             12/10/2022          00003R5378502                            36.00
Charter Communications                          12/11/2022          0422386121122                           179.76
Fisher Healthcare                               12/12/2022          9041390A                                171.94
Henry Schein                                    12/12/2022          31045334                               1,469.80
Henry Schein                                    12/12/2022          31041197                               1,642.42
Henry Schein                                    12/12/2022          30927995                               3,719.18
Henry Schein                                    12/12/2022          30822917                                302.37
Immunalysis Corporation                         12/12/2022          0197001-IN                             7,757.79
Mercedes Scientific                             12/12/2022          2660372                                 267.65
Twilio Inc.                                     12/12/2022          12122022                                 90.70
Wells Fargo Financial Leasing, Inc.             12/12/2022          5023059205                              131.42
Abbott Laboratories                             12/13/2022          830689769                              1,130.80
Applied Innovation                              12/13/2022          2103972                                 339.20
De Lage Landen Financial Services, Inc.         12/13/2022          78480993                                301.49
DTE Energy                                      12/13/2022          12132022/05876                         2,303.01
DTE Energy                                      12/13/2022          12132022/42246                         1,896.53
DTE Energy                                      12/13/2022          12132022/41356                         1,113.49
DTE Energy                                      12/13/2022          12132022/42341                          492.35
DTE Energy                                      12/13/2022          12132022/27118                          100.75
DTE Energy                                      12/13/2022          12132022/14054                           14.79
Fisher Healthcare                               12/13/2022          8919769B                                133.90
Henry Schein                                    12/13/2022          31116335                                651.69
Henry Schein                                    12/13/2022          31090753                              21,591.71
Henry Schein                                    12/13/2022          30501302                                855.52




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Henry Schein                                     12/13/2022          31407832                                   76.04
Immunalysis Corporation                          12/13/2022          0197169-IN                               954.00
Ion Diagnostics Laboratories                     12/13/2022          14                                     11,558.00
Life Technologies Corporation                    12/13/2022          77183387                                1,206.66
Mercedes Scientific                              12/13/2022          2660791                                    47.17
Mercedes Scientific                              12/13/2022          2660804                                  169.60
Mercedes Scientific                              12/13/2022          2660799                                  547.65
Mercedes Scientific                              12/13/2022          2660790                                 2,922.97
Microgenics Corporation                          12/13/2022          970535                                  3,660.90
Microgenics Corporation                          12/13/2022          970464                                  2,138.62
Mutual of Omaha                                  12/13/2022          001460467169                            7,569.65
Polar Ice                                        12/13/2022          79423                                    170.00
Amazon                                           12/14/2022          12142022                                 402.70
Athenahealth, Inc.                               12/14/2022          INV-318260                              1,339.00
BioPathogenix                                    12/14/2022          2081                                    6,360.00
Fed Ex                                           12/14/2022          7-976-78644                              501.35
Fed Ex                                           12/14/2022          7-976-78645                                10.75
Gemini Lab Group                                 12/14/2022          11012022                               45,000.00
Gemini Lab Group                                 12/14/2022          10012022                               45,000.00
Gemini Lab Group                                 12/14/2022          09012022                              102,500.00
Gemini Lab Group                                 12/14/2022          08012022                              102,500.00
Gemini Lab Group                                 12/14/2022          07012022                              127,500.00
Gemini Lab Group                                 12/14/2022          06012022                               77,500.00
Henry Schein                                     12/14/2022          31568602                                 742.90
Henry Schein                                     12/14/2022          31407838                                    8.28
Henry Schein                                     12/14/2022          31389709                                1,004.86
Henry Schein                                     12/14/2022          29910276                                 200.22
Mercedes Scientific                              12/14/2022          2661356                                 3,661.93
Mercedes Scientific                              12/14/2022          2661319                                  503.50
Wells Fargo Financial Leasing, Inc.              12/14/2022          5023077764                               712.32
Comcast                                          12/15/2022          001000580022                             635.39
Credential Check Corporation                     12/15/2022          290591                                     52.00
Gena's Timeless Cleaning, LLC                    12/15/2022          15                                      6,000.00
General Treasurer, State of Rhode Island         12/15/2022          12152022                                1,304.00
Hogan Lovells US LLP                             12/15/2022          22200208749                            47,335.46
iPatientCare, LLC                                12/15/2022          2022/HD1215-Q-SHC                       5,000.00




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Mercedes Scientific                       12/15/2022          2661453                                1,017.60
Phenomenex, Inc                           12/15/2022          CIUS-22088332                         12,561.00
Superior Medical Waste Disposal           12/15/2022          21804B                                   35.00
The Sports Marketing Agency, INC          12/15/2022          07012022                              74,000.00
Cintas Corp. (ACH)                        12/16/2022          4140640638                               81.24
Cintas Corp. (ACH)                        12/16/2022          4140639570                              892.41
Costco                                    12/16/2022          12162022                                248.89
Diane Zurchauer                           12/16/2022          12162022                                465.00
Fisher Healthcare                         12/16/2022          9041390B                                 56.40
Labtek, Incorporated                      12/16/2022          13563                                   343.44
Labtek, Incorporated                      12/16/2022          13562                                   368.88
Labtek, Incorporated                      12/16/2022          13561                                  1,874.58
Labtek, Incorporated                      12/16/2022          13560                                  5,490.80
Med Water Systems                         12/16/2022          INV/2022/4219                           355.00
Mutual of Omaha                           12/16/2022          001460467170                            479.51
Polar Ice                                 12/16/2022          79444                                   170.00
Principal Financial Group                 12/16/2022          12162022                               3,600.09
Bett Kimutai                              12/17/2022          12172022                               2,423.20
Comcast                                   12/17/2022          12172022/0808982                        159.19
Staples                                   12/17/2022          3525843729                              301.35
UPS                                       12/17/2022          0000W352F1512                            36.00
UPS                                       12/17/2022          00005299W9512                            36.00
UPS                                       12/17/2022          00000604W0512                          1,281.66
UPS                                       12/17/2022          0000070R21512                           350.41
UPS                                       12/17/2022          000053XF87512                            27.30
UPS                                       12/17/2022          000005F64R512                            36.00
UPS                                       12/17/2022          00003R5378512                            36.00
StrengthPoint Advisors                    12/18/2022          CA-0552                               12,900.00
Agena Bioscience, Inc.                    12/19/2022          INV-590796                            25,471.84
Agena Bioscience, Inc.                    12/19/2022          INV-589941                             3,005.82
ClickUp                                   12/19/2022          T14387243-121922                        190.00
Fisher Healthcare                         12/19/2022          9145365A                               7,009.73
Henry Schein                              12/19/2022          31811936                               9,168.56
Immunalysis Corporation                   12/19/2022          0197298-IN                             4,602.16
Mercedes Scientific                       12/19/2022          2662638                                  65.70
Abbott Laboratories                       12/20/2022          830890563                              1,028.00




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Amazon                                                  12/20/2022          12202022                                382.24
Applied Innovation                                      12/20/2022          2108578                                 635.51
Fisher Healthcare                                       12/20/2022          9109260B                                119.20
Henry Schein                                            12/20/2022          31916156                                971.76
James Grossi                                            12/20/2022          12202022                               5,000.00
Polar Ice                                               12/20/2022          79456                                   170.00
Practice Fusion                                         12/20/2022          5500024650                              970.00
Verizon                                                 12/20/2022          9923387341                              689.71
Amazon                                                  12/21/2022          12212022                                 79.86
BioPathogenix                                           12/21/2022          2095                                  18,285.00
Fed Ex                                                  12/21/2022          7-984-39494                             430.26
Fisher Healthcare                                       12/21/2022          9145365B                                172.90
Grainger                                                12/21/2022          12212022                                211.32
Henry Schein                                            12/21/2022          32006698                               1,330.09
Henry Schein                                            12/21/2022          32005211                                 43.42
Henry Schein                                            12/21/2022          31977104                               1,046.86
Henry Schein                                            12/21/2022          31967751                              10,039.20
James Grossi                                            12/21/2022          12212022                               4,978.00
Microgenics Corporation                                 12/21/2022          972600                                 2,198.31
Amazon                                                  12/22/2022          12222022                                179.88
Carolina Coastal Paper & Janitorial Supply, LLC         12/22/2022          29131                                  2,087.09
Comcast                                                 12/22/2022          12222022/0945842                        169.90
Henry Schein                                            12/22/2022          32041200                               1,330.09
Henry Schein                                            12/22/2022          32025153                                404.20
Henry Schein                                            12/22/2022          31621923                               2,255.57
Polar Ice                                               12/22/2022          79475                                   170.00
Uhaul                                                   12/22/2022          12222022                                 55.40
UHY, LLP                                                12/22/2022          640441545                              2,180.00
Applied Innovation                                      12/23/2022          2110802                                 650.27
Cintas Corp. (ACH)                                      12/23/2022          4141354318                              159.36
Cintas Corp. (ACH)                                      12/23/2022          4141353007                              899.72
Fisher Healthcare                                       12/23/2022          9206354B                                119.20
Henry Schein                                            12/23/2022          32094588                                212.92
Henry Schein                                            12/23/2022          31621916                                442.16
Principal Financial Group                               12/23/2022          12232022                               3,099.17
Wells Fargo Financial Leasing, Inc.                     12/23/2022          5023192900                               96.32




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Wells Fargo Financial Leasing, Inc.         12/23/2022          5023192899                              613.57
Comcast                                     12/24/2022          12242022/0308322                        455.00
UPS                                         12/24/2022          00000604W0522                           477.86
UPS                                         12/24/2022          0000070R21522                          1,394.36
UPS                                         12/24/2022          000053XF87522                            27.30
UPS                                         12/24/2022          0000W352F1522                            36.00
UPS                                         12/24/2022          00005299W9522                            36.00
UPS                                         12/24/2022          000005F64R522                            36.00
UPS                                         12/24/2022          00003R5378522                            36.00
Atlassian                                   12/25/2022          AT-214883277                            783.55
CheckRun                                    12/25/2022          9Fe97E7A-0023                            50.00
TASC                                        12/25/2022          IN2619988                               693.59
Netalytics                                  12/26/2022          2022-10521                              750.00
Agena Bioscience, Inc.                      12/27/2022          INV-590206                               87.24
BioPathogenix                               12/27/2022          2098                                   7,155.00
Comcast                                     12/27/2022          12272022/0670846                        121.90
DTE Energy                                  12/27/2022          12272022/41394                           43.83
Fisher Healthcare                           12/27/2022          9226903B                                 69.27
Fisher Healthcare                           12/27/2022          9271121/9341111A                       8,372.89
Fisher Healthcare                           12/27/2022          9226903A                                301.16
Jobs Core Inc.                              12/27/2022          12272022                                449.00
Labtek, Incorporated                        12/27/2022          13582                                  1,044.10
Labtek, Incorporated                        12/27/2022          13581                                  1,874.58
Labtek, Incorporated                        12/27/2022          13580                                   368.88
Labtek, Incorporated                        12/27/2022          13579                                    80.56
ClickUp                                     12/28/2022          T14387243-122822                         28.19
Edge Solutions                              12/28/2022          609334                                 1,552.67
Fed Ex                                      12/28/2022          7-991-48481                             280.52
Fisher Healthcare                           12/28/2022          9271122A                               6,846.49
Immunalysis Corporation                     12/28/2022          0197543-IN                             4,854.64
Immunalysis Corporation                     12/28/2022          0197531-IN                              140.23
Darren Cain                                 12/29/2022          12292022                              13,500.00
James Grossi                                12/30/2022          12302022                               4,738.84
Principal Financial Group                   12/30/2022          12292022                               1,127.13
Principal Financial Group                   12/30/2022          12302022                               3,735.09
6600 Highland, LLC                          01/01/2023          01012023                              26,688.39




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Abbott Laboratories                                     01/01/2023          830889769                               1,130.80
Abbott Laboratories                                     01/01/2023          830872338                               1,089.68
Abbott Laboratories                                     01/01/2023          830857252                               1,213.00
Abbott Laboratories                                     01/01/2023          830844380                               2,426.00
Abbott Laboratories                                     01/01/2023          616276278                              12,598.08
Amazon                                                  01/01/2023          12202022                                 355.60
Amazon                                                  01/01/2023          01062023                                  92.01
Applied Capital, LLC                                    01/01/2023          33134689                                 327.44
Auburn Hills Medical Properties, LLC                    01/01/2023                                                   991.00
Avairis, Inc.                                           01/01/2023          1535                                    2,666.00
Bett Kimutai                                            01/01/2023          01012023                                2,423.20
BillionToOne, Inc.                                      01/01/2023          8242123122                             30,134.60
BillionToOne, Inc.                                      01/01/2023          8242113022                             17,140.00
Bio Rad Laboratories, Inc.                              01/01/2023          905640882                                 46.01
Blue Care Network                                       01/01/2023          230110075028                           18,057.76
Blue Cross Blue Shield of Michigan                      01/01/2023          154500818                              25,573.03
Blue Cross Blue Shield of Michigan                      01/01/2023          15450558                                4,529.37
Careviso, Inc.                                          01/01/2023          2426                                    5,000.00
Carolina Coastal Paper & Janitorial Supply, LLC         01/01/2023          28853                                   1,938.01
CI Web Design, Inc                                      01/01/2023          9984                                     940.00
CI Web Design, Inc                                      01/01/2023          10078                                    940.00
Cintas Corp. (ACH)                                      01/01/2023          4142020289                                81.24
Cintas Corp. (ACH)                                      01/01/2023          4142018812                               892.41
COLA Inc.                                               01/01/2023          A0089386                               10,417.00
Comcast                                                 01/01/2023          001000580022B                             26.85
CoreBioLabs                                             01/01/2023          824                                    43,015.00
De Lage Landen Financial Services, Inc.                 01/01/2023          78626260                                 301.49
Ebay                                                    01/01/2023          12302022                                 572.40
Eden Software Solutions, LLC                            01/01/2023          0001                                    1,500.00
Esker Inc                                               01/01/2023          460235501                               1,195.45
Evoqua Water Technologies LLC                           01/01/2023          905671773                               1,508.83
Fink Bressack PLLC                                      01/01/2023          FBHELIX-1010                             188.78
Fink Bressack PLLC                                      01/01/2023          FBHELIX-1009                             187.50
Fink Bressack PLLC                                      01/01/2023          FBHELIX-1008                            1,406.25
Fire Alarm Services                                     01/01/2023          INV-1863303                             1,250.80
Fisher Healthcare                                       01/01/2023          9717082/9649136B                         247.71




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Fisher Healthcare                            01/01/2023          9271122B                                  143.90
Gemini Lab Group                             01/01/2023          01012023                               245,000.00
Gena's Timeless Cleaning, LLC                01/01/2023          016                                      6,000.00
Google                                       01/01/2023          4631631344                                  79.20
Henry Schein                                 01/01/2023          32252309                                  263.17
Henry Schein                                 01/01/2023          32252308                                  381.58
Highland Milford Family Clinic               01/01/2023          01012023                                  541.39
Highland Milford Family Clinic               01/01/2023          08012022                                  296.82
Highland Milford Family Clinic               01/01/2023          10012022                                  541.39
Highland Milford Family Clinic               01/01/2023          09012022                                  541.39
Immunalysis Corporation                      01/01/2023          0197464-IN                               2,733.09
Iron Mountain                                01/01/2023          HCSP978                                   916.70
James Grossi                                 01/01/2023          12192022                                 5,000.00
Labcorp                                      01/01/2023          21032030083122                           1,995.00
Labcorp                                      01/01/2023          75032586                                39,703.26
LabSoft, Inc.                                01/01/2023          452-23032                                   95.00
Lifepoint Informatics                        01/01/2023          1183434                                   200.00
Lifepoint Informatics                        01/01/2023          1183429                                  1,125.00
Little Sonia Real Estate LLC                 01/01/2023                                                   1,698.75
MAC Pizza, LLC                               01/01/2023                                                   1,310.00
MCW Partners, LLC                            01/01/2023          64200                                       47.70
Medcare MSO                                  01/01/2023          2664                                   102,918.28
Mercedes Scientific                          01/01/2023          2666011                                   890.40
Mercedes Scientific                          01/01/2023          2666091                                   324.54
Mercedes Scientific                          01/01/2023          2659191B                                    39.17
Mercedes Scientific                          01/01/2023          2663499                                  1,033.50
Mercedes Scientific                          01/01/2023          2664143                                  2,325.28
Mercedes Scientific                          01/01/2023          2664710                                  2,216.33
Mercedes Scientific                          01/01/2023          2665012                                   129.30
Newbsknob, LLC                               01/01/2023                                                   2,875.00
Orchard Software Corporation                 01/01/2023          2021-14538                               7,685.00
Orchard Software Corporation                 01/01/2023          2020-12131                              12,000.00
Polar Ice                                    01/01/2023          79483                                     170.00
Polar Ice                                    01/01/2023          78353                                     170.00
Polar Ice                                    01/01/2023          79498                                     170.00
Principal Financial Group                    01/01/2023          09302022                                 9,904.54




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Recovery Pathways                            01/01/2023                                                   887.45
SAR Consulting Services, LLC                 01/01/2023                                                  5,000.00
Solaris Diagnostics                          01/01/2023          4784                                     120.00
Splashtop (CC)                               01/01/2023          01042023                                3,000.00
Staples                                      01/01/2023          3521145152                               614.69
Staples                                      01/01/2023          3517953627                               154.74
Stericycle Inc                               01/01/2023          4011455185                               157.94
Superior Medical Waste Disposal              01/01/2023          22350                                   2,887.00
Sysmex America, Inc.                         01/01/2023          94535537                                 208.09
Sysmex America, Inc.                         01/01/2023          94512744                                1,835.53
Sysmex America, Inc.                         01/01/2023          94504232                                 324.34
Sysmex America, Inc.                         01/01/2023          94502654                                 208.73
Sysmex America, Inc.                         01/01/2023          94493574                                 580.13
Sysmex America, Inc.                         01/01/2023          94490409                                 206.31
Sysmex America, Inc.                         01/01/2023          94483517                                 486.51
Sysmex America, Inc.                         01/01/2023          94467808                                1,835.53
Sysmex America, Inc.                         01/01/2023          94461397                                 759.06
Sysmex America, Inc.                         01/01/2023          94459686                                 206.03
Sysmex America, Inc.                         01/01/2023          94450982                                 580.13
Sysmex America, Inc.                         01/01/2023          94442297                                 649.82
Sysmex America, Inc.                         01/01/2023          94440738                                 205.66
Sysmex America, Inc.                         01/01/2023          94423300                                1,835.53
The Hartford                                 01/01/2023          12012022                                6,323.04
The Medical Real Estate Group                01/01/2023                                                 47,828.06
The Sports Marketing Agency, INC             01/01/2023          01012023                              150,000.00
Theranostix Inc.                             01/01/2023          2HXD1122                               15,094.00
Theranostix Inc.                             01/01/2023          1HXD1022                                3,024.00
Theranostix Inc.                             01/01/2023          3HXD1222                                5,796.00
Translational Software, Inc.                 01/01/2023          7865A                                   9,410.00
Tri-City Treatment                           01/01/2023                                                   308.58
UPS                                          01/01/2023          0000070R21532                           1,087.37
UPS                                          01/01/2023          000053XF87532                              18.00
UPS                                          01/01/2023          0000W352F1532                              30.00
UPS                                          01/01/2023          00005299W9532                              30.00
UPS                                          01/01/2023          000005F64R532                              30.00
UPS                                          01/01/2023          00003R5378532                              30.00




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                            Payee                 Payment Date                   No.             Total
Younis Enterprises                             01/01/2023                                                 5,001.95
Applied Capital, LLC                           01/02/2023          33152857                                179.28
Applied Innovation                             01/02/2023          2113302                                 853.30
Henry Schein                                   01/02/2023          32282550                                675.74
Wells Fargo Financial Leasing, Inc.            01/02/2023          5023313588                              380.42
AB Sciex, LLC                                  01/03/2023          210203137                              6,258.20
AB Sciex, LLC                                  01/03/2023          210203131                             25,005.42
Agena Bioscience, Inc.                         01/03/2023          INV-591868                             4,508.71
Applied Innovation                             01/03/2023          2114268                                 446.47
DTE Energy                                     01/03/2023          01032023/29742                          178.22
DTE Energy                                     01/03/2023          01032033/29726                          113.83
DTE Energy                                     01/03/2023          01032023/29783                           99.88
DTE Energy                                     01/03/2023          01032023/29635                           97.81
DTE Energy                                     01/03/2023          01032023/29833                           79.31
DTE Energy                                     01/03/2023          01032023/29866                           20.32
eClinicalWorks, LLC                            01/03/2023          0002562527                              900.00
Labtek, Incorporated                           01/03/2023          13591                                  1,874.58
Labtek, Incorporated                           01/03/2023          13592                                    80.56
Labtek, Incorporated                           01/03/2023          13593                                   179.14
Labtek, Incorporated                           01/03/2023          13594                                  1,628.16
Leasing Associates of Barrington, INC.         01/03/2023          1673817                                2,406.20
Polar Ice                                      01/03/2023          79509                                   170.00
Siemens Healthcare Diagnostics                 01/03/2023          952883175                              1,190.04
Atlassian                                      01/04/2023          AT-216333004                             73.50
Fed Ex                                         01/04/2023          7-998-11677                             321.48
First Insurance Funding                        01/04/2023          01042023                              12,100.00
Health Equity                                  01/04/2023          01042023                                 20.00
Henry Schein                                   01/04/2023          32548014                                294.58
Henry Schein                                   01/04/2023          32537637                                208.25
Immunalysis Corporation                        01/04/2023          0197781-IN                             3,906.13
James Grossi                                   01/04/2023          01042023                               5,000.00
Mercedes Scientific                            01/04/2023          2666851                                2,040.49
Meritain Health                                01/04/2023          01042023                                180.00
Meritain Health                                01/04/2023          01042023                                135.00
Abbott Laboratories                            01/05/2023          830893863                              1,213.00
BioPathogenix                                  01/05/2023          2122                                   3,710.00




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Cardinal Health                           01/05/2023          01052023                                 1,507.59
Henry Schein                              01/05/2023          32558428                                30,336.41
Henry Schein                              01/05/2023          32552149                                 4,461.11
Henry Schein                              01/05/2023          32389801                                  118.37
James Grossi                              01/05/2023          01052023                                 2,500.00
Labtek, Incorporated                      01/05/2023          13618                                       33.92
Labtek, Incorporated                      01/05/2023          13619                                    1,874.58
MedSpeed, LLC                             01/05/2023          27674                                  107,920.45
Mercedes Scientific                       01/05/2023          2667590                                  2,459.03
Pipedrive, Inc.                           01/05/2023          2406670                                   539.10
Solaris Diagnostics                       01/05/2023          4892                                      600.00
Abbott Laboratories                       01/06/2023          830890695                                2,426.00
Amazon                                    01/06/2023          01062023                                  115.43
Cintas Corp. (ACH)                        01/06/2023          4142714306                                159.36
Cintas Corp. (ACH)                        01/06/2023          4142713142                                899.72
Costco                                    01/06/2023          01062023                                  485.01
Fisher Healthcare                         01/06/2023          9494968/9454411A                         7,999.35
Henry Schein                              01/06/2023          32670894                                 2,646.52
Mercedes Scientific                       01/06/2023          2667989                                     67.84
Mercedes Scientific                       01/06/2023          2667950                                   201.40
Mercedes Scientific                       01/06/2023          2667949                                   102.82
Polar Ice                                 01/06/2023          79525                                     170.00
Principal Financial Group                 01/06/2023          01062023                                 3,199.67
Staples                                   01/07/2023          3527458360                                108.68
UPS                                       01/07/2023          00000604W0013                             428.00
UPS                                       01/07/2023          0000070R21013                             763.87
UPS                                       01/07/2023          000053XF87013                               18.00
UPS                                       01/07/2023          0000W352F1013                               30.00
UPS                                       01/07/2023          00005299W9013                               30.00
UPS                                       01/07/2023          000005F64R013                               30.00
UPS                                       01/07/2023          00003R5378013                               30.00
Adobe (ACH)                               01/09/2023          2374907527                                599.71
Amazon                                    01/09/2023          01092023                                  127.19
Applied Innovation                        01/09/2023          2120471                                   538.64
ClickUp                                   01/09/2023          T14387243-010923                            47.19
CoreBioLabs                               01/09/2023          835                                     10,280.00




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Evoqua Water Technologies LLC           01/09/2023          905677991                               642.20
Immunalysis Corporation                 01/09/2023          0197965-IN                             6,112.13
Immunalysis Corporation                 01/09/2023          0197864-IN                             8,393.31
Labtek, Incorporated                    01/09/2023          13632                                   383.72
Labtek, Incorporated                    01/09/2023          13616                                   358.28
Labtek, Incorporated                    01/09/2023          13617                                   292.56
Microsoft                               01/09/2023          G018630987                             1,402.93
Pipedrive, Inc.                         01/09/2023          2410547                                  52.34
Comcast                                 01/10/2023          01102023/0687196                        273.64
First Insurance Funding                 01/10/2023          01102023                               7,159.54
Henry Schein                            01/10/2023          32836252                              11,603.91
Henry Schein                            01/10/2023          32681542                                605.75
James Grossi                            01/10/2023          01102023B                              2,500.00
James Grossi                            01/10/2023          01102023                               2,000.00
Jimmy John's                            01/10/2023          01102023                                101.17
Mercedes Scientific                     01/10/2023          2668906                                 101.75
Mercedes Scientific                     01/10/2023          2668854                                1,033.50
Mercedes Scientific                     01/10/2023          2668813                                 381.60
Microgenics Corporation                 01/10/2023          975344                                 5,490.08
Microsoft                               01/10/2023          G018359665                              178.47
Microsoft                               01/10/2023          E0400LLYIO                              174.90
Microsoft                               01/10/2023          E0400LM47H                                 8.00
Microsoft                               01/10/2023          E0400LM47G                               23.32
Microsoft                               01/10/2023          E0400LM1XP                               49.95
Microsoft                               01/10/2023          E0400LM1X1                               45.00
Microsoft                               01/10/2023          E0400LM1X0                              894.64
Microsoft                               01/10/2023          E0400LM0LB                               57.24
Microsoft                               01/10/2023          E0400LLYIP                              299.16
Microsoft                               01/10/2023          E0400LLYIN                                 4.00
Polar Ice                               01/10/2023          79538                                   170.00
Taylor Door and Window                  01/10/2023          15159                                   442.50
Amazon                                  01/11/2023          01112023                                 48.63
BioPathogenix                           01/11/2023          2139                                   3,180.00
Brehob CORPORATION                      01/11/2023          01112023                                 76.90
Cardinal Health                         01/11/2023          7157019521                              175.30
Fed Ex                                  01/11/2023          8-004-26505                             350.30




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First Insurance Funding                         01/11/2023          01112023                                 3,415.46
Immunalysis Corporation                         01/11/2023          0198103-IN                               5,819.93
James Grossi                                    01/11/2023          01112023                                 3,000.00
James Grossi                                    01/11/2023          01112023                                 1,147.64
Mercedes Scientific                             01/11/2023          2669544                                  2,494.36
Amazon                                          01/12/2023          01122023B                                 166.92
Amazon                                          01/12/2023          01122023                                   97.02
Applied Innovation                              01/12/2023          2124142                                   339.20
Cardinal Health                                 01/12/2023          7157065111                                223.46
DTE Energy                                      01/12/2023          01122023/41356                           1,186.94
DTE Energy                                      01/12/2023          01122023/05876                           2,580.27
DTE Energy                                      01/12/2023          01122023/42246                           2,047.74
DTE Energy                                      01/12/2023          01122023/42341                            520.26
DTE Energy                                      01/12/2023          01122023/27118                            105.34
DTE Energy                                      01/12/2023          01122023/14064                             14.79
Fisher Healthcare                               01/12/2023          0432121A                                31,556.15
Henry Schein                                    01/12/2023          32827368                                 1,722.45
Henry Schein                                    01/12/2023          32994313                                 1,745.91
INTEGRA Biosciences Corp.                       01/12/2023          233401064                                1,570.43
Jeffrey Williamson                              01/12/2023          01122023                                  461.43
Med Water Systems                               01/12/2023          INV/2023/0130                              64.72
Sigma-Aldrich Inc.                              01/12/2023          558952593                                1,991.66
Sysmex America, Inc.                            01/12/2023          94580410                                  580.13
Sysmex America, Inc.                            01/12/2023          94580169                                  206.68
Wells Fargo Financial Leasing, Inc.             01/12/2023          5023467160                                103.86
Abbott Laboratories                             01/13/2023          830896654                                1,130.80
Athenahealth, Inc.                              01/13/2023          INV-332807                               1,059.00
Cardinal Health                                 01/13/2023          7157125577                                 81.89
Cintas Corp. (ACH)                              01/13/2023          4143412159                                 81.24
Cintas Corp. (ACH)                              01/13/2023          4143410775                                892.41
ClickUp                                         01/13/2023          T14387243-011223                             9.81
De Lage Landen Financial Services, Inc.         01/13/2023          78770705                                  301.49
Fisher Healthcare                               01/13/2023          9494968/9454411B                          252.09
Fisher Healthcare                               01/13/2023          9271121/9341111B                          172.91
Fisher Healthcare                               01/13/2023          9649135/9682145/9909A                    2,956.29
Fisher Healthcare                               01/13/2023          9717082/9649136A                        19,974.91




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Henry Schein                                01/13/2023          32989316                                 200.46
James Grossi                                01/13/2023          01132023                                1,527.80
Life Technologies Corporation               01/13/2023          77185592                                1,206.66
Polar Ice                                   01/13/2023          79558                                    170.00
Sysmex America, Inc.                        01/13/2023          94581671                                 703.12
Wells Fargo Financial Leasing, Inc.         01/13/2023          5023484634                               593.60
UPS                                         01/14/2023          00000604W0023                            529.15
UPS                                         01/14/2023          0000070R21023                            964.84
UPS                                         01/14/2023          000053XF87023                             18.00
UPS                                         01/14/2023          0000W352F1023                             30.00
UPS                                         01/14/2023          00005299W9023                             30.00
UPS                                         01/14/2023          000005F64R023                             30.00
UPS                                         01/14/2023          00003R5378023                             30.00
Bett Kimutai                                01/15/2023          01202023                                2,423.20
Credential Check Corporation                01/15/2023          291544                                   156.00
Gena's Timeless Cleaning, LLC               01/15/2023          017                                     6,000.00
ClickUp                                     01/16/2023          T14387243-011423                            3.68
IMCS, Inc.                                  01/16/2023          133059                                  3,700.00
Immunalysis Corporation                     01/16/2023          0198292-IN                              4,230.75
LabSoft, Inc.                               01/16/2023          23116-1227-5467                          200.00
Labtek, Incorporated                        01/16/2023          13636                                   1,789.78
Labtek, Incorporated                        01/16/2023          13637                                   1,847.58
Med Water Systems                           01/16/2023          INV/2023/0165                            355.00
Mercedes Scientific                         01/16/2023          2670724                                  604.20
Mercedes Scientific                         01/16/2023          2670715                                 1,812.60
Shawna Willaeys                             01/16/2023          1                                         29.97
StrengthPoint Advisors                      01/16/2023          CA-0577                                12,700.00
BioPathogenix                               01/17/2023          2144                                    3,180.00
Comcast                                     01/17/2023          001000612333                             644.91
Comcast                                     01/17/2023          01172023/0808982                         168.50
FastSpring                                  01/17/2023          ZEB230117-4113-73202                     365.70
Fisher Healthcare                           01/17/2023          9792159A                               15,975.00
Henry Schein                                01/17/2023          32994315                                 747.76
Henry Schein                                01/17/2023          33172408                                 729.15
Immunalysis Corporation                     01/17/2023          0198338-IN                                65.35
Immunalysis Corporation                     01/17/2023          0198347-IN                              5,481.69




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James Grossi                                            01/17/2023          01172023                               5,212.67
Life Technologies Corporation                           01/17/2023          40632466                              13,920.00
Medicare                                                01/17/2023          01172023                                688.00
Microgenics Corporation                                 01/17/2023          976608                                 2,305.64
Mutual of Omaha                                         01/17/2023          001477736099                          10,054.04
Mutual of Omaha                                         01/17/2023          001477736098                            475.81
Polar Ice                                               01/17/2023          79571                                   170.00
Abbott Laboratories                                     01/18/2023          616376570                              1,170.19
Abbott Laboratories                                     01/18/2023          616386391                               611.28
Abbott Laboratories                                     01/18/2023          616376569                              1,958.35
Amazon                                                  01/18/2023          01182023                                153.16
Amazon                                                  01/18/2023          01182023                                 79.62
Amro Almradi MDPC PLLC                                  01/18/2023          01182023                               9,000.00
Carolina Coastal Paper & Janitorial Supply, LLC         01/18/2023          29280                                  2,832.48
Fed Ex                                                  01/18/2023          8-0011-95443                            428.92
Henry Schein                                            01/18/2023          33221058                                576.44
Henry Schein                                            01/18/2023          33221033                                417.94
Henry Schein                                            01/18/2023          33172199                                500.52
Henry Schein                                            01/18/2023          33172161                                662.18
James Grossi                                            01/18/2023          01182023                               2,500.00
Labtek, Incorporated                                    01/18/2023          13651                                   197.16
Mercedes Scientific                                     01/18/2023          2671783                                3,743.81
Staples                                                 01/18/2023          3528094545                              272.50
Vistaprint                                              01/18/2023          01182023                               1,315.45
Cerilliant Corporation                                  01/19/2023          01192023                               2,454.40
Digital Check Corp                                      01/19/2023          SLS264604                                39.52
Henry Schein                                            01/19/2023          33237570                              10,319.10
Henry Schein                                            01/19/2023          33237564                              15,804.27
Henry Schein                                            01/19/2023          33058405                                191.13
Immunalysis Corporation                                 01/19/2023          0198463-IN                             2,062.61
Jobs Core Inc.                                          01/19/2023          01192023                                449.00
Practice Fusion                                         01/19/2023          5500025099                              810.00
Cerilliant Corporation                                  01/20/2023          581400                                  515.60
Cerilliant Corporation                                  01/20/2023          581392                                 4,771.30
Cintas Corp. (ACH)                                      01/20/2023          4144116166                              159.36
Cintas Corp. (ACH)                                      01/20/2023          4144114754                              899.72




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ClickUp                                     01/20/2023          T14387243-011923                          418.00
Cotiviti Inc.                               01/20/2023          01202023                                 2,275.00
Labtek, Incorporated                        01/20/2023          13666                                      25.44
Labtek, Incorporated                        01/20/2023          13662                                     368.88
Labtek, Incorporated                        01/20/2023          13663                                     412.34
Labtek, Incorporated                        01/20/2023          13664                                    2,010.26
Labtek, Incorporated                        01/20/2023          13665                                      63.60
Paylocity                                   01/20/2023          INV1249575                               3,302.99
CI Web Design, Inc                          01/21/2023          10182                                     940.00
James Grossi                                01/21/2023          01212023                                  225.75
Amazon                                      01/22/2023          01222023                                  122.94
Comcast                                     01/22/2023          01222023/0945842                          169.90
Amazon                                      01/23/2023          01232023                                  376.15
Fisher Healthcare                           01/23/2023          9909335/0066246A                        16,099.24
James Grossi                                01/23/2023          01232023                                  103.69
Mercedes Scientific                         01/23/2023          2673211                                   540.60
Principal Financial Group                   01/23/2023          01232023                                 3,546.10
Regner Limited Trust Fund                   01/23/2023          01232023                                 5,000.00
Barcode Factory                             01/24/2023          209538                                    508.32
BioPathogenix                               01/24/2023          2159                                    21,200.00
DTE Energy                                  01/24/2023          01242023/41394                             69.83
Henry Schein                                01/24/2023          33172409                                  144.56
Immunalysis Corporation                     01/24/2023          0198619-IN                               5,537.85
Immunalysis Corporation                     01/24/2023          0198608-IN                               5,497.35
James Grossi                                01/24/2023          01242023                                 5,000.00
Polar Ice                                   01/24/2023          38169                                     170.00
Rusas Printing, Inc.                        01/24/2023          2390                                      127.20
Silverman Consulting Inc.                   01/24/2023          SIL110944                               14,000.00
Viviano Flower Shop                         01/24/2023          01242023                                  182.60
Wells Fargo Financial Leasing, Inc.         01/24/2023          5023606826                                669.35
Atlassian                                   01/25/2023          AT-219882810                             1,223.95
CheckRun                                    01/25/2023          9FE97E7A-0024                              50.00
Fed Ex                                      01/25/2023          8-018-21691                               296.20
Fisher Healthcare                           01/25/2023          9649135/9682145/9909B                     159.52
Henry Schein                                01/25/2023          33665013                                  305.13
James Grossi                                01/25/2023          01252023                                 2,500.00




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Mercedes Scientific                             01/25/2023          2674031                                 381.60
Pipedrive, Inc.                                 01/25/2023          2427208                                  21.37
Principal Financial Group                       01/25/2023          01252023                               5,888.55
Sysmex America, Inc.                            01/25/2023          94595359                               1,835.53
TASC                                            01/25/2023          IN2651324                               693.59
Wells Fargo Financial Leasing, Inc.             01/25/2023          5023619186                              138.43
Cerilliant Corporation                          01/26/2023          581749                                   43.40
Henry Schein                                    01/26/2023          33665014                                249.39
Applied Innovation                              01/27/2023          2134116                                 554.32
Comcast                                         01/27/2023          01272023/0670846                        121.90
De Lage Landen Financial Services, Inc.         01/27/2023          78904132                                301.49
Health Equity                                   01/27/2023          01272023                                 28.62
James Grossi                                    01/27/2023          01272023                                 98.87
James Grossi                                    01/27/2023                                                 3,482.30
Polar Ice                                       01/27/2023          38190                                   170.00
Principal Financial Group                       01/27/2023          01272023                               6,198.55
Edge Solutions                                  01/28/2023          624575                                 1,214.57
James Grossi                                    01/28/2023          01312023                              11,589.39
James Grossi                                    01/28/2023          01282023                               1,837.32
Mass Mutual                                     01/28/2023                                                  811.28
UPS                                             01/28/2023          00000604W0043                           783.45
UPS                                             01/28/2023          0000070R21043                          1,049.84
UPS                                             01/28/2023          000053XF87043                            18.00
UPS                                             01/28/2023          0000W352F1043                            30.00
UPS                                             01/28/2023          00005299W9043                            30.00
UPS                                             01/28/2023          000005F64R043                            30.00
UPS                                             01/28/2023          00003R5378043                            30.00
6600 Highland, LLC                              02/01/2023          02012023                              26,688.39
AB Sciex, LLC                                   02/01/2023          210204785                             12,502.71
AB Sciex, LLC                                   02/01/2023          210204807                              3,129.10
Abbott Laboratories                             02/01/2023          830877897                              1,028.00
Abbott Laboratories                             02/01/2023          616398645                              6,361.38
Abbott Laboratories                             02/01/2023          616391992                               611.28
Allscripts Healthcare, LLC                      02/01/2023          4004195075                              636.00
Allscripts Healthcare, LLC                      02/01/2023          1000176326                             2,865.00
Amazon                                          02/01/2023          02012023                                 84.23




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Amazon                                                   02/01/2023          01312023                                 633.88
Amazon                                                   02/01/2023          02012023                                 180.19
Amazon                                                   02/01/2023          01312023                                   61.36
Applied Capital, LLC                                     02/01/2023          33337181                                 366.27
Applied Innovation                                       02/01/2023          2137313                                  853.30
Applied Innovation                                       02/01/2023          2136568                                  446.47
Arkstone Medical                                         02/01/2023          22779                                  10,625.00
Auburn Hills Medical Properties, LLC                     02/01/2023                                                   991.00
Avairis, Inc.                                            02/01/2023          1539                                    3,166.00
Avis                                                     02/01/2023          01302023                                 198.33
Bett Kimutai                                             02/01/2023          01292023                                2,423.20
BillionToOne, Inc.                                       02/01/2023          8242013123                             35,919.00
Blue Care Network                                        02/01/2023          230380038556                           18,459.73
Blue Cross Blue Shield of Michigan                       02/01/2023          157204268                               5,583.88
Blue Cross Blue Shield of Michigan                       02/01/2023          157204553                              34,804.90
Cardinal Health                                          02/01/2023          7157555194                               539.13
Careviso, Inc.                                           02/01/2023          2456                                    3,500.00
Charter Communications                                   02/01/2023          0422386011123                              77.97
Cintas Corp. (ACH)                                       02/01/2023          4144814297                                 81.24
Cintas Corp. (ACH)                                       02/01/2023          4144813135                               892.41
ClickUp                                                  02/01/2023          T14387243-012623                           30.65
Cotiviti Inc.                                            02/01/2023          01202023                                 100.00
Credential Check Corporation                             02/01/2023          291987                                   257.40
Denny's Heating, Cooling & Refrigeration Service Inc.    02/01/2023          S27894                                   394.00
Denny's Heating, Cooling & Refrigeration Service Inc.    02/01/2023          Q13196                                  7,370.00
Denny's Heating, Cooling & Refrigeration Service Inc.    02/01/2023          Q13123                                  1,315.00
eClinicalWorks, LLC                                      02/01/2023          0002438944                              5,300.00
Empirical Biosciences                                    02/01/2023          5677                                   16,503.45
Esker Inc                                                02/01/2023          460238066                               1,141.50
Evoqua Water Technologies LLC                            02/01/2023          905711739                               1,508.83
Fast Fingerprints                                        02/01/2023          02012023                                   99.00
Fed Ex                                                   02/01/2023          8-025-51433                              297.00
Fisher Healthcare                                        02/01/2023          9989434                                 4,900.47
Fisher Healthcare                                        02/01/2023          9909335/0066246B                         198.50
FrontRunnerHC Inc                                        02/01/2023          20162651                                1,900.00
Gemini Lab Group                                         02/01/2023                                                245,000.00




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Gena's Timeless Cleaning, LLC                  02/01/2023          018                                     6,000.00
Google                                         02/01/2023          4652943166                                79.20
Great Lakes Express Delivery, LLC              02/01/2023          4753                                   17,248.26
Great Lakes Express Delivery, LLC              02/01/2023          4684                                   20,677.27
Great Lakes Express Delivery, LLC              02/01/2023          4525                                    8,675.00
Great Lakes Express Delivery, LLC              02/01/2023          4603                                    7,267.70
Henry Schein                                   02/01/2023          34034883                                8,993.33
Henry Schein                                   02/01/2023          33682451                                1,802.61
Henry Schein                                   02/01/2023          33668373                               10,477.69
Henry Schein                                   02/01/2023          33500900                                 594.87
Henry Schein                                   02/01/2023          33247019                                 243.69
Hogan Lovells US LLP                           02/01/2023          22200212564                            55,341.39
Immunalysis Corporation                        02/01/2023          0198910-IN                              3,709.14
Immunalysis Corporation                        02/01/2023          0198948-IN                             10,613.34
Immunalysis Corporation                        02/01/2023          0198770-IN                               145.56
Immunalysis Corporation                        02/01/2023          0198725-IN                              1,639.29
Immunalysis Corporation                        02/01/2023          0198664-IN                               147.37
Immunalysis Corporation                        02/01/2023          0198556-IN                               348.80
INTEGRA Biosciences Corp.                      02/01/2023          233403102                               1,770.53
iOpen World Inc.                               02/01/2023          02012023                               45,000.00
Iron Mountain                                  02/01/2023          HGJJ476                                 1,634.74
Labcorp                                        02/01/2023          75333481                               32,528.88
LabPath Consulting                             02/01/2023          1404                                    1,500.00
LabSoft, Inc.                                  02/01/2023          452-27088                                 95.00
Labtek, Incorporated                           02/01/2023          13694                                     18.02
Labtek, Incorporated                           02/01/2023          13686                                    184.44
Labtek, Incorporated                           02/01/2023          13685                                    696.92
Leasing Associates of Barrington, INC.         02/01/2023          1677234                                 2,406.20
LGC Clinical Diagnostics, Inc.                 02/01/2023          90211985                                3,270.76
Lifepoint Informatics                          02/01/2023          1184499                                  125.00
Lifepoint Informatics                          02/01/2023          1184481                                  125.00
Lifepoint Informatics                          02/01/2023          1184007                                 1,125.00
Lifepoint Informatics                          02/01/2023          1183997                                  200.00
Lippitt O'Keefe, PLLC                          02/01/2023          13378                                  13,560.00
Lippitt O'Keefe, PLLC                          02/01/2023          13273                                   1,452.50
Little Sonia Real Estate LLC                   02/01/2023                                                  1,698.75




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MAC Pizza, LLC                               02/01/2023                                                  1,310.00
Mclaren Medical Laboratory                   02/01/2023          MLMHEL123122                           17,292.73
Mclaren Medical Laboratory                   02/01/2023          MLMHEL013123                           16,680.42
MCW Partners, LLC                            02/01/2023          63651                                      47.70
Mercedes Scientific                          02/01/2023          2675896                                  271.36
Mercedes Scientific                          02/01/2023          2675448                                  407.04
Mercedes Scientific                          02/01/2023          2675834                                 2,759.95
Mercedes Scientific                          02/01/2023          2675201                                 1,722.50
Mercedes Scientific                          02/01/2023          2675128                                  604.20
Microgenics Corporation                      02/01/2023          977846                                  2,305.97
Mutual of Omaha                              02/01/2023          001493925406                           10,309.31
Netalytics                                   02/01/2023          2023-761                                 750.00
Newbsknob, LLC                               02/01/2023                                                  2,875.00
Orchard Software Corporation                 02/01/2023          2021-14535                             13,320.00
Orchard Software Corporation                 02/01/2023          2020-12128                             12,000.00
Orchard Software Corporation                 02/01/2023          2021-14539                              7,685.00
Orchard Software Corporation                 02/01/2023          2020-12132                             12,720.00
Phenomenex, Inc                              02/01/2023          CIUS-22050938                           8,045.40
Phenomenex, Inc                              02/01/2023          CIUS-22034812B                           345.77
Pitney Bowes                                 02/01/2023          01312023                                 100.00
Polar Ice                                    02/01/2023          79588                                    170.00
Polar Ice                                    02/01/2023          38205                                    170.00
Predictive Health Diagnostics, Inc.          02/01/2023          2022-12-0527                            3,900.00
Recovery Pathways                            02/01/2023                                                   887.45
SAR Consulting Services, LLC                 02/01/2023                                                  5,000.00
Stericycle Inc                               02/01/2023          4011524584                               157.94
Superior Medical Waste Disposal              02/01/2023          22673                                   2,977.00
The Hartford                                 02/01/2023                                                  6,265.50
The Medical Real Estate Group                02/01/2023                                                 47,828.06
The Sports Marketing Agency, INC             02/01/2023          02012023                              150,000.00
Translational Software, Inc.                 02/01/2023          7940                                    6,741.00
Tri-City Treatment                           02/01/2023                                                   308.58
UPS                                          02/01/2023          0000W352F1033                              30.00
UPS                                          02/01/2023          00005299W9033                              30.00
UPS                                          02/01/2023          00000604W0033                            549.83
UPS                                          02/01/2023          000053XF87033                              18.00




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UPS                                         02/01/2023          000005F64R033                              30.00
UPS                                         02/01/2023          00003R5378033                              30.00
UPS                                         02/01/2023          0000070R21033                           1,198.87
Younis Enterprises                          02/01/2023                                                  5,001.95
Amazon                                      02/02/2023          02022023                                 160.51
Amazon                                      02/02/2023          02022023                                   31.79
BioPathogenix                               02/02/2023          2174                                   13,780.00
DTE Energy                                  02/02/2023          02022023/29742                           166.38
DTE Energy                                  02/02/2023          02022023/29726                           110.42
DTE Energy                                  02/02/2023          02022023/29783                             92.62
DTE Energy                                  02/02/2023          02022023/29635                             77.47
DTE Energy                                  02/02/2023          02022023/29833                             77.05
DTE Energy                                  02/02/2023          02022023/29866                             20.22
Henry Schein                                02/02/2023          34070540                                3,642.82
Henry Schein                                02/02/2023          34035671                                1,640.52
Lifepoint Informatics                       02/02/2023          1184461                                  500.00
Sysmex America, Inc.                        02/02/2023          94607111                                 206.98
Wells Fargo Financial Leasing, Inc.         02/02/2023          5023728467                               488.21
Amazon                                      02/03/2023          02032023                                   67.84
Cintas Corp. (ACH)                          02/03/2023          4145508277                               159.36
Cintas Corp. (ACH)                          02/03/2023          4145506962                               899.72
Fink Bressack PLLC                          02/03/2023          FBHELIX-1016                            2,759.50
Henry Schein                                02/03/2023          34087735                                3,131.80
Henry Schein                                02/03/2023          33693815                                 210.34
Immunalysis Corporation                     02/03/2023          0198860-IN                               147.63
MedSpeed, LLC                               02/03/2023          27877                                 114,257.33
MedSpeed, LLC                               02/03/2023          27877                                 114,257.33
Orchard Software Corporation                02/03/2023          2021-14534B                             5,635.00
Polar Ice                                   02/03/2023          38226                                    170.00
Siemens Healthcare Diagnostics              02/03/2023          952903858                               1,190.04
Silverman Consulting Inc.                   02/03/2023          SIL110945                              14,000.00
Sysmex America, Inc.                        02/03/2023          94609182                                 324.99
Atlassian                                   02/04/2023          AT-221577819                               73.50
UPS                                         02/04/2023          0000W352F1053                              30.00
UPS                                         02/04/2023          00000604W0053                            720.88
UPS                                         02/04/2023          0000070R21053                           1,222.93




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UPS                                          02/04/2023          000053XF87053                            18.00
UPS                                          02/04/2023          00005299W9053                            30.00
UPS                                          02/04/2023          000005F64R053                            30.00
UPS                                          02/04/2023          00003R5378053                            30.00
Pipedrive, Inc.                              02/05/2023          2438684                                 479.20
Abbott Laboratories                          02/06/2023          830901369                              2,510.92
Cardinal Health                              02/06/2023          02062023                                272.56
Fisher Healthcare                            02/06/2023          0432121B                                117.15
Labtek, Incorporated                         02/06/2023          13717                                  1,847.58
Labtek, Incorporated                         02/06/2023          13713                                  2,221.20
Solaris Diagnostics                          02/06/2023          4989                                    120.00
Team Financial Group (ACH)                   02/06/2023          02062023/702691                        6,732.00
Amazon                                       02/07/2023          02072023                                281.65
Amazon                                       02/07/2023          02072023                                130.42
Cerilliant Corporation                       02/07/2023          582584                                 9,755.30
Costco                                       02/07/2023          02072023                                182.51
Henry Schein                                 02/07/2023          34046742                                616.23
Mercedes Scientific                          02/07/2023          2678625                                 117.63
Orchard Software Corporation                 02/07/2023          2022-26274                             6,063.20
Polar Ice                                    02/07/2023          79606                                   170.00
Translational Software, Inc.                 02/07/2023          7838B                                    60.15
Applied Innovation                           02/08/2023          2145454                                 870.46
BioPathogenix                                02/08/2023          2191                                  10,600.00
Fed Ex                                       02/08/2023          8-032-25920                             355.51
BioPathogenix                                02/09/2023          2193                                  21,200.00
Cardinal Health                              02/09/2023          7158116051                              407.43
Henry Schein                                 02/09/2023          34377132                                697.06
Henry Schein                                 02/09/2023          34361191                                503.63
Henry Schein                                 02/09/2023          34318106                               1,528.22
Henry Schein                                 02/09/2023          33518069                                133.26
Henry Schein                                 02/09/2023          33135517                                357.84
IMCS, Inc.                                   02/09/2023          133393                                 3,704.00
James Grossi                                 02/09/2023          02092023                               2,500.00
Microsoft                                    02/09/2023          G019265007                              176.17
Microsoft                                    02/09/2023          G019148992                             1,402.59
State of Michigan                            02/09/2023          02092023                                 25.00




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Wells Fargo Financial Leasing, Inc.                      02/09/2023          5023875164                               92.44
AB Sciex, LLC                                            02/10/2023          02102023                               2,000.00
Amazon                                                   02/10/2023          02102023                                123.43
Applied Innovation                                       02/10/2023          2147200                                 339.20
Cardinal Health                                          02/10/2023          7158154524                             1,438.12
Cintas Corp. (ACH)                                       02/10/2023          4146203705                               81.24
Cintas Corp. (ACH)                                       02/10/2023          4146202457                              892.41
Comcast                                                  02/10/2023          02102023/0687196                        273.64
De Lage Landen Financial Services, Inc.                  02/10/2023          78953051                                301.49
Denny's Heating, Cooling & Refrigeration Service Inc.    02/10/2023          S28093                                  469.00
First Insurance Funding                                  02/10/2023          02282023                               7,159.54
Henry Schein                                             02/10/2023          34386641                               2,744.40
Henry Schein                                             02/10/2023          34381162                              24,681.19
James Grossi                                             02/10/2023          02102023                                750.00
La Marsa                                                 02/10/2023          02102023                                249.63
Labtek, Incorporated                                     02/10/2023          13737                                   395.88
Labtek, Incorporated                                     02/10/2023          13738                                   957.18
Microsoft                                                02/10/2023          02102023                                245.23
Microsoft                                                02/10/2023          E0400M0F13                               49.95
Microsoft                                                02/10/2023          E0400M058M                               57.24
Microsoft                                                02/10/2023          E0400M083N                              302.40
Microsoft                                                02/10/2023          E0400M083M                              174.90
Microsoft                                                02/10/2023          E0400M0F14                               45.00
Microsoft                                                02/10/2023          E0400M0FY5                               23.32
Microsoft                                                02/10/2023          E0400M0F12                                 8.00
Microsoft                                                02/10/2023          E0400M083L                                 4.00
Polar Ice                                                02/10/2023          79626                                   170.00
Principal Financial Group                                02/10/2023          02102023                               3,048.77
Rusas Printing, Inc.                                     02/10/2023          2423                                     31.80
Silverman Consulting Inc.                                02/10/2023          SIL110946                             14,000.00
Wells Fargo Financial Leasing, Inc.                      02/10/2023          5023887287                              717.53
Charter Communications                                   02/11/2023          0422386021123                            77.97
UPS                                                      02/11/2023          00000604W0063                           677.55
UPS                                                      02/11/2023          0000070R21063                          1,694.44
UPS                                                      02/11/2023          000053XF87063                            18.00
UPS                                                      02/11/2023          0000W352F1063                            30.00




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UPS                                       02/11/2023          00005299W9063                             30.00
UPS                                       02/11/2023          000005F64R063                             30.00
UPS                                       02/11/2023          00003R5378063                             30.00
Bett Kimutai                              02/12/2023          01302023/02122023                       2,432.20
Labtek, Incorporated                      02/12/2023          13740                                    179.14
Sysmex America, Inc.                      02/12/2023          94625507                                 580.13
Verizon                                   02/12/2023          9925764962                               386.93
Abbott Laboratories                       02/13/2023          830902664                               1,170.38
Bett Kimutai                              02/13/2023          02132023/02262023                       2,432.20
Comerica                                  02/13/2023          02132023                                2,428.82
Comerica                                  02/13/2023          02132023                               12,496.24
DTE Energy                                02/13/2023          02132023/41356                          1,107.23
DTE Energy                                02/13/2023          02132023/42341                           485.95
DTE Energy                                02/13/2023          02132023/05876                          2,452.32
DTE Energy                                02/13/2023          02132023/42248                          1,885.21
DTE Energy                                02/13/2023          02132023/27118                            97.08
DTE Energy                                02/13/2023          02132023/14064                            14.79
Henry Schein                              02/13/2023          34409302                                1,443.30
Henry Schein                              02/13/2023          34435399                                 346.06
James Grossi                              02/13/2023          02132023                                5,000.00
Life Technologies Corporation             02/13/2023          77187553                                1,206.66
Mercedes Scientific                       02/13/2023          2680082                                  162.17
Principal Financial Group                 02/13/2023          02132023                                2,793.86
Amazon                                    02/14/2023          02142023                                 100.45
College of American Pathologists          02/14/2023          2679188                                 1,054.44
DoorDash                                  02/14/2023          02142023                                    9.99
Immunalysis Corporation                   02/14/2023          0199415-IN                              4,549.33
Immunalysis Corporation                   02/14/2023          01994414-IN                             5,780.53
James Grossi                              02/14/2023          02142023                                2,500.00
Polar Ice                                 02/14/2023          79635                                    170.00
The Hartford                              02/14/2023          02142023                               12,558.00
Agena Bioscience, Inc.                    02/15/2023          INV-599980                              5,479.07
Comcast                                   02/15/2023          001000633184                             610.35
Credential Check Corporation              02/15/2023          292588                                    52.00
Fed Ex                                    02/15/2023          8-040-41640                              330.37
Gena's Timeless Cleaning, LLC             02/15/2023          019                                     6,000.00




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Henry Schein                              02/15/2023          33346271                                 863.41
iOpen World Inc.                          02/15/2023          02152023                              100,000.00
American Proficiency Institute            02/16/2023          650761                                  3,733.00
Athenahealth, Inc.                        02/16/2023          INV-342918                              1,481.00
BioPathogenix                             02/16/2023          2212                                   15,900.00
Fisher Healthcare                         02/16/2023          0633242/0596375A                       11,144.16
iOpen World Inc.                          02/16/2023          02162023                               11,000.00
Med Water Systems                         02/16/2023          INV/2023/0561                            355.00
Mercedes Scientific                       02/16/2023          2682030                                 1,722.50
Mercedes Scientific                       02/16/2023          2681658                                  311.10
Amazon                                    02/17/2023          02172023                                 116.59
Amazon                                    02/17/2023          02172023                                   20.13
Amazon                                    02/17/2023          02172023                                 318.51
Amazon                                    02/17/2023          02172023                                   73.14
Amazon                                    02/17/2023          02172023                                   65.68
Cintas Corp. (ACH)                        02/17/2023          4146948300                               159.36
Cintas Corp. (ACH)                        02/17/2023          4146947035                               899.72
Comcast                                   02/17/2023          02172023/0808982                         168.50
Mercedes Scientific                       02/17/2023          2682059                                 2,606.54
Silverman Consulting Inc.                 02/17/2023          SIL110948                              14,000.00
Cardinal Health                           02/18/2023          7158439560                              1,673.39
Labtek, Incorporated                      02/18/2023          13766                                    263.94
Labtek, Incorporated                      02/18/2023          13765                                    368.88
Labtek, Incorporated                      02/18/2023          13764                                   1,610.64
Labtek, Incorporated                      02/18/2023          13763                                    358.28
UPS                                       02/18/2023          00000604W0073                            641.39
UPS                                       02/18/2023          0000070R21073                           1,183.23
UPS                                       02/18/2023          000053XF87073                              18.00
UPS                                       02/18/2023          0000W352F1073                              30.00
UPS                                       02/18/2023          00005299W9073                              30.00
UPS                                       02/18/2023          000005F64R073                              30.00
UPS                                       02/18/2023          00003R5378073                              30.00
ClickUp                                   02/19/2023          T14387243-021923                         418.00
Amazon                                    02/20/2023          02202023                                 102.79
Cerilliant Corporation                    02/20/2023          583438                                  5,434.20
Fisher Healthcare                         02/20/2023          0633243                                10,642.90




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Immunalysis Corporation                     02/20/2023          0199677-IN                             7,035.55
Mercedes Scientific                         02/20/2023          2682736                                 254.40
Tricon Services LLC                         02/20/2023          3506                                   3,135.00
CI Web Design, Inc                          02/21/2023          10289                                   940.00
Comerica                                    02/21/2023          02212023                              24,129.87
DTE Energy                                  02/21/2023          02212023/41394                           54.70
Fisher Healthcare                           02/21/2023          0670551                               21,268.40
iOpen World Inc.                            02/21/2023          02212023                              32,000.00
James Grossi                                02/21/2023          02212023                               5,000.00
James Grossi                                02/21/2023          02212023                               2,500.00
Jobs Core Inc.                              02/21/2023          02212023                                449.00
Mercedes Scientific                         02/21/2023          2683261                                  16.94
Polar Ice                                   02/21/2023          79671                                   170.00
Principal Financial Group                   02/21/2023          02212023                               2,957.35
UHY, LLP                                    02/21/2023          640444337                              2,690.00
Wells Fargo Financial Leasing, Inc.         02/21/2023          5024015113                              675.85
BioPathogenix                               02/22/2023          2218                                   9,010.00
Comcast                                     02/22/2023          02222023/0945842                        169.90
Fed Ex                                      02/22/2023          8-046-86773                             316.65
Gimbel, Reilly, Guerin & Brown LLP          02/22/2023                                                 5,000.00
IMCS, Inc.                                  02/22/2023          133566                                 3,708.00
Practice Fusion                             02/22/2023          5500025593                              946.00
Sysmex America, Inc.                        02/22/2023          94641807                                206.25
Wells Fargo Financial Leasing, Inc.         02/22/2023          5024027375                               68.76
Henry Schein                                02/23/2023          34840009                                859.55
Immunalysis Corporation                     02/23/2023          0199831-IN                             3,876.80
Paylocity                                   02/23/2023          INV1280665                             5,117.27
Sysmex America, Inc.                        02/23/2023          94643530                                759.35
TASC                                        02/23/2023          IN2679225                               814.75
Cintas Corp. (ACH)                          02/24/2023          4147605111                               81.24
Cintas Corp. (ACH)                          02/24/2023          4147603678                              892.41
Fisher Healthcare                           02/24/2023          0784945                                3,625.08
Henry Schein                                02/24/2023          34840010                                510.79
Henry Schein                                02/24/2023          34924801                                214.11
Henry Schein                                02/24/2023          34902414                                181.56
iOpen World Inc.                            02/24/2023          02242023                              45,000.00




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James Grossi                               02/24/2023          02242023                               1,836.32
Paylocity                                  02/24/2023          02242023                                193.75
Polar Ice                                  02/24/2023          79695                                   170.00
Principal Financial Group                  02/24/2023          02242023                               4,287.01
Silverman Consulting Inc.                  02/24/2023          SIL110953                             14,000.00
Atlassian                                  02/25/2023          AT-225738685                            601.50
CheckRun                                   02/25/2023          9FE97E7A-0025                            50.00
Sysmex America, Inc.                       02/25/2023          94646875                               1,835.53
UPS                                        02/25/2023          00000604W0083                           371.60
UPS                                        02/25/2023          0000070R21083                          1,117.64
UPS                                        02/25/2023          000053XF87083                            18.00
UPS                                        02/25/2023          00005299W9083                            30.00
UPS                                        02/25/2023          0000W352F1083                            30.00
UPS                                        02/25/2023          000005F64R083                            30.00
UPS                                        02/25/2023          00003R5378083                            30.00
James Grossi                               02/27/2023          02272023                                826.93
Comerica                                   02/28/2023          02282023                              19,808.40
Edge Solutions                             02/28/2023          640436                                 1,111.96
iOpen World Inc.                           02/28/2023          02282023                              40,000.00
Mass Mutual                                02/28/2023                                                  811.28
MCW Partners, LLC                          02/28/2023          65339                                   302.10
MCW Partners, LLC                          02/28/2023          65059                                    47.70
Superior Medical Waste Disposal            02/28/2023          22993                                  2,239.00
6600 Highland, LLC                         03/01/2023          03012023                              26,688.39
AB Sciex, LLC                              03/01/2023          210206920                              1,714.61
AB Sciex, LLC                              03/01/2023          210206739                              3,129.10
AB Sciex, LLC                              03/01/2023          210206713                             12,502.71
Abbott Laboratories                        03/01/2023          830904306                              1,063.98
Agena Bioscience, Inc.                     03/01/2023          INV-64958                             23,676.18
Allscripts Healthcare, LLC                 03/01/2023          1000179400                             2,865.00
Amazon                                     03/01/2023          02242023                               1,144.82
Amro Almradi MDPC PLLC                     03/01/2023          02272023                               3,000.00
Applied Capital, LLC                       03/01/2023          33539438                                442.06
Applied Capital, LLC                       03/01/2023          33366104                                216.24
Applied Innovation                         03/01/2023          2159363                                 853.30
Applied Innovation                         03/01/2023          2158954                                 446.47




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Applied Innovation                              03/01/2023          2156683                                   471.84
Arkstone Medical                                03/01/2023          22911                                   10,975.00
Arkstone Medical                                03/01/2023          22842                                   11,400.00
Auburn Hills Medical Properties, LLC            03/01/2023                                                    991.00
Avairis, Inc.                                   03/01/2023          1544                                     8,450.00
Beckman Coulter                                 03/01/2023          4483797                                  4,916.63
Beckman Coulter                                 03/01/2023          4474731                                  4,916.63
Bett Kimutai                                    03/01/2023          02/27/23-03/12/23                        1,817.40
Blue Care Network                               03/01/2023          230660036082                            16,047.91
Blue Cross Blue Shield of Michigan              03/01/2023          158071112                               47,522.41
Cardinal Health                                 03/01/2023          7124642936                                864.61
Cardinal Health                                 03/01/2023          7124571668                               1,046.59
Cardinal Health                                 03/01/2023          7124571667                               5,581.81
Cardinal Health                                 03/01/2023          7147224546                               1,823.07
Cardinal Health                                 03/01/2023          7148272887                                146.03
Cardinal Health                                 03/01/2023          7147210379                                192.69
Cardinal Health                                 03/01/2023          7158628001                                283.74
Cardinal Health                                 03/01/2023          7158573135                                721.55
Cardinal Health                                 03/01/2023          7158218254                                  49.99
Careviso, Inc.                                  03/01/2023          2501                                     3,500.00
Costco                                          03/01/2023          03012023                                  189.02
De Lage Landen Financial Services, Inc.         03/01/2023          79171766                                  301.49
Eden Software Solutions, LLC                    03/01/2023          0003                                      400.00
Esker Inc                                       03/01/2023          460239189                                 937.80
Evoqua Water Technologies LLC                   03/01/2023          905756058                                1,508.83
Fed Ex                                          03/01/2023          8-054-24720                               290.90
Fisher Healthcare                               03/01/2023          0903276                                  1,165.23
Fisher Healthcare                               03/01/2023          0903275                                  1,038.88
Fisher Healthcare                               03/01/2023          0820471                                  2,972.68
Fisher Healthcare                               03/01/2023          0633242/0596375B                          233.22
FrontRunnerHC Inc                               03/01/2023          20162880                                 1,900.00
FrontRunnerHC Inc                               03/01/2023          20162193                                 1,900.00
FrontRunnerHC Inc                               03/01/2023          20161477                                15,423.73
FrontRunnerHC Inc                               03/01/2023          20162421                                 1,900.00
Gemini Lab Group                                03/01/2023                                                 206,000.00
Gena's Timeless Cleaning, LLC                   03/01/2023          020                                      6,000.00




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Google                                         03/01/2023          4673318813                                 79.20
Henry Schein                                   03/01/2023          34938697                                 363.60
Henry Schein                                   03/01/2023          34935268                                1,401.31
Henry Schein                                   03/01/2023          34896214                               10,694.09
Henry Schein                                   03/01/2023          34892624                                3,316.60
Henry Schein                                   03/01/2023          34892598                                 835.43
Henry Schein                                   03/01/2023          34840020                                 320.84
Henry Schein                                   03/01/2023          34801995                                1,444.76
Henry Schein                                   03/01/2023          34795504                                8,669.01
Henry Schein                                   03/01/2023          34791668                                   75.62
Henry Schein                                   03/01/2023          34745947                                1,871.80
Henry Schein                                   03/01/2023          34361192                                 338.06
Henry Schein                                   03/01/2023          34097758                                1,524.26
Immunalysis Corporation                        03/01/2023          0200016-IN                               192.24
Immunalysis Corporation                        03/01/2023          0199837-IN                              5,280.89
Immunalysis Corporation                        03/01/2023          0199916-IN                               318.00
Immunalysis Corporation                        03/01/2023          0199829-IN                                 42.40
Iron Mountain                                  03/01/2023          HHYR550                                  942.62
James Grossi                                   03/01/2023          02282023                               13,000.00
LabPath Consulting                             03/01/2023          1411                                    1,500.00
LabSoft, Inc.                                  03/01/2023          452-27345                                  95.00
Leasing Associates of Barrington, INC.         03/01/2023          1680016                                 2,406.20
Lifepoint Informatics                          03/01/2023          1184558                                 1,375.00
Lifepoint Informatics                          03/01/2023          1184559                                  200.00
Little Sonia Real Estate LLC                   03/01/2023                                                  1,698.75
MAC Pizza, LLC                                 03/01/2023                                                  1,310.00
Mclaren Medical Laboratory                     03/01/2023          MLMHEL022823                            3,359.64
Medcare MSO                                    03/01/2023          2779                                   84,367.97
Medcare MSO                                    03/01/2023          2759                                  137,832.01
Mettler-Toledo Rainin, LLC                     03/01/2023          678911134                                441.61
Mettler-Toledo Rainin, LLC                     03/01/2023          678916676                               1,324.82
Mettler-Toledo Rainin, LLC                     03/01/2023          678937328                               1,970.46
Microgenics Corporation                        03/01/2023          983204                                  5,923.91
Mutual of Omaha                                03/01/2023          001493925407                             458.68
Netalytics                                     03/01/2023          2023-1690                                750.00
Newbsknob, LLC                                 03/01/2023                                                  2,875.00




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OMG & The A Team Consulting, LLC             03/01/2023          001                                      2,500.00
Orchard Software Corporation                 03/01/2023          2021-14540                               7,685.00
Orchard Software Corporation                 03/01/2023          2020-12133                              12,720.00
Payroll 02-03-2023                           03/01/2023                                                  49,765.96
Payroll 02-03-2023                           03/01/2023          02032023                                85,195.99
Polar Ice                                    03/01/2023          79711                                     170.00
Polar Ice                                    03/01/2023          79656                                     170.00
Recovery Pathways                            03/01/2023                                                    887.45
SAR Consulting Services, LLC                 03/01/2023                                                   5,000.00
Spartan Wealth Management Inc.               03/01/2023          03012023                                 2,035.98
Stericycle Inc                               03/01/2023          4011593950                                186.84
The Medical Real Estate Group                03/01/2023          03012023                                47,828.06
The Sports Marketing Agency, INC             03/01/2023          03012023                               150,000.00
Translational Software, Inc.                 03/01/2023          8016                                    10,670.00
Tri-City Treatment                           03/01/2023                                                    308.58
USA Scientific                               03/01/2023          4801921846                               5,233.38
Verizon                                      03/01/2023          9928146355                                376.63
Wendy Hutton                                 03/01/2023          03012023                                  181.56
Younis Enterprises                           03/01/2023                                                   5,001.95
Applied Capital, LLC                         03/02/2023          33567925                                  216.24
BioPathogenix                                03/02/2023          1901                                    15,900.00
Cardinal Health                              03/02/2023          7158910044                               1,260.54
Henry Schein                                 03/02/2023          35120624                                  344.60
Labtek, Incorporated                         03/02/2023          13809                                    1,847.58
Labtek, Incorporated                         03/02/2023          13808                                     184.44
Labtek, Incorporated                         03/02/2023          13807                                    2,480.90
Wells Fargo Financial Leasing, Inc.          03/02/2023          5024131506                                345.83
Amazon                                       03/03/2023          03032023                                    40.26
Cintas Corp. (ACH)                           03/03/2023          4148310160                                159.36
Cintas Corp. (ACH)                           03/03/2023          4148308599                                899.72
DTE Energy                                   03/03/2023          03032023/29742                            174.73
DTE Energy                                   03/03/2023          03032023/29726                            149.17
DTE Energy                                   03/03/2023          03032023/29783                              99.27
DTE Energy                                   03/03/2023          03032023/29833                              79.53
DTE Energy                                   03/03/2023          03032023/29635                              76.18
DTE Energy                                   03/03/2023          03032023/29866                              19.74




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Fisher Healthcare                             03/03/2023          0988783                                 6,916.96
iOpen World Inc.                              03/03/2023          03032023                               40,000.00
Mercedes Scientific                           03/03/2023          2686978                                 1,305.92
Polar Ice                                     03/03/2023          79727                                    170.00
Principal Financial Group                     03/03/2023          03032023                                3,083.51
Siemens Healthcare Diagnostics                03/03/2023          952922594                               1,190.04
Silverman Consulting Inc.                     03/03/2023          SIL110954                              14,000.00
Atlassian                                     03/04/2023          AT-227426661                               49.00
Labtek, Incorporated                          03/04/2023          13816                                    189.74
Labtek, Incorporated                          03/04/2023          13815                                    206.14
UPS                                           03/04/2023          00000604W0093                            405.43
UPS                                           03/04/2023          0000070R21093                           1,841.52
UPS                                           03/04/2023          000053XF87093                              18.00
UPS                                           03/04/2023          0000W352F1093                              30.00
UPS                                           03/04/2023          00005299W9093                              30.00
UPS                                           03/04/2023          000005F64R093                              30.00
UPS                                           03/04/2023          00003R5378093                              30.00
Abbott Laboratories                           03/05/2023          830907021                               1,213.00
Pipedrive, Inc.                               03/05/2023          2470415                                  479.20
Abbott Laboratories                           03/06/2023          830907315                               2,510.92
BioPathogenix                                 03/06/2023          1906                                   13,780.00
INTEGRA Biosciences Corp.                     03/06/2023          233407673                               2,338.00
James Grossi                                  03/06/2023          03062023                                2,500.00
James Grossi                                  03/06/2023          03062023                                5,000.00
Payroll 03-03-2023                            03/06/2023                                                     25.00
Payroll 03-03-2023                            03/06/2023                                                 28,320.68
Xavier Barber                                 03/06/2023          03062023                                 111.36
Adobe (ACH)                                   03/07/2023          2398611428                               306.20
Amazing Charts                                03/07/2023          00000000056935                          1,060.00
Comerica                                      03/07/2023          03072023                               25,469.21
Comerica Bank - Cost Center 048-95890         03/07/2023          017591-000002 RJD                      15,000.00
Henry Schein                                  03/07/2023          34948089                                 714.86
MedSpeed, LLC                                 03/07/2023          28166                                 113,215.61
Polar Ice                                     03/07/2023          79738                                    170.00
Fed Ex                                        03/08/2023          8-061-51429                              284.49
Fisher Healthcare                             03/08/2023          1108587                                 2,896.70




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Immunalysis Corporation                     03/08/2023          0200349-IN                             4,659.16
Amazon                                      03/09/2023          03092023                                421.26
Fisher Healthcare                           03/09/2023          9792159B                                172.89
Health Equity                               03/09/2023          03092023                                581.25
Henry Schein                                03/09/2023          28232057                                866.06
Immunalysis Corporation                     03/09/2023          0200449-IN                              201.14
Applied Innovation                          03/10/2023          2168651                                4,280.73
Cintas Corp. (ACH)                          03/10/2023          4149013744                               81.24
Cintas Corp. (ACH)                          03/10/2023          4149012109                              892.41
Comcast                                     03/10/2023          03102023/0687196                        273.64
First Insurance Funding                     03/10/2023          03102023                               7,159.54
Henry Schein                                03/10/2023          204147                                12,594.71
Henry Schein                                03/10/2023          35466711                                197.59
iOpen World Inc.                            03/10/2023          03102023                              40,000.00
James Grossi                                03/10/2023          03102023                               2,163.39
Mercedes Scientific                         03/10/2023          2689455                                1,927.04
Polar Ice                                   03/10/2023          79754                                   170.00
Silverman Consulting Inc.                   03/10/2023          SIL110959                             14,000.00
Sysmex America, Inc.                        03/10/2023          94665538                                208.94
Wells Fargo Financial Leasing, Inc.         03/10/2023          5024266612                              103.86
Amazon                                      03/11/2023          03112023                                 69.84
Charter Communications                      03/11/2023          0422386031123                            77.97
Labtek, Incorporated                        03/11/2023          13831                                   189.74
Labtek, Incorporated                        03/11/2023          13830                                   385.28
Labtek, Incorporated                        03/11/2023          13832                                   162.18
Sysmex America, Inc.                        03/11/2023          94667143                                324.80
UPS                                         03/11/2023          00000604W0103                           459.53
UPS                                         03/11/2023          0000070R21103                          1,285.48
UPS                                         03/11/2023          000053XF87103                            18.00
UPS                                         03/11/2023          0000W352F1103                            30.00
UPS                                         03/11/2023          00005299W9103                            30.00
UPS                                         03/11/2023          000005F64R103                            30.00
UPS                                         03/11/2023          00003R5378103                            30.00
Amazon                                      03/12/2023          03122023                                117.54
Sysmex America, Inc.                        03/12/2023          94667867                                580.13
Abbott Laboratories                         03/13/2023          830908729                              1,170.38




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Applied Innovation                          03/13/2023          2168953                                 339.20
Comerica                                    03/13/2023          03132023                               2,284.68
Henry Schein                                03/13/2023          35535324                                213.02
Henry Schein                                03/13/2023          35500148                               1,088.02
Immunalysis Corporation                     03/13/2023          0200429-IN                             5,683.76
Life Technologies Corporation               03/13/2023          77189432                               1,206.66
Mercedes Scientific                         03/13/2023          2689657                                1,722.50
Microsoft                                   03/13/2023          E0400MEOQT                               57.24
Microsoft                                   03/13/2023          E0400MEOT7                              285.68
Microsoft                                   03/13/2023          G020578500                              160.29
Microsoft                                   03/13/2023          E0400MEPM8                               52.09
Microsoft                                   03/13/2023          E0400MEPSL                               45.00
Microsoft                                   03/13/2023          E0400MEA6U                               23.32
Microsoft                                   03/13/2023          E0400MEMLK                                 8.00
Microsoft                                   03/13/2023          G020421376                             1,278.62
Microsoft                                   03/13/2023          E0400MEOT5                                 4.00
Principal Financial Group                   03/13/2023          03132023                               4,373.16
BioPathogenix                               03/14/2023          2241                                   1,325.00
Comerica                                    03/14/2023          03142023                              32,778.67
DTE Energy                                  03/14/2023          03142023/05876                         2,441.29
DTE Energy                                  03/14/2023          03142023/42246                         1,848.26
DTE Energy                                  03/14/2023          03142023/41356                         1,104.69
DTE Energy                                  03/14/2023          03142023/42341                          495.37
DTE Energy                                  03/14/2023          03142023/27118                           97.88
DTE Energy                                  03/14/2023          03142023/14054                           15.79
Henry Schein                                03/14/2023          35552507                                822.51
Labtek, Incorporated                        03/14/2023          13839                                   171.72
Mark Beauchamp                              03/14/2023          03012023                              25,000.00
Polar Ice                                   03/14/2023          79769                                   170.00
Shelly Donovan                              03/14/2023          03152023                                 20.00
Wells Fargo Financial Leasing, Inc.         03/14/2023          5024301392                              712.32
Athenahealth, Inc.                          03/15/2023          INV-349799                             1,660.00
Costco                                      03/15/2023          03152023                                224.45
Credential Check Corporation                03/15/2023          293636                                  117.00
Detroit Athletic Club                       03/15/2023          03152023                               1,837.98
Fed Ex                                      03/15/2023          8-069-39034                             564.00




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Gena's Timeless Cleaning, LLC            03/15/2023          021                                      6,000.00
James Grossi                             03/15/2023          03152023                                 7,500.00
Mercedes Scientific                      03/15/2023          2690853                                   380.90
Mercedes Scientific                      03/15/2023          2690897                                   247.16
Payroll 03-17-2023                       03/15/2023                                                 134,562.35
Rhoda Yoder                              03/15/2023          03152023                                    40.13
Vernon Yoder                             03/15/2023          03152023                                    30.42
Amazon                                   03/16/2023          03162023                                    63.56
Generac Power                            03/16/2023          03162023                                    69.99
James Grossi                             03/16/2023          03162023                                 2,500.00
Med Water Systems                        03/16/2023          INV/2023/0925                             355.00
Mercedes Scientific                      03/16/2023          2691411                                     14.96
Mercedes Scientific                      03/16/2023          2691515                                  2,092.79
Tek-Pette                                03/16/2023          TPA4943-44-45                            2,031.00
Avis                                     03/17/2023          03172023                                  118.72
Cardinal Health                          03/17/2023          7159459692                                722.02
Cintas Corp. (ACH)                       03/17/2023          4149722123                                159.36
Cintas Corp. (ACH)                       03/17/2023          4149720706                                899.72
Comcast                                  03/17/2023          03172023/0808982                          168.50
Gaylen Curtis                            03/17/2023          03172023                                  600.00
Henry Schein                             03/17/2023          35749076                                 4,821.76
Henry Schein                             03/17/2023          35723715                                 1,818.57
OMG & The A Team Consulting, LLC         03/17/2023          002                                      1,000.00
Payroll 03-17-2023                       03/17/2023                                                    500.00
Polar Ice                                03/17/2023          79786                                     170.00
UPS                                      03/18/2023          00000604W0113                             518.90
UPS                                      03/18/2023          0000070R21113                            1,099.62
UPS                                      03/18/2023          000053XF87113                               18.00
UPS                                      03/18/2023          0000W352F1113                               30.00
UPS                                      03/18/2023          00005299W9113                               30.00
UPS                                      03/18/2023          000005F64R113                               30.00
UPS                                      03/18/2023          00003R5378113                               30.00
ClickUp                                  03/19/2023          T14387243-031923                          418.00
Jobs Core Inc.                           03/19/2023          03192023                                  449.00
Amazon                                   03/20/2023          03172023                                    87.93
BioPathogenix                            03/20/2023          2250                                    15,900.00




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United States Bankruptcy Court                        ARK LABORATORY, LLC
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                          Payee            Payment Date                   No.             Total
Clean Air Testing, Inc                  03/20/2023          116727                                  729.63
Henry Schein                            03/20/2023          35795002                               1,302.78
Henry Schein                            03/20/2023          35752372                                811.11
Immunalysis Corporation                 03/20/2023          0200713-IN                             7,730.55
Labtek, Incorporated                    03/20/2023          13853                                  1,874.58
Labtek, Incorporated                    03/20/2023          13855                                   190.80
Labtek, Incorporated                    03/20/2023          13854                                   630.43
Paylocity                               03/20/2023          INV1321322                             3,356.76
Amazon                                  03/21/2023          03202023                                206.67
Amazon                                  03/21/2023          03202023                                 49.91
Cardinal Health                         03/21/2023          7159553985                             1,909.76
CI Web Design, Inc                      03/21/2023          10388                                   940.00
Comerica                                03/21/2023          03212023                              34,307.75
Dorene Guarnieri                        03/21/2023          03212023                                 10.56
Elio Bucciarelli                        03/21/2023          03212023                                 52.61
Fisher Healthcare                       03/21/2023          1465444                                1,284.11
Henry Schein                            03/21/2023          35795003                                 59.35
Henry Schein                            03/21/2023          35789212                                538.80
iOpen World Inc.                        03/21/2023          03212023                              50,000.00
James Pinckney                          03/21/2023          03212023                                 10.88
Lisa Slagle                             03/21/2023          03212023                                 12.95
Suzanne Diller                          03/21/2023          03212023                                 14.82
Amazon                                  03/22/2023          03222023                                317.50
Ellkay, LLC                             03/22/2023          204147                                 4,340.00
Fed Ex                                  03/22/2023          7682-7534-3                             236.12
Henry Schein                            03/22/2023          35866537                                363.60
Immunalysis Corporation                 03/22/2023          0200944-IN                              159.00
Immunalysis Corporation                 03/22/2023          35866537                                636.00
Abbott Laboratories                     03/23/2023          830911502                              3,648.16
Cardinal Health                         03/23/2023          7159650662                              903.72
DTE Energy                              03/23/2023          03232023/41394                           66.29
Fisher Healthcare                       03/23/2023          1547871                                3,089.96
Fisher Healthcare                       03/23/2023          1547870                                5,715.58
iOpen World Inc.                        03/23/2023          03232023                              50,000.00
Abbott Laboratories                     03/24/2023          616653077                               586.39
Cerilliant Corporation                  03/24/2023          567540B                                1,410.40




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                            Payee            Payment Date                  No.              Total
Cintas Corp. (ACH)                        03/24/2023          4150415689                               81.24
Cintas Corp. (ACH)                        03/24/2023          4150414213                              892.41
Immunalysis Corporation                   03/24/2023          0200959-IN                             1,485.54
James Grossi                              03/24/2023          03242023                               7,500.00
James Grossi                              03/24/2023          03242023                               2,500.00
Polar Ice                                 03/24/2023          79812                                   170.00
Principal Financial Group                 03/24/2023          03242023                               2,993.75
Silverman Consulting Inc.                 03/24/2023          SIL110977                             14,000.00
Atlassian                                 03/25/2023          AT-231782495                            784.75
CheckRun                                  03/25/2023          9FE97E7A-0026                            50.00
Sysmex America, Inc.                      03/25/2023          94687707                               1,835.53
TASC                                      03/25/2023          IN2707512                               707.80
UPS                                       03/25/2023          00000604W0123                           691.80
UPS                                       03/25/2023          0000070R21123                          1,520.40
UPS                                       03/25/2023          000053XF87123                            18.00
UPS                                       03/25/2023          0000W352F1123                            30.00
UPS                                       03/25/2023          00005299W9123                            30.00
UPS                                       03/25/2023          000005F64R123                            30.00
UPS                                       03/25/2023          00003R5378123                            30.00
Amazon                                    03/26/2023          03262023                                145.21
Comerica                                  03/27/2023          03272023                              25,011.29
Diesel Funding                            03/27/2023          03272023                               3,747.50
Health Equity                             03/27/2023          03272023                                193.75
Immunalysis Corporation                   03/27/2023          0201034-IN                             4,235.12
Labtek, Incorporated                      03/27/2023          13884                                   571.84
Landaal Packaging Systems                 03/27/2023          213196                                 1,490.27
Principal Financial Group                 03/27/2023          03272023                               4,433.16
Sarah Markie                              03/27/2023          03272023                                 16.80
Brehob CORPORATION                        03/28/2023          212033                                  960.00
Cerilliant Corporation                    03/28/2023          585721                                 5,938.70
Diesel Funding                            03/28/2023          03282023                               3,747.50
Immunalysis Corporation                   03/28/2023          0201096-IN                             1,899.35
Mass Mutual                               03/28/2023                                                  811.28
Polar Ice                                 03/28/2023          79823                                   170.00
Principal Financial Group                 03/28/2023          03282023                                223.85
The Hartford                              03/28/2023          03282023                               5,912.06




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                           Payee                Payment Date                   No.             Total
The Hartford                                 03/28/2023          03282023                               6,262.50
Diesel Funding                               03/29/2023          03292023                               3,747.50
Fed Ex                                       03/29/2023          8-083-61740                             316.78
Fed Ex                                       03/29/2023          8-083-61741                              14.81
Diesel Funding                               03/30/2023          03302023                               3,747.50
Mercedes Scientific                          03/30/2023          2696773                                 508.80
Bett Kimutai                                 03/31/2023          03262023                               2,423.20
James Grossi                                 03/31/2023          03312023                               2,500.00
MCW Partners, LLC                            03/31/2023          65501                                    47.70
Payroll 03-31-2023                           03/31/2023          03312023                                252.38
Payroll 03-31-2023                           03/31/2023          03312023                              10,912.62
AB Sciex, LLC                                04/01/2023          210208974                              3,129.10
AB Sciex, LLC                                04/01/2023          210208942                             12,502.71
Abbott Laboratories                          04/01/2023          616673163                              7,211.67
Adobe (ACH)                                  04/01/2023          04012023                                306.20
Applied Capital, LLC                         04/01/2023          33743816                                366.27
Applied Innovation                           04/01/2023          2178012                                 328.36
Applied Innovation                           04/01/2023          799432-1                                572.08
Arkstone Medical                             04/01/2023          22982                                 11,650.00
Auburn Hills Medical Properties, LLC         04/01/2023                                                  991.00
BillionToOne, Inc.                           04/01/2023          8242022823                            25,366.00
Blue Care Network                            04/01/2023          230970025811                          22,623.83
Blue Cross Blue Shield of Michigan           04/01/2023          159794766                              4,673.17
Blue Cross Blue Shield of Michigan           04/01/2023          159795022                             30,439.22
Careviso, Inc.                               04/01/2023          2548                                   3,500.00
Cintas Corp. (ACH)                           04/01/2023          4151116709                              159.36
Cintas Corp. (ACH)                           04/01/2023          4151115282                              899.72
Comcast                                      04/01/2023          001000679885                           1,082.87
Comcast                                      04/01/2023          03222023/0945842                        168.50
Credential Check Corporation                 04/01/2023          294124                                   52.00
eClinicalWorks, LLC                          04/01/2023          0002617469                             5,300.00
Edge Solutions                               04/01/2023          654799                                 1,216.82
Ellkay, LLC                                  04/01/2023          157902                                 1,440.00
Esker Inc                                    04/01/2023          460242644                              1,009.05
Evoqua Water Technologies LLC                04/01/2023          905811689                              1,508.83
Exagen Inc.                                  04/01/2023          000040-202301                          1,045.76




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Exagen Inc.                                    04/01/2023          000040-202212                            2,652.80
Exagen Inc.                                    04/01/2023          000040-202211                            1,141.12
Exagen Inc.                                    04/01/2023          000040-202210                            1,218.56
Exagen Inc.                                    04/01/2023          000040-202208                            3,559.88
Fink Bressack PLLC                             04/01/2023          FBHELIX-1018                              491.25
Fink Bressack PLLC                             04/01/2023          FBHELIX-1017                             2,128.50
FrontRunnerHC Inc                              04/01/2023          20163099                                 1,900.00
Gemini Lab Group                               04/01/2023          04012023                               206,000.00
Gena's Timeless Cleaning, LLC                  04/01/2023          022                                      6,000.00
Google                                         04/01/2023          4691140425                                  79.20
Henry Schein                                   04/01/2023          36108524                                  531.72
Hogan Lovells US LLP                           04/01/2023          22200218109                             22,648.87
Hogan Lovells US LLP                           04/01/2023          22200215490                             17,785.88
I Care MI, LLC                                 04/01/2023          INV-2022280                               409.00
IMCS, Inc.                                     04/01/2023          133955                                   3,709.00
Immunalysis Corporation                        04/01/2023          0201204-IN                                  42.40
LabPath Consulting                             04/01/2023          1399                                     3,000.00
LabPath Consulting                             04/01/2023          1417                                     1,500.00
LabSoft, Inc.                                  04/01/2023          452-27615                                1,140.00
Leasing Associates of Barrington, INC.         04/01/2023          1685524                                  2,406.20
Lifepoint Informatics                          04/01/2023          1185571                                   350.00
Lifepoint Informatics                          04/01/2023          1185100                                   200.00
Lifepoint Informatics                          04/01/2023          1185097                                  1,500.00
Little Sonia Real Estate LLC                   04/01/2023                                                   1,698.75
MAC Pizza, LLC                                 04/01/2023                                                   1,310.00
Mclaren Medical Laboratory                     04/01/2023          MLMHEL033123                            34,766.54
Medcare MSO                                    04/01/2023          2848                                   101,733.61
Medcare MSO                                    04/01/2023          2833                                    33,694.09
Mutual of Omaha                                04/01/2023          001508962081                              458.68
Mutual of Omaha                                04/01/2023          001508962080                             8,885.38
Netalytics                                     04/01/2023          2023-2711                                 750.00
Newbsknob, LLC                                 04/01/2023                                                   2,875.00
Orchard Software Corporation                   04/01/2023          2021-14541                               7,685.00
Phenomenex, Inc                                04/01/2023          CIUS-23018689                           12,600.00
Polar Ice                                      04/01/2023          79839                                     170.00
Polar Ice                                      04/01/2023          79798                                     170.00




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Practice Fusion                              04/01/2023          5500026016                              1,008.00
Recovery Pathways                            04/01/2023                                                   887.45
SAR Consulting Services, LLC                 04/01/2023                                                  5,000.00
Square                                       04/01/2023          04012023                                 140.00
Stericycle Inc                               04/01/2023          4011662373                               186.84
Superior Medical Waste Disposal              04/01/2023          23262                                   2,428.00
The Medical Real Estate Group                04/01/2023                                                 47,828.06
The Sports Marketing Agency, INC             04/01/2023          04012023                              150,000.00
Translational Software, Inc.                 04/01/2023          8085                                    9,970.00
Tri-City Treatment                           04/01/2023                                                   308.58
UPS                                          04/01/2023          00000604W0133                            308.52
UPS                                          04/01/2023          0000070R21133                           1,072.08
UPS                                          04/01/2023          000053XF87133                              18.00
UPS                                          04/01/2023          00005299W9133                              30.00
UPS                                          04/01/2023          0000W352F1133                              30.00
UPS                                          04/01/2023          000005F64R133                              30.00
UPS                                          04/01/2023          00003R5378133                              30.00
Wells Fargo Financial Leasing, Inc.          04/01/2023          5024511260                               380.42
Wells Fargo Financial Leasing, Inc.          04/01/2023          5024426347                                 68.76
Wells Fargo Financial Leasing, Inc.          04/01/2023          5024426346                               669.35
Younis Enterprises                           04/01/2023                                                  5,001.95
Labtek, Incorporated                         04/02/2023          1392                                     190.80
Labtek, Incorporated                         04/02/2023          13903                                   1,676.36
Applied Capital, LLC                         04/03/2023          33770900                                 216.24
Applied Innovation                           04/03/2023          2182375                                  853.30
Applied Innovation                           04/03/2023          2181907                                  446.47
Avairis, Inc.                                04/03/2023          1548                                    6,666.00
Diesel Funding                               04/03/2023          04032023                                3,747.50
DTE Energy                                   04/03/2023          04032023/29742                           142.29
DTE Energy                                   04/03/2023          04032023/29635                             71.37
DTE Energy                                   04/03/2023          04032023/29726                             70.32
DTE Energy                                   04/03/2023          04032023/29783                             69.72
DTE Energy                                   04/03/2023          04032023/29833                             68.29
DTE Energy                                   04/03/2023          04032023/29866                             23.24
Fisher Healthcare                            04/03/2023          1827266                                10,515.20
Fisher Healthcare                            04/03/2023          1827265                                  745.21




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Great Lakes Express Delivery, LLC         04/03/2023          4838                                    1,485.00
Health Equity                             04/03/2023          04032023                                 193.75
Henry Schein                              04/03/2023          36108525                                 556.62
Immunalysis Corporation                   04/03/2023          0201321-IN                               188.22
Labtek, Incorporated                      04/03/2023          13909                                    189.74
Labtek, Incorporated                      04/03/2023          13908                                    179.14
Mercedes Scientific                       04/03/2023          2697732                                    50.84
Siemens Healthcare Diagnostics            04/03/2023          952944019                               1,190.04
Atlassian                                 04/04/2023          AT-233481573                               56.00
Barcode Factory                           04/04/2023          04042023                                 508.32
Brian Corso                               04/04/2023          04042023                                   43.07
Dianne Longoria                           04/04/2023          04042023                                   16.40
Diesel Funding                            04/04/2023          04042023                                3,747.50
DTE Energy                                04/04/2023          04212023/41394                             42.72
Fisher Healthcare                         04/04/2023          1863517                                  219.42
Henry Schein                              04/04/2023          36288973                                4,698.83
Lynne Dalius                              04/04/2023          04042023                                 129.25
Polar Ice                                 04/04/2023          79851                                    170.00
Principal Financial Group                 04/04/2023          04042023                                3,441.39
Diesel Funding                            04/05/2023          04052023                                3,747.50
Fed Ex                                    04/05/2023          8-090-57884                              356.41
Fed Ex                                    04/05/2023          8-090-57885                                17.77
MedSpeed, LLC                             04/05/2023          28330                                 111,695.64
Robert N. Bassel, ESQ                     04/05/2023          04052023                                7,500.00
Diesel Funding                            04/06/2023          04062023                                3,747.50
Cerilliant Corporation                    04/07/2023          586409                                     26.90
Cintas Corp. (ACH)                        04/07/2023          4151832499                                 81.24
Cintas Corp. (ACH)                        04/07/2023          4151831336                               892.41
Costco                                    04/07/2023          04072023                                 124.81
Diesel Funding                            04/07/2023          04072023                                3,747.50
Pipedrive, Inc.                           04/07/2023          2502689                                  599.00
Polar Ice                                 04/07/2023          79873                                    170.00
UPS                                       04/08/2023          00000604W0143                            494.00
UPS                                       04/08/2023          0000070R21143                           1,189.81
UPS                                       04/08/2023          000053XF87143                              18.00
UPS                                       04/08/2023          0000W352F1143                              30.00




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UPS                                             04/08/2023          00005299W9143                            30.00
UPS                                             04/08/2023          000005F64R143                            30.00
UPS                                             04/08/2023          00003R5378143                            30.00
Bett Kimutai                                    04/09/2023          03272023/04092023                      2,423.20
Microsoft                                       04/09/2023          G021754075                              175.06
Microsoft                                       04/09/2023          G021419142                             1,405.72
Comcast                                         04/10/2023          04102023/0687196                        273.53
First Insurance Funding                         04/10/2023          04102023                               7,159.54
Great Lakes Express Delivery, LLC               04/10/2023          4865                                    475.00
Microsoft                                       04/10/2023          E0400MSNB1                               76.70
Solaris Diagnostics                             04/10/2023          5174                                    120.00
Charter Communications                          04/11/2023          0422386041123                            77.97
First Insurance Funding                         04/11/2023          04112023                               3,400.46
Labtek, Incorporated                            04/11/2023          13936                                   358.28
Labtek, Incorporated                            04/11/2023          13940                                    33.92
Labtek, Incorporated                            04/11/2023          13939                                   153.70
Labtek, Incorporated                            04/11/2023          13937                                  1,874.58
Labtek, Incorporated                            04/11/2023          13938                                   189.74
Polar Ice                                       04/11/2023          79886                                   170.00
Wells Fargo Financial Leasing, Inc.             04/11/2023          5024686622                              103.86
De Lage Landen Financial Services, Inc.         04/12/2023          79593263                                301.49
Fed Ex                                          04/12/2023          8-098-39089                             149.47
Fisher Healthcare                               04/12/2023          2088904                                 669.26
Liam Dillon                                     04/12/2023          04122023                              48,377.38
O'Keefe LLC                                     04/12/2023          04122023                              10,000.00
Sysmex America, Inc.                            04/12/2023          94716677                                580.13


                                                                                           $     34,737,092.17




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SCHEDULE D


Blue Cross Blue Shield of Michigan
Michigan Medicare
Meridian Health Plan of Michigan
United Health Care (UHC)
Molina Healthcare
McLaren Health Plan
Priority Health
Health Alliance
Aetna
Total Health Care
Cigna
Humana
ASR Health Benefits
UMR
Wellcare
Tricare East
Meritain Health
Michigan Complete Health
Amerihealth Vip Care
Healthchoice Community Care Associates, Inc.
Paramount
The Washtenaw Pace
Altrua HealthShare
CoreSource
Oxford Health Plans
Trustmark
Varipro
Medical Mutual
Midwest Health Plan
MVP Health Care
Fidelis Care
Medical Mutual of Ohio
Genesee Health Plan
Caresource Ohio
Community Care Associates
GEHA
Allied Benefit Systems
Benesys
Health Partners
Upper Peninsula Health Plan




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 Ambetter
 Cofinity
 Champ VA
 Secure One Benefit Administrators
 Physicians Health Plan
 Group Resources
 The Health Plan
 Automated Benefit Services
 UPMC Health Plan
 Buckeye Community Health Plan
 Ingham Health Plan
 Meridian Health Plan of Illinois, Inc
 Employee Benefit Logistics
 Liberty Union Life Assurance Company
 Kaiser Foundation Of Northwest
 Apostrophe
 Emblem Health
 Prairie States Enterprises
 Teamcare
 Affinity Health Plan
 Kaiser Of Southern CA Region
 Healthfirst Inc New York
 Bind on-Demand Health Insurance
 Managed Health Services (Centene)
 Meridian Complete Illinois
 Healthgram Inc
 Mid-America Associates, Inc.
 Sedgwick
 Claim Choice Administrators
 Painters Union Pension Fund
 Unified Group Services
 Zing Health
 Aultcare
 CountyCare
 Healthscope Benefits
 Oscar Health




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EXHIBIT C: EXECUTORY CONTRACTS AND UNEXPIRED LEASES
TO BE ASSUMED AND ASSIGNED TO THE LIQUIDATING TRUSTEE



 Policy Type:              Policy Type:       Umbrella      Policy Type:
 Workers Compensation      Policy Number:                   Business Auto
 Policy Number:            35XHUAU9SPC                      Policy Number:
 35WEAU4D2H                Issuing Carrier: Hartford        35UENGD2049
 Issuing Carrier:          Financial Services Group Inc     Issuing Carrier:
 Hartford Financial        Policy Period: 12/28/2022 –      Hartford Financial
 Services Group Inc        12/28/2023                       Services Group Inc
 Policy Period:                                             Policy Period:
 10/01/2022 –                                               12/28/2022 –
 10/01/2023                                                 12/28/2023

 Policy Type:              Policy Type:       Crime         Policy Type:
 Package                   Policy Number:                   Cyber Liability
 Policy Number:            UC25030604.22                    Policy Number:
 35UUNAU9SPA               Issuing Carrier: Hiscox          C-4LWN-129490-CYB
 Issuing Carrier:          Insurance Company Inc.           ER-2022
 Hartford Financial        Policy Period: 12/28/2022 –      Issuing Carrier:
 Services Group Inc        12/28/2023                       Coalition
 Policy Period:                                             Policy Period:
 12/28/2022 –                                               12/29/2022 –
 12/28/2023                                                 12/29/2023

 Directors and Officers
 Policy Nationwide
 Management Liability
 & Specialty
 7 World Trade Center,
 37th Floor
 250 Greenwich Street
 New York, NY 10007



      Debtor reserves the ability to add to, delete from, and modify the list of

Contracts to later assume other contracts, or reject any of the listed contracts if

Debtor and the Liquidating Trustee are unable to reach mutually agreeable terms




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for assumption and assignment with the relevant counter-party, or if Debtor and the

Liquidating Trustee determine that assumption and assignment of the relevant

executory contract would not be prudent.




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